            Case:21-15008-KHT Doc#:1 Filed:09/30/21                                   Entered:09/30/21 16:35:58 Page1 of 625


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Timeshare Termination Team, LLC

2.   All other names debtor
     used in the last 8 years     Vindaloo Travel Network LLC
     Include any assumed          DBA Brolly Travel
     names, trade names and       DBA Timeshare Termination Team
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  8300 East Maplewood Avenue                                      PMB #149
                                  Suite 300                                                       13009 South Parker Road
                                  Greenwood Village, CO 80111                                     Parker, CO 80134
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Arapahoe                                                        Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  6511 Village Road Parker, CO 80134
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       timeshareterminationteam.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
            Case:21-15008-KHT Doc#:1 Filed:09/30/21                                       Entered:09/30/21 16:35:58 Page2 of 625
Debtor    Timeshare Termination Team, LLC                                                              Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
             Case:21-15008-KHT Doc#:1 Filed:09/30/21                                           Entered:09/30/21 16:35:58 Page3 of 625
Debtor    Timeshare Termination Team, LLC                                                                 Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                                                                        50,001-100,000
                                                                                            5001-10,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion


Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
           Case:21-15008-KHT Doc#:1 Filed:09/30/21                        Entered:09/30/21 16:35:58 Page4 of 625
Debtor   Timeshare Termination Team, LLC                                            Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
            Case:21-15008-KHT Doc#:1 Filed:09/30/21                                    Entered:09/30/21 16:35:58 Page5 of 625
Debtor    Timeshare Termination Team, LLC                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      September 30, 2021
                                                  MM / DD / YYYY


                             X   /s/ Holly Wilbur                                                         Holly Wilbur
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Co-owner




18. Signature of attorney    X   /s/ Jonathan M. Dickey                                                    Date September 30, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Jonathan M. Dickey
                                 Printed name

                                 Kutner Brinen Dickey Riley, P.C.
                                 Firm name

                                 1660 Lincoln Street, Suite 1720
                                 Denver, CO 80264
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     303-832-2400                  Email address      jmd@kutnerlaw.com

                                 46981 CO
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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 Fill in this information to identify the case:

 Debtor name         Timeshare Termination Team, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          September 30, 2021                      X /s/ Holly Wilbur
                                                                       Signature of individual signing on behalf of debtor

                                                                       Holly Wilbur
                                                                       Printed name

                                                                       Co-owner
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
           Case:21-15008-KHT Doc#:1 Filed:09/30/21                                                                        Entered:09/30/21 16:35:58 Page7 of 625

 Fill in this information to identify the case:

 Debtor name            Timeshare Termination Team, LLC

 United States Bankruptcy Court for the:                       DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $              8,720.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $              8,720.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       25,388,526.81


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         25,388,526.81




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
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 Fill in this information to identify the case:

 Debtor name         Timeshare Termination Team, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Chase Bank                                              Checking                                                                         $0.00




           3.2.     U.S. Bank                                               Checking                                                                         $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                           $0.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor         Timeshare Termination Team, LLC                                               Case number (If known)
                Name

13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 39.       Office furniture
           Desks and Office Chairs                                                          $0.00                                          $600.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           Computers and Screens, printers cords and
           other miscellaneous electronics. Large
           industrial copier                                                                $0.00                                        $2,000.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $2,600.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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 Debtor         Timeshare Termination Team, LLC                                               Case number (If known)
                Name


        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            Debtor ran website which was taken down for
            non-payment                                                                     $0.00                                        Unknown



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Customer List                                                                   $0.00                                        Unknown



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                               $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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 Debtor         Timeshare Termination Team, LLC                                              Case number (If known)
                Name

                                                                                                                      Current value of
                                                                                                                      debtor's interest


 71.       Notes receivable
           Description (include name of obligor)

 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)

 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Refund from media vendor - WCCO-TV Minneapolis -
           overpayment of $6,120.00                                                                                               $6,120.00




 78.       Total of Part 11.                                                                                                   $6,120.00
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                         page 4
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 Debtor          Timeshare Termination Team, LLC                                                                     Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                     $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                            $2,600.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                    $6,120.00

 91. Total. Add lines 80 through 90 for each column                                                                $8,720.00         + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                    $8,720.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
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 Fill in this information to identify the case:

 Debtor name         Timeshare Termination Team, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
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 Fill in this information to identify the case:

 Debtor name         Timeshare Termination Team, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.


 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
           1513 Media                                                           Contingent
           13009 S Parker Rd #129                                               Unliquidated
           Parker, CO 80134                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.2       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                         $0.00
           1st Base Productions                                                 Contingent
           J. Shields 3331 E. Euclid Ave.                                       Unliquidated
           Centennial, CO 80121                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.3       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $5,750.00
           Aaron And Lynn Fredericks                                            Contingent
           P.O. Box 915                                                         Unliquidated
           Kykotsmovi, AZ 86039                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.4       Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $5,700.00
           Aaron Nieman                                                         Contingent
           18154 E Powers Place                                                 Unliquidated
           Centennial, CO 80015                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $49,725.00
          ABCDisney                                                             Contingent
          500 S. Buena Vista St. FGW #3052                                      Unliquidated
          Burbank, CA 91521                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0203
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,540.00
          Achkei Wilson                                                         Contingent
          611 Cochise Cir                                                       Unliquidated
          Bolingbrook, IL 60440                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,600.00
          Ada Holt                                                              Contingent
          6006 saint moritz                                                     Unliquidated
          Temple Hills, MD 20748                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Ada Lollar                                                            Contingent
          3410 Mayfair Rd                                                       Unliquidated
          Baltimore, MD 21207                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Adam and Leslie Stone                                                 Contingent
          4325 Diaz Ave                                                         Unliquidated
          Fort Worth, TX 76107                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,940.00
          Adam And Sarah Lawson                                                 Contingent
          2623 Juliet Court                                                     Unliquidated
          Franklin, OH 45005                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,375.57
          Adan & Luzdary Belgodere                                              Contingent
          17411 Prospect Meadows Drive                                          Unliquidated
          Houston, TX 77095                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,950.00
          Adele & Barbara Kenniston                                             Contingent
          1812 S Buena Vista                                                    Unliquidated
          Chandler, AZ 85249                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,520.00
          Adeleta (Adell) and Sidney Dull                                       Contingent
          6011 Cheryl Lane                                                      Unliquidated
          Rosharon, TX 77583                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Adobe Acropro                                                         Contingent
          601 Townsend Stree                                                    Unliquidated
          San Francisco, CA 94103                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Adolf and Mildred Mueller                                             Contingent
          12155 Boothill Drive                                                  Unliquidated
          Parker, CO 80138                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,750.00
          Adrian & Marisela Torres                                              Contingent
          30003 Penrose Lane                                                    Unliquidated
          Castaic, CA 91384                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,270.00
          Adrian & Ruth Geffre                                                  Contingent
          9633 FoxVally Dr                                                      Unliquidated
          Morrison, CO 80465                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,358.00
          Adrian and Wynona Godwin                                              Contingent
          1131 Buttonwood Dr                                                    Unliquidated
          Cherryhill, NJ 08003                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,161.00
          Adriana & Irene Perez                                                 Contingent
          19319 Brook Village Rd                                                Unliquidated
          Houston, TX 77084                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,200.00
          Adriana Estimbo                                                       Contingent
          18935 Oakland Manor Lane                                              Unliquidated
          Richmond, TX 77407                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,000.00
          Adrianna & David Marin                                                Contingent
          1426 De Reamer Cir                                                    Unliquidated
          Colorado Springs, CO 80915                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Aflac                                                                 Contingent
          Attn: Accounts Receivable 1932                                        Unliquidated
          Columbus, GA 31999                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,097.00
          Afreen Assad                                                          Contingent
          5701 Windmere Lane                                                    Unliquidated
          Haltom City, TX 76137                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Agility Digital                                                       Contingent
          10421 S Jordan Gateway #550                                           Unliquidated
          South Jordan, UT 84095                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,790.00
          Aimal Hayes and Josilyn Bridgeman                                     Contingent
          8123 Bella Vista Court                                                Unliquidated
          Charlotte, NC 28216                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,079.00
          Alan & Barbara Seeling                                                Contingent
          29275 C. R. 358-A                                                     Unliquidated
          Buena Vista, CO 81211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Alan & Maria Pellegrino                                               Contingent
          534 Logan St                                                          Unliquidated
          Roselle, IL 60172                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,264.00
          Alan And Joyce McGarrigle                                             Contingent
          2352 Autumn Mist Lane                                                 Unliquidated
          League City, TX 77573                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Alan Fallows                                                          Contingent
          14422 Colonial Park Drive                                             Unliquidated
          Huntersville, NC 28078                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Alaska Department of Law                                              Contingent
          1031 West 4th Avenue, Suite 200                                       Unliquidated
          Anchorage, AK 99501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,030.00
          Albert & Mary Ellen Ulloa                                             Contingent
          2014 Mustang Springs Dr                                               Unliquidated
          Missouri City, TX 77459                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,500.00
          Albert & Sonja Dickerson                                              Contingent
          8008 S. Mozart St                                                     Unliquidated
          Chicago, IL 60652                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,228.14
          Alberto & Jenny Torres (SPO)                                          Contingent
          PO BOX 372                                                            Unliquidated
          Aguadilla, Puerto Rico 00605-0000                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,828.10
          Albreta Alston                                                        Contingent
          6318 Anderson St                                                      Unliquidated
          Philadelphia, PA 19138                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Alden Systems, Inc                                                    Contingent
          10 Inverness Center Parkway Suite 500                                 Unliquidated
          Birmingham, AL 35242                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,800.00
          Alecia And Gregory Luchin                                             Contingent
          20423 Weald Way                                                       Unliquidated
          Spring, TX 77388                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Alessandra (Sandy) Messina                                            Contingent
          1547 Curtain Street                                                   Unliquidated
          Philadelphia, PA 19145                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,535.55
          Aletha & Bernice Peters                                               Contingent
          3601 South Dakota Ave NE                                              Unliquidated
          Washington, DC 20018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,398.00
          Alex & Diane Marin                                                    Contingent
          40 Birchtree Lane                                                     Unliquidated
          Ballston Spa, NY 12020                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,609.44
          Alex & Mary Kurikeshu                                                 Contingent
          3270 Eleanors Garden Way                                              Unliquidated
          Woodbine, MD 20707                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,224.70
          Alex & Tricia Brig/Grimaldi                                           Contingent
          105 Lazarus Dr                                                        Unliquidated
          Ledgewood, NJ 07852                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Alexa Rush                                                            Contingent
          2154 S Oakland St                                                     Unliquidated
          Aurora, CO 80014                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,372.00
          Alexander & Ruth Vermilyea/Daly                                       Contingent
          2 Peach Orchard Drive                                                 Unliquidated
          Riverside, RI 02915                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,545.00
          Alfred & Eileen Sablan                                                Contingent
          1405 Mark Court                                                       Unliquidated
          White Settlment, TX 76108                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Alfred & Marianne Terriquez/Nesbit                                    Contingent
          6537 S Richfield St                                                   Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,200.00
          Alice & Jeff Keane                                                    Contingent
          12722 W Figueroa Ct                                                   Unliquidated
          Sun City West, AZ 85375                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,245.00
          Alice And John Brands                                                 Contingent
          11360 East Jeats Ave                                                  Unliquidated
          Unit 65                                                               Disputed
          Mesa, AZ 85209
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,376.00
          Alice Coleman                                                         Contingent
          22637 Pleasant Drive #4                                               Unliquidated
          Richton Parl, IL 60471                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,431.00
          Alicia And Theodore Mora                                              Contingent
          11514 Marshall Ct                                                     Unliquidated
          Westminster, CO 80020                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,245.00
          Alicia Ward                                                           Contingent
          733 Sand Piper Ct, Unit #6                                            Unliquidated
          University Park, IL 60484                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,745.00
          Alina Bass-Harvey and Thomas Harvey                                   Contingent
          3230 Tamara Creek Lane                                                Unliquidated
          Pearland, TX 77584                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,511.08
          Alina Bracciale                                                       Contingent
          7452 Brought Street                                                   Unliquidated
          Sarasota, FL 34243                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,319.66
          Allan and Trudie Fink                                                 Contingent
          39 Portshire Dr                                                       Unliquidated
          Lincolnshire, IL 60069                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $50.00
          Allegiance                                                            Contingent
          PO Box 2097                                                           Unliquidated
          Missoula, MT 59806                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6227
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Allegro                                                               Contingent
          Carretera Sur San Francisco Palancar Km.                              Unliquidated
          Cozumel Q.R., Mexico 77600-0000                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Allen & Cyndee Harmon                                                 Contingent
          176 Charles Place                                                     Unliquidated
          Pocatello, ID 83201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,800.00
          Allen & Deb Siebels                                                   Contingent
          4556 Joydance Ct.                                                     Unliquidated
          Fort Collins, CO 80524                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,891.00
          Allen & Mary Hultgren                                                 Contingent
          1620 Centaur Circle                                                   Unliquidated
          Lafayette, CO 80026                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,910.00
          Allen & Rita Walters                                                  Contingent
          3841 Arrowwood Dr                                                     Unliquidated
          Zephyrhills, FL 33541                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,117.00
          Allison & Christopher Palombo                                         Contingent
          115 Highlandwood Dr                                                   Unliquidated
          Beaver, PA 15009                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          AllphaPage                                                            Contingent
          6300 E Yale Ave #128                                                  Unliquidated
          Denver, CO 80222                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Allyson Gehring                                                       Contingent
          7029 W Chestnut Dr                                                    Unliquidated
          Littleton, CO 80128                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Aloha Bay                                                             Contingent
          78-261 Manukai Street                                                 Unliquidated
          Kailua, HI 96740                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,900.00
          Alozrea (Lonnie) Austin                                               Contingent
          12406 Evening Bay Dr                                                  Unliquidated
          Pearland, TX 77584                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Alpenland Resort                                                      Contingent
          7-9 St. Johann im Pongau 5600                                         Unliquidated
          Salzbuger, Austria 64127-0210                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Alpenrose & Rock Ridge I                                              Contingent
          4074 Pine Blvd                                                        Unliquidated
          South Lake Tahoe, CA 96150                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Alpine Crest Resorts                                                  Contingent
          273 Carrie Cox Drive P.O. Box 780                                     Unliquidated
          Helen, GA 30545                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,617.75
          Althea Starks & Dorothea Williams                                     Contingent
          15411 Addicks Stone Dr. Unit A                                        Unliquidated
          Houston, TX 77082                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $38,153.26
          Altus Receivable Management                                           Contingent
          2400 Veterans Memorial Blvd. Suite 300                                Unliquidated
          Kenner, LA 70062                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9126
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,450.00
          Alvin & Katrina Sadaya                                                Contingent
          3827 Portside Dr                                                      Unliquidated
          Bremerton, WA 98312                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,570.00
          Aman & Parveen Sekhon                                                 Contingent
          2551 Coloma Lane                                                      Unliquidated
          Tracey, CA 95376                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,200.00
          Amanda Comparetto and Travis McNally                                  Contingent
          1032 Marlin Lakes Circle                                              Unliquidated
          Apartment #1233                                                       Disputed
          Sarasota, FL 34232
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,700.00
          Amanda Lantz                                                          Contingent
          13842 Elm St                                                          Unliquidated
          Thorton, CO 80602                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,336.00
          Amanda Maughmer                                                       Contingent
          20615 E Kenyon AVe                                                    Unliquidated
          Aurora, co 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,545.00
          Amanda Puhal and Rosalie Kroeker                                      Contingent
          3691 Harvard Pl                                                       Unliquidated
          Broomfield, co 80023                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,700.00
          Amanda Reyes and Pricilla Gomez                                       Contingent
          3541 East Girard Drive                                                Unliquidated
          Denver, CO 80236                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,763.00
          Amber and Christopher Chris Daniels                                   Contingent
          799 Normandy Street apt 8303                                          Unliquidated
          Houston, TX 77015                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Amber And Jerad Hurt                                                  Contingent
          1522 Camellia Street                                                  Unliquidated
          Sweeny, TX 77480                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,900.00
          Amber Barnes                                                          Contingent
          2920 Geneva Ct. #101                                                  Unliquidated
          Denver, CO 80238                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,460.00
          Amber Cunz and Vince Anderson                                         Contingent
          80 Riverside Road                                                     Unliquidated
          Rockford, IL 61114                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,476.00
          Amelia Adkins and Evans Omani- Chima Jr.                              Contingent
          12401 NE 105th Way                                                    Unliquidated
          Vancouver, WA 98682                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          American Resort International                                         Contingent
          Two TransAM Plaza Dr. Ste. 300                                        Unliquidated
          Oakbrook Terrace, IL 60181                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Americana Vacation Club                                               Contingent
          3845 Pioneer Trail                                                    Unliquidated
          South Lake Tahoe, CA 96150                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Americano Beach Resort                                                Contingent
          1260 N Atlanticv Ave                                                  Unliquidated
          Daytona Beach, FL 32118                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,850.00
          Amia Bellard                                                          Contingent
          7729 Topaz Way                                                        Unliquidated
          Texas City, TX 77591                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Amy & Madhusudan Dharawat                                             Contingent
          3523 Bluelake Cir                                                     Unliquidated
          Stockton, CA 95219                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,232.00
          Amy and Dominic Leaitu                                                Contingent
          10333 Main St Apt 221                                                 Unliquidated
          Belview, WA 98004                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,572.00
          Amy Funderburk                                                        Contingent
          4353 S Blackhawk Way                                                  Unliquidated
          Aurora, CO 80015                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,450.00
          Amy Maupin                                                            Contingent
          P.O. Box1458                                                          Unliquidated
          Barrow, AK 99723                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,691.00
          Amy Ou                                                                Contingent
          221 Cordero Drive                                                     Unliquidated
          Civolo, TX 78108                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,500.00
          Amy Payne                                                             Contingent
          475 Garfield St #320                                                  Unliquidated
          Denver, CO 80206                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,669.00
          Ana And David Garcia                                                  Contingent
          2918 Piper Road                                                       Unliquidated
          Pearland, TX 77584                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,310.00
          Ana and Giuseppe Gambacurta                                           Contingent
          6902 W. Clifton St                                                    Unliquidated
          Tampa, FL 33634                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,320.00
          Andra Brangmen-Thornton and Juliet Brang                              Contingent
          2460 Crestdale Cir SE                                                 Unliquidated
          Atlanta, GA 30316                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,626.00
          Andre and Rhonda Harris                                               Contingent
          2085 Aqueduct Dr                                                      Unliquidated
          Florissant, MI 63303                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,410.00
          Andrea and David Isidorio / Madouros                                  Contingent
          2821 Summer Day Ave                                                   Unliquidated
          Castlerock, CO 80109                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,095.00
          Andrea And Gary Kelly                                                 Contingent
          3517 Clover Blossom Circle                                            Unliquidated
          Land O' Lakes, FL 34638                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,950.00
          Andrea and Jeffrey Crooks                                             Contingent
          19950 California Ave                                                  Unliquidated
          Farmington, MN 55024                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,500.00
          Andrea and Jesus Longoria                                             Contingent
          8628 Orchard View                                                     Unliquidated
          Pearland, tx 77584                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,642.62
          Andrea Jacobs                                                         Contingent
          125 Overland Trail                                                    Unliquidated
          Savannah, GA 31419                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Andrea Smith                                                          Contingent
          236 Berriman Street                                                   Unliquidated
          Brooklyn, NY 11208                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,650.00
          Andrea Zelenka                                                        Contingent
          14130 Rosemary Ln                                                     Unliquidated
          Largo, FL 33774                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,770.00
          Andrew & Courtney Graham                                              Contingent
          3546 Woods Estates Dr.                                                Unliquidated
          Conroe, TX 77304                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,800.00
          Andrew & Kaye Dixon                                                   Contingent
          5384 Jauley River drive                                               Unliquidated
          Stone Mountai, GA 30312                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,200.00
          Andrew & Noah Boettinger                                              Contingent
          2918 Wilson Parkway                                                   Unliquidated
          Harrisburg, PA 17104                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,958.00
          Andrew Davidson/Cynthia Spears                                        Contingent
          121 Koban Dori Road                                                   Unliquidated
          Summerville, SC 39486                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,775.00
          Andrew Hadden                                                         Contingent
          17 Taft St, PO Box #791                                               Unliquidated
          Marblehead, MA 01945                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Andrew Nelson                                                         Contingent
          3586 S Waco St                                                        Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,320.00
          Andy & Cynthia Sauder                                                 Contingent
          6060 Miller St                                                        Unliquidated
          Arvada, CO 80004                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,950.00
          Andy & Karyn Byrne                                                    Contingent
          7411 S Curtice Ct                                                     Unliquidated
          Littleton, CO 80120                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,432.00
          Angel & Alexis Medina                                                 Contingent
          2647 N Champlain                                                      Unliquidated
          Tempe, AZ 85281                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,188.58
          Angel & Dena Aranzamedi                                               Contingent
          7970 Fox Glen Drive                                                   Unliquidated
          Franktown, CO 80116                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,500.00
          Angel Rodriguez/Kellie Figoten                                        Contingent
          648 S. Azusa Ave. #23                                                 Unliquidated
          Azusa, CA 91702                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,598.00
          Angela & Brian Petermeyer                                             Contingent
          PO Box 763                                                            Unliquidated
          Sedalia, CO 80135                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Angela & Brian Petermeyer                                             Contingent
          PO Box 763                                                            Unliquidated
          Sedalia, CO 80135                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,833.97
          Angela & Carl Benbow                                                  Contingent
          2025 Medary Ave                                                       Unliquidated
          Phildelphia, PA 19138                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,033.00
          Angela & Rick Sego                                                    Contingent
          185 Haywood Knolls Dr.                                                Unliquidated
          185 Haywood Knolls Dr., NC 28792                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,751.45
          Angela And Walter (Wally) Trice                                       Contingent
          6846 S Quantock Way                                                   Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Angela and Calvin Reed                                                Contingent
          13643 Repa Lane                                                       Unliquidated
          Houston, TX 77014                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,322.00
          Angela and Chad Koch                                                  Contingent
          PO Box 2074                                                           Unliquidated
          Gilroy, CA 95021                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,986.06
          Angela And Geoffery Jarrett                                           Contingent
          116 Charolais Drive                                                   Unliquidated
          McDonough, GA 30252                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Angela and Marife Ortiz/Mendez                                        Contingent
          3530 Mystic Pointe Apt 215                                            Unliquidated
          Aventura, FL 33180                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,319.70
          Angela Rodriguez Santiago                                             Contingent
          160 North Lorel Avenue                                                Unliquidated
          Chicago, IL 60644                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,947.88
          Angelica Quinones                                                     Contingent
          325 C Street                                                          Unliquidated
          Golden, CO 80401                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Angie & Marty Bauer                                                   Contingent
          2201 E. Prescott Place                                                Unliquidated
          Chandler, AZ 85249                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Angie And Kevin Burttschell                                           Contingent
          24706 Norton Road                                                     Unliquidated
          Sedalia, MO 65301                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Angie Hunter and Cynthia Ameln                                        Contingent
          6875 Omaha Blvd                                                       Unliquidated
          Clorado springs, CO 80915                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          Angie Morehead                                                        Contingent
          3009 N Salida Del Sol                                                 Unliquidated
          Chandler, AZ 85224                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,795.00
          Anibal Alonso                                                         Contingent
          Bosque del Lago BC22 Plaza 7                                          Unliquidated
          Trujillo Alto, PR 00976                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Anisha Heredia                                                        Contingent
          17135 Carlson Dr, Apt 738                                             Unliquidated
          Parker, CO 80134                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,609.00
          Anita & Donald Komorski                                               Contingent
          1973 E Devon Ave                                                      Unliquidated
          Hanover Park, IL 60133                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,800.00
          Anita & Eliodoro Lopez/ Anzaldua                                      Contingent
          2312 Majestic Fairway Lane                                            Unliquidated
          League, TX 77573                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,795.00
          Anita And Tasha Hagman                                                Contingent
          2708 Rimcon Dr.                                                       Unliquidated
          Junction, CO 81503                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Anita Heffernan                                                       Contingent
          260 S Degaulle St                                                     Unliquidated
          Aurora, CO 80018                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,845.00
          Anita Rodriguez and Angie Klash                                       Contingent
          3812 Chapman St                                                       Unliquidated
          Houston, TX 77009                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,420.00
          Ann & Allen Tucker                                                    Contingent
          98 Grapevine Rd                                                       Unliquidated
          Dunbarton, NH 03046                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Ann and Jackie Claycomb                                               Contingent
          3935 Oxbow Village Lan NW                                             Unliquidated
          Albuequerque, NM 87120                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,520.00
          Ann Schuck                                                            Contingent
          27300 Leona Dr                                                        Unliquidated
          Brookville, IN 47012                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Anna & Tony Lagos                                                     Contingent
          1229 south ash court                                                  Unliquidated
          Chandler, AZ 85286                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,052.60
          Anne Gaddis                                                           Contingent
          9306 South Calumet Avenue                                             Unliquidated
          Chicago, IL 60619                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,445.00
          Anne Henrich                                                          Contingent
          211 Standish Dr.                                                      Unliquidated
          Chapel Hill, NC 27517                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Answer First                                                          Contingent
          1602 North 21st Street                                                Unliquidated
          Tampa, FL 33605                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Answerforce                                                           Contingent
          033 SE Main St Ste 5                                                  Unliquidated
          Portland, OR 97214                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Anthem                                                                Contingent
          PO Box 172405                                                         Unliquidated
          Denver, CO 80217                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0643
                                                                             Is the claim subject to offset?     No       Yes




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 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          Anthony & Emily Nunley/Harshaw                                        Contingent
          2345 34th St SE                                                       Unliquidated
          Washington DC, VA 22204                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Anthony & Judith Sylvester                                            Contingent
          3643 Idle Creek Drive                                                 Unliquidated
          Decatur, GA 30034                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,719.16
          Anthony and Barbara March                                             Contingent
          P.O. Box 189 730 Colfax                                               Unliquidated
          Bennet, CO 80102                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,446.00
          Anthony And Donielle Gilliam                                          Contingent
          7409 Colfax Dr                                                        Unliquidated
          Rowlett, TX 75089                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,425.00
          Anthony and Eloise Singleton                                          Contingent
          441 Foxpointe Dr                                                      Unliquidated
          Dover, DE 19904                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,000.00
          Anthony and Maria Rico                                                Contingent
          6914 Foxside Lane                                                     Unliquidated
          Humble, TX 77338                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Anthony Suzadail, Hemwatie Sposato, Mier                              Contingent
          409 Allen Road                                                        Unliquidated
          Syracuse, NY 13212                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,720.00
          Antoine Clark and Ebonee Frazier                                      Contingent
          1512 Freedom Boulevard                                                Unliquidated
          Joliet, IL 60432                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,950.00
          Antoinette & Clark Troupe                                             Contingent
          3378 W 20th Pl                                                        Unliquidated
          Gary, IN 46404                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,500.00
          Antonio And Nancy Olivera (SPO)                                       Contingent
          13170 Staffordshire Drive South                                       Unliquidated
          Jacksonville, FL 32225                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,185.00
          Antonio Polanco                                                       Contingent
          9100 E Florida Ave                                                    Unliquidated
          Unit 8-201                                                            Disputed
          Denver, CO 80247
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Apenland Resort                                                       Contingent
          2 Transam Plaza Dr Ste 3000                                           Unliquidated
          Oakbrook Terrace, IL 60181-4817                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          APIntego                                                              Contingent
          201 Columbine St.                                                     Unliquidated
          Denver, CO 80206                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          April Perez                                                           Contingent
          864 Diamond Rim Dr                                                    Unliquidated
          Colorado Springs, CO 80921                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Aquarius Vacation Club                                                Contingent
          201 Dorado Del Mar Blvd                                               Unliquidated
          Dorado, PR 00646                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,250.00
          Aquila Shelby                                                         Contingent
          7841 S. Homan Ave                                                     Unliquidated
          Chicago, IL 60652                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Aranka Herringer                                                      Contingent
          P.O. Box 42                                                           Unliquidated
          Hartsel, CO 80449                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,000.00
          Arcelia Garcia and Guillermo Ceja                                     Contingent
          10030 Floyd                                                           Unliquidated
          Carbondale, CO 80126                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,413.49
          Archie & Jennifer Tinjum                                              Contingent
          3524 Dove Valley Place                                                Unliquidated
          Castle Rock, CO 80108                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,600.00
          Ardella StubbleField                                                  Contingent
          (281) 935-7932 or cfran1215@gmail.com                                 Unliquidated
           TX 77053                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          ARI Holiday Network                                                   Contingent
          Two TransAm Plaza Dr. Ste. 300                                        Unliquidated
          Oakbrook Terrace, IL 60181                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,574.89
          Ariadne Young                                                         Contingent
          9100 Little Stone Dr                                                  Unliquidated
          Ft. Washington, MD 20744                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,295.00
          Ariane Moyes                                                          Contingent
          525 west sycamore circle                                              Unliquidated
          Louisville, CO 80027                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ariel Mares                                                           Contingent
          18060 E Bellewood Dr                                                  Unliquidated
          Aurora, CO 80015                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Arkansas Department of the Attorney Gene                              Contingent
          323 Center St #200                                                    Unliquidated
          Little Rock, AR 72201                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,170.00
          Arlee Anderson                                                        Contingent
          840 Nettle Rd                                                         Unliquidated
          Greenbank, WA 98253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,556.00
          Arlena Harbourne                                                      Contingent
          2120 Stephens PL Apt 113                                              Unliquidated
          New Braunfels, TX 78130                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,140.00
          Arlene Conkling                                                       Contingent
          200 S. Ironton                                                        Unliquidated
          Apt 202                                                               Disputed
          Aurora, CO 80012
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Armen and Jameela Khadiwala                                           Contingent
          1237 S St Paul St                                                     Unliquidated
          Denver, CO 80210                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,376.00
          Arnim Jacob                                                           Contingent
          2610 Philadelphia Pike                                                Unliquidated
          Apt B9                                                                Disputed
          Claymont, DE 19703
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,521.00
          Arthur & Amy Navarro                                                  Contingent
          1705 W Commerce Ave                                                   Unliquidated
          Gilbert, AZ 85233                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,335.00
          Arthur & Gwendolyn Lemmon/Banks                                       Contingent
          810 Kentucky Ave SE                                                   Unliquidated
          Washington DC, VA 20003                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Arthur & Peggy Taylor                                                 Contingent
          137 Thankeray                                                         Unliquidated
          Bolingbrook, IL 60440                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Arthur & Yongnan Piche                                                Contingent
          2076 N Prominent Pt                                                   Unliquidated
          Hernando Beach, FL 34442                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,095.00
          Arthur and Dyanne Sonka                                               Contingent
          551 South Otis Street                                                 Unliquidated
          Lakewood, CO 80226                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,124.00
          Arthur and Evelyn Lewison                                             Contingent
          9302 East Menlo Street                                                Unliquidated
          Mesa, AZ 85207                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,712.68
          Arthur And Heidi Formoso                                              Contingent
          2878 E Portola Valley Court                                           Unliquidated
          Gilbert, AZ 85297                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Arvin & Betty Crose                                                   Contingent
          104 Briar Ridge                                                       Unliquidated
          Collonsville, IL 62234                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,220.00
          Ashae And Doug Amerine                                                Contingent
          6014 S. Zante Way                                                     Unliquidated
          Aurora, CO 80015                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,146.00
          Ashley & Deckion Lewis                                                Contingent
          171 Cactus Rd.                                                        Unliquidated
          Latta, SC 29565                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,811.00
          Ashley & Lindsey Tucker/Spires                                        Contingent
          8209 Hobhouse Circle                                                  Unliquidated
          Raleigh, NC 27615                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,420.00
          Ashley Shade and Shannon Hamilton                                     Contingent
          9545 W. Coal Mine Ave, Unit K                                         Unliquidated
          Littleton, CO 80123                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ashley Simone Powell                                                  Contingent
          3366 S Biscay Way                                                     Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ashley, M Lowery                                                      Contingent
          823 E 8th St                                                          Unliquidated
          Loveland, CO 80537                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Asim & Sara Siddiqui                                                  Contingent
          18223 Dalyell Dr.                                                     Unliquidated
          Richmond, TX 77407                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          ASNY - Las Vegas                                                      Contingent
          801 S Rampart Blvd                                                    Unliquidated
          Las Vegas, NV 89145                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          ASNY/ Sommerset/RCI                                                   Contingent
          801 S Rampart Blvd                                                    Unliquidated
          Las Vegas, NV 89145                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Aspen at Streamside                                                   Contingent
          2244 A. Frontage Road W.                                              Unliquidated
          Vail, CO 81657                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Aspen Streamside at Vail                                              Contingent
          2244 So. Frontage Road West                                           Unliquidated
          Vail, CO 81657                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Atlantic Palace                                                       Contingent
          1507 Boardwalk                                                        Unliquidated
          Atlantic City, NJ 08401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Atlas Vacation Homes                                                  Contingent
          3211 Vineland Rd #324                                                 Unliquidated
          Kissimmee, FL 34746                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Atrium at Virginia Beach                                              Contingent
          315 21st Street                                                       Unliquidated
          Virginia Beach, VA 23451                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Attitash Mountain Village River Run                                   Contingent
          P.O. Box 358                                                          Unliquidated
          Bartlett, NH 03812                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Attorney General's Office California Dep                              Contingent
          P.O. Box 944255                                                       Unliquidated
          Sacramento, CA 94244                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Attorney General's Office State of Alaba                              Contingent
          501 Washington Avenue                                                 Unliquidated
          Montgomery, AL 36104                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Attorney General's Office State of Arizo                              Contingent
          005 N Central Avenue                                                  Unliquidated
          Phoenix, AZ 85004                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,539.61
          Audrey And Gary Davis                                                 Contingent
          1309 Emerson Street                                                   Unliquidated
          Evanston, IL 60201                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,045.00
          Aurillya & Carol Rolfe/Greene                                         Contingent
          1021 Southpark Avenue                                                 Unliquidated
          Apt 115                                                               Disputed
          Titusville, FL 32780
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Aurora Sevilla                                                        Contingent
          308 Fellowship Circle                                                 Unliquidated
          Gaithersburg, MD 20877                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,646.75
          Austin & Karen Adams                                                  Contingent
          695 Timber Bend                                                       Unliquidated
          Highland Village, TX 75077                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,700.00
          Autum Aranda                                                          Contingent
          9018 Dover Street                                                     Unliquidated
          Westminster, CO 80021                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Avalon Vacation Club                                                  Contingent
          Av. Coba #82 Lote 10                                                  Unliquidated
          Cancun QROO, Mexico 77500-0000                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,700.00
          Avia Stewart/Keith Grant                                              Contingent
          357 B Union St                                                        Unliquidated
          Trenton, NJ 08611                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Aviawest Resort Club                                                  Contingent
          8545 Commodity Circle                                                 Unliquidated
          Orlando, FL 32819                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,514.95
          Avon And Emma Jones                                                   Contingent
          299 Belvoir School Rd                                                 Unliquidated
          Clinton, NC 28328                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,518.00
          B Public Relations, LLC                                               Contingent
          3630 Navajo St                                                        Unliquidated
          Denver, CO 80211
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3146
                                                                             Is the claim subject to offset?     No       Yes

 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,518.00
          B Public Relations, LLC                                               Contingent
          2930 Umatilla St Suite 200                                            Unliquidated
          Denver, CO 80211
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $170.00
          Background Information Services Inc.                                  Contingent
          1716 N Main St                                                        Unliquidated
          Longmont, CO 80501                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bahia Principe                                                        Contingent
          Placa Mediterrania, 5 Palma                                           Unliquidated
          IIIes Balears, Spain 07014-0000                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bahia Turquesa Residences                                             Contingent
          Crta. Arena Gorda, Macao 999                                          Unliquidated
          Punta Cana La Altagracia, Dominican Repu                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,273.12
          Bala & Babita Rajasekaran                                             Contingent
          9705 High Falls Court                                                 Unliquidated
          Las Vegas, NV 89178                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Balarie Johnson                                                       Contingent
          15 Ellsworth Ave                                                      Unliquidated
          Trenton, NJ 08618                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bali Hai Villas                                                       Contingent
          4970 Pepelani Loop                                                    Unliquidated
          Princeville, HI 96722                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          Balvino & Julissa K. Ramirez/Villatoro-G                              Contingent
          147 Chelsea St.                                                       Unliquidated
          Boston, MA 02150                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,173.00
          Barb & Dave Ramsey                                                    Contingent
          2815 Broadway Ave                                                     Unliquidated
          Pittsburgh, PA 15216                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,599.00
          Barbara & Kathleen Huner/Crier                                        Contingent
          4839 Barn Owl Dr                                                      Unliquidated
          Frederick, CO 80504                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,358.25
          Barbara & Millard & Scott Dykes                                       Contingent
          9355 Meadowbrook Drive                                                Unliquidated
          Gainsville, GA 30506                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Barbara and Arthur Tabor                                              Contingent
          PO BOX 1372                                                           Unliquidated
          DeSoto, TX 75123                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,545.00
          Barbara and Earl Smith                                                Contingent
          1511 Republic St.                                                     Unliquidated
          San Diego, CA 92114                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,220.00
          Barbara Bundick                                                       Contingent
          28493 FM 1301 Road                                                    Unliquidated
          West Columbia, TX 77486                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,845.00
          Barbara Davidson                                                      Contingent
          1097 Juniper Court                                                    Unliquidated
          Tavares, FL 32778                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Barbara Kelly                                                         Contingent
          15714 Barbarossa Drive                                                Unliquidated
          Houston, TX 77083                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Barbara Krause                                                        Contingent
          214 Fremont St E                                                      Unliquidated
          Northfield, MN 55057                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,631.60
          Barbara Kvam                                                          Contingent
          2809 Pontiac Circle                                                   Unliquidated
          Atlanta, GA 30360                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,980.00
          Barbara Manning                                                       Contingent
          10572 East Autumn Sage Drive                                          Unliquidated
          Scottsdale, AZ 85255                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,250.00
          Barbara McDonald                                                      Contingent
          3602 Hunting Creek Loop                                               Unliquidated
          New Port Richey, FL 34655                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,562.50
          Barbara Miles (Mesa)                                                  Contingent
          1266 Lawson Ave                                                       Unliquidated
          Erie, CO 80516                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Barbara Reno                                                          Contingent
          1119 S Camino Santiago Dr                                             Unliquidated
          Pueblo West, CO 81007                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,670.00
          Barbara Stogsdill                                                     Contingent
          3512 69th ave west                                                    Unliquidated
          University Place, WA 98466                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,111.00
          Barbra and Fred Tapia                                                 Contingent
          1722 Truda Dr                                                         Unliquidated
          Northglenn, CO 80233                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Barefoot in the Keys                                                  Contingent
          2754 Florida Plaza                                                    Unliquidated
          Kissimmee, FL 34746                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Barefoot Resorts                                                      Contingent
          4980 Barefoot Resort Bridge Rd.                                       Unliquidated
          Norht Myrtle Beach, SC 29582                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Barony Beach Club                                                     Contingent
          5 Grasslawn Ave,                                                      Unliquidated
          Hilton Head Island, SC 29928                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,430.40
          Barrie Graves                                                         Contingent
          4717 Dolphin Cay Lane South                                           Unliquidated
          Unit 402                                                              Disputed
          St Petersburg, FL 33711-4662
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Barrier Island                                                        Contingent
          1245 Duck Road P.O. Box 8279                                          Unliquidated
          Duck, NC 27949                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,500.00
          Barry & Brenda Shilling                                               Contingent
          PO Box 187                                                            Unliquidated
          Saint Albans, WV 25177                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,170.00
          Barry & Grace Beauprez                                                Contingent
          150 katsura circle                                                    Unliquidated
          Milliken, CO 80543                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Bart & Julie Moore                                                    Contingent
          6310 W. Tonopah Dr.                                                   Unliquidated
          Glendale, AZ 85308                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,273.65
          Bart & Nancy Woodworth                                                Contingent
          9515 E Glencove St                                                    Unliquidated
          Mesa, AZ 85207                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,661.00
          Bart & Nora Lund                                                      Contingent
          7830 W Portland Ave                                                   Unliquidated
          Littleton, CO 80128                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,471.50
          Barton & Gwendolyn Fields                                             Contingent
          16740 Claggett Landing Road                                           Unliquidated
          Upper Marlboro, MD 20774                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bay Club Hawaii                                                       Contingent
          69-450 Waikoloa Beach Dr.                                             Unliquidated
          Waikoloa, HI 96738                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Beachside Village                                                     Contingent
          Beachside Billage Resort Condominiums 45                              Unliquidated
          Falmouth, MA 02540                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,100.00
          Beatrice and Willy Short                                              Contingent
          1661 Monroe White Store Rd                                            Unliquidated
          Peachland, NC 28133                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,528.60
          Beatrice Jefferson                                                    Contingent
          10611 Beckfield Drive                                                 Unliquidated
          Houston, TX 77099                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,500.00
          Beatrice, Jeff, Jeff Jr., Trezlyn and Tr                              Contingent
          404 Poplar Street                                                     Unliquidated
          Lamar, TX 77568                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,620.00
          Beatriz Derisse                                                       Contingent
          182 Aberdeen Ct                                                       Unliquidated
          Williamstown, NJ 08094                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bel Air Vacations                                                     Contingent
          Vallarta PO Box 96058                                                 Unliquidated
          Las Vegas, NV 89193-6058                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,044.00
          Belinda & Manuel Infante                                              Contingent
          1312 Plymouth Street                                                  Unliquidated
          Pasadena, TX 77502                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,920.00
          Belinda Morales                                                       Contingent
          4155 Meyerwood Dr                                                     Unliquidated
          Houston, TX 77025                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,055.66
          Bella and Maurice Darmon                                              Contingent
          1932 Westchester Dr.                                                  Unliquidated
          Silver Spring, MD 20902                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bella Florida Condo Association                                       Contingent
          1201 Hays Street                                                      Unliquidated
          Tallahassee, FL 32301-2525                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bella Vista Village                                                   Contingent
          POA PO Box 6210                                                       Unliquidated
          Bella Vista, AR 72714                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,500.00
          Benita Russell                                                        Contingent
          4342 Whippoorwill Circle                                              Unliquidated
          Missouri City, TX 77459                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Benjamin Fetzer                                                       Contingent
          3327 S Elkhart St                                                     Unliquidated
          Aurora, CO 80014                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,244.75
          Bennie Hill                                                           Contingent
          2301 Foxtree Road                                                     Unliquidated
          Tavares, FL 32778                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Berkley Vacation Resorts                                              Contingent
          3015 N Ocean Blvd                                                     Unliquidated
          Fort Lauderdale, FL 33308                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Berkshire By The Sea                                                  Contingent
          126 N. Ocean Boulevard                                                Unliquidated
          Deiray Beach, FL 33483                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Berkshire Mountain Lodge Resort                                       Contingent
          8 Dan Fox Dr.                                                         Unliquidated
          Pittsfield, MA 01201                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Berkshire of Boston                                                   Contingent
          One Beacon Street 24th floor                                          Unliquidated
          Boston, MA 02108                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,577.00
          Bernadette Fersch                                                     Contingent
          333 E. Ontario St Apt 4208                                            Unliquidated
          Chicago, IL 60611                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,365.00
          Bernard And Sheri Pacheco                                             Contingent
          3491 Bear Canyon Cir                                                  Unliquidated
          Salida, CO 80135                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,445.00
          Bernard Doherty                                                       Contingent
          166 Franklin St                                                       Unliquidated
          Arlington, MA 02474                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,026.00
          Bernice & Anita Fleming                                               Contingent
          224 17th Street NE                                                    Unliquidated
          Washington, DC 20002                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,745.00
          Bert Somogyi                                                          Contingent
          7930 East Cammelback Road                                             Unliquidated
          Unit 706                                                              Disputed
           AZ 85251
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,982.50
          Bertha Richardson                                                     Contingent
          1445 Forest Green Court                                               Unliquidated
          St. Louis, MO 63130                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,436.17
          Bespoke Technology                                                    Contingent
          1700 Lincoln Street Suite 2700                                        Unliquidated
          Denver, CO 80203                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2744
                                                                             Is the claim subject to offset?     No       Yes

 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,700.00
          Beth & Lloyd Powell                                                   Contingent
          2220 W. St Joseph St                                                  Unliquidated
          Wilmington, DE 19808                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,342.00
          Betsy & Kathleen Dalton/Gibboney                                      Contingent
          6010 Blueridge Drive                                                  Unliquidated
          Apt A                                                                 Disputed
          Highlands Ranch, CO 80130
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,727.00
          Betsy Bird                                                            Contingent
          867 Canal Dr                                                          Unliquidated
          Mclean, VA 22102                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Better Business Bureau                                                Contingent
          12639 W Explorer Dr Ste 200                                           Unliquidated
          Boise, ID 83713                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,405.00
          Betty & Jesse & Jesse Jr Hall                                         Contingent
          P.O. Box 19237                                                        Unliquidated
          Philidelphia, PA 19143                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,595.00
          Betty & Summer Blue/Teel                                              Contingent
          250 Chelsea Ave                                                       Unliquidated
          Glenside, PA 19038                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,539.00
          Betty & Vernon Tubman                                                 Contingent
          37323 East Lakeland Dr                                                Unliquidated
          Mechanicsville, MD 20659                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,117.00
          Betty And Robert Howland                                              Contingent
          6 Birchwood Drive                                                     Unliquidated
          Rye, NH 03870                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,413.00
          Betty Bozeman, Norbert Schwartz and Ben                               Contingent
          PO Box 1313                                                           Unliquidated
          Buena Vista, CO 81211                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Betty Davis                                                           Contingent
          12658 West 1st Place                                                  Unliquidated
          Lakewood, CO 80228                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,200.00
          Betty Dorsey                                                          Contingent
          1113 Seminole Sky Drive                                               Unliquidated
          Ruskin, FL 33570                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Betty Newton                                                          Contingent
          3418 Cape Forest Drive                                                Unliquidated
          Kingwood, TX 77345                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,996.00
          Betty Rogers And Crystal Baker                                        Contingent
          4006 Gunston Drive                                                    Unliquidated
          Suffolk, VA 23434                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,245.00
          Beverly And Anthony Keats                                             Contingent
          2 Portmore Lane                                                       Unliquidated
          Franingham, MA 01720                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,200.00
          Beverly and Jock Fontaine                                             Contingent
          9 Sturbridge Court                                                    Unliquidated
          Egg Harbor Township, NJ 08234                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,860.00
          Beverly and Roger Gealow                                              Contingent
          17431 FM 1314                                                         Unliquidated
          Conroe, TX 77302                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Beverly Holmes                                                        Contingent
          3424 Saint Paul Ave                                                   Unliquidated
          Bellwood, IL 60104                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,350.00
          Beverly Hull                                                          Contingent
          2300 Monte Verde Drive                                                Unliquidated
          Pinole, CA 09456                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,222.00
          Beverly McCombs and Crystal Kidd                                      Contingent
          1117 Leavitt Ave #310                                                 Unliquidated
          Flossmoor, IL 60422                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,608.00
          Beverly O'Rourke                                                      Contingent
          18900 E Main St                                                       Unliquidated
          #205                                                                  Disputed
          Parker, CO 80138
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Big Bear                                                              Contingent
          3590 Georgia Road                                                     Unliquidated
          Franklin, NC 28734                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,380.00
          Big Fish Talent Agency                                                Contingent
          8400 E Crescent Parkway, 6th Floor                                    Unliquidated
          Greenwood Village, CO 80111                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6027
                                                                             Is the claim subject to offset?     No       Yes

 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,920.00
          Big Footprint Digital                                                 Contingent
          303 S Broadway Suite 200-385                                          Unliquidated
          Denver CO
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9519
                                                                             Is the claim subject to offset?     No       Yes

 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,133.30
          Biljana & Michael Rasmuson                                            Contingent
          91 Hollymead Dr                                                       Unliquidated
          The Woodlands, TX 77381                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,750.00
          Bill & Dorothy Zimmerman                                              Contingent
          10585 W. Palmeras                                                     Unliquidated
          Unit N                                                                Disputed
          Sun City, AZ 85273
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,388.00
          Bill & Kellie Dees                                                    Contingent
          PO Box 21                                                             Unliquidated
          Aztec, NM 87410                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Bill & Lucinda Webb/Rather                                            Contingent
          12823 Burning Log Lane                                                Unliquidated
          Dallas, TX 75243                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,145.00
          Bill And Mary Tweed                                                   Contingent
          2220 Salem St                                                         Unliquidated
          Carollton, TX 75006                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bill VanWieren                                                        Contingent
          (704) 791-6751 or baby59blue@yahoo.com                                Unliquidated
           NC                                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,936.00
          Billie & Gary Glowe                                                   Contingent
          2172 S. Stonebridge Rd.                                               Unliquidated
          Warsaw, IN 46580                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Birkshires                                                            Contingent
          66 Allen Street                                                       Unliquidated
          Pittsfield, MA 01201                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bjorkman Talent                                                       Contingent
          PO BOX 678                                                            Unliquidated
          Grand Lake, CO 80447                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,996.00
          Blake & Susan Gubeli                                                  Contingent
          PO Box 220237                                                         Unliquidated
          205 S Main Street                                                     Disputed
          Centerfield, UT 84622
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Blue Beards Castle                                                    Contingent
          PO Box 7158                                                           Unliquidated
          St. Thomas, VI 00801                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Blue Green Vacations                                                  Contingent
          4960 Conference Way North Suite 100
                                                                                Unliquidated
          Boca Raton, FL 33431
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Blue Mesa Recreational Ranch                                          Contingent
          27601 West Highway 50                                                 Unliquidated
          Gunnison, CO 81230                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bluebeard in St. Thomas                                               Contingent
          100 Frenshmans Bay                                                    Unliquidated
          Saint Thomas Island, US Virgin Islands                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bluegreen Vacation Club. Bluegreen/Big C                              Contingent
          4960 Conference Way North, Suite 100
                                                                                Unliquidated
          Boca Raton, FL 33431
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          BLUEGREEN VACATIONS CORPORATION                                       Contingent
          4960 Conference Way North, Suite 100
                                                                                Unliquidated
          Boca Raton, FL 33431
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bluegreen Vacations Unlimited Inc.                                    Contingent
          4960 Conference Way N, Suite 100
                                                                                Unliquidated
          Boca Raton, FL 33431
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bluegreen Vacations Unlimited, Inc.                                   Contingent
          4960 Conference Way North, Suite 100
                                                                                Unliquidated
          Boca Raton, FL 33431
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bluegreen Wilderness Club                                             Contingent
          4960 Conference Way North, Suite 100
                                                                                Unliquidated
          Boca Raton, FL 33431
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bluetree                                                              Contingent
          12007 Cypress Run Rd                                                  Unliquidated
          Orlando, FL 32836                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,650.00
          Bob & Molly Tekel                                                     Contingent
          1275 E Waterview Place                                                Unliquidated
          Chandler, AZ 85249                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,779.50
          Bob & Verna Pankan                                                    Contingent
          27594 Youngston Dr                                                    Unliquidated
          PO Box 40                                                             Disputed
           MN 55040
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,970.00
          Bob and Pat Ford                                                      Contingent
          811 S Youngfield Ct                                                   Unliquidated
          Lakewood, CO 80228                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,208.00
          Bobbe & William Wasson                                                Contingent
          4088 Grayson DR                                                       Unliquidated
          Obetz, OH 43207                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,306.00
          Bobbie Lee Arnold and Sylvester Arnold J                              Contingent
          2416 East 91st St                                                     Unliquidated
          Chicago, IL                                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,509.59
          Bobby Brown                                                           Contingent
          4403 11th Street                                                      Unliquidated
          Bacliff, TX 77518-2208                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.321    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bonaventure Resort                                                    Contingent
          250 Racquet Club Rd.                                                  Unliquidated
          Weston, FL 33326                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.322    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,595.00
          Bonita (Bonnie) Maday                                                 Contingent
          39 E Exposition Ave                                                   Unliquidated
          Denver, CO 80209                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.323    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,900.00
          Bonita Smith                                                          Contingent
          1036 Springfield Dr                                                   Unliquidated
          Chelea, AL 35043                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.324    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bonnett Creek                                                         Contingent
          6560 Via Encinas                                                      Unliquidated
          Orlando, FL 32830                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.325    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,887.04
          Bonneville Intl                                                       Contingent
          PO Box 26245                                                          Unliquidated
          Salt Lake City, UT 84126                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       63A2
                                                                             Is the claim subject to offset?     No       Yes

 3.326    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Bonnie & Michael (deceased) Pruett/Scarc                              Contingent
          4990 Jekyll RD                                                        Unliquidated
          Cumming, GA 30040                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.327    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Bonnie & Mike Knuckey                                                 Contingent
          424 S. Blakeley St.                                                   Unliquidated
          Monroe, WA 98272                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.328    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,146.00
          Boyce & Marietta Sefcik                                               Contingent
          633 Linsberry Court                                                   Unliquidated
          Avon Lake, OH 44012                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.329    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,876.00
          Brad and Diana Shaffer                                                Contingent
          PO BOX 87                                                             Unliquidated
          Overbrooke, KS 66524                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.330    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,457.00
          Bradley & Mary Johnson                                                Contingent
          8299 Essex Road                                                       Unliquidated
          Chanhassen, MN 55317                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.331    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,250.00
          Bradley & Subainah Forney                                             Contingent
          4130 East 96th Place                                                  Unliquidated
          Thornton, CO 80229                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.332    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,883.00
          Brandon & Jenna Howard/Bachman                                        Contingent
          23881 East Garden Drive                                               Unliquidated
          Aurora, CO 80116                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.333    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Brandon and Tempestt Adams                                            Contingent
          915 Rollingwood Dr                                                    Unliquidated
          Mt Holly, NC 28120                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.334    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,230.00
          Brandy Bruzgo                                                         Contingent
          3067 Dovecote Dr                                                      Unliquidated
          Quakertown, PA 18951                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.335    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Branson Nantucket                                                     Contingent
          2837 State Highway 265                                                Unliquidated
          Branson, MO 65616                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.336    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Branson Woods                                                         Contingent
          1440 Missouri Highway                                                 Unliquidated
          MO-248 Q504, MO 65616                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.337    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,453.20
          Branton & Lori Alderman                                               Contingent
          605 Highland Drive                                                    Unliquidated
          Bay Saint Louis, MS 39520                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.338    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Breakers of Ft. Lauderdale                                            Contingent
          909 Breakers Avenue                                                   Unliquidated
          Fort Lauderdale, FL 33304                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.339    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,541.00
          Breana Bell and Jari Maddox                                           Contingent
          2605 Craycrast Ave                                                    Unliquidated
          Louisville, KY 40218                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.340    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Breanne Rinkema                                                       Contingent
          4204 Sandberg Drive                                                   Unliquidated
          Colorado Springs, CO 80911                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.341    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Breckenridge Grand Vacations                                          Contingent
          100 S. Main St., P.O. Box 6879                                        Unliquidated
          Breckenridge, CO 80424                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.342    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Breckenridge Grand Vacations - Peak 7 an                              Contingent
          1627 Ski Hill Road                                                    Unliquidated
          Breckenridge CO, CO 80424                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.343    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,500.00
          Bree and Travis Boldt                                                 Contingent
          8820 Judson St                                                        Unliquidated
          Westminster, CO 80031                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.344    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Breeze Private Residences Club                                        Contingent
          Pacifico Retail Billage 18 Sardinal                                   Unliquidated
          Playa del Coco, Costa Rica                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.345    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Breezy Point at Highpoint                                             Contingent
          9252 Breezy Point Drive                                               Unliquidated
          Breezy Pint, MN 56472                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.346    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Breezy Point in Minnesota                                             Contingent
          9252 Breezy Point Drive                                               Unliquidated
          Breezy Pint, MN 56472                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.347    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Breezy Shores Resort                                                  Contingent
          1275 W. Lake Drive                                                    Unliquidated
          Detroit LAKES, MN 56501                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.348    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Brenda & Aaron Holmes                                                 Contingent
          1617 N Mobile Ave                                                     Unliquidated
          Chicago, IL 60639                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.349    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,608.25
          Brenda & Ammie Jenkins/Nurse                                          Contingent
          1257 Granton Terrace                                                  Unliquidated
          Chesapeake, VA 23332                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.350    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Brenda & Cortney Etheredge/Goodson/Griff                              Contingent
          2 Wallace Road                                                        Unliquidated
          Mount Holly, NJ 08060                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.351    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,358.00
          Brenda & Glenn Isaacson                                               Contingent
          5959 Idlewood Road                                                    Unliquidated
          Mound, MN 55364                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.352    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,554.00
          Brenda & Paul Bob                                                     Contingent
          8506 Bandridge Road                                                   Unliquidated
          Laporte, TX 77571                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.353    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          Brenda & Toby Wibeto                                                  Contingent
          7515 E Florian Ave                                                    Unliquidated
          Mesa, AZ 85208                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.354    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Brenda Crow                                                           Contingent
          4578 TWIN PEAKS DRIVE                                                 Unliquidated
          LOVELAND, CO 80537                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.355    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Brenda Hardwick                                                       Contingent
          8478 Jason Street                                                     Unliquidated
          Federal Heights, CO 80260                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.356    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,949.00
          Brenda Sisneros                                                       Contingent
          845 Salem Street                                                      Unliquidated
          Aurora, CO 80010                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.357    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Brenda Smith                                                          Contingent
          17715 Dusty Patty Ct.                                                 Unliquidated
          Richmond, TX 77407                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.358    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,895.00
          Brenda Soper                                                          Contingent
          6427 Newcombe St                                                      Unliquidated
          Apt #A                                                                Disputed
          Arvada, CO 80004
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.359    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Brett & Rebecca Sterrett                                              Contingent
          97 E Wildflower Court                                                 Unliquidated
          Saratoga Springs, UT 84045                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.360    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,958.00
          Brian & Barbara Cossey (Stewart)                                      Contingent
          5450 Wickerdale Lane                                                  Unliquidated
          Highlands Ranch, CO 80130                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.361    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,778.00
          Brian & Charlene Odaffer                                              Contingent
          6177 N Cedar Ave                                                      Unliquidated
          Medford, MN 55049                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.362    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,200.00
          Brian & Cheryl Kellison                                               Contingent
          1002 N 1138 Rd                                                        Unliquidated
          Lawrence, KS 66047                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.363    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,990.00
          Brian & Ebony Gauthier                                                Contingent
          4009 8th Street NW                                                    Unliquidated
          Lehigh Acres, FL 33976                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.364    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,750.00
          Brian & Nanette Barbiche                                              Contingent
          PO Box 2523                                                           Unliquidated
          Granby, CO 80446                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.365    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,250.00
          Brian and Angela Petersen                                             Contingent
          4419 E. Indigo Bay Dr.                                                Unliquidated
          Gilbert, AZ 85234                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.366    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $29,524.94
          Brian And Elinor Sullivan                                             Contingent
          9732 S Seeley Ave                                                     Unliquidated
          Chicago, IL 60643                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.367    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,470.00
          Brian and Elisabeth Corcoran                                          Contingent
          16029 Pikes Peak Dr                                                   Unliquidated
          Broomfield, CO 80023                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.368    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Brian and Eric Studdert                                               Contingent
          26112 Queens Glen Drive                                               Unliquidated
          Kingwood, TX 77339                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.369    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,745.00
          Brian and Rosemarie Lockie                                            Contingent
          10861 Golfview Dr North                                               Unliquidated
          Penbroke Pines, FL 33026                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.370    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Brian Berg                                                            Contingent
          14 San Anselmo                                                        Unliquidated
          Rancho Santa Margarita, CA 92688                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.371    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,470.00
          Brian Geer and Jacqueline Rivera                                      Contingent
          PO Box 315                                                            Unliquidated
          Walden, CO 80480                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.372    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Brian Rathbun                                                         Contingent
          4997 S Espana Way                                                     Unliquidated
          Centennial, CO 80015                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.373    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Brian W Jackson                                                       Contingent
          2509 Testway Ave                                                      Unliquidated
          Fort Washingtion, MD 20744                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.374    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Brice Bohrer Creative LLC                                             Contingent
          3082 Willowrun Dr                                                     Unliquidated
          Castle Rock, CO 80109                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.375    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Bridget & Alexandria Codrington/Mckenzie                              Contingent
          534 Vandalia Ave                                                      Unliquidated
          Brooklyn, NY 11239                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.376    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,870.00
          Bridgette & Melody Craddock/Johnson                                   Contingent
          936 Wynfield Ter                                                      Unliquidated
          Richmond, Va 23223                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.377    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Brookshire resort - Vacation Village Res                              Contingent
          2626 Oakland Park Boulevard                                           Unliquidated
          Fort Lauderdale, FL 33306                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.378    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Bruce & Beverly Nelsen                                                Contingent
          108 Park Rd.                                                          Unliquidated
          Staples, MN 56479                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.379    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,500.00
          Bruce & Donna Davis                                                   Contingent
          P.O Box 771                                                           Unliquidated
          West Liberty, KY 41772                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.380    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Bruce and Kathleen Anderson                                           Contingent
          5707 Wolf Village Drive                                               Unliquidated
          Colorado Springs, CO 80924                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.381    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,010.00
          Bruce and Kathleen Anderson                                           Contingent
          14949 Sandpiper Drive                                                 Unliquidated
          Little Falls, MN 56345                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.382    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Bruce Buell                                                           Contingent
          PO Box 27351                                                          Unliquidated
          Denver, CO 80227                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.383    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,900.00
          Bruce Girgenrath & Margaret Jane Hough                                Contingent
          8 Round Table Drive                                                   Unliquidated
          Bell Vernon, PA 15012                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.384    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          Bruce Goodman                                                         Contingent
          176 Dayleview Ro                                                      Unliquidated
          Berwyn, PA 19312                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.385    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,482.51
          Bryan & Tawnia West                                                   Contingent
          3736 Marathon Drive                                                   Unliquidated
          Billings, MT 59102                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.386    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Bryan and Marie Good                                                  Contingent
          10136 E Southern Ave #1102                                            Unliquidated
          Mesa, AZ 85209                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.387    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Buffy & David L. Sacre                                                Contingent
          4504 Exton Lane                                                       Unliquidated
          Chester, VA 23831                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.388    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Buganvilias Resort Vacation Club                                      Contingent
          #D747 BlvdFrancisco Medina Ascenclo No.                               Unliquidated
          Jalisco, Mexico                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.389    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Burn, Figa & Will, P.C.                                               Contingent
          6400 S. Fiddlers Green Circle Suite 1000                              Unliquidated
          Greenwood Village, CO 80111                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.390    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bushkill Group                                                        Contingent
          PO Box 447                                                            Unliquidated
          Bushkill, PA 18324                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.391    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,652.25
          Business Capital One Spark Visa Holly                                 Contingent
          P.O. Box 30285                                                        Unliquidated
          Salt Lake City, UT 84130                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.392    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,050.00
          Byron And Sandra Wake                                                 Contingent
          1507 Haven Lock Drive                                                 Unliquidated
          Houston, TX 77077                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.393    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,007.00
          Byron And Theresa Fain                                                Contingent
          702 S Moore St                                                        Unliquidated
          Dallas, TX 75203                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.394    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,535.35
          C Thomas (Tom) & Sandra Young                                         Contingent
          4404 Steeplechase trail                                               Unliquidated
          Arlington, TX 76016                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.395    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          C2C Resources, LLC                                                    Contingent
          56 Perimeter Center East Suite 100                                    Unliquidated
          Atlanta, GA 30346                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.396    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          C4 Sign & Design                                                      Contingent
          8072 S Grant Way                                                      Unliquidated
          Littleton, CO 80122                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.397    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Cabo Villas                                                           Contingent
          Callejon del Pescador S/N Medano Beach                                Unliquidated
          Cabo San Lucas 23453, Mexico                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.398    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          California Vacation Club in Napa Valley                               Contingent
          500 lincoln Avenue                                                    Unliquidated
          Napa, CA 94558                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.399    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          CALL RAIL INC                                                         Contingent
          100 Peachtree St NW #2700                                             Unliquidated
          Atlanta, GA 30303                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.400    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Callena Sturdivant                                                    Contingent
          PO Box 33182                                                          Unliquidated
          Charlotte, NC 28233                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.401    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,500.00
          Calvin And Debra Snyder                                               Contingent
          3538 Clater Powell                                                    Unliquidated
          Waco, TX 76705                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.402    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,453.00
          Calvin Bowles and Clarizelle Reyes                                    Contingent
          201 Pennsylvania Ave                                                  Unliquidated
          Apt 316                                                               Disputed
          Fairfield, CA 94533
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.403    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Calypso Cay Resort                                                    Contingent
          4951 Calpso Cay Way                                                   Unliquidated
          Kissimmee, FL 34746                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.404    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Canadian Lakes                                                        Contingent
          100th Ave.                                                            Unliquidated
          Canadian Lakes, MI 49346                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.405    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Canvas Bank                                                           Contingent
          PO Box 5238                                                           Unliquidated
          Englewood, CO 80155                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.406    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,750.00
          Capathia Jenkins                                                      Contingent
          262 Jefferson Avenue                                                  Unliquidated
          Canton, GA 30114                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.407    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Capistrano Surfside Inn                                               Contingent
          34680 Coast Highway                                                   Unliquidated
          Capistrano Beach, CA 92624                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.408    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Capital Resorts                                                       Contingent
          150 2nd Ave N STE 450                                                 Unliquidated
          Saint Petersburg, FL 33701-3340                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.409    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Capital Vacations                                                     Contingent
          9654 N Kings Hwy. Suite 101                                           Unliquidated
          Myrtrle Beach, SC 29572-4040                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.410    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Capital Vacations                                                     Contingent
          9654 N Kings Hwy #101                                                 Unliquidated
          Myrtle Beach, SC 29572                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.411    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Captain Morgan's Retreat                                              Contingent
          3.5 Miles North                                                       Unliquidated
          San Pedro 9999, Belize                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.412    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Captain's Cove Resort                                                 Contingent
          Big Lake Road PO Box 49                                               Unliquidated
          Gresham, WI 54128                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.413    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Caribbean Palm Village                                                Contingent
          Noord 43-E Palm Beach Road                                            Unliquidated
          Noord, Aruba                                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.414    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Carl & Barbara Kindermann                                             Contingent
          52York Hill Ct                                                        Unliquidated
          Wentzville, MO 63385                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.415    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Carl, Alfred Swanson                                                  Contingent
          3448 S Iris Ct                                                        Unliquidated
          Lakewood, CO 80227                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.416    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Carla and Brian Scheppler                                             Contingent
          18725 E 100th PL                                                      Unliquidated
          Commerce City, CO 80022                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.417    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,574.00
          Carla and Greg Potts                                                  Contingent
          1260 County Road 6236 North                                           Unliquidated
          Granby, CO 80446                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.418    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,192.00
          Carla Hastings                                                        Contingent
          1550 N Stapley Unite 33                                               Unliquidated
          Mesa, AZ 85203                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.419    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,346.00
          Carlos & Paulette Davila                                              Contingent
          8603 West Cove Circle                                                 Unliquidated
          Houston, TX 77064                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.420    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,500.00
          Carlos & Valerie Hernandez                                            Contingent
          13785 W 64th Pl.                                                      Unliquidated
          Arvada, TX 80004                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.421    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,931.00
          Carlos and Corazon Laygo                                              Contingent
          8786 Don Hordon Ave.                                                  Unliquidated
          Las Vegas, NV 89178                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.422    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,126.00
          Carlos And Mary DeJesus (SPO)                                         Contingent
          95 Weare Street 3rd Floor                                             Unliquidated
          Lawrence, MA 01843                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.423    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,771.92
          Carlos And Mioara Mercado Torres                                      Contingent
          16 Golden Knight Terrace                                              Unliquidated
          Cameron, NC 28326                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.424    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Carlos And Tamira Santiago                                            Contingent
          108 Pecanwood CT                                                      Unliquidated
          Georgetown, TX 78626                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.425    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,500.00
          Carlos Gonzalez                                                       Contingent
          2118 W Glen Rosa Ave                                                  Unliquidated
          Phoeniz, AZ 85015                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.426    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,933.00
          Carlton and Leslie Allderdice                                         Contingent
          24042 E. Moraine Place                                                Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.427    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Carlton Barber                                                        Contingent
          1020 Mockingbird Lane                                                 Unliquidated
          Richwood, TX 77531                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.428    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Carmen Elam and Phyllis Reed                                          Contingent
          256 Diamond Drive                                                     Unliquidated
          Evergreen, CO 80439                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.429    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Carol Freeman-Richardson and James Rich                               Contingent
          4268 Magnolia Ln N                                                    Unliquidated
          Plymouth, MN 55441                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.430    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,673.00
          Carol & Dennis Lanspery                                               Contingent
          1681 Albany Court                                                     Unliquidated
          Hollister, CA 95023                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.431    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,295.00
          Carol & Humberto Udel-Rodriguez                                       Contingent
          501 Carleton Dr                                                       Unliquidated
          Richardson, TX 75081                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.432    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,080.00
          Carol & Lane Morris/Knox                                              Contingent
          1934 Stonegate Dr                                                     Unliquidated
          Calument City, IL 60473                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.433    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,200.00
          Carol & Marlin Amsberry                                               Contingent
          516 East Hinsdale Avenue                                              Unliquidated
          Littleton, CO 80122                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.434    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Carol & Michael Snapp                                                 Contingent
          145 Leason Cove Drive                                                 Unliquidated
          Lusby, MD 20657                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.435    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,307.61
          Carol & Norman Hinrichs                                               Contingent
          690 Monn Ave                                                          Unliquidated
          ST. Paul, MN 55127                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.436    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,295.00
          Carol & Ralph Krieser                                                 Contingent
          13955 E Oxford Place                                                  Unliquidated
          Aurora, CO 80014                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.437    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,950.00
          Carol & Susan Wiegrefe                                                Contingent
          42443 120th Street                                                    Unliquidated
          Mabel, MN 55954                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.438    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,117.11
          Carol A. Jones                                                        Contingent
          17751 Devon Drive                                                     Unliquidated
          Country Club Hills, IL 60478                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.439    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,867.00
          Carol and Charles Walters                                             Contingent
          16600 25th Ave NE Unit 140                                            Unliquidated
          Marysville, DC 98271                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.440    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Carol and Gary Thompson                                               Contingent
          8716 W Indore Dr                                                      Unliquidated
          Littleton, CO 80128                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.441    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Carol and Lewis Barnes                                                Contingent
          2904 Veva Dr.                                                         Unliquidated
          Pearland, TX 77584                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.442    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,500.00
          Carol and Mark Tomlinson                                              Contingent
          5629 Van Buren Street                                                 Unliquidated
          Groves, TX 77619                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.443    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Carol and Martin Frenkel                                              Contingent
          1025 Autumn Dr.                                                       Unliquidated
          Antioch, IL 60002                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.444    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,536.00
          Carol and Marvin Morganti                                             Contingent
          1950 Virgo Circle                                                     Unliquidated
          Loveland, CO 80537                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.445    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Carol and Perry Brady                                                 Contingent
          PO Box 717                                                            Unliquidated
          Lehi, UT 84043                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.446    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          Carol Carmouche                                                       Contingent
          1706 Highland Glen Lane                                               Unliquidated
          Pearland, TX 77581                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.447    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,639.00
          Carol Council                                                         Contingent
          20 Mill Stone Rd Ext                                                  Unliquidated
          Moncure, NC 27559                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.448    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,319.70
          Carol Johnson                                                         Contingent
          1367 River Drive                                                      Unliquidated
          Apt 11                                                                Disputed
          Chicago, IL 60409
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.449    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,800.00
          Carol Magee                                                           Contingent
          8600 E Alameda Ave Unit 12-103                                        Unliquidated
          Denver, CO 80247                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.450    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,721.00
          Carol Murray                                                          Contingent
          6476 S High St                                                        Unliquidated
          Centennial, CO 80121                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.451    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,108.25
          Carol Pelikan                                                         Contingent
          2142 West Grace Street                                                Unliquidated
          Chicago, IL 60618                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.452    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,395.00
          Carol Thomas                                                          Contingent
          5744 North Lawrence Street                                            Unliquidated
          Philadelphia, PA 19120                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.453    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,683.00
          Carol Zeller                                                          Contingent
          7478 Pebble Lake Dr                                                   Unliquidated
          Mechanicsville, VA 23231                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.454    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,996.00
          Carole Simpson                                                        Contingent
          16665 North Boxcar Dr                                                 Unliquidated
          Fountain Hills, AZ 86695-2512                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.455    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,904.00
          Caroline & George Morris                                              Contingent
          65 Standiford Ct                                                      Unliquidated
          Wilmington, DE 19804                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.456    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,034.00
          Caroline & Lewis Efird                                                Contingent
          2931 Grampain Drive                                                   Unliquidated
          Gastonia, NC 28054                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.457    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Caroline Czirr                                                        Contingent
          607 Clayton                                                           Unliquidated
          Denver, CO 80206                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.458    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Carolyn & James (Rick) Vansant                                        Contingent
          1420 Reed Street                                                      Unliquidated
          Coatesville, PA 19320                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.459    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Carolyn & Raymond Smith                                               Contingent
          245 Ridge Drive                                                       Unliquidated
          Bowie, TX 76230                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.460    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,876.00
          Carolyn Moore                                                         Contingent
          409 Eastern Road                                                      Unliquidated
          Apt M3                                                                Disputed
          Willow Grove, PA 19090
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.461    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,648.32
          Carolyn Pruitt                                                        Contingent
          7145 Oglesby Ave.                                                     Unliquidated
          Chicago, IL 60649                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.462    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Carolyn Sutherland                                                    Contingent
          3445 Trenary Ln                                                       Unliquidated
          CO Springs, CO 80918                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.463    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,250.00
          Caron And Ken Pierre                                                  Contingent
          40 North Lake Drive                                                   Unliquidated
          Newnan, GA 30263                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.464    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Carriage House Resorts                                                Contingent
          250 S,E, 20th Ave A1A                                                 Unliquidated
          Deerfield Beach, FL 33441                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.465    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Carribean Palm Village                                                Contingent
          Noord 43-E Palm Beach Road                                            Unliquidated
          Oranjestad, Aruba                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.466    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,910.00
          Carrie & Kim & Todd & Kurt Peck/Phillips                              Contingent
          818 East Dartmoor                                                     Unliquidated
          Sevenhills, OH 44131                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.467    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,734.00
          Carrie And David Holmes                                               Contingent
          107 N Craig Rd (PO Box 118)                                           Unliquidated
          Prosper, TX 75078                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.468    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,108.00
          Carrie Lopes/Steve Ricciardi                                          Contingent
          2 Daniel Lane                                                         Unliquidated
          North Truro, MA 02652                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.469    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Carrie Mullinix                                                       Contingent
          16149 E Geddes Ln                                                     Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.470    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Carrol & Lee Holmes                                                   Contingent
          4425 Melanie Lane                                                     Unliquidated
          College Park, GA 30349                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.471    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,500.00
          Caryn Gover                                                           Contingent
          4319 Pebble Creek Dr. Apt. D                                          Unliquidated
          Bakersfield, CA 93312                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.472    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Casa Dorado                                                           Contingent
          Avv. Pescador S/N Col. Medano                                         Unliquidated
          Cabo San Lucas 23453, BCS 23479                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.473    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Casillas Law                                                          Contingent
          4704 Harlan ST Suite 685                                              Unliquidated
          Denver, CO 80212                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.474    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Casimir & Otibhor Agbi                                                Contingent
          115-36 Mexico St                                                      Unliquidated
          Saint Albans, NY 11412                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.475    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,451.77
          Cassandra And David Munoz Cornejo                                     Contingent
          1902 East Alta Vista Road                                             Unliquidated
          Phoenix, AZ 85042                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.476    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,891.00
          Cassandra And Gregory Reynolds                                        Contingent
          5403 Pine Ridge Lane                                                  Unliquidated
          Rosharon, TX 77583                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.477    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Catch Fire Marketing                                                  Contingent
          6888 S Clinton St suite 10                                            Unliquidated
          Greenwood Village, CO 80112                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.478    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,252.00
          Catherine & Dana Harris                                               Contingent
          913 School                                                            Unliquidated
          Matteson, IL 60443                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.479    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Catherine & Leonard M Gula                                            Contingent
          34 Greenlawn Street                                                   Unliquidated
          Fall River, MA 02720                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.480    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Catherine Foster                                                      Contingent
          4401 Tuskeegee Place                                                  Unliquidated
          Clinton, MD 20735                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.481    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,457.00
          Cathy & Marion Eaton                                                  Contingent
          8025 Ohio Dr Apt 4106                                                 Unliquidated
          Plano, TX 75024                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.482    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,900.00
          Cathy and Ronald Dock                                                 Contingent
          6250 17th St S                                                        Unliquidated
          St Petersburg, FL 33712                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.483    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Causeway on Gull                                                      Contingent
          8087 Lost Lake Road                                                   Unliquidated
          Nisswa, MN 56468                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.484    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,740.00
          CBS                                                                   Contingent
          530 W. 57th Street                                                    Unliquidated
          New York, NY 10019                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8179
                                                                             Is the claim subject to offset?     No       Yes

 3.485    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          CBS 17                                                                Contingent
          1205 FRONT ST.                                                        Unliquidated
          Raleigh, NC 27609                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.486    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $254,024.67
          CCR Communications Credit & Recovery                                  Contingent
          Cor                                                                   Unliquidated
          20 Broad Hallow Rd Suite 1002                                         Disputed
          Melville, NY 11747
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       1594                         Is the claim subject to offset?     No       Yes


 3.487    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,458.43
          Cecelia Wilson                                                        Contingent
          7025 Rohn Dr                                                          Unliquidated
          St. Louis, MO 63121                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.488    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,000.00
          Cecil & Linda Champaign                                               Contingent
          8012 Autumn Forest Drive                                              Unliquidated
          Jonesboro, GA 30236                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.489    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Cecilia and Larry Podzimek                                            Contingent
          10237 Millstone Drive #5105                                           Unliquidated
          Lenexa, KS 66220                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.490    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,530.00
          Cecilio & Christiane Santos                                           Contingent
          21334 Campo Allegro Dr.                                               Unliquidated
          Boca Raton, FL 33433                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.491    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Cedar at Streamside                                                   Contingent
          2244 S. Frontage Rd. W.                                               Unliquidated
          Vail, CO 81657                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.492    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,200.00
          Celeste Lewis                                                         Contingent
          5539 Marcella Rd                                                      Unliquidated
          Merrville, IN 46410                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.493    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,200.00
          Celeste Lewis                                                         Contingent
          5539 Marcella Rd                                                      Unliquidated
          Merrville, IN 46410                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.494    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,838.00
          Celia Lightfoot                                                       Contingent
          7402 Shady Vale Lane                                                  Unliquidated
          Houston, TX 77040                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.495    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,500.00
          Celina Polanco                                                        Contingent
          641 10th Ave 2FS                                                      Unliquidated
          NY, NY 10036                                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.496    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Century Link                                                          Contingent
          P.O. Box 91155                                                        Unliquidated
          Seattle, WA 98111                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.497    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,500.00
          Ceona and Jerry Jarrard                                               Contingent
          9250 Morning Star Place                                               Unliquidated
          Parker, CO 80134                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.498    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Cesar Castneda Hernandez                                              Contingent
          17929 E Cornell Dr                                                    Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.499    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,346.71
          Cesar Garza                                                           Contingent
          6807 Avenue F                                                         Unliquidated
          Houston, TX 77011                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.500    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          CFOshare                                                              Contingent
          3001 Brighton Blvd Suite 643                                          Unliquidated
          Denver, CO 80216                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.501    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,280.00
          Chad & Heather Johnston                                               Contingent
          3542 Island Dr                                                        Unliquidated
          North Topsail Beach, NC 28460                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.502    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,965.00
          Chandra & Willie Jackson                                              Contingent
          11614 Borderwood Dr.                                                  Unliquidated
          Huston, TX 77013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.503    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,161.40
          Chantelle & Albert (Danny) Deitrich                                   Contingent
          8939 Wald Road                                                        Unliquidated
          Houston, TX 77034                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.504    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,014.00
          Chantelle Bermoy                                                      Contingent
          91-1081 Iwikuamoo St, Unit #1412                                      Unliquidated
          Ewa Beach, HI 96706                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.505    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,696.00
          Charla Rosenberry and Jamie Rennick                                   Contingent
          23882 E Chanango                                                      Unliquidated
          Aurora, CO 80015                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.506    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,900.00
          Charlane Frazier                                                      Contingent
          2202 Jerome Prairie Rd                                                Unliquidated
          Grants Pass, OR 97527                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.507    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Charlene & Paula Smith                                                Contingent
          1009 Indian Camp Road                                                 Unliquidated
          Smithfield, NC 27577                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.508    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,900.00
          Charlene and Jeffry Iskra                                             Contingent
          11401 69th Ave North                                                  Unliquidated
          Seminole, FL 33772                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.509    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Charlene Connelly                                                     Contingent
          4034 Buckeye Creek Road                                               Unliquidated
          Kingwood, TX 77339                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.510    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,576.00
          Charlene Sandoval                                                     Contingent
          2775 S Raleigh St                                                     Unliquidated
          Denver, CO 80236                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.511    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,328.00
          Charles & Catherine Thompson                                          Contingent
          787 Dennison Pond Road                                                Unliquidated
          Francestown, NH 03043                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.512    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Charles & Denise Baston/McElroy                                       Contingent
          307 Deer Park Ave                                                     Unliquidated
          Temple Terrace, FL 33617                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.513    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Charles & Jeannie Kemp                                                Contingent
          2002 E Cypress                                                        Unliquidated
          East Bernard, TX 77435                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.514    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,034.00
          Charles & Joann Schauber Sr / McCloskey                               Contingent
          203 Gordy Place                                                       Unliquidated
          New Castle, DE 19720-4703                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.515    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,272.34
          Charles & John & Denise Beckman/Emory                                 Contingent
          9598 Brentwood Way                                                    Unliquidated
          Westminister, CO 80021                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.516    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,961.00
          Charles & Kim Radcliff Jr                                             Contingent
          4044 Russet Way                                                       Unliquidated
          Country Club Hills, IL 60478                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.517    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,314.80
          Charles & Shelley Blue                                                Contingent
          407 Hoffeckers Mill Dr                                                Unliquidated
          Smyrna, DE 19977                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.518    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,915.00
          Charles & Willie (Diane) Roberts                                      Contingent
          4108 Nicklaus Drive                                                   Unliquidated
          Mansfield, TX 76063                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.519    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Charles (Chuck) & Shirley McCoy/Ingle-Mc                              Contingent
          1720 Sheffield Place                                                  Unliquidated
          Fort Worth, TX 76112                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.520    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Charles (Chuck) Merrill                                               Contingent
          6324 Spotted Fawn Run                                                 Unliquidated
          Littleton, CO 80125                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.521    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,700.00
          Charles and Barbara Vieser                                            Contingent
          186 Lakeview Dr                                                       Unliquidated
          Whispering Pines, NC 28327                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.522    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,095.00
          Charles And Beverly Wilkinson                                         Contingent
          670 Bayshore Drive                                                    Unliquidated
          Hotsprings, AR 74901                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.523    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,740.19
          Charles And Carolyn McGehee                                           Contingent
          509 S. Dante Ave                                                      Unliquidated
          Glenwood, IL 60425                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.524    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Charles and Donna Ask                                                 Contingent
          P.O. Box 509                                                          Unliquidated
          Sedalia, CO 80135                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.525    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,288.00
          Charles And Jan Robinson                                              Contingent
          2001 83rd Ave. North, Lot #3159                                       Unliquidated
           FL 33702                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.526    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Charles And Judi Schwab                                               Contingent
          2225 Mileville Drive                                                  Unliquidated
          San Marino, CA 91108                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.527    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,070.00
          Charles and Linda Myers                                               Contingent
          10784 Ursula St                                                       Unliquidated
          Commerce City, CO 80022                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.528    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,114.00
          Charles And Marianne Robino Jr                                        Contingent
          1194 Hampshire Place                                                  Unliquidated
          West Chester, PA 19382                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.529    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,421.97
          Charles And Nancy Witchet                                             Contingent
          9419 Bearden Creek Lane                                               Unliquidated
          Humble, TX 77396                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.530    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,110.00
          Charles And Sherry Carter                                             Contingent
          2207 Clayton Dr                                                       Unliquidated
          Baytown, TX 77520                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.531    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,845.00
          Charles And Suzanne Quackenbush                                       Contingent
          16027 Jones Road                                                      Unliquidated
          Brooksville, FL 34601                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.532    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,358.00
          Charles And Thelma Banks                                              Contingent
          15231 Bridge Oak Lane                                                 Unliquidated
          Sugar Land, TX 33498                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.533    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,909.00
          Charles Anthony and Shelia Lujan                                      Contingent
          4510 E 121st Ct                                                       Unliquidated
          Thornton, CO 80241                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.534    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,800.00
          Charles Dean & Susannah Gonzales                                      Contingent
          6929 233 Rd                                                           Unliquidated
          Silt, CO 81652                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.535    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,200.00
          Charles Hanlon                                                        Contingent
          12 Peters Road                                                        Unliquidated
          Riverside, CT 06878                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.536    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Charles Ho                                                            Contingent
          8100 E Union Ave #1212                                                Unliquidated
          Denver, CO 80237                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.537    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Charles Scott Rittenhouse                                             Contingent
          9416 West Ontario Drive                                               Unliquidated
          Littleton, CO 80128                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.538    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,500.00
          Charlette Howard And Traci M. Harris                                  Contingent
          4707 Lakefront Terrace Ct                                             Unliquidated
          Pearland, TX 77584                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.539    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,744.45
          Charlie & Rosetta Bordelon                                            Contingent
          9275 Bella Vita Cir                                                   Unliquidated
          Land O' Lakes, FL 34637                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.540    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Charlotte Bay Resort and Club                                         Contingent
          23128 Bayshore Rd.                                                    Unliquidated
          Punta Gorda, FL 33980                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.541    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,245.00
          Charlotte Viggiano                                                    Contingent
          9 Adler Circle                                                        Unliquidated
          Galveston, TX 77551                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.542    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Chase Bank                                                            Contingent
          PO Box 182051                                                         Unliquidated
          Columbus, OH 43218                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.543    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Chateau New Orleans                                                   Contingent
          240 Rue Burgundy                                                      Unliquidated
          New orleans, LA 70112                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.544    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Cher and Virgilio Gil Romero                                          Contingent
          1262 Inca Dr.                                                         Unliquidated
          Oxnard, CA 93030                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.545    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,555.00
          Cheri & William Snider                                                Contingent
          57 Stinson Rd                                                         Unliquidated
          Douglas, WY 82633                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.546    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Cherie Van Over                                                       Contingent
          65230 94th St.                                                        Unliquidated
          Bend, OR 97703                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.547    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,945.00
          Cheryl & Charles Lewis                                                Contingent
          154 Emelia Street                                                     Unliquidated
          Chicago Heights, IL 60411                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.548    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,237.48
          Cheryl & David Thomas/Hamilton                                        Contingent
          906 3rd Strret                                                        Unliquidated
          MCKees Rocks, PA 15136                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.549    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,200.00
          Cheryl & Pat Christian                                                Contingent
          7703 Hilltopper Ct                                                    Unliquidated
          Springfield, VA 22153                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.550    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          Cheryl And Jerry Strine                                               Contingent
          22155 Swan St #623                                                    Unliquidated
          South Lyon, MI 48178                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.551    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,250.00
          Cheryl Duzant                                                         Contingent
          411 Brandywine Fails Ct                                               Unliquidated
          Apollo Beach, FL 33572                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.552    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,480.00
          Cheryl Lamaak                                                         Contingent
          3214 Coral Ridge Court                                                Unliquidated
          League City, TX 77573                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.553    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Cheryl Lombre                                                         Contingent
          636 West 47th st unit 1                                               Unliquidated
          Chicago, IL 60609                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.554    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Cheryl Nelson                                                         Contingent
          PO Box 86                                                             Unliquidated
          Guffey, CO 80820                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.555    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,905.00
          Cheryl Poole                                                          Contingent
          905 Applegate Pkwy                                                    Unliquidated
          Waxhaw, NC 28173                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.556    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,576.53
          Chester And Chemarlyn Cassel                                          Contingent
          11315 Corola Trail Dr                                                 Unliquidated
          Houston, TX 77066                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.557    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,686.00
          Chris & Holly Mitchell                                                Contingent
          1719 Fox Ridge Road                                                   Unliquidated
          Eufaula, AL 36027                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.558    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,250.00
          Chris & Kristin Murray                                                Contingent
          13514 W. Rovery Ct.                                                   Unliquidated
          Litchfield Park, AZ 85340                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.559    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,436.00
          Chris & Shirley Kohlmeier                                             Contingent
          26722 Cuenca DR                                                       Unliquidated
          Mission Viejo, CA 92691                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.560    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,353.00
          Chris And Helen Matthews                                              Contingent
          1837 Balmoral Avenue                                                  Unliquidated
          Westchester, IL 60154                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.561    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Chris and Lisa Sohigian                                               Contingent
          18 Tracey Dr.                                                         Unliquidated
          Whitinsville, MA 01588                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.562    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Chris And Mari Jo Royer                                               Contingent
          739 N Sumac St                                                        Unliquidated
          Olathe, KS 66061                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.563    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Chris Roberts                                                         Contingent
          1468 S Garfield St                                                    Unliquidated
          Denver, CO 80210                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.564    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Chris Tidwell/Megan Tomlin                                            Contingent
          114 Whippoorwill Dr                                                   Unliquidated
          Waverly, TN 37185                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.565    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Chris&Susan D'Avy                                                     Contingent
          1216 D Avy Road                                                       Unliquidated
          New Iberia, LA 70560                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.566    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,800.00
          Christa and Paul Saenz                                                Contingent
          2628 E. 132nd Ave.                                                    Unliquidated
          Thorton, CO 80241                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.567    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,000.00
          Christen & James Tomcheck                                             Contingent
          1612 Heather Lane                                                     Unliquidated
          Southlake, TX 76092                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.568    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,925.02
          Christen Bryce                                                        Contingent
          4111 Albany Street                                                    Unliquidated
          Schenectady, NY 12304                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.569    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,567.00
          Christian & Carrie Miller                                             Contingent
          5551 W. Christy Dr.                                                   Unliquidated
          Glendale, AZ 85304-3889                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.570    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,250.00
          Christian Stout                                                       Contingent
          7575 E 29th Pl Apt 4054                                               Unliquidated
          Denver, CO 80238                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.571    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Christie Lodge                                                        Contingent
          47 E. Beaver Creek Blvd                                               Unliquidated
          Avon, CO 81620                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.572    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,334.00
          Christina and John Medler                                             Contingent
          8551 Raviller Dr.                                                     Unliquidated
          Downey, CA 90240                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.573    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,537.00
          Christina DeVera and Terry Jones                                      Contingent
          11 A East Dunee Quarter                                               Unliquidated
          Unit 308                                                              Disputed
          Palatine, IL 60074
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.574    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,805.68
          Christine & Patrick Shepler                                           Contingent
          4427 Hanover Park Drive                                               Unliquidated
          Jacksonville, FL 32224                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.575    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,426.00
          Christine & Theresa Howland/Backhaus                                  Contingent
          4900 W 60th Ave                                                       Unliquidated
          Arvada, CO 80003                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.576    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Christine and Kent Harker                                             Contingent
          1008 W 600 North                                                      Unliquidated
          West Bontiful, UT 84087                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.577    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Christine And Terry Pridemore                                         Contingent
          2414 Moon Dance Lane                                                  Unliquidated
          Midlothian, TX 76065                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.578    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,500.00
          Christine Bowlby                                                      Contingent
          4960 N. Caseville Rd.                                                 Unliquidated
          Caseville, MI 48725                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.579    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,921.00
          Christine Orris and Joe Badre                                         Contingent
          91 East 207 Street                                                    Unliquidated
          Euclid, OH 44123                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.580    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,673.00
          Christine Reisinger/Martin Zaffaroni                                  Contingent
          7924 Deertrail Drive                                                  Unliquidated
          Parker, CO 80138                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.581    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Christmas Mountain                                                    Contingent
          S944 Christmas Mountain Road                                          Unliquidated
          Wisconsin Dells, WI 53965                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.582    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,650.29
          Christopher & Alicia Miller                                           Contingent
          136 Cartier Court                                                     Unliquidated
          Dillon, CO 80435                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.583    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,489.20
          Christopher & Amy Tecmire                                             Contingent
          1402 Hendricks Blvd                                                   Unliquidated
          Fort Smith, AR 72903                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.584    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Christopher & Ashley Graham                                           Contingent
          3221 19th Ave South                                                   Unliquidated
          Great Falls, MT 82007                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.585    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,025.00
          Christopher & Emily Knackstedt                                        Contingent
          1827 Golden Willow Court                                              Unliquidated
          Fort Collins, CO 80528                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.586    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,146.00
          Christopher & Megan Kristan                                           Contingent
          4992 W. Main Rd                                                       Unliquidated
          Fredonia, NY 14063                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.587    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,900.00
          Christopher & Sandi Garbiso                                           Contingent
          29115 E 166th Ave                                                     Unliquidated
          Brighton, CO 80603                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.588    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,112.00
          Christopher & Tania Tesch                                             Contingent
          W244N6622 Westchester Drive                                           Unliquidated
          Sussex, WI 53089                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.589    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,989.00
          Christopher & Tracey Robertson                                        Contingent
          5451 Pecan Creek Circle                                               Unliquidated
          Fort Worth, TX 76244                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.590    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,373.96
          Christopher (Chris) and Jeorgina (Gina)                               Contingent
          803 Sam Hunting Drive                                                 Unliquidated
          Williamsburg, VA 23188                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.591    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,906.00
          Christopher and Christena Hicks                                       Contingent
          15210 E. Crest line Ave.                                              Unliquidated
          Aurora, CO 80015                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.592    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,740.00
          Christopher and Yolando Daniels                                       Contingent
          19235 Pepper Grass Dr.                                                Unliquidated
          Tampa, FL 33647                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.593    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Christopher Clark                                                     Contingent
          23 Passaconaway Dr                                                    Unliquidated
          Billerica, MA 01821                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.594    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,148.00
          Christopher D. McNamara                                               Contingent
          8726 Woods End Street                                                 Unliquidated
          San Antonio, TX 78240                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.595    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,022.00
          Christopher Kaijala & Janice Collis                                   Contingent
          3242 Hall Road                                                        Unliquidated
          Muskegon, MI 49442                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.596    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,824.00
          Christy & Darryl Thomas                                               Contingent
          7124 Main St                                                          Unliquidated
          Alvarado, TX 76009                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.597    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Chynell Johnson                                                       Contingent
          4103 W 98th St, Unit #3C                                              Unliquidated
          Oak Lawn, IL 60452                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.598    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Cibola Vista Resort and Spa                                           Contingent
          27501 N. LAKE Pleasant Parkway                                        Unliquidated
          Peoria, AZ 85383                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.599    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,785.00
          Cindia Vasquez                                                        Contingent
          124 S Valera Court                                                    Unliquidated
          Fort Worth, TX 76134                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.600    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,268.00
          Cindy & Corkey Harmon                                                 Contingent
          P.O. Box 424                                                          Unliquidated
          Palo Cedro, CA 96073                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.601    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,108.25
          Cindy & Dave Bieker                                                   Contingent
          2865 S Devinney Ct                                                    Unliquidated
          Lakewood, CO 80228                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.602    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,683.00
          Cindy & Ernest Partlow                                                Contingent
          468 Riding Trail Road                                                 Unliquidated
          York, SC 29745                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.603    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,718.00
          Cindy & Kerry Dean                                                    Contingent
          7209 Olson Ln                                                         Unliquidated
          Pasadena, TX 77505                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.604    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Cindy & Rodney Severson                                               Contingent
          2943 Lucena Lane                                                      Unliquidated
          Jacksonville, FL 32246                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.605    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,250.00
          Cindy and Norman Petrovich                                            Contingent
          822 E Myrtle Ave                                                      Unliquidated
          Phoenix, AZ 85020                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.606    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,795.00
          Cindy and Paul Plasters                                               Contingent
          804 Mercury Circle                                                    Unliquidated
          Littleton, CO 80124                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.607    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Cindy and Robert Cote                                                 Contingent
          58 Pembroke Rd                                                        Unliquidated
          Concord, NH 03301                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.608    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Cindy Bass                                                            Contingent
          42 E Burgundy St                                                      Unliquidated
          Littleton, CO 80126                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.609    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,203.00
          Cindy Cruz                                                            Contingent
          7023 Mobud Drive                                                      Unliquidated
          Houston, TX 77074                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.610    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,800.00
          Cindy Horton and Jill Warnock                                         Contingent
          9641 Montclair Dr                                                     Unliquidated
          Highlands Ranch, CO 80126                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.611    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Cindy Moors and Evania Nichols                                        Contingent
          105 Allen Paul Dr.                                                    Unliquidated
          Henderson, NC 28791                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.612    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,066.00
          Cindy Stroschein                                                      Contingent
          7300 Urban Drive                                                      Unliquidated
          Arvada, CO 80005                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.613    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,104.36
          Cindy Suggs and Stephen Massoletti                                    Contingent
          105 Misty CT                                                          Unliquidated
          Richwood, TX 77531                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.614    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Circle By Melia                                                       Contingent
          800 Brickell Ave. Suite 1000                                          Unliquidated
          Miami, FL 33131                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.615    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          City Sprint of Colorado                                               Contingent
          10568 Pierson Cir.                                                    Unliquidated
          Westminster, CO 80021                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.616    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Claire and Tom Cunningham                                             Contingent
          7214 Alafia Ridge Loop                                                Unliquidated
          Riverview, FL 33569                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.617    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Claire Cassano                                                        Contingent
          2969 Denbeigh Drive                                                   Unliquidated
          Hatfield, PA 19440                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.618    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,351.00
          Clara And Janette Platt                                               Contingent
          819 Bobcat Creek                                                      Unliquidated
          San Antonio                                                           Disputed
           TX 78251
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.619    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,448.60
          Clara Crockett                                                        Contingent
          20639 Silver Tea Ave.                                                 Unliquidated
          Hockley, TX 77447                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.620    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,906.00
          Clara Hoffman                                                         Contingent
          3042 Mountain Shadows Dr                                              Unliquidated
          Wheat Ridge, CO 80215                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.621    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Clare & Elizabeth Wichman/Ingram                                      Contingent
          871 Irving Park Blvd                                                  Unliquidated
          Sheffield Lake, OH 44054                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.622    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Clarence & Sherrie Ayers                                              Contingent
          4545 Jonquil Ln                                                       Unliquidated
          Monee, IL 60449                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.623    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,282.00
          Clarisa Cooper and Marino Reyes                                       Contingent
          86 De La Camden Street Apt. 2                                         Unliquidated
          Boston, MA 02118                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.624    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Clarissa & Clara Bell                                                 Contingent
          154 Girard Ave.                                                       Unliquidated
          Trenton, NJ 08638                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.625    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,750.00
          Clark & Dotty Colton                                                  Contingent
          3126 E. Fremont Dr                                                    Unliquidated
          Centennial, CO 80122                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.626    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Claudia and Damon Norton                                              Contingent
          80 Lansing St                                                         Unliquidated
          Aurora, CO 80010                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.627    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,698.00
          Claudia Bailey                                                        Contingent
          122 S Fremont St                                                      Unliquidated
          Palatine, IL 60067                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.628    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,645.00
          Clayton Figg                                                          Contingent
          920 Wagon Bend Road                                                   Unliquidated
          Berthoud, CO 80513                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.629    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,358.25
          Cleone and Cleone Solomon                                             Contingent
          155 E Meadowlark                                                      Unliquidated
          Snowflake, AZ 85937                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.630    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Cliffs at Peace Canon, El Dorado Resort                               Contingent
          4550 S. Canyon Drive                                                  Unliquidated
          Las Vegas, NV 89147                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.631    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Cliffs at Peace Canyon                                                Contingent
          P. O. Box 9610                                                        Unliquidated
          Coral Springs, FL 33075                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.632    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Clifts at Peace Canyon                                                Contingent
          4550 S. Canyon Drive                                                  Unliquidated
          Las Vegas, NV 89147                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.633    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,905.89
          Clint & Christina Miller                                              Contingent
          1914 S Ridgemont                                                      Unliquidated
          Spokane Valley, WA 99037                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.634    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,117.00
          Clint & Dianne Dorwart                                                Contingent
          1910 Dorwart Dr.                                                      Unliquidated
          Sidney, NE 69162                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.635    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,028.50
          Clint And Cindy Tyler                                                 Contingent
          8861 North West Falcon                                                Unliquidated
          Sawyer, KS 67134                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.636    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,117.75
          Clint Clinton Allaman                                                 Contingent
          3390 Crow Lake Drive                                                  Unliquidated
          Bettendorf, IA 52722                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.637    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          Clint Whitfield                                                       Contingent
          4204 Towne Lake Court                                                 Unliquidated
          Irving, TX 75061                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.638    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,996.00
          Clinton & Mary Moon                                                   Contingent
          1597 Jacaranda St                                                     Unliquidated
          Lemoore, CA 93245                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.639    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Clinton & Teressa Courtney                                            Contingent
          45560 Turnham Green Court                                             Unliquidated
          Sterling, VA 20166                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.640    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,576.00
          Clinton Lyle Miner                                                    Contingent
          PO Box 394 Haliburton                                                 Unliquidated
          Haliburton, ON K0M - 1S0                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.641    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,133.21
          Clodoaldo Perez-Ordenez                                               Contingent
          9100 East Florida Ave                                                 Unliquidated
          Apt 19-307                                                            Disputed
           CO 80247
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.642    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,095.00
          Clova Ebanks and Diane Mckenzie                                       Contingent
          13211 South Morgan Street                                             Unliquidated
          Calumet Park, IL 60827                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.643    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,995.00
          Clovia and Bob Fushimi                                                Contingent
          12023 Cole Creek Heights Drive                                        Unliquidated
          Golden, CO 80403                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.644    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Club Casa Dorado                                                      Contingent
          AV. Pescador S/N Col. El Medano                                       Unliquidated
          Cabo San Lucas 23453, Mexico                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.645    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Club De Soleil in Vegas                                               Contingent
          5625 W Tropicana Ave.                                                 Unliquidated
          Las Vegas, NV 89103                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.646    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Club Del Sol                                                          Contingent
          #12 Centro Comercial El Jardin                                        Unliquidated
          ;aua Kacp.Puntarenas, Costa Rica                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.647    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Club Exploria Fairway                                                 Contingent
          2157 River Road East                                                  Unliquidated
          Stroudsburg, PA 18302                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.648    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Club Intrawest - Embarc Whistler                                      Contingent
          4580 Chateau Boulevard                                                Unliquidated
          Whistler, British Columbia                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.649    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Club Lagoon Beach y Marina                                            Contingent
          677 N Washington Blvd                                                 Unliquidated
          Sarasota, FL 34236                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.650    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Club Melia                                                            Contingent
          Melia Puerto Vallaerta #7561                                          Unliquidated
          Puerto Vallarta Vallarta, Mexico                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.651    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Club Navigo                                                           Contingent
          100 East Granada Blvd                                                 Unliquidated
          Ormond Beach, Fl 32176                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.652    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Club QM Resorts                                                       Contingent
          515 Nichols Blvd                                                      Unliquidated
          Sparks, NV 89431                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.653    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Club Regina Los Cabos                                                 Contingent
          #3531 San Jose del Cabo                                               Unliquidated
          B aja Calfornia Sur, Mexico                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.654    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Club Sunset in Cancun                                                 Contingent
          Bulevard Kukulcan Kilometro 5.8 MZ-37 Lt                              Unliquidated
          Zona Hotelera CP 77500, Cancun, Quintana                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.655    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Club Tahoe                                                            Contingent
          914 Northwood Blvd                                                    Unliquidated
          Incline Village, NV 89451                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.656    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Club Trinidad                                                         Contingent
          1900 E Palm Canyon Dr.                                                Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.657    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Club Vacancy Saisons - RCI                                            Contingent
          355 Rue Dupont                                                        Unliquidated
          BEAUPRE, QC Canada                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.658    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,807.00
          Clyde & Vivian Smith                                                  Contingent
          PO Box 476                                                            Unliquidated
          Norlina, NC 27563                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.659    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          CNA Insurance                                                         Contingent
          10375 Park Meadows Dr Ste #300                                        Unliquidated
          Littleton, CO 80124                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.660    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          CO Comm Media                                                         Contingent
          722 Washington Ave                                                    Unliquidated
          Golden, CO 80401                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.661    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Cocoa Beach                                                           Contingent
          3550 N Atlantic Ave                                                   Unliquidated
          Cocoa Beach FL 32931                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.662    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Coconut Bay                                                           Contingent
          919 North Birch Road                                                  Unliquidated
          Fort Lauderdale, FL 33304                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.663    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Coconut Bay Resort                                                    Contingent
          919 North Birch Road                                                  Unliquidated
          Fort Lauderdale, FL 33304                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.664    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Coconut Mallory Resort                                                Contingent
          1445 S Roosevelt Blvd                                                 Unliquidated
          Key West, FL 33040                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.665    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Coconut Malorie                                                       Contingent
          201 60th St                                                           Unliquidated
          Ocean City, MD 21842                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.666    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Coconut Maui                                                          Contingent
          475 Front St                                                          Unliquidated
          Lahaina, HI 96761                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.667    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Coconut Palms                                                         Contingent
          611 S Atlantic Ave.                                                   Unliquidated
          New Smyrna Beach, FL 32169                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.668    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Coconut Vacation Club                                                 Contingent
          100 73rd St                                                           Unliquidated
          Homes Beach, FL 34217                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.669    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,345.00
          Cody & Kaylene West                                                   Contingent
          332 63rd Ave                                                          Unliquidated
          Greeley, CO 80634                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.670    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,297.91
          Cody & Samantha Armel/Wigen                                           Contingent
          503 south Bermont Ave                                                 Unliquidated
          Lafayette, CO 80026                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.671    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Colleen & Craig Pernerewski                                           Contingent
          76 Green Lane                                                         Unliquidated
          Durham, CT 06422                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.672    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          Colleen and William Kok                                               Contingent
          903 Scotch Pine Dr                                                    Unliquidated
          Windsor, CO 80550                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.673    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Colonies at Williamsburg                                              Contingent
          5380 Olde Towne Rd.                                                   Unliquidated
          Williamsburg, VA 23188-1922                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.674    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Colorado Civil Rights Commission                                      Contingent
          1560 Broadway, Suite 825                                              Unliquidated
          Denver, CO 80202                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0205
                                                                             Is the claim subject to offset?     No       Yes

 3.675    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Colorado Dept of Labor                                                Contingent
          633 17th St #201                                                      Unliquidated
          Denver, CO 80202                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.676    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Colorado Grand Vacation                                               Contingent
          1627 Sli Hill Road                                                    Unliquidated
          Breakenridge, CO 80424                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.677    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Colorado River Adventures (RV Timeshare)                              Contingent
          2581 N Highway 95                                                     Unliquidated
          Parker, AZ 85344                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.678    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $800.00
          Comcast Business                                                      Contingent
          9602 S 300 W Stu B                                                    Unliquidated
          Sandy, UT 84070                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3608
                                                                             Is the claim subject to offset?     No       Yes

 3.679    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Concetta Palmieri                                                     Contingent
          21521 E. Aberdeen Dr                                                  Unliquidated
          Centennial, CO 80015                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.680    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Concord Servicing                                                     Contingent
          PO BOX 29352                                                          Unliquidated
          Phoenix, AZ 85038                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.681    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Connecticut Office of the Attorney Gener                              Contingent
          165 Capitol Avenue                                                    Unliquidated
          Hartford, CT 06106                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.682    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,850.00
          Connie and James Bellot                                               Contingent
          7810 W Byers Ave #201                                                 Unliquidated
          Lakewood, CO 80226                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.683    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,945.00
          Connie Belz                                                           Contingent
          1678 S Rosemary St                                                    Unliquidated
          Denver, CO 80231                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.684    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,287.95
          Connie Felton                                                         Contingent
          215 Pinewood Drive                                                    Unliquidated
          Goldsboro, NC 27534                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.685    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Consolidated Resorts - Tahiti Vacation C                              Contingent
          515 South Kihel Road                                                  Unliquidated
          Kihei Maui, HI 96753                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.686    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Constance & Aaron Matranga                                            Contingent
          27 Sweetwater Court                                                   Unliquidated
          North Augusta, SC 29860                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.687    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Convergence Solutions                                                 Contingent
          707 17th Avenue                                                       Unliquidated
          Longmont, CO 80501                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.688    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Cooper Village                                                        Contingent
          209 Ten Mile Cr.                                                      Unliquidated
          Copper Mountain, CO 80443                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.689    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Coral Reef at Hilton Head                                             Contingent
          12 Valencia Rd.                                                       Unliquidated
          Hilton Head Island, SC 29928                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.690    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Coral Springs                                                         Contingent
          98 N 6680 W.                                                          Unliquidated
          Hurricane, UT 84737                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.691    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Cori Napoli                                                           Contingent
          11575 Radiant CR, 1102                                                Unliquidated
          Parker, CO 80134                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.692    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,585.00
          Corinne & Gilbert Lamarque                                            Contingent
          2214 E LaDeney Way                                                    Unliquidated
          Ontario, CA 90764                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.693    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Corral Sands through RCI                                              Contingent
          66 Pope Ave.                                                          Unliquidated
          HiltonHead, SC 29928-4744                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.694    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,336.00
          Cosby Smith                                                           Contingent
          6555 Lake Ester Drive                                                 Unliquidated
          Fairborn, GA 30213                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.695    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Country Hideaway                                                      Contingent
          PO Box 3199 75 Enchanted Way                                          Unliquidated
          Cleveland, GA 30528                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.696    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,930.00
          Courtney and Stephen Wilson                                           Contingent
          1004 Kimball Dr                                                       Unliquidated
          Phoenix City, AL 36869                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.697    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Courtyard Resorts                                                     Contingent
          125 North Street                                                      Unliquidated
          Hyannis, MA 02639                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.698    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Cove at Yarmouth                                                      Contingent
          183 Main St                                                           Unliquidated
          West Yarmouth, MA 02673                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.699    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Cove II on Ormond Beach                                               Contingent
          Atlantic Ave.                                                         Unliquidated
          Oormond Beach, FL 32176                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.700    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,287.50
          Cox Media Group                                                       Contingent
          6205 Peachtree Dunwoody Road                                          Unliquidated
          Atlanta, GA 30328                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2775
                                                                             Is the claim subject to offset?     No       Yes

 3.701    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,287.50
          Cox Media Group Jennifer Piccirello                                   Contingent
          PO Box 530266                                                         Unliquidated
          Atlanta, GA 30353                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9621
                                                                             Is the claim subject to offset?     No       Yes

 3.702    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,900.00
          Cox Media Group Jennifer Piccirello                                   Contingent
          PO Box 83143                                                          Unliquidated
          Chicago, IL 60691                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8231
                                                                             Is the claim subject to offset?     No       Yes

 3.703    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Coy Richardson                                                        Contingent
          9435 Southern Hills Cir.                                              Unliquidated
          Lone Tree, CO 80124                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.704    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $38,000.00
          CPX Interactive - Digital Remedy                                      Contingent
          1441 Broadway 18th Floor                                              Unliquidated
          New York, NY 10018                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8548
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.705    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,240.78
          CPX Interactive Digital Remedy                                        Contingent
          1441 Broadway 18th floor                                              Unliquidated
          Denver, CO 80211                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       V485
                                                                             Is the claim subject to offset?     No       Yes

 3.706    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,240.78
          CPX Interactive Digital Remedy - ABC-Ame                              Contingent
          500 Seneca St., Suite 400                                             Unliquidated
          Buffalo, NY 14204                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       V485
                                                                             Is the claim subject to offset?     No       Yes

 3.707    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,617.00
          Craig & Christine Powell                                              Contingent
          1317 Yawl Point                                                       Unliquidated
          Virginia Beach, VA 23454                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.708    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,245.00
          Craig & Darla Hahn/Mortensen                                          Contingent
          1000 Old Firehouse Rd                                                 Unliquidated
          Arnold, CA 95223                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.709    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,095.00
          Craig & Debbi St. Clair                                               Contingent
          5621 V V Jones Rd                                                     Unliquidated
          Venus, TX 76084                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.710    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,980.00
          Craig & Jan Lending/Miller                                            Contingent
          23 Northfield Gate                                                    Unliquidated
          Pittsford, NY 14534-2921                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.711    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,445.00
          Craig & Jeanne Rupert                                                 Contingent
          3900 Libra Lane                                                       Unliquidated
          El Paso, TX 79904                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.712    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,006.00
          Craig & Tracy Meese                                                   Contingent
          1418 Nate Cir                                                         Unliquidated
          Bullard, TX 75757                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.713    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,595.00
          Craig And Linda Ahlbom                                                Contingent
          7 Cedar Hill Lane/ P.O. Box 88 (mail)                                 Unliquidated
          High Rolls, NM 88325                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.714    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,680.00
          Creed Henry                                                           Contingent
          6012 Lorenzo Dr                                                       Unliquidated
          Grand Prarie, TX 75052                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.715    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Creek Side Village                                                    Contingent
          41 Resort Drive PO Box 438                                            Unliquidated
          Basye, VA 22810                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.716    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,200.00
          Cristian And Simona Gavaller                                          Contingent
          221 Bell Branch Lane                                                  Unliquidated
          Jacksonville, FL 32259                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.717    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Crown Plaza                                                           Contingent
          101 Olympic Drive                                                     Unliquidated
          Lake Placid, NY 12946                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.718    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Crown Point                                                           Contingent
          1600 Ivory Ln.                                                        Unliquidated
          Horseshoe Bend, AR 72512                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.719    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Crown Resorts                                                         Contingent
          2030 Barber Dr.                                                       Unliquidated
          Stoughton, WI 53589                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.720    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          CROWN RESORTS LIMITED                                                 Contingent
          Level 3, Crown Towers 8 Whiteman Street                               Unliquidated
          Southbank, VIC 03006-0000                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.721    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Crown Ridge Condominiums                                              Contingent
          326 Crown Ridge Rd.                                                   Unliquidated
          North Conway, NH 03860                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.722    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Crown Ridge Resort                                                    Contingent
          326 Crown Ridge Rd.                                                   Unliquidated
          North Conway, NH 03860                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.723    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,618.00
          Cruz & Ubelia, Kelly & Carlo Arteaga                                  Contingent
          608 Lexington Drive                                                   Unliquidated
          Ennis, TX 75115                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.724    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,450.73
          Crystal & Alex Robinson                                               Contingent
          2084 La Palma Ave                                                     Unliquidated
          Fort Charlotte, FL 33953                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.725    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,295.00
          Crystal & Felix Sital                                                 Contingent
          5511 Nero Lake Dr                                                     Unliquidated
          Katy, TX 77449                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.726    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Crystal Robertson and Jeffrey Briggs                                  Contingent
          2275 Rocky Mountain Ave                                               Unliquidated
          # 104                                                                 Disputed
          Loveland, CO 80538
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.727    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          CSQUARED                                                              Contingent
          1873 S. Bellaire St. Suite 600                                        Unliquidated
          Denver, CO 80222                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.728    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Cumulus Media                                                         Contingent
          455 N Cityfront Plaza Dr Ste 1700                                     Unliquidated
          Chicago, IL 60611                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.729    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,996.00
          Curtis & Dorene Becker                                                Contingent
          5607 W Cinder Brook Way                                               Unliquidated
          Flonence, AZ 85132                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.730    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,704.00
          Curtis & Paige Cunningham                                             Contingent
          4367 S Garland Way                                                    Unliquidated
          Littleton, CO 80123                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.731    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,647.70
          Curtis (Pat) and Susan Harkins                                        Contingent
          13932 W. Whitewood Dr                                                 Unliquidated
          Sun City West, AZ 85375                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.732    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Curtis Marsh and Ernest Harris Jr.                                    Contingent
          303 Prairie Ave                                                       Unliquidated
          Calumet City, IL 60409                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.733    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,200.00
          Cynthia and James Rawles                                              Contingent
          6904 groveton dr                                                      Unliquidated
          Clinton, md 20735                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.734    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Cynthia and Michael Miller                                            Contingent
          4101 Glenndale Rd                                                     Unliquidated
          Bowie, MD 20720                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.735    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,500.00
          Cynthia and Paul Edwards                                              Contingent
          11993 South Allerton Circle                                           Unliquidated
          Parker, CO 80138                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.736    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,628.00
          Cynthia and Warren Winns                                              Contingent
          5006 NE Cache Road                                                    Unliquidated
          Lawton, OK 73507                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.737    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,945.00
          Cynthia Bolner                                                        Contingent
          3119 Chimney Swift                                                    Unliquidated
          Richmond, TX 77469                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.738    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,950.00
          Cynthia Gundlach                                                      Contingent
          1253 Williamsburg Dr B1                                               Unliquidated
          Schaumburg, IL 60193                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.739    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Cynthia Hildred                                                       Contingent
          PO Box 863                                                            Unliquidated
          Platteville, CO 80651                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.740    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,915.00
          Cynthia Little                                                        Contingent
          2831 Country Club Road                                                Unliquidated
          Wadesboro, NC 28170                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.741    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Cynthia Tybor                                                         Contingent
          7611 Bryonwood Dr                                                     Unliquidated
          Houston, TX 77055                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.742    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Dagmar Branding Inc                                                   Contingent
          9222 Teddy Ln                                                         Unliquidated
          LoneTree, CO 80124                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.743    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Dale & Charlotte Klein                                                Contingent
          34 Rock Lake Road                                                     Unliquidated
          Wheatland, WY 82201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.744    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,480.00
          Dale & Jeannie Weber                                                  Contingent
          514 E 33rd St South                                                   Unliquidated
          Wellington, KS 67152                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.745    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,190.00
          Dale & Nancy Swan                                                     Contingent
          1856 Parker RD                                                        Unliquidated
          St. Louis Park, MN 55426                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.746    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Dale and Brenda Fisher                                                Contingent
          3226 Shandon Road                                                     Unliquidated
          Rock Hill, SC 29730                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.747    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,007.00
          Damian And Natasha Walker                                             Contingent
          18103 Red Oak Manor Lane                                              Unliquidated
          Cypress, TX 77433                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.748    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,745.00
          Damone Andrew Beck                                                    Contingent
          1059 W Stone Creek Cir                                                Unliquidated
          Crystal Lake, IL 60014                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.749    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Dan & Cheryl Rockwell                                                 Contingent
          102 43rd Ave                                                          Unliquidated
          Greeley, CO 80634                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.750    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,200.00
          Dan & Mary Kay Berry                                                  Contingent
          29 Eastland Court                                                     Unliquidated
          Carlinville, IL 62626                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.751    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          Dan & Sharon Moceri                                                   Contingent
          1100 Prairie Circle                                                   Unliquidated
          Prospect Heights, IL 60070-1093                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.752    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,150.00
          Dan and Lorielei Meza                                                 Contingent
          5363 E. 130th Way                                                     Unliquidated
          Thornton, CO 80241                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.753    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,110.00
          Dana Renta                                                            Contingent
          6514 Wilander St                                                      Unliquidated
          Leesburg, FL 34748                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.754    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Danelle & David Quesenberry                                           Contingent
          18901 N. 259th Lane                                                   Unliquidated
          Buckeye, AZ 85396                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.755    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,500.00
          Danette and Connie Davis                                              Contingent
          1234 skye drive west                                                  Unliquidated
          Jacksonville, FL 32221                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.756    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,000.00
          Daniel Milam Jr.                                                      Contingent
          2730 Buckhorn Oaks Dr                                                 Unliquidated
          Valrico, FL 33594                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.757    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,301.00
          Daniel & Andrea Purcell                                               Contingent
          1S683 Greenbriar Dr.                                                  Unliquidated
          Elburn, IL 60119                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.758    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,625.00
          Daniel & Anita Cobarrubio                                             Contingent
          3 1727 W Caraolina A                                                  Unliquidated
          Chicksha, OK 73018                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.759    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,500.00
          Daniel & Bouang Wilborn                                               Contingent
          3834 S. Fraser St.                                                    Unliquidated
          Aurora, CO 80014                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.760    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,571.00
          Daniel & Diana Grajeda/Alva                                           Contingent
          11505 Casa Marina Way                                                 Unliquidated
          Tampa, FL 33635                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.761    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,707.00
          Daniel & Lattrice Dykes                                               Contingent
          8402 Amber Bend Dr                                                    Unliquidated
          Baytown, TX 77521                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.762    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Daniel & Migdalia Langan                                              Contingent
          8751 Breing Run Circle                                                Unliquidated
          Breiningsville, PA 18031                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.763    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Daniel & Patricia O'Neill                                             Contingent
          115 Cardinal Rd                                                       Unliquidated
          Manhasset, NY 11030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.764    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Daniel & Robyn Reisetter                                              Contingent
          29765 C Ave.                                                          Unliquidated
          Radcliffe, IA 50230                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.765    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Daniel & Tamara Leavitt                                               Contingent
          13601 Manilla Rd                                                      Unliquidated
          Hudaon, CO 80642                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.766    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,250.00
          Daniel & Tricia Tucker                                                Contingent
          11345 SE Jeff Road                                                    Unliquidated
          Montpelier, IN 47359                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.767    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Daniel and Connie Helus                                               Contingent
          12907 Krameria St                                                     Unliquidated
          Thornton, CO 80602                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.768    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Daniel And Rose Schoenbeck                                            Contingent
          1697 Bentwater Ln                                                     Unliquidated
          Frisco, TX 75036                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.769    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,376.00
          Daniel and Tyler Pierce                                               Contingent
          4130 S. Mill Ave Apt L116                                             Unliquidated
          Tempe, AZ 85282                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.770    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Daniel Craft and Melissa Fazio Craft                                  Contingent
          505 Sylvania Ave                                                      Unliquidated
          Charlotte, NC 28206                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.771    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Daniel Diaz                                                           Contingent
          1401 Bay Road Apt. 407                                                Unliquidated
          Miami Beach, FL 33139                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.772    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,785.55
          Daniel Gannon                                                         Contingent
          86 Tanglewood Drive                                                   Unliquidated
          Hamden, CT 06518                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.773    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,500.00
          Daniel Harrison                                                       Contingent
          712 Wickham Dr.                                                       Unliquidated
          Evans, GA 30809                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.774    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,745.00
          Daniel Marion                                                         Contingent
          3452 Gaylord Street                                                   Unliquidated
          Denver, CO 80205                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.775    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,473.60
          Daniel&Stacie Bugel                                                   Contingent
          3823 Chester St.                                                      Unliquidated
          Munhall, PA 15120-3027                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.776    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,170.00
          Danielle Gower                                                        Contingent
          474 Westbank Rd                                                       Unliquidated
          Glenwood Springs, co 81601                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.777    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,008.00
          Danny and Kathy Fancher                                               Contingent
          902 S Walden St, Unit #107                                            Unliquidated
          Aurora, CO 80017                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.778    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,982.00
          Danny Ferreira                                                        Contingent
          860 Turquoise St.                                                     Unliquidated
          Unit 126                                                              Disputed
          San Diego, CA 92109
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.779    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,000.00
          Dareck, Raphael,Lyncol and Rafael Tamari                              Contingent
          5700 W Lake St.                                                       Unliquidated
          St. Louis Park, MN 56301                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.780    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Darin and Bernadette Shepard                                          Contingent
          9165 West Cornell Place                                               Unliquidated
          Lakewood, CO 80227                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.781    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,121.00
          Darise Victory                                                        Contingent
          441 Cranleigh Rdg SE                                                  Unliquidated
          Smyrna, GA 30080                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.782    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,728.00
          Darlene & Donald DeLong                                               Contingent
          44 County Rd 4281                                                     Unliquidated
          Dayton, TX 77535                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.783    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,832.00
          Darlene & Perry Martin                                                Contingent
          2429 Alexander Lake Dr                                                Unliquidated
          Marietta, GA 30064                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.784    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,806.00
          Darlene and Maurice Wyatt                                             Contingent
          4676 Freeport Way                                                     Unliquidated
          Denver, co 80239                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.785    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Darlene Head and Alvin Goldman                                        Contingent
          360N 100 W                                                            Unliquidated
          Malad, ID 83252                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.786    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,690.00
          Darlene Lucas                                                         Contingent
          2014 S. Acoma Dr                                                      Unliquidated
          Cottonwod, AZ 86326                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.787    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Darlene Marie Dailey                                                  Contingent
          25219 N Quail Haven                                                   Unliquidated
          Rio Verde, AZ 85263                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.788    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,711.00
          Darnell & Valjean Taylor                                              Contingent
          5714 Whichard Rd.                                                     Unliquidated
          Stokes, NC 27884                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.789    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,950.00
          Darrell & Cindy Dinkel                                                Contingent
          24590 E Park Crescent Pl                                              Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.790    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,700.00
          Darrell And Andrea Chambliss                                          Contingent
          18 Greyton Lane                                                       Unliquidated
          Houston, TX 77024                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.791    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Darrell and Jo Dominguez                                              Contingent
          14275 S. Arapaho Dr.                                                  Unliquidated
          Olathe, KS 66062                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.792    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,700.00
          Darrell Harp                                                          Contingent
          (619) 806-2574 or servinsasha@yahoo.com                               Unliquidated
           AZ                                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.793    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,350.00
          Darren & Sara Brand                                                   Contingent
          1805 Sagitarius Dr.                                                   Unliquidated
          Loveland, CO 80537                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.794    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Darryl & Sharon Burns                                                 Contingent
          1140 Westpark Ave                                                     Unliquidated
          Victoria, TX 77905                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.795    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          Dashawn Smalls                                                        Contingent
          1114 E Nutmeg Pl                                                      Unliquidated
          Middletown, DE 19709                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.796    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,695.00
          Dave & Karen Ehrhard                                                  Contingent
          22112 East Quarto Place                                               Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.797    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Dave & Michele Thibodeau                                              Contingent
          2734 Beut Leaf Dr                                                     Unliquidated
          Valrico, FL 33574                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.798    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,250.00
          David & Alexia Gomez/Eubank                                           Contingent
          11304 Jersey Circle                                                   Unliquidated
          Thornton, CO 80233                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.799    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          David & Barbara Ritchie                                               Contingent
          7065 74th St Circle East                                              Unliquidated
          Bradenton, FL 34203                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.800    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,685.55
          David & Carol Smith                                                   Contingent
          16633 Alden Ave                                                       Unliquidated
          Gaithersburg, MD 20877                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.801    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,170.00
          David & Carole Lanzone                                                Contingent
          746 Cedar Grove Road                                                  Unliquidated
          Clover, SC 29710                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.802    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,240.00
          David & Deane Daniels                                                 Contingent
          314 West Mariposa St                                                  Unliquidated
          Phoenix, AZ 85013                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.803    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,000.00
          David & Diane Heath                                                   Contingent
          21718 Bevington Oaks                                                  Unliquidated
          Katy, TX 77450                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.804    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,300.00
          David & Gale Thomas                                                   Contingent
          9287 Tammy Lane                                                       Unliquidated
          Parker, CO 80134                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.805    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,091.35
          David & Janet McCully                                                 Contingent
          1583 S Benton Street                                                  Unliquidated
          Lakewood, CO 80232                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.806    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,449.75
          David & Karen Crow/Kennedy                                            Contingent
          255 West Hill Ct                                                      Unliquidated
          P.O. Box 344                                                          Disputed
          Ft. Lupton, CO 80621
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.807    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,900.00
          David & Karen Rousseau/Valvo                                          Contingent
          354 Reeds Mill Road                                                   Unliquidated
          Madrid, ME 04966                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.808    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,950.00
          David & Linda Anderson                                                Contingent
          21495 E Briarwood Dr                                                  Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.809    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          David & Linda Koster                                                  Contingent
          211 Saint Elias Dr                                                    Unliquidated
          Livermore, CO 80536                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.810    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,457.00
          David & Lynn Jansen                                                   Contingent
          2017 Blue Heron Rd NE                                                 Unliquidated
          North Liberty, IA 52317                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.811    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          David & Mary Wilson                                                   Contingent
          5200 Buyserie Road NE                                                 Unliquidated
          Saint Paul, OR 97137-9707                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.812    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,700.00
          David & Pam Morris                                                    Contingent
          6858 Otis Ct                                                          Unliquidated
          Arvada, CO 80003                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.813    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,304.00
          David & Patricia Hamilton                                             Contingent
          4250 Onondaga Blvd                                                    Unliquidated
          Syracuse, NY 13219                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.814    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          David & Patricia Reick                                                Contingent
          3007 Inkberry Circle                                                  Unliquidated
          North Wales, PA 19594                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.815    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,500.00
          David & Phoebee Domercant                                             Contingent
          1002 Ashton Park Drive                                                Unliquidated
          Lawranceville, GA 30045                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.816    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          David & Remegia Ford                                                  Contingent
          5065 Schwartz Lane                                                    Unliquidated
          Hermitage, PA 16148                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.817    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          David & Rose Marie Bertauski                                          Contingent
          40 Point Bluff ST                                                     Unliquidated
          Fredricksburg, VA 22406                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.818    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,872.00
          David & Rosemarie Keele                                               Contingent
          8225 Lovelaceville Road                                               Unliquidated
          Paducah, KY 42001                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.819    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          David & Sharon Marie Harris                                           Contingent
          804 West Keller Street                                                Unliquidated
          Mechanicsburg, PA 17055                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.820    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          David & Tammy Gilmore                                                 Contingent
          5267 South Bahama Circle                                              Unliquidated
          Centennial, CO 80015                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.821    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,398.96
          David & Teri Evangelista                                              Contingent
          18738 N Desert Light Drive                                            Unliquidated
          Surprise, AZ 85387                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.822    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,594.00
          David and Ann Sanders                                                 Contingent
          2313 Brittany Avenue                                                  Unliquidated
          Melissa, TX 75454                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.823    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          David And Betty Jo Riggsbee                                           Contingent
          4044 Hiddenbrook                                                      Unliquidated
          Charlotte, NC 28205                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.824    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          David And Carol Zak                                                   Contingent
          433 County Road `156                                                  Unliquidated
          Hallettsville, TX 77964                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.825    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,382.50
          David And Debra Hamilton                                              Contingent
          274 Paintbrush Path                                                   Unliquidated
          New Braunfels, TX 78132                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.826    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          David and Elizabeth Rosenthal                                         Contingent
          2479 W Long Circle                                                    Unliquidated
          Littleton, CO 80120                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.827    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,520.00
          David and Evelyn Lyon                                                 Contingent
          30239 Palomino Dr                                                     Unliquidated
          Evergreen, CO 80439                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.828    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          David and Jeri Herskovits                                             Contingent
          3379 Mill Vista Road                                                  Unliquidated
          Unit 4115                                                             Disputed
          Highlands Ranch, CO 80129
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.829    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,320.00
          David and Kathy Loader                                                Contingent
          305 E Zurich Dr.                                                      Unliquidated
          Payson, AZ 85541                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.830    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,105.00
          David and Kelli Schriner                                              Contingent
          5559 S Greenwood St                                                   Unliquidated
          Littleton, CO 80120                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.831    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,700.00
          David And Kimberly Molengraaf                                         Contingent
          3243 FM 1446                                                          Unliquidated
          Waxahachie, TX 75167                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.832    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,250.00
          David and Leah Puy                                                    Contingent
          4263 Cogswell Avenue                                                  Unliquidated
          Inidian Head, MD 20640                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.833    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,286.00
          David and Leslie Weeks                                                Contingent
          621 Bay Haven Cove                                                    Unliquidated
          Biloxi, MS 39532                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.834    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,300.00
          David and Linda Stahlhut                                              Contingent
          2136 Hot Oak Ridge St                                                 Unliquidated
          Las Vegas, NV 89134                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.835    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,945.00
          David and Lucille Bond/Choboian                                       Contingent
          15288 Surrey House Way                                                Unliquidated
          Centerville, VA 20120                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.836    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,380.00
          David and Mary Grossklaus                                             Contingent
          2635 Harbor Drive                                                     Unliquidated
          Joliet, IL 60431                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.837    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,576.00
          David and Patricia MacEwen                                            Contingent
          1409 Rowantree Dr                                                     Unliquidated
          Dover, FL 33527                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.838    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          David And Shirley Daniels                                             Contingent
          229 Dorset Avenue                                                     Unliquidated
          Oswego, IL 60543-6057                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.839    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          David Fitzgerald                                                      Contingent
          3384 Corona Village Way #1010101                                      Unliquidated
          Orlando, FL 32835                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.840    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          David Gannaway                                                        Contingent
          1321 S Franklin St                                                    Unliquidated
          Denver, CO 80210                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.841    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,320.00
          David Gool                                                            Contingent
          5314 Sandy Shell Dr                                                   Unliquidated
          Apollo Beach, FL 33572                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.842    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,845.00
          David Harbushka                                                       Contingent
          721 E Via Elena St                                                    Unliquidated
          Goodyear, AZ 85338                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.843    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,900.00
          David Kirkus                                                          Contingent
          4216 W. Obispo St.                                                    Unliquidated
          Tampa Bay, FL 33629                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.844    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,300.00
          David Lovelace                                                        Contingent
          6368 N Maximus Pl                                                     Unliquidated
          Meridan, ID 83646                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.845    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          David Mills                                                           Contingent
          6 Stately Oaks Dr                                                     Unliquidated
          Cartersville, GA 30120                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.846    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          David Montgomery                                                      Contingent
          304 Silver Lake Road                                                  Unliquidated
          Hollis, NH 03049                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.847    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,600.00
          David R., Richard C. and Irene M. Lewand                              Contingent
          181 Amherston Drive                                                   Unliquidated
          Williamsville, NY 14221                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.848    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,000.00
          David Rodriguez                                                       Contingent
          4274 NW 89th Ave #206                                                 Unliquidated
          Coral Springs, FL 33065                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.849    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,691.00
          David Sisnerouz and Celina Vigil                                      Contingent
          7475 Raritan                                                          Unliquidated
          Denver, CO 80221                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.850    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,323.10
          David Steinkamp                                                       Contingent
          618) 235-0795 or Dwsteinkamp@Att.net                                  Unliquidated
           MI                                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.851    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          David Walleys Resort                                                  Contingent
          2001 Foothill Road                                                    Unliquidated
          Genoa, NV 89411                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.852    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Davis Marketing                                                       Contingent
          226 S Zetterower Ave                                                  Unliquidated
          Statesboro, GA 30458                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.853    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,123.00
          Dawn & Percival Dawes/Bonnick                                         Contingent
          410 Gilland Ave Apt 11                                                Unliquidated
          Kingstree, SC 29556                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.854    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,827.75
          Dawn and Michael (Mike) Weber/Gomez                                   Contingent
          1101 Acadia CIrcel                                                    Unliquidated
          Erie, CO 80516                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.855    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Dawne Lyday                                                           Contingent
          8840 Cole Dr                                                          Unliquidated
          Arvada, CO 80004                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.856    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,900.00
          Daya & Venkataraman Balu                                              Contingent
          2513 Poinciana Dr                                                     Unliquidated
          Weston, FL 33327                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.857    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Dayne (Jake) & Charle Jacobs                                          Contingent
          10642 Baneberry Street                                                Unliquidated
          Highlands Ranch, CO 80129                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.858    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Daytona Beach Regency                                                 Contingent
          400 N Atlantic Ave                                                    Unliquidated
          Daytona Beach, FL 32118                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.859    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Dean & Anne Roessner                                                  Contingent
          326 Fieldcrest Lane                                                   Unliquidated
          Loveland, OH 45140                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.860    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,141.43
          Dean & Patricia (Pat) Anthony                                         Contingent
          PO Box 772333                                                         Unliquidated
          Steamboat Springs, CO 80477                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.861    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,396.00
          Deann Thomas                                                          Contingent
          20302 Horizon West RD.                                                Unliquidated
          Eckert, CO 81418                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.862    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,229.80
          Deanna & Pearl Brown/Thompson                                         Contingent
          642 W Englewood Avenue                                                Unliquidated
          Chicago, IL 60621                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.863    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,581.50
          Deanna Young                                                          Contingent
          11111 Brook Mill Court                                                Unliquidated
          Houston, TX 77065                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.864    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,415.00
          Deb Thorson                                                           Contingent
          3664 South Jay Street                                                 Unliquidated
          Denver, CO 80235                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.865    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,000.00
          Debbie and Carmelo Rodello                                            Contingent
          2953 Ash Ave                                                          Unliquidated
          Greeley, CO 80631                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.866    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,457.00
          Debbie Jewell and James Hodges                                        Contingent
          14030 Duncannon Dr                                                    Unliquidated
          Houston, TX 77015                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.867    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Debbie Nizborski and James Grey III                                   Contingent
          306 Hidden Bluffs Ct.                                                 Unliquidated
          Lake St Louis, MO 63367                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.868    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Debby And Rick Zientarski                                             Contingent
          1235 Cardinal Drive                                                   Unliquidated
          Pittsburgh, PA 15243                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.869    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,573.25
          Debi And Michael Calimlin                                             Contingent
          1301 Snapping Turtle Rd                                               Unliquidated
          Mims, FL 32754                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.870    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,460.00
          Debi Ramert                                                           Contingent
          41140 Round Hill Cir                                                  Unliquidated
          Parker, Co 80138                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.871    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,840.77
          Deborah & Benjamin Warrick/Anderson                                   Contingent
          1116 Wilnor Drive                                                     Unliquidated
          West Chester, PA 19382                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.872    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,598.00
          Deborah & Wayne Roberts                                               Contingent
          163 Montana Drive                                                     Unliquidated
          Lake Waynoka, OH 45171                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.873    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,983.00
          Deborah (Debi) Kennedy                                                Contingent
          102 S 6th Ave                                                         Unliquidated
          Coatesville, PA 19320                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.874    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,470.63
          Deborah (Fury) and Steven Templeton                                   Contingent
          780 Cedar Gate Lane                                                   Unliquidated
          La Marque, TX 77568                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.875    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,000.00
          Deborah and Earl Richardson                                           Contingent
          12128 Pelota Street                                                   Unliquidated
          St. Louis, MO 63138                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.876    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,446.00
          Deborah and Sean Reece                                                Contingent
          9955 Nucla Street                                                     Unliquidated
          Commerce City, CO 80022                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.877    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,423.00
          Deborah Arnold                                                        Contingent
          PO Box 3                                                              Unliquidated
          Carbondale, CO 81623                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.878    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,710.68
          Deborah Buckmon                                                       Contingent
          15607 Burford Lane                                                    Unliquidated
          Upper Marlboro, MD 20774                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.879    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,870.05
          Deborah Couture                                                       Contingent
          116 Sandhill Road                                                     Unliquidated
          Essex Jct., VT 05452                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.880    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,400.00
          Deborah DeRosa and Kenneth Fajen                                      Contingent
          4076 Windota Ave                                                      Unliquidated
          Spring Hill, FL 34606                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.881    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,111.00
          Deborah Mayer                                                         Contingent
          207 Rose Walk Lane                                                    Unliquidated
          Carrboro, NC 27510                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.882    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,595.00
          Deborah McCabe                                                        Contingent
          4855 S Lisbon Way                                                     Unliquidated
          Aurora, CO 80015                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.883    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,457.00
          Deborah Patterson-Wesley                                              Contingent
          16709 Cottage Grove Ave                                               Unliquidated
          South Holland, IL 60473                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.884    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,495.00
          Deborah Radek                                                         Contingent
          7 Bristol Court                                                       Unliquidated
          Burridge, IL 60527                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.885    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,308.25
          Deborah Thompson                                                      Contingent
          9114 Rolling View Drive                                               Unliquidated
          Lanham, MD 20706                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.886    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,632.00
          Deborah Tobin                                                         Contingent
          13 Buxton Rd                                                          Unliquidated
          Cherry Hill, NJ 08003                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.887    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,380.00
          Deborah Vallor and Cynthia Falls                                      Contingent
          2496 Mullooly St                                                      Unliquidated
          Pittsburgh, PA 15227                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.888    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Debra & Gary Horne                                                    Contingent
          2 King St PO 74                                                       Unliquidated
          Latchord, CAL POJIN0                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.889    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,219.50
          Debra & William Thomas                                                Contingent
          1085 Toll Gate Road                                                   Unliquidated
          West Alexander, PA 15376                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.890    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,095.00
          Debra (POA) & Leslie and Grace Rodrigue/                              Contingent
          650 Westcross St Unit 93                                              Unliquidated
          Houston, TX 77018                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.891    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Debra and John Peniston                                               Contingent
          10 Wetmore Dr                                                         Unliquidated
          Denville, NJ 07834                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.892    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,985.00
          Debra And Judith Currie                                               Contingent
          1707 Su John Road                                                     Unliquidated
          Raleigh, NC 27607                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.893    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,675.71
          Debra and Steve Rousu                                                 Contingent
          2938 Pebble Lane                                                      Unliquidated
          Ripley, MN 56449                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.894    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,143.97
          Debra Bradley                                                         Contingent
          3930 Shaftsbury Court                                                 Unliquidated
          White Plains, MD 20695                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.895    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,333.00
          Debra Jordan McCurdy                                                  Contingent
          2219 Caledonia Drive                                                  Unliquidated
          Lawrenceville, GA 30045                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.896    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,396.00
          Debra Lee Shoemaker                                                   Contingent
          8157 Vallejo St                                                       Unliquidated
          Denver, CO 80221                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.897    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,590.00
          Debra Moore German                                                    Contingent
          2635 West Seipp Street                                                Unliquidated
          Chicago, IL 60652                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.898    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,635.00
          Debra Tablanza                                                        Contingent
          430 Hillcrest Dr. NW                                                  Unliquidated
          Dallas, OR 97338                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.899    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,800.00
          Dee And Bart Thomason                                                 Contingent
          11918 Westgate Street                                                 Unliquidated
          Overland Park, KS 66213                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.900    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,841.37
          Deeanna & Carlray Smallwood/Lee                                       Contingent
          7012 South 19th Street                                                Unliquidated
          Phoenix, AZ 85042                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.901    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,000.00
          Deena & Marvin Payton                                                 Contingent
          7374 Yellow Rose CT                                                   Unliquidated
          Hughesville, MD 20637                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.902    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Deer Creek                                                            Contingent
          22300 State Park Road 20                                              Unliquidated
          MT. Sterling, OH 43143                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.903    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Defender Resorts                                                      Contingent
          9654 N. King Hwy                                                      Unliquidated
          Myrtle Beach, SC 29572                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.904    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,750.00
          Delarma Brazell and Angela Ogletree                                   Contingent
          1839 Twisting Lane                                                    Unliquidated
          Wesley Chappal, FL 33543                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.905    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Delaware Department of Justice                                        Contingent
          Carvel State Building 820 N. French St.                               Unliquidated
          Wilmington, DE 19801                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.906    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,250.00
          Delcina & Gil Rosado                                                  Contingent
          8356 S Kenwood Ave                                                    Unliquidated
          Chicago, IL 60619                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.907    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,376.00
          Delisa Turner-Mason                                                   Contingent
          2817 Red River St.                                                    Unliquidated
          Mesquite, TX 75150                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.908    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,712.70
          Delores & Iresenia Brown/Sheard                                       Contingent
          P.O Box 2181                                                          Unliquidated
          Mango, FL 33550                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.909    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Delores & Johnny Range                                                Contingent
          3831 W. 80th Pl                                                       Unliquidated
          Chicago, IL 60652                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.910    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,166.00
          Delores Carson                                                        Contingent
          3316 Lancer Dr                                                        Unliquidated
          Hyattsville, MD 20782                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.911    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,348.00
          Delores Houston                                                       Contingent
          21311 Park Downe Lane                                                 Unliquidated
          Katy, TX 77450                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.912    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,497.50
          Delores Wartenbee                                                     Contingent
          546 S Abbey                                                           Unliquidated
          Mesa, AZ 85212                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.913    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,150.00
          Delphine Tchienga                                                     Contingent
          9122 bglenville Road                                                  Unliquidated
          Silver Spring, MD 20901                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.914    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,126.00
          Demetria McNeil                                                       Contingent
          32 Morro Bay Dr                                                       Unliquidated
          Manvel, TX 77578                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.915    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,500.00
          Denise & Francis Robinson                                             Contingent
          18607 W. Kolina Lane                                                  Unliquidated
          Waddell, AZ 85355                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.916    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,902.00
          Denise and Brett Wood                                                 Contingent
          570 Sundisk Dr                                                        Unliquidated
          Loveland, CO 80538                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.917    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,470.00
          Denise Ervin                                                          Contingent
          4918 North 112th Street                                               Unliquidated
          Omaha, NE 68164                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.918    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,320.00
          Dennis & Barbara Kellams/Stewart                                      Contingent
          2886 S Stuart St                                                      Unliquidated
          Denver, CO 80236                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.919    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,103.18
          Dennis & Debra Solberg                                                Contingent
          764 Stage Run Rd                                                      Unliquidated
          Deadwood, SD 57732                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.920    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,227.00
          Dennis & Lynn Frost                                                   Contingent
          12715 Beechwood Dr                                                    Unliquidated
          Sun City West, AZ 85375                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.921    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Dennis & Michael Ann Lewis                                            Contingent
          300 Rhodes Place                                                      Unliquidated
          New Castle, PA 16101                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.922    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,902.45
          Dennis & Shahnaz Bleam                                                Contingent
          16803 N. 49th Way                                                     Unliquidated
          Scottsdale, AZ 85254                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.923    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,490.00
          Dennis & Sherika Brown                                                Contingent
          3398 NW 21st St                                                       Unliquidated
          Lauderdale Lakes, FL 33311                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.924    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,093.00
          Dennis & Shirley McCormick                                            Contingent
          8811 N. Sundance Lane                                                 Unliquidated
          Spokane, WA 99208                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.925    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,109.00
          Dennis & Vada Martinez                                                Contingent
          9215 Tennyson Street                                                  Unliquidated
          Westminster, CO 80031                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.926    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Dennis and Deb Wyckoff                                                Contingent
          7936 SE Berryton                                                      Unliquidated
          Berryton, ks 66409                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.927    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,244.60
          Dennis And Kathy Morgan                                               Contingent
          22050 Brook Ave                                                       Unliquidated
          Richton Park, IL 60471                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.928    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Dennis And Kathy Orel                                                 Contingent
          7118 Buena Vista St.                                                  Unliquidated
          Prairie Village, KS 66208                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.929    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Dennis O'Grady                                                        Contingent
          1917 Leisure World                                                    Unliquidated
          Mesa, AZ 85206                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.930    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Dennis Varner                                                         Contingent
          1340 Grande View Blvd apt 2318                                        Unliquidated
          Huntsville, AL 35215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.931    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Dennisse Molina Caraveo                                               Contingent
          18285 E Cottonwood Dr 108                                             Unliquidated
          Parker, CO 80138                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.932    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,203.00
          Denver & Alejandra Stack                                              Contingent
          34875 Pourroy Rd.                                                     Unliquidated
          #3508                                                                 Disputed
          Winchester, CA 92596
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.933    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,675.04
          Denver KWGN/KDVR                                                      Contingent
          P.O. Box 59743                                                        Unliquidated
          Los Angeles, CA 90074                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       311A
                                                                             Is the claim subject to offset?     No       Yes

 3.934    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,496.00
          Denys Zuniga and Leslie Caceres                                       Contingent
          2426 NE Four Terrace                                                  Unliquidated
          Cape Coral, FL 33909                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.935    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,520.00
          Deonna Ortiz                                                          Contingent
          2311 Fairplay Dr                                                      Unliquidated
          Loveland, CO 80538                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.936    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Derek & Carly Bunce                                                   Contingent
          3760 Colby St                                                         Unliquidated
          Pittsburgh, PA 15214                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.937    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,613.25
          Derek Ford                                                            Contingent
          62 Bowdoin Avenue                                                     Unliquidated
          Apt 2                                                                 Disputed
          Dorchester, MA 02121
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.938    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Deron Lawrence                                                        Contingent
          987 Treece St                                                         Unliquidated
          Louisville, CO 88027                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.939    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,300.00
          Derotha Rogers                                                        Contingent
          9244 S Burnside Ave                                                   Unliquidated
          Chicago, IL 60619                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.940    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,425.00
          Derrick And Evelin Warren                                             Contingent
          311 North Austin Blvd                                                 Unliquidated
          Apt 3W                                                                Disputed
          Chicago, IL 60644
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.941    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Desert club in Las Vegas - Orange lake                                Contingent
          3950 Koval Ln.                                                        Unliquidated
          Las Vegas, NV 89109-4702                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.942    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Desert Oasis                                                          Contingent
          34567 Cathedral Canyon Dr.                                            Unliquidated
          Cathedral City, CA 92234                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.943    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Desert Oasis, Villas @ Cave Creek                                     Contingent
          17700 N. Hayden Rd.                                                   Unliquidated
          Scottsdale, AZ 85255                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.944    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,867.00
          Desirae and Kevin Gonzalez                                            Contingent
          11 S Donaldson Farm Rd                                                Unliquidated
          Loving, NM 88256                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.945    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Desma Mabry                                                           Contingent
          8003 Cayzer Lane                                                      Unliquidated
          Gainsville, VA 20155                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.946    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          DeSolei in Las Vegas                                                  Contingent
          5625 W. Tropicana                                                     Unliquidated
          Las Vegas, NV 89103                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.947    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Dessie and Gregory Alexander                                          Contingent
          1486 Ranger Loop Apt 101                                              Unliquidated
          Woodbridge, VA 22191                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.948    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,935.00
          Dewania & Kenneth Farrington                                          Contingent
          1365 Thornburg Road                                                   Unliquidated
          Babson Park, FL 33827                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.949    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,550.00
          Dewey And Tatiana Houston                                             Contingent
          597 E 1600 N                                                          Unliquidated
          Mapleton, UT 84664                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.950    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,975.79
          Dexter & Gay Reid                                                     Contingent
          1401 N. Metropolitan Ave.                                             Unliquidated
          Waukegan, IL 60085                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.951    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Diamond International                                                 Contingent
          10600 W. Charleston Blvd.
                                                                                Unliquidated
          Las Vegas, NV 89135
                                                                                Disputed
          Date(s) debt was incurred
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.952    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          DIAMOND RESORTS HAWAII COLLECTION                                     Contingent
          DEVELO
                                                                                Unliquidated
          10600 WEST CHARLESTON BOULEVARD
          LAS VEGAS, NV 89135                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.953    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          DIAMOND RESORTS U.S.COLLECTION                                        Contingent
          DEVELOPME
                                                                                Unliquidated
          10600 WEST CHARLESTON BOULEVARD
          LAS VEGAS, NV 89135                                                   Disputed

          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.954    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,160.00
          Diana & David Lunge                                                   Contingent
          5246 Winifred Drive                                                   Unliquidated
          Castro Valley, CA 94546                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.955    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,786.08
          Diana & Tina Keith                                                    Contingent
          273 Stage Coach Road                                                  Unliquidated
          Oceanside, CA 92057                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.956    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Diana Grano/ Jesus Juarez                                             Contingent
          143 Buckingham Dr                                                     Unliquidated
          Sugar Grove, IL 60554                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.957    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,538.00
          Diana Laso                                                            Contingent
          6950 Navajo Street                                                    Unliquidated
          Unit B                                                                Disputed
          Denver, CO 80221
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.958    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,519.00
          Diana Oliveros                                                        Contingent
          13424 Hickory Creek Dr                                                Unliquidated
          Haslet, TX 76052                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.959    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Diane & Adam Cabrera                                                  Contingent
          6334 S. Lafayette Place                                               Unliquidated
          Centennial, CO 80121                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.960    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,200.00
          Diane (Dee) Kennedy                                                   Contingent
          16210 W Bantt Ln                                                      Unliquidated
          Surprise, AZ 85379                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.961    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Diane and Brian Larson                                                Contingent
          500 Elk Track                                                         Unliquidated
          Granby, CO 80446                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.962    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,995.00
          Diane and Bruce Ostmeyer                                              Contingent
          4330 South Galapago Street                                            Unliquidated
          Englewood, CO 80110                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.963    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Diane and Gordon Megson                                               Contingent
          391 Seahorse Dr                                                       Unliquidated
          Windsor, CO 80550                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.964    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,460.00
          Diane Bruce                                                           Contingent
          7311 Keys Court                                                       Unliquidated
          Sewell, NJ 08080                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.965    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,504.00
          Diane Dorsey                                                          Contingent
          6512 Grand Estuary Trl #102                                           Unliquidated
          Bradenton, FL 34212                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.966    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,095.75
          Diane Herrmann                                                        Contingent
          420 Sword Way                                                         Unliquidated
          Bollingbrook, IL 60440                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.967    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,183.00
          Diane Malcolm                                                         Contingent
          1323 Fawn Dr                                                          Unliquidated
          Williamstown, NJ 08094                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.968    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,945.00
          Diane Mccall                                                          Contingent
          3430 E. Coronado Rd.                                                  Unliquidated
          Phoenix, AZ 85008                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.969    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,545.00
          Diane Ward                                                            Contingent
          4768 Fesseneva Lane                                                   Unliquidated
          Naperville, IL 60564                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.970    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,500.00
          Dianne & Norman Donahue                                               Contingent
          1937 S. 10th Ave                                                      Unliquidated
          Maywood, IL 60153                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.971    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,126.00
          Dianne Dudley                                                         Contingent
          302 Morrow Road, Apt 562                                              Unliquidated
          Forest Park, GA 30297                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.972    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,145.00
          Dianne Gilbert                                                        Contingent
          519 Idalia Court                                                      Unliquidated
          Fort Collins, CO 80525                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.973    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,327.00
          Diccie (Dicey) and Aaron Smith                                        Contingent
          16306 Morning Quail Court                                             Unliquidated
          Missouri City, TX 77489                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.974    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,500.00
          Dick & Tammy Wheatley                                                 Contingent
          702 Shorevista Court                                                  Unliquidated
          Raymore, MO 64083                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.975    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,797.00
          Dionne & Tiwanna Nelson/Famularo                                      Contingent
          16302 Canova Hill Lane                                                Unliquidated
          Houston, TX 77044                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.976    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,700.00
          direct2you, inc.                                                      Contingent
          14 Inverness Dr East, Ste E210                                        Unliquidated
          Englewood, CO                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.977    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,450.00
          Dirk And Tracey White                                                 Contingent
          30312 N. 115th Dr.                                                    Unliquidated
          Peoria, AZ 85383                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.978    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Disney Vacation Club                                                  Contingent
          1960 Broadway                                                         Unliquidated
          LaKE Buena Vista, FL 32830                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.979    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          District of Columbia Attorney General                                 Contingent
          400 6th Street NW                                                     Unliquidated
          Washington, DC 20001                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.980    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Divi Vacation Club/Interval Internationa                              Contingent
          Divi Hotels Marketing Inc. 6320 Quadrang                              Unliquidated
          Chaple Hills, NC 27517                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.981    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Docketbird                                                            Contingent
          7202 NE Highway 99 Ste 106-225                                        Unliquidated
          Vancouver, WA 98665                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.982    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Docusign                                                              Contingent
          221 Main Street Suite 1000                                            Unliquidated
          San Francisco, CO 94105                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.983    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Dolores McClimans                                                     Contingent
          7646 E Nogales Rd                                                     Unliquidated
          Scottsdale, AZ 85258                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.984    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,848.68
          Dolores, Marianne, David and Karin Sanke                              Contingent
          1963 Berkwood Drive                                                   Unliquidated
          Pittsburgh, PA 15243                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.985    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Domenico & Angie Germano                                              Contingent
          6053 Ashley Ct                                                        Unliquidated
          Cincinnati, OH 45242                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.986    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,469.50
          Domes and Darlene Little                                              Contingent
          2472 Forest Drive                                                     Unliquidated
          Woodridge, IL 60517                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.987    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,000.00
          Domingo Soto Lopez                                                    Contingent
          Los Clabeles 14 Barrio Las Flores Colina                              Unliquidated
          Santiago                                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.988    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,398.00
          Dominick & Cheryl Marzziotti                                          Contingent
          2 Fitzpatrick Road                                                    Unliquidated
          Grafton, MA 01519                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.989    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,065.00
          Don & Irene Reeb                                                      Contingent
          1600 Wapiti Circle                                                    Unliquidated
          Unit 19                                                               Disputed
          Estes Park, CO 80517
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.990    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Don & Jolene Lampton                                                  Contingent
          5503 Merrywing Cir                                                    Unliquidated
          Austin, TX 78730                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.991    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,850.00
          Don and Evageline Krippner                                            Contingent
          519 13th st N                                                         Unliquidated
          Sartell, MN 56377                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.992    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,008.00
          Don And Lisa Nissen                                                   Contingent
          4365 S Nepal St                                                       Unliquidated
          Aurora, CO 80015                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.993    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,470.00
          Don and Marjorie Deboer                                               Contingent
          7900 E Dartmouth ave unit 74                                          Unliquidated
          Denver, co 80231                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.994    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,750.00
          Don And Sharon Spencer                                                Contingent
          217 Landen Drive                                                      Unliquidated
          PO Box 983                                                            Disputed
          Southfork, CO 81154
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.995    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,865.00
          Don Grewe                                                             Contingent
          3354 W Arlington Ave                                                  Unliquidated
          Littleton, co 80123                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.996    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Dona Vukson                                                           Contingent
          85B Empress Plaza                                                     Unliquidated
          Monroe Township, NJ 08831                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.997    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,638.67
          Donald & Phyllis Roth                                                 Contingent
          7625 Weaver Ave.                                                      Unliquidated
          Saint Louis, MO 63143                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.998    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,465.00
          Donald & Shirley Krenek                                               Contingent
          1897 Johnston Rd                                                      Unliquidated
          Wallis, TX 77485                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.999    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Donald & Volrie Fusina                                                Contingent
          9608 Conservation Drive                                               Unliquidated
          New Port Richie, FL 34655                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,410.00
          Donald (Don) & Susan Flaten                                           Contingent
          12752 Vintage Cir                                                     Unliquidated
          Staples, MN 56479                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,394.65
          Donald Ahlborn                                                        Contingent
          1200 Mira Mar Avenue                                                  Unliquidated
          Apt 1023                                                              Disputed
          Medford, OR 97504
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.100
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,850.00
          Donald and Carolita Richards (Dawn Adams                              Contingent
          274 Shea Dr                                                           Unliquidated
          Flossmoor, IL 60422                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,598.00
          Donald And Gwendolyn Nash                                             Contingent
          6019 Irving St                                                        Unliquidated
          Philadelphia, PA 19139                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Donald And Margaret Walker                                            Contingent
          702 Ostrich Fern Lane                                                 Unliquidated
          Deland, FL 32720                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,813.00
          Donald Livengood                                                      Contingent
          6035 The Twelfth Fairway                                              Unliquidated
          Suwanee, GA 30024                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.100
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,955.00
          Donald Lovelace                                                       Contingent
          1227 Troy Street                                                      Unliquidated
          Aurora, CO 80011                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,400.00
          Donald Monte/Nathalie Koivogui                                        Contingent
          1234 Green Street                                                     Unliquidated
          New Lenox, IL 60451                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,200.00
          Donald Patterson                                                      Contingent
          8305 S Yarrow St                                                      Unliquidated
          Littleton, CO 80128                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,353.00
          Donald Sylvia                                                         Contingent
          19 Sandy Circle                                                       Unliquidated
          Lakeville, MA                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,665.00
          Donald Williams                                                       Contingent
          (708) 728-0913                                                        Unliquidated
           IL 60499                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,975.00
          Donjae & Joseph Watson                                                Contingent
          8158 S Sawyer                                                         Unliquidated
          Chicago, IL 60652                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,838.99
          Donna & Ralph Gorton                                                  Contingent
          20545 E Caley Dr                                                      Unliquidated
          Centennial, CO 80016                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.101
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,558.00
          Donna and Carl DiMarco                                                Contingent
          29 Emilie Drive                                                       Unliquidated
          Center Moriches, NY 11934                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,849.00
          Donna and Darrel Anderson                                             Contingent
          3829 Aubrell Rd                                                       Unliquidated
          Pearland, TX 77584                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,420.00
          Donna and Howard Bottenberg                                           Contingent
          800 Hawkstone Drive                                                   Unliquidated
          #23                                                                   Disputed
          Eaton, CO 80615
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.101
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,050.00
          Donna and Michael Gentry                                              Contingent
          11591 Brighton Rd                                                     Unliquidated
          Henderson, CO 80640                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Donna Andrews                                                         Contingent
          P.O Box 29368                                                         Unliquidated
          Atlanta, GA 30359                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,200.00
          Donna Boniface                                                        Contingent
          4016 Somersat Ct                                                      Unliquidated
          Cumming, GA 30040                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,245.00
          Donna Davis                                                           Contingent
          2233 E Behrend Dr #103                                                Unliquidated
          Phoenix, AZ 85024-1855                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.102
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Donna Gammon                                                          Contingent
          250 Keytown rd                                                        Unliquidated
          Portland, TN 37148                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Donna Hill                                                            Contingent
          1731 Dale Drive                                                       Unliquidated
          Merrillville, IN 46410                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,020.00
          Donna Jean Heilig                                                     Contingent
          111 South Scoville Ave                                                Unliquidated
          Unit 3N                                                               Disputed
          Oak Park, IL 60302
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.102
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Donna Merkle                                                          Contingent
          12148 Leuscher                                                        Unliquidated
          Alhambra, MO 62001                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,775.00
          Donna Minton                                                          Contingent
          2608 Pinebrook Ave Apt. E6                                            Unliquidated
          Landover, MD 20785                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,148.08
          Donna Thurlow                                                         Contingent
          4326 Beautiful Cir                                                    Unliquidated
          Castle Rock, CO 80109                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Donna Whitfield                                                       Contingent
          2335 North Lancaster Lane                                             Unliquidated
          Round Lake Beach, IL 60073                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.102
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,250.00
          Donnie & Deborah Gray                                                 Contingent
          3089 Whispering Oaks Dr                                               Unliquidated
          Highland Village, TX 75077                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,130.43
          Donnie Tegeler                                                        Contingent
          PO BOX 193                                                            Unliquidated
          Ganado, TX 77962                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,540.00
          Dora and Guy Shay                                                     Contingent
          4001 Morgan County Road A                                             Unliquidated
          Wiggins, CO 80654                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Doris and Charles Carbins                                             Contingent
          340 Johnson Street                                                    Unliquidated
          Gary, IL 46402                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,108.00
          Doris And Wayne Erickson                                              Contingent
          2500 Valley Dr                                                        Unliquidated
          Northfield, MN 55057                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Doris Evelyn McDowell                                                 Contingent
          41 Douglasview S>E>                                                   Unliquidated
          Calgary, Alberta T2Z 2R9                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,082.00
          Doris Quinene                                                         Contingent
          304 Anns Way                                                          Unliquidated
          Vista, CA 92083                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.103
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,146.00
          Doris Spencer Riordan                                                 Contingent
          899 S Plymouth Ct Unit 208                                            Unliquidated
          Chicago, IL 60605                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,410.00
          Dorothy & Daniel Buffington                                           Contingent
          955 Talbart St                                                        Unliquidated
          Marinez, CA 94553                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Dorothy (Eileen) and Walter Brinkman                                  Contingent
          17597 W. Cedarwood Ln                                                 Unliquidated
          Goodyear, AZ 85338                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,982.00
          Dorothy Boyle                                                         Contingent
          12400 Park Bl.                                                        Unliquidated
          Apt 619                                                               Disputed
          Seminole, FL 33772
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.103
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,500.00
          Dorothy Fite and Penny Stermer                                        Contingent
          15780 Penrith Road                                                    Unliquidated
          Keenesburg, CO 80643                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,050.00
          Dorothy Hooper                                                        Contingent
          6122 Auburn Woods Drive                                               Unliquidated
          Houston, TX 77084                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Dorothy Keach                                                         Contingent
          78 Dun Bluff                                                          Unliquidated
          Edisto Island, SC 29438                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.104
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,800.00
          Dorothy Mintle                                                        Contingent
          14081 W. C. R. 18 1/2                                                 Unliquidated
          Fort Lupton, CO 80621                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,623.24
          Dorothy Pitts                                                         Contingent
          5 Swinford Court                                                      Unliquidated
          Bolingbrook, IL 60440                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Doug & Dawn Meyer                                                     Contingent
          380 Woodmere Dr                                                       Unliquidated
          St. Charles, MO 63303                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,367.75
          Doug & James Taylor/Thomas                                            Contingent
          905 North Allerton Rd                                                 Unliquidated
          Belleville, IL 62221                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,936.00
          Doug & Joyce Gagne                                                    Contingent
          7591 E. Hoff Road                                                     Unliquidated
          Sunman, IN 47041                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Douglas & Jeananne Boxell                                             Contingent
          4509 Wildness Path                                                    Unliquidated
          Roanoke, TX 76262                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Douglas (Doug) & Irma Patterson                                       Contingent
          17706 Country Meadow Lane                                             Unliquidated
          Magnolia, TX 77355                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.104
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,841.69
          Douglas and Tyria Adams                                               Contingent
          6928 Foxcroft Lane                                                    Unliquidated
          Humble, TX 77338                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.104
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,912.00
          Douglas Caldwell and Melody Hoffschneide                              Contingent
          8032 E Briarwood Blvd.                                                Unliquidated
          Centennial, CO 80112                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Douglas Haberkamp                                                     Contingent
          1225 Deerfield Rd.                                                    Unliquidated
          Deerfield, IL 60015                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,745.00
          Dr. Ole and Marty Jensen                                              Contingent
          13 Cherry Hills Farm Dr.                                              Unliquidated
          Englewood, CO 80113                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,350.00
          Dr. Robert and Myrna Stadheim                                         Contingent
          24526 S Berry Brook Dr                                                Unliquidated
          Sun Lakes, AZ 85248                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,697.48
          Dragon and Stephanie Comstock                                         Contingent
          25089 E 3rd Place                                                     Unliquidated
          Aurora, CO 80018                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,770.00
          Drake and Virgina Fink                                                Contingent
          14122 Sun Blaze Loop Unit D                                           Unliquidated
          Broomfield, CO 80023                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.105
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,420.00
          Drew and Kristna Avra                                                 Contingent
          3148 Sharps St                                                        Unliquidated
          Fort Collins, CO 80526                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Driftwood Worldgate                                                   Contingent
          3011 Maingate Lane                                                    Unliquidated
          Kissimmee, FL 34747                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Drop Box                                                              Contingent
          333 Brannan Street                                                    Unliquidated
          San Francisco, CA 94107                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,285.00
          Duane & Laura Jacobs                                                  Contingent
          4909 Marlin Dr                                                        Unliquidated
          New Port Richey, FL 34652                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,700.00
          Dulce Maria & Juan Banda                                              Contingent
          1919 W Corinat Ave # 19                                               Unliquidated
          Anaheim, CA 92801                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,505.75
          Duncan and Terence Brown                                              Contingent
          10313 Point Lobos Trail                                               Unliquidated
          Ft Worth, TX 76177                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,890.00
          Dupree & Roslyn Johnson                                               Contingent
          2316 2nd Street NE                                                    Unliquidated
          Washington DC, VA 20002                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.106
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,382.00
          Dustin & Amy Higginbotham                                             Contingent
          3801 Westridge Dr.                                                    Unliquidated
          Bartlett, TN 38135                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,310.00
          Dusty and Melina Sexton                                               Contingent
          798 County Rd. 4238                                                   Unliquidated
          Simms, TX 75574                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          DVC - Shell Vacation Club                                             Contingent
          390 Straight Creek Drive                                              Unliquidated
          Dillon, CO 80435                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Dwayne Hofstetter/Julie Brammer                                       Contingent
          7625 Larkspur Street                                                  Unliquidated
          Navarre, FL 32566                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,944.70
          Dwayne Washington and Dorcas Wilson                                   Contingent
          11813 Bexley Drive                                                    Unliquidated
          Burleson, TX 76028                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,785.00
          Dwight & Janice Alex                                                  Contingent
          18500 Pencil Cactus Dr                                                Unliquidated
          Pflugerville, TX 78660                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.106
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,110.00
          Dwight And Marilyn Watkins                                            Contingent
          8013 Isle of Skye                                                     Unliquidated
          The Colony, TX 75056                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.106
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Dwight Royster, Joyce Williams, Latoya R                              Contingent
          6120 Les Dorson Lane                                                  Unliquidated
          Alexandria, VA 22315                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          DX Media Direct                                                       Contingent
          3514 Elm Bottom Circle                                                Unliquidated
          Aubrey, TX 76227                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Dyann Maryman Acton                                                   Contingent
          9827 Sovereign Way                                                    Unliquidated
          Wake Forest, NC 27587                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Dynadmic Corp.                                                        Contingent
          185 Alewife Brook PKWY STE 210                                        Unliquidated
          Cambridge, MA 02138                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $95.65
          E-470 Public Highway Authority (business                              Contingent
          PO Box 5470                                                           Unliquidated
          Denver, CO 80217                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6458
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,750.00
          E.R. Lake                                                             Contingent
          10355 Paradise Blvd. #1010                                            Unliquidated
          Treasure Island, FL 33706                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,215.00
          Ea-Jan and Jennifer Shee                                              Contingent
          4 Martin Ct.                                                          Unliquidated
          East Brunswick, NJ 08816                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.107
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Eagle Crest Resort                                                    Contingent
          1522 Cline Falls Rd.                                                  Unliquidated
          Redmond, OR 97756                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Eagle Point                                                           Contingent
          1500 Matterhorn Cir.                                                  Unliquidated
          Vail, CO 81657                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Eagle Rock Community Association                                      Contingent
          1 Country Club Drive                                                  Unliquidated
          Hazle Township, PA 18202                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Eagle Trace Owner's Association                                       Contingent
          1296 Resort Dr. MC.                                                   Unliquidated
          Gaheysville, VA 22840                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Eagle Village Resort                                                  Contingent
          113 Bald Eagle Ct.                                                    Unliquidated
          Tamiment, PA 18371                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,453.75
          Earl And Leidy Roberts                                                Contingent
          6000 Johnston Street Apt 1510                                         Unliquidated
          Lafayette, LA 70508                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Earnest (Martin) & Heather Chamberlain                                Contingent
          230 E. Burton Ln                                                      Unliquidated
          Kaysville, UT 84037                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.108
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,074.00
          Earnest And Ana Washington                                            Contingent
          17934 Fountain Circle                                                 Unliquidated
          Orland Park, IL 60467                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Earnest Watkins                                                       Contingent
          109 Atlanta Circle                                                    Unliquidated
          Madison, AL 35758                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          East Ocean Development                                                Contingent
          909 Breakers Avewnue                                                  Unliquidated
          Fort Lauderdale, FL 33304                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Eastern Slope Inn                                                     Contingent
          2760 White Mountian Hwy, North                                        Unliquidated
          Conway, NH 03860                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,096.00
          Ebonique Alexander and Shamecca Davis                                 Contingent
          3751 S Richfield St                                                   Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,420.00
          Ebony and Brian Speakman                                              Contingent
          3394 Deerwood Lane                                                    Unliquidated
          Rex, GA 30273                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,480.00
          Ed & Marijo Parkin                                                    Contingent
          4057 Christy Ridge                                                    Unliquidated
          Sedalia, CO 80135                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.109
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,067.00
          Eddie & Stephanie Morgan                                              Contingent
          1941 Squires Way Ct.                                                  Unliquidated
          Chesterfield, MO 63017                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,000.00
          Eddie & Teresa Whitaker                                               Contingent
          29 South Independence Blvd                                            Unliquidated
          New Castle, DE 19720                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,564.80
          Eddie And Andrea (Angie) Barnett                                      Contingent
          167 Wheaten Drive                                                     Unliquidated
          Woodstock, GA 30188                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,900.00
          Eddie Love                                                            Contingent
          2910 S. 9th St                                                        Unliquidated
          Kansas City, KS 66103                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,395.00
          Eddie Yemane                                                          Contingent
          14952 Crossfield Way                                                  Unliquidated
          Woodridge, VA 22191                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,038.00
          Edgar Nevarez                                                         Contingent
          10098 Salida                                                          Unliquidated
          Commerce City, CO 80022                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Edith D'Amico                                                         Contingent
          9 Barbara Place                                                       Unliquidated
          Wilmington, PA 19808                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.109
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,450.00
          Edmund Tagoe and Joyce Addai                                          Contingent
          5746 North Rockwell Street                                            Unliquidated
          Floor 1                                                               Disputed
           IL 60659
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.109
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,923.00
          Edward & Diana Cordova                                                Contingent
          4009 Clinton Blvd.                                                    Unliquidated
          Albuquerque, NM 87105                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,555.00
          Edward & Elizabeth Jean Stealy                                        Contingent
          5715 w woodlawn ct                                                    Unliquidated
          Peoria, IL 61614                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,358.00
          Edward & Haesoon Swartz                                               Contingent
          201 Ocean Shores Blvd SW                                              Unliquidated
          Ocean Shores, WA 98569                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,500.00
          Edward & Janet Krauss                                                 Contingent
          8666 140th Way                                                        Unliquidated
          Seminole, FL 33776                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,200.00
          Edward And Barbara Triem                                              Contingent
          2770 Jasmine St                                                       Unliquidated
          Brenham, TX 77833                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,845.00
          Edward and Bobbie Anderson                                            Contingent
          13406 Quiet Summer Court                                              Unliquidated
          Houston, TX 77044                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.110
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,770.00
          Edward and Carol Byorick                                              Contingent
          3347 W 114th Cir Unit D                                               Unliquidated
          Westeminster, CO 80031                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,479.00
          Edward And Polina Champagne                                           Contingent
          8464 Grayling Dr South                                                Unliquidated
          Jacksonville, FL 32256                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,270.00
          Edward and Sharon Lindeman                                            Contingent
          6519 W 73rd Ave                                                       Unliquidated
          Westminster, CO 80003                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,800.00
          Edward Arrieta                                                        Contingent
          2047 N Fork Dr                                                        Unliquidated
          Lafayette, CO 80026                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,302.00
          Edward Kulasik                                                        Contingent
          724 Galaxy Dr.                                                        Unliquidated
          Grand Junction, CO 81506                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,174.75
          Edward McVey                                                          Contingent
          PO Box 2343                                                           Unliquidated
          Snohomish, WA 98291                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,485.00
          Edwin & Keiwana Lewis                                                 Contingent
          13163 Fountain Park Dr Apt B315                                       Unliquidated
          Playa Vista, CA 90094                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.111
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,457.00
          Edwin And Denise Browning                                             Contingent
          1619 Spaniel Court SW                                                 Unliquidated
          Conyers, GA 30094                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Edwin Gledhill                                                        Contingent
          (856) 665-4431                                                        Unliquidated
           NJ 08109                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,200.00
          Edwina Batty                                                          Contingent
          8811 Brazil St                                                        Unliquidated
          Zephyrhills, FL 33540                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,242.00
          Efrain & Juana Corral/Contreras                                       Contingent
          4857 Halifax Street                                                   Unliquidated
          Denver, CO 80249                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Eileen & Henry Huetteman                                              Contingent
          4106 72nd st SE                                                       Unliquidated
          Delano, MN 55328                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Eileen And Raymond Kirchdorfer                                        Contingent
          24 Doty Dr.                                                           Unliquidated
          Stoughton, MA 02072                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Eileen Lara                                                           Contingent
          16725 Joshua                                                          Unliquidated
          Victorville, CA 92395                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.111
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Eileen Woltemath & George Snyder Jr.                                  Contingent
          8165 State Road B                                                     Unliquidated
          Cedar Hill, MO 63016                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.111
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          El Cid Resort                                                         Contingent
          AV Camaron Sabalo S?N                                                 Unliquidated
          Zona Dorada 82110, Mazatlan                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          El Dorado Natural Spring Water                                        Contingent
          PO Box 445                                                            Unliquidated
          El Dorado Springs, CO 80025                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5851
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,636.00
          Elaine & Frank Styra                                                  Contingent
          2375 FM 2656                                                          Unliquidated
          Yorktown, TX 78164                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,827.44
          Elaine and Robert Esparsen                                            Contingent
          920 Flower Street                                                     Unliquidated
          Lakewood, CO 80215                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,500.00
          Elaine Andrews                                                        Contingent
          10718 Allenby Way                                                     Unliquidated
          Truckee, CA 96161                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,413.17
          Elaine Green                                                          Contingent
          5714 Glen Pines Drive                                                 Unliquidated
          Houston, TX 77069                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.112
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,950.00
          Elaine Hunt and Barbara and Bradley Bald                              Contingent
          4026 Canvas Ave                                                       Unliquidated
          Rock Hill, SC 29732                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Elaine Jones                                                          Contingent
          10559 S Hale Ave Apt 3W                                               Unliquidated
          Chicago, IL 60643                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Eldon & April A Rife                                                  Contingent
          1782 Stitley RD                                                       Unliquidated
          Chambersburg, PA 17202                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,617.75
          Eldon and Emma Lou Lynch                                              Contingent
          648 N Mariposa Dr                                                     Unliquidated
          Wickenburg, AZ 85390                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Eldorado Artesian Springs, Inc.                                       Contingent
          PO Box 172526                                                         Unliquidated
          Denver, CO 80217-2526                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Eldorado Resorts                                                      Contingent
          3015 N Ocean Blvd                                                     Unliquidated
          Fort Lauderdale, FL 33308                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,957.10
          Eldred And Lauren McClean                                             Contingent
          1405 Westglen Drive                                                   Unliquidated
          Sachse, TX 75048                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.113
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,001.00
          Elena And Geovanny Adames                                             Contingent
          9815 SW 152 Terrace                                                   Unliquidated
          Miami, FL 33157                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,535.55
          Elena McTighe                                                         Contingent
          401 E Linton Blvd Apt 669                                             Unliquidated
          Delray Beack, FL 33483                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Elevare Inc.                                                          Contingent
          Attn: Joanna Brown 1475 Delgany ST #601                               Unliquidated
          Denver, CO 80202                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,900.00
          Elie & Vicki Lawi Fouerti                                             Contingent
          2215 East 5th Street                                                  Unliquidated
          Brooklyn, NY 11223                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,127.55
          Elisa & Dawn Kaplan/Newcomer                                          Contingent
          6711 Falling Water Drive                                              Unliquidated
          Spring, TX 77379                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,250.00
          Elisa and Thomas Weber                                                Contingent
          1 Pinewood Rd                                                         Unliquidated
          Poughkeepsie, NY 12603                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,802.00
          Elise Robertson                                                       Contingent
          3007 E Lane Park Road                                                 Unliquidated
          Mead, WA 99021                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.113
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Elite Resort Group                                                    Contingent
          852 William Hilton Pkwy Ste 1A                                        Unliquidated
          Hilton Head Island, SC 29928-3423                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,027.69
          Elizabeth & Gemma Pilgrim/Patterson                                   Contingent
          2903 Rimrock Dr                                                       Unliquidated
          Missouri City, TX 77459                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,120.00
          Elizabeth (Liz) Turner                                                Contingent
          9971 W Athens Lane                                                    Unliquidated
          Littleton, CO 80127                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,920.00
          Elizabeth And Alan Ailles                                             Contingent
          415 Oakhaven St                                                       Unliquidated
          Baytown, TX 77520                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Elizabeth Caveny                                                      Contingent
          14583 Haley Ave                                                       Unliquidated
          Parker, CO 80134                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Elizabeth Ciborowski-Subasa                                           Contingent
          9404 Leticia Dr                                                       Unliquidated
          Santee, CA 92071                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,008.25
          Elizabeth Conrad                                                      Contingent
          7 Brook Farm Court                                                    Unliquidated
          Unit C                                                                Disputed
          Perry Hall, MD 21128
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.114
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,913.00
          Elizabeth Dalton                                                      Contingent
          6010 Blue Ridge Dr                                                    Unliquidated
          Apt A                                                                 Disputed
          Highlands Ranch, CO 80130
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.114
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Elizabeth Glover                                                      Contingent
          11633 County Rd 446                                                   Unliquidated
          Navasota, TX 77868                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,500.00
          Ellen & Timothy Vest                                                  Contingent
          8701 Toler Pointe                                                     Unliquidated
          La Rue, TX 75700                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Ellen And David Sloan                                                 Contingent
          7294 W. Walden Dr                                                     Unliquidated
          Littleton, CO 80128                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,950.00
          Ellen Keller                                                          Contingent
          9831 Dell Webb Parkway Apt 1104                                       Unliquidated
          Jacksonville, FL 32256                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ellington at Wadesaw                                                  Contingent
          911 Riverwood Dr                                                      Unliquidated
          Murrells Inlet, SC 29576                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,816.00
          Ellis Tyrance And Jasmine Nichols                                     Contingent
          66 Neponset Ave                                                       Unliquidated
          Apt 2                                                                 Disputed
          High Park, MA 02136
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.115
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,546.00
          Elmarie (Yvonne) Brown                                                Contingent
          1711 Powder Horn Lane                                                 Unliquidated
          Arlington, TX 76018                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,882.00
          Eloy & Mary Montoya/Vigil                                             Contingent
          2213 S Meade St                                                       Unliquidated
          Denver, CO 80219                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,820.00
          Elvia and Arturo Cortez                                               Contingent
          4273 Woodglen Blvd                                                    Unliquidated
          Thorton, CO 80233                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,985.00
          Elvira (Vera) Lucero                                                  Contingent
          4815 W 116th CT                                                       Unliquidated
          Westminster, CO 80031                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Embark                                                                Contingent
          The Landin, #326-375 Water Street                                     Unliquidated
          Vancouver, BC Canada V6B5C6                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Embassy Vacation Resorts                                              Contingent
          8317 Lake Bryan Beach Blvd.                                           Unliquidated
          Orlando, FL 32821                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,080.00
          Emelie Nevius/Shawn Ortloff                                           Contingent
          7411 East Drummer Ave.                                                Unliquidated
          Mesa, AZ 85208                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.116
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Emily Merritt                                                         Contingent
          7915 Kerith Lane                                                      Unliquidated
          Trussville, AL 35173                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Enid & Werner Chandler/Keidel                                         Contingent
          2500 Houma Blvd, Unit #317                                            Unliquidated
          Metairie, LA 70001                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,730.00
          Enoc & Corina Escalona                                                Contingent
          5956 Lost Valley Drive                                                Unliquidated
          The Colony, TX 75056                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,488.48
          Enrique & Elena Ramos                                                 Contingent
          12719 Parkbury Drive                                                  Unliquidated
          Orlando, FL 32828                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,133.80
          Enrique & Gilda Gomez                                                 Contingent
          11821 SW 4th Terrace                                                  Unliquidated
          Miami, FL 33184                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,745.00
          Enriqueta Steele                                                      Contingent
          6231 Shawnee Rd                                                       Unliquidated
          Westminster, CA 92683                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Entercom Communications Corp.                                         Contingent
          PO BOX 74079                                                          Unliquidated
          Cleveland, OH 44194                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.116
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,294.00
          Eriberto & Karina Baltadano                                           Contingent
          16 Forest Glen Circle, Apt# 3                                         Unliquidated
          Middletown, CT 06457                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,950.00
          Eric & Kim Edwards                                                    Contingent
          515 Saddlerock Circle                                                 Unliquidated
          Sedona, AZ 86336                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Eric Bartoszek                                                        Contingent
          7550 S. Blackhawk St, 13-202                                          Unliquidated
          Englewood, CO 80112                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Eric Santos                                                           Contingent
          2329 Taggart Ct                                                       Unliquidated
          Wilmington, PA 19810                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Erica and Anthony Di Tirro                                            Contingent
          6685 w evans ave                                                      Unliquidated
          Lakewood, CO 80227                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,433.00
          Ericka and Roderick James                                             Contingent
          33 South Lindon Ave                                                   Unliquidated
          Council Bluffs, IA 51503                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,558.00
          Erika & Charles Gaines                                                Contingent
          113 Stockland Rd.                                                     Unliquidated
          Irmo, SC 29063                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.117
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,400.00
          Erika Guidry and John Sadler                                          Contingent
          4106 Tidewater Drive                                                  Unliquidated
          Houston, TX 77045                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Erin Higgins                                                          Contingent
          2954 West Irving Park Road Apt 3F                                     Unliquidated
          Chicago, IL 60618                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,456.06
          Erin Watzel                                                           Contingent
          9287 W 98th Place                                                     Unliquidated
          Westminster, CO 80021                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Erma Tatum and Elton Moore                                            Contingent
          15727 Sweetwater Creek Drive                                          Unliquidated
          Houston, TX 77095                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Ernest And Carol Gray                                                 Contingent
          12215 Moorceek Drive                                                  Unliquidated
          Houston, TX 77070                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Ernest and Glenda Komarek                                             Contingent
          818 Coulter St                                                        Unliquidated
          Ft. Collins, CO 80524                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,705.00
          Ernest And Joyclyn Johnson                                            Contingent
          7418 Oriole                                                           Unliquidated
          Texas City, Tx 77591                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.118
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Ernest And Julia Mudd                                                 Contingent
          12214 Chessington Drive                                               Unliquidated
          Houston, TX 77031                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Ernesto Acea-Green and Beatriz Cordero-A                              Contingent
          4900 77th Pl.                                                         Unliquidated
          Hyattsville, MD 20912                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Ervin & Catherine Dorsett                                             Contingent
          3200 Kim Dr.                                                          Unliquidated
          Richmond, VA 23224                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,185.00
          Ervin and Marion Cogdell                                              Contingent
          5136 Primland Lane                                                    Unliquidated
          Raleigh, NC 27610                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,500.00
          Erwin & Jackie Montgomery                                             Contingent
          7220 Hunters Point Dr                                                 Unliquidated
          Fayetteville, NC 28311                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Escape Travel Choices                                                 Contingent
          903 N 47th St.                                                        Unliquidated
          Rogers, AR 72756                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,044.80
          Esmond and Frances Waldron                                            Contingent
          2748 East Chester Road                                                Unliquidated
          Bronx, NY 10465                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.118
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,380.00
          Esta Burleson                                                         Contingent
          117 Pate Branch Rd                                                    Unliquidated
          Freeport, FL 32439                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.118
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,480.00
          Esther & David Rouse                                                  Contingent
          1321 Iola St                                                          Unliquidated
          Aurora, CO 80010                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,845.00
          Ethel (Eddi) Loredo                                                   Contingent
          44465Chamberlain Terrace                                              Unliquidated
          Ashburn, VA 20147                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,895.00
          Eugene & Adelaine Steinhaus                                           Contingent
          2374 Pinewood Dr                                                      Unliquidated
          Shakopee, MN 55379                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,595.00
          Eugene & Elease Strickland                                            Contingent
          7536 Sherwood Rd.                                                     Unliquidated
          Philadelphia, PA 19151                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,450.00
          Eugene And Ester Johnson                                              Contingent
          18327 West Caribbean Lane                                             Unliquidated
          Surprise, AZ 85388                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,426.00
          Eugene and Kimberlyn Yazzie                                           Contingent
          PO Box 1054                                                           Unliquidated
          Keams Canyon, AZ 86034                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.119
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,930.11
          Eugene Chun                                                           Contingent
          981710 Kaahumanu Street                                               Unliquidated
          Unit 10A                                                              Disputed
          Pearl City, HI 96782
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.119
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,625.00
          Eugene Martin                                                         Contingent
          4401 Telfair Blvd apt 4323                                            Unliquidated
          Camp Springs, MD 20746                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Eusebio & Christine Quinones                                          Contingent
          5300 Augusta Trail                                                    Unliquidated
          Fort Collins, CO 80528                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Eva Patterson                                                         Contingent
          20522 Serringdon Drive                                                Unliquidated
          Katy, TX 77449                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,674.50
          Evard & Samantha James                                                Contingent
          110 Ball Park Lane                                                    Unliquidated
          Apt 7003                                                              Disputed
          Lawrenceville, GA 30043
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.120
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,367.75
          Evee & Gunter Burgard                                                 Contingent
          1700 Stanford Ave                                                     Unliquidated
          Redondo Beach, CA 90278                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,645.00
          Evelyn & John Lopez                                                   Contingent
          5001 Parish Drive                                                     Unliquidated
          Roeland Park, KS 66205                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.120
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,545.00
          Evelyn and Daniel Ortiz-Sanchez                                       Contingent
          2822 Shelburne Way                                                    Unliquidated
          St. Cloud, FL 34772                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,000.00
          Evelyn Barnes                                                         Contingent
          3715 Yorktown Road                                                    Unliquidated
          Hope Mills, NC 28348                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Evelyn Wenke                                                          Contingent
          3314 190th St                                                         Unliquidated
          Fort Madison, IA 52627                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,080.00
          Evelyn, Alfonso and Tracy Lewis and Carl                              Contingent
          170 Arbor Springs Parkway                                             Unliquidated
          Newnan, GA 30265                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Exclusive Travel                                                      Contingent
          700 W. Hillsboro Blvd.                                                Unliquidated
          Deerfield Beach, FL 33441-1612                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Executive Business Centers                                            Contingent
          7887 East Belleview Avenue, Suite 1100                                Unliquidated
          Denver, CO 80111                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Executive Business Centers - Prentice                                 Contingent
          8400 East Prentice Ave Suite 1500                                     Unliquidated
          Greenwood Village, CO 80111                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.120
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Executive Business Services LLC                                       Contingent
          1166 W Princeton Pl                                                   Unliquidated
          Englewood, CO 80110                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $414,817.50
          Explore Communications                                                Contingent
          3213 Zuni St                                                          Unliquidated
          Denver, CO 80211                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8157
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $414,817.50
          Explore Communications                                                Contingent
          3213 Zuni St                                                          Unliquidated
          Denver, CO 80211                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Exploria Resorts                                                      Contingent
          25 Town Center Blvd. Suite C                                          Unliquidated
          Clermont, FL 34714                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Exploria Resorts                                                      Contingent
          25 Town Center Blvd.                                                  Unliquidated
          Clermont, FL 34714                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Exploria Resorts                                                      Contingent
          PO Box 150                                                            Unliquidated
          Scottsdale, AZ 85252                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,524.40
          Ezra(Elizabeth)&LindaM Orti/Cruz                                      Contingent
          26944 East Archer Avenue                                              Unliquidated
          Aurora, CO 80018                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.121
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Fairfield Resorts                                                     Contingent
          538 West 58th Street                                                  Unliquidated
          New York, NY 10019                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Fairway at Pocono Mountain Villas                                     Contingent
          2157 Triver Road East                                                 Unliquidated
          Stroudsburg, PA 18302                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Fairway Forest via Diamond Resorts                                    Contingent
          3077 US Hwy 64 E Suite A                                              Unliquidated
          Sapphire, NC 28774                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Falcon Point Resort                                                   Contingent
          175 Lake St                                                           Unliquidated
          Avon, CO 81620                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Falls of Ogunquit                                                     Contingent
          639 Main Street                                                       Unliquidated
          Ogunquit, ME 03907                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          FantaSea Resort                                                       Contingent
          60 N. Maine Avenue                                                    Unliquidated
          Atlantic City, NJ 08401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          FantaSea Resorts                                                      Contingent
          60 North Maine Avenue                                                 Unliquidated
          Atlantic City, NJ 08401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.122
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Fantasea/Capital                                                      Contingent
          60 N. Maine Avenue                                                    Unliquidated
          Atlantic City, NJ 08401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Fantasy Resorts                                                       Contingent
          60 N. Maine Avenue                                                    Unliquidated
          Atlantic City, NJ 08401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Fantasy World in Florida                                              Contingent
          5005 Kyng's Heath Rd.                                                 Unliquidated
          Kissimmee, FL 34746                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,530.00
          Farah Jean Pierre                                                     Contingent
          1396 Newton St.                                                       Unliquidated
          Denver, CO 80204                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,645.00
          Farley Frydman                                                        Contingent
          230 Stanbery Ave                                                      Unliquidated
          Beckley, OH 43209                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Faye Autrey/Len Copperwheat                                           Contingent
          2909 Frick Road                                                       Unliquidated
          Houston, TX 77038                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $246.79
          FedEx US Collections Dept                                             Contingent
          PO Box 94515                                                          Unliquidated
          Palatine, IL 60094                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3433
                                                                             Is the claim subject to offset?     No       Yes




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 3.123
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,245.00
          Felicia Brazil                                                        Contingent
          9019 Canton Park Lane                                                 Unliquidated
          Houston, TX 77095                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,930.00
          Felipe & Bonnie Flores                                                Contingent
          6236 Bryce Canyon Avenue                                              Unliquidated
          Las Vegas, NV 89156                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,690.40
          Felipe & Claudia Martinez/Carlin                                      Contingent
          1109 Fall River Cir                                                   Unliquidated
          Longmont, CO 80504                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,367.00
          Felipe & Karen Garcia/ Rivera                                         Contingent
          1814 S. Wolff St.                                                     Unliquidated
          Denver, CO 80219                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Fenton Miller                                                         Contingent
          8335 Lowell Ave Unit # 1                                              Unliquidated
          Overland Park, KS 66212                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,920.00
          Ferdinand & Veronica Suarez                                           Contingent
          901 Abernathy Road                                                    Unliquidated
          Unit 6290                                                             Disputed
          Sandy Springs, GA 30328
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.123
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,457.00
          Ferguson & Renee Reed/Adams                                           Contingent
          1328 W 75th Ave                                                       Unliquidated
          Merrillville, IN 46410                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.123
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Festiva                                                               Contingent
          1 Vance Gap Road                                                      Unliquidated
          Asheville, NC 28805                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Festiva                                                               Contingent
          One Vance Gap Road                                                    Unliquidated
          Ashville, NC 28805                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Festiva Resorts                                                       Contingent
          1 Vance Gap Road                                                      Unliquidated
          Asheville, NC 28805                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          FHRC                                                                  Contingent
          80 East Harmon Ave                                                    Unliquidated
          Las Vegas, NV 89109                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Fides & Henry Albano                                                  Contingent
          12862 Suffolk Chase Lane                                              Unliquidated
          Houston, TX 77077                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Fiesta Americana                                                      Contingent
          1551 Avenida de las Americas                                          Unliquidated
          Proivencia 44630, Guadalajara Jalisco, M                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Fiestiva                                                              Contingent
          1 Vance Gap Road                                                      Unliquidated
          Asheville, NC 28805                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.124
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,250.00
          Finus Douglas                                                         Contingent
          3112 Twilight Ave                                                     Unliquidated
          Naperville, IL 60564                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $157,348.06
          Fiserv Attn: Legal Papers                                             Contingent
          5775 DTC Blvd, Suite 100N                                             Unliquidated
          Greenwood Village, CO 80111                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $157,348.06
          Fiserv Mercant Services - Bankrupsy Dept                              Contingent
          1600 Terrell Mill Road                                                Unliquidated
          Marietta, GA 30067                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Flagship Resorts                                                      Contingent
          60 N. Maine Avenue                                                    Unliquidated
          Atlantic City, NJ 08401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Flex Vacations                                                        Contingent
          8800 Vistana Centre Drive                                             Unliquidated
          Orlando, FL 32821                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Flora Leach                                                           Contingent
          7547 S Wentworth Ave                                                  Unliquidated
          Chicago, IL 60620                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,245.00
          Florence (F.M. Or Flo) Littljohann                                    Contingent
          808 Lane Steet                                                        Unliquidated
          Ft Morgan, CO 80701                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.125
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,270.00
          Floy and Mike Sherman                                                 Contingent
          3940 S Washington St                                                  Unliquidated
          Englewood, CO 80113                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Fontana Village Resort and Marina                                     Contingent
          300 Woods Rd                                                          Unliquidated
          Fontana Dam, NC 28733                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Forrest And Deborah Breakey                                           Contingent
          32 Gladwood Way                                                       Unliquidated
          Garner, NC 27529                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Fort Brown                                                            Contingent
          401 Ringgold Rd                                                       Unliquidated
          Brownsville, TX 78520                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Four Sails                                                            Contingent
          3301 Atlantic Ave.                                                    Unliquidated
          Virginia Beach, VA 23451                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Four Seasons                                                          Contingent
          5005 Veterans Memorial Hwy                                            Unliquidated
          Holberook, NY 11741                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Fox Hill                                                              Contingent
          244 S. Main Street                                                    Unliquidated
          Miahicot, WI 54228                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.125
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Fox News Network LLC                                                  Contingent
          1211 Avenue of the Americas                                           Unliquidated
          New York, NY 10036                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.125
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Frances & Andrew Garcia/Santiago                                      Contingent
          7152 Cedarcrest Blvd                                                  Unliquidated
          Lakeland, FL 35554-5888                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,520.00
          Frances & John Trainor                                                Contingent
          9 Carr Rd                                                             Unliquidated
          Saugus, MA 01906                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,319.70
          Frances & Samaria Epps                                                Contingent
          4107 Oak Arbor Drive                                                  Unliquidated
          Dallas, TX 75233                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Frances Doherty                                                       Contingent
          7 Chester St                                                          Unliquidated
          Arlington, MA 20476                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,709.63
          Frances Mays                                                          Contingent
          1644 Akron                                                            Unliquidated
          Aurora, CO 80010                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,957.00
          Francis and Joan Lee                                                  Contingent
          990 Harlan St                                                         Unliquidated
          Lakewood, CO 80214                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.126
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,146.00
          Francis B & Carmen Beadle                                             Contingent
          6405 Citrushill Dr                                                    Unliquidated
          Bakerville, CA 93306                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Francis L Dean & Assiciates                                           Contingent
          9362 Teddy Ln                                                         Unliquidated
          LoneTree, CO 80124                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Francis Mchugh                                                        Contingent
          8 Steven Ave                                                          Unliquidated
          Derry, NH 03038                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,183.00
          Francis Wallace/Monique Gomillion                                     Contingent
          3100 Walters Lane Apt. 3                                              Unliquidated
          District Heights, MD 20747                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,770.00
          Frank & Jane Capasso                                                  Contingent
          415 South Manor Drive                                                 Unliquidated
          Media, PA 19063                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Frank & Linda Romero                                                  Contingent
          16236 East 105th Circle                                               Unliquidated
          Commerce City, CO 80022                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,682.00
          Frank & Sheila Dott                                                   Contingent
          15246 W. Calavar Rd                                                   Unliquidated
          Surprise, AZ 85379                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.127
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,894.00
          Frank and Edrie Garcia                                                Contingent
          22715 Coriander Dr                                                    Unliquidated
          Magnolia, TX 77355                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Frank and Jacqueline Espinoza                                         Contingent
          13090 W. Warren Ave.                                                  Unliquidated
          Lakewood, CO 80228                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,200.40
          Frank and Linda Harris                                                Contingent
          2065 Mountain Sage Dr                                                 Unliquidated
          Highlands Ranch, CO 80126                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,715.00
          Frank and Susan Wadlington                                            Contingent
          2311 Wicklow Dr.                                                      Unliquidated
          Pearland, TX 77581                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,253.00
          Frank Behra                                                           Contingent
          795 Summerlake Circle                                                 Unliquidated
          Apt 302                                                               Disputed
          Ridgeland, SC 29936
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.127
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          FRANK D. SILVA                                                        Contingent
          12161 Mercado Drive #301                                              Unliquidated
          Venice, FL 34293                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Frank Marco                                                           Contingent
          13026 Oak Grove Drive                                                 Unliquidated
          Huntley, IL 60142                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.127
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,170.00
          Frank Pulver                                                          Contingent
          5362 South Saullsbury Way                                             Unliquidated
          Littleton, CO 80123                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Frank Silvia                                                          Contingent
          usa777@protonmail.com                                                 Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.128
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,840.00
          Franka and Manning Correia                                            Contingent
          35 East Green Pastures Circle                                         Unliquidated
          Spring, TX 77382                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,707.44
          Frankie McMurrey                                                      Contingent
          1301 Airport Freeway Apt 1045                                         Unliquidated
          Bedford, TX 76021                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,635.75
          Fred & Carole Harris                                                  Contingent
          7512 Ashby Lane                                                       Unliquidated
          Unit E                                                                Disputed
          Alexandria, VA 22315
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.128
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Fred & Maryann Young                                                  Contingent
          716 Archer Lane                                                       Unliquidated
          Georgetown, TX 78633                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Fred & Patricia Nolan                                                 Contingent
          1989 County Rd RCR 928 B                                              Unliquidated
          Alvin, TX 77511                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.128
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,732.00
          Fred and Shirley Bryon                                                Contingent
          9257 Prairieview Trl N                                                Unliquidated
          Champlin, MN 55316                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,933.00
          Fred And Yvonne Rojas                                                 Contingent
          2022 Wilbur St                                                        Unliquidated
          Dallas, TX 75224                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,747.00
          Fred Vaughn and Latrelle Dacaosta                                     Contingent
          356 Lincoln St SW                                                     Unliquidated
          Atlanta, GA 30315                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,900.00
          Freeda & Shelly Delo/Beas                                             Contingent
          97 Trap Run Road                                                      Unliquidated
          Walker, WV 26180                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          FREEDOM CONSUMER SERVICES, LLC,                                       Contingent
          d/b/a Ti                                                              Unliquidated
          1503 S Coast Dr Ste 315                                               Disputed
          Costa Mesa, CA 92626
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.129
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          French Lick Springs Villa                                             Contingent
          8718 W State road 56                                                  Unliquidated
          French Lick, IN 47432                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          French Lick Villas                                                    Contingent
          8718 W State road 56                                                  Unliquidated
          French Lick, IN 47432                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.129
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          French Ridge Condominiums                                             Contingent
          416 South Ridge Street                                                Unliquidated
          Breckenridge, CO 80424                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ft Lauderdale Resort                                                  Contingent
          4221 N. Ocean Boulevard                                               Unliquidated
          Fort Lauderdale, FL 33308                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,907.20
          Gabino And Yolanda Tarango                                            Contingent
          19922 Crested Peak Ln                                                 Unliquidated
          Cypress, TX 77433                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Gabriel & JoAnne Frumkin                                              Contingent
          6385 Pegasus Ct.                                                      Unliquidated
          Eastvale, CA 91752                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,410.00
          Gail Beddingfield                                                     Contingent
          726 W St Johns Way                                                    Unliquidated
          Hendersonville, NC 28791                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,545.00
          Gail Johnson                                                          Contingent
          3740 West Gaslight Square                                             Unliquidated
          Apt 103                                                               Disputed
          Alsip, IL 60803
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.129
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,900.00
          Gail Senter and Hollie Foster                                         Contingent
          4514 S Valdai Circle                                                  Unliquidated
          Aurora, CO 80015                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.130
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,000.00
          Gail Wall                                                             Contingent
          3982 Brockenhurst Drive                                               Unliquidated
          Buford, GA 30519                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,423.00
          Gail&Shelita Clark/Jonson                                             Contingent
          2 Cameron Grove Blvd Apt 21                                           Unliquidated
          Upper Marlboro, MD 20774                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,008.00
          Galina & Sergey Grechkin                                              Contingent
          13035 SE 169th Ave, Apt #227                                          Unliquidated
          Happy Valley, OR 97086                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Gardens at West Maui Resort                                           Contingent
          5500 Lower Honoapiilani Highway                                       Unliquidated
          Lahaina, HI 96761                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,300.00
          Garland & Charmaine Lewis                                             Contingent
          2797 S. Jebel Way                                                     Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,570.00
          Garry & Katharina Hatfield                                            Contingent
          1476 Indian Ridge Trail                                               Unliquidated
          New Richmond, OH 45157                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          Gary & Adele Harrison                                                 Contingent
          11314 Dundee Dr                                                       Unliquidated
          Mitchellville, MD 20721                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.130
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Gary & Judith Grange                                                  Contingent
          18400 Homestead Cir                                                   Unliquidated
          Golden, CO 80401                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Gary & Lori Higman                                                    Contingent
          1921 N. 99th Way                                                      Unliquidated
          Mesa, AZ 85207                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Gary & Mercedes Kay                                                   Contingent
          2913 Autumn Creek Dr                                                  Unliquidated
          Friendswood, TX 77546                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Gary & Rachel Hendrickson                                             Contingent
          (251) 272-6758 or willhendrickson21813@                               Unliquidated
           AL 36565                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,595.00
          Gary And Jennifer Tolleson                                            Contingent
          18 Sylvan Rd                                                          Unliquidated
          Billerica, MA 01821                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Gary and Judith Richards                                              Contingent
          1100 Eastern Ave                                                      Unliquidated
          Schenectady, NY 12308                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,450.00
          Gary And LaSandra Pitts                                               Contingent
          3822 Benton Blvd                                                      Unliquidated
          Kansas City, MO 64128                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.131
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Gary and Laura Kantor                                                 Contingent
          2224 Andrea Dr                                                        Unliquidated
          Bensalem, PA 19020                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Gary and Lynda Sievers                                                Contingent
          44750 County Rd 89                                                    Unliquidated
          Briggsdale, CO 80611                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,720.00
          Gary and Maria Netherland                                             Contingent
          8117 Westside St                                                      Unliquidated
          Littleton, CO 80125                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,420.00
          Gary and Wendy Norgaard                                               Contingent
          10802 West Elm Ln                                                     Unliquidated
          Avondale, AZ 85323                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,300.00
          Gary Brenholtz                                                        Contingent
          12524 East Cornell Avenue                                             Unliquidated
          #204                                                                  Disputed
          Aurora, CO 80014
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.131
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Gary McHenry and Paulette Kalich                                      Contingent
          7222 Hanging Rock Court                                               Unliquidated
          Denver, NC 28037                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,609.00
          Gary Szczepanowski                                                    Contingent
          4639 Eaves Ln                                                         Unliquidated
          Charlotte, NC 28215                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.132
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Garza Blanca Resident Club                                            Contingent
          Carretera a Barra de Navidad KM 7.5                                   Unliquidated
          Puerto Vallarta, Jalisco Mexico                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Gas Lamp                                                              Contingent
          614 5th avenue suite e                                                Unliquidated
          san diego, ca 92101                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Gatlinburg Timesquare                                                 Contingent
          414 Historic Nature Trl                                               Unliquidated
          Gatlinburg, TN 37738                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          GBS International                                                     Contingent
          9450 SW 72nd St.                                                      Unliquidated
          Miami, FL 33173                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,007.00
          Gemma & Marcos Veloso                                                 Contingent
          9115 Cabanna Way                                                      Unliquidated
          Montgomery, TX 77316                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,745.00
          Gena Washburn                                                         Contingent
          10068 Idalia St                                                       Unliquidated
          Commerce, CO 80022                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Genaro and Diana Frausto                                              Contingent
          5207 Ivory Pearl Ct                                                   Unliquidated
          Katy, TX 77493                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.132
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,423.00
          Gene Smith                                                            Contingent
          1614 Nauvoo Road                                                      Unliquidated
          Blanchester, OH 45107                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.132
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Genette Foray and Chuenarun Dischner                                  Contingent
          4809 Pasadena Way                                                     Unliquidated
          Broomfield, CO 80023                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,385.00
          Geoffery & Shyla Ornelas                                              Contingent
          601 E Ash Lane, Apt 12108                                             Unliquidated
          Euless, TX 76039                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Geoffery & Shyla Ornelas                                              Contingent
          601 E Ash Lane, Apt 12108                                             Unliquidated
          Euless, TX 76039                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Geoffry Sheridan                                                      Contingent
          6165 E Iliff Ave #A218                                                Unliquidated
          Denver, CO 80222                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          GeoHoliday Vacation Club                                              Contingent
          PO Box 231586                                                         Unliquidated
          Las Vegas, NV 89193                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,040.00
          George "Keven" and Selena "Dawn" Faulkne                              Contingent
          281 Phillips Peak                                                     Unliquidated
          Highlands Ranch, CO 80129                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.133
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,950.00
          George & Ellen Duke                                                   Contingent
          17567 Gypsum Ct                                                       Unliquidated
          Parker, CO 80134                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,652.00
          George & Karen Carucci                                                Contingent
          3114 Marsh Island Dr.                                                 Unliquidated
          Myrtle Beach, SC 29575                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,450.00
          George & Roma Lee Michel                                              Contingent
          2531 Ranch Reserve Ridge                                              Unliquidated
          Westminster, CO 80234                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          George & Rosemarie Cramp                                              Contingent
          492 Wagon Trail                                                       Unliquidated
          Orange, CT 06477                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,700.00
          George and Anita Robinson                                             Contingent
          0240 Deer Run                                                         Unliquidated
          Carbondale, CO 81623                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,868.00
          George and Anna Nieves                                                Contingent
          694 Tidal Flats st.                                                   Unliquidated
          Henderson, NV 89002                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,358.25
          George and Edeltrud Siler                                             Contingent
          469 Tamarach Dr                                                       Unliquidated
          Edwardsville, IL 62025                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.134
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,223.00
          George and Michele LeDoux                                             Contingent
          1629 175th Place SE                                                   Unliquidated
          Bothell, WA 98012                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,500.00
          George Gomez and Ashley Gomez-Saulnier                                Contingent
          302 Steepleph Lane                                                    Unliquidated
          Raeford, NC 28376                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,400.00
          George Siemiatkowski                                                  Contingent
          3017 Sydney Way                                                       Unliquidated
          Castro Valley, CA 94546                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Georgia And Edward Lovell                                             Contingent
          2205 Briarstone Bluff Crossing                                        Unliquidated
          Pearland, TX 77089                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Georgia Attorney General                                              Contingent
          40 Capitol Square, SW                                                 Unliquidated
          Atlanta, GA 30334                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.134
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Georgia Mitchell and Windy Smith                                      Contingent
          5801 Reading Road                                                     Unliquidated
          Apt 615                                                               Disputed
          Rosenberg, TX 77471
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.134
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Georgian Inn Beach Club                                               Contingent
          759 South Atlantic Avenue.                                            Unliquidated
          Ormond Beach, FL 32176                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.134
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,200.00
          Georgiana Rito                                                        Contingent
          1952 Wellington Place                                                 Unliquidated
          Downers Grove, IL 60516                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,264.95
          Georgianna and Joseph Kiss                                            Contingent
          1457 S Oneida St                                                      Unliquidated
          Denver, CO 80224                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,348.10
          Gerald & Carolyn Nealy                                                Contingent
          2626 Euclid Avenue                                                    Unliquidated
          Berwyn, IL 60402                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,245.00
          Gerald & Connie Howell                                                Contingent
          4588 Prunty Avenue                                                    Unliquidated
          Jacksonville, FL 32205                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,850.00
          Gerald & Linda Clark                                                  Contingent
          10211 Hartley Drive                                                   Unliquidated
          Louisville, KY 40223                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,995.00
          Gerald (Mike) and Rebecca Fischbeck                                   Contingent
          1145 Regina Lane                                                      Unliquidated
          Northglenn, CO 80233                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,117.00
          Gerald and Donna Varland                                              Contingent
          100 Shore Rd                                                          Unliquidated
          Mt. Sinai, NY 11766                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.135
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,270.00
          Gerald and JoAnn Vold                                                 Contingent
          40762 E Louisiana Dr                                                  Unliquidated
          Bennett, CO 80102                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,095.00
          Gerald And Patricia Peterson                                          Contingent
          5151 Isla Key Blvd South, Unit #224                                   Unliquidated
          St. Petersburg, FL 00075-8180                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,683.00
          Gerald Sojka                                                          Contingent
          812 Blue Ridge Dr                                                     Unliquidated
          Streamwood, IL 60107                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,380.00
          Geraldine Cain                                                        Contingent
          1061 E. 41st PL Apt 503                                               Unliquidated
          Chicago, IL 60653                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Gerard (Gerry) Zutant                                                 Contingent
          201 Hickok Ave                                                        Unliquidated
          Syiacuse, NY 13306                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,605.27
          Geri & Gayle Gurule/Garcia                                            Contingent
          1156 S Johnson Street                                                 Unliquidated
          Lakewood, CO 80232                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,445.00
          Geri And Clyde Hobel                                                  Contingent
          1130 Carr St                                                          Unliquidated
          New Castle, PA 16101                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.136
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Get Found Fast                                                        Contingent
          6456 S Quebec St Unit 25                                              Unliquidated
          Centennial, CO 80111                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Getaways Resort Management                                            Contingent
          1006 Hwy. 98                                                          Unliquidated
          East Destin, FL 32541                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          GEVC-RCI                                                              Contingent
          22900 Shoreline Highway 1. PO Box 154.                                Unliquidated
          Point rena, CA 95468                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Geve Global Exchange Vacation Club                                    Contingent
          27405 Puerta Real Ste 100                                             Unliquidated
          Mission Viejo, CA 92691                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ghost Mountain                                                        Contingent
          5560 Badger Hill Rd                                                   Unliquidated
          Pollock Pines, CA 95726                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,974.00
          Gilbert & Concepcion Torres                                           Contingent
          17710 Glen Hagen Ct                                                   Unliquidated
          Houston, TX 77084                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Gilberto Olivo                                                        Contingent
          629 Pinnix Rd                                                         Unliquidated
          Burlington, NC 27217                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.137
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Gina & Charlie Sackett                                                Contingent
          314 N Vine St                                                         Unliquidated
          Roberts, WI 54023                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,737.00
          Gina Marcell                                                          Contingent
          9582 US Highway 285                                                   Unliquidated
          Salida, CO 81201                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Girdie & Mitchell Kelly                                               Contingent
          2813 Citrus Lane                                                      Unliquidated
          Springdale, MD 20774                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          Gladys and Gregory Brouwer                                            Contingent
          415 Golls Dr                                                          Unliquidated
          Garner, IA 50438                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,000.00
          Gladys and Vivian Rivera                                              Contingent
          38904 8th Ave                                                         Unliquidated
          Zephyrhills, FL 33542                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,410.97
          Gladys Maryol                                                         Contingent
          PO Box 8995                                                           Unliquidated
          Huntsville, TX 77340                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Glen & Donna Cook                                                     Contingent
          514 B Village Green Drive                                             Unliquidated
          Morehead, NC 28557                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.137
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Glen Ivy Resorts Inc.                                                 Contingent
          405 2nd Ave S Mpls                                                    Unliquidated
          Minneapolis, MN 55401                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,800.00
          Glenda Mitchell                                                       Contingent
          5857 S Zante Cir                                                      Unliquidated
          Aurora, CO 80015                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Glendale and Roxanne Baker                                            Contingent
          6150 N Broad St.                                                      Unliquidated
          PO Box 26555                                                          Disputed
          Philadelphia, PA 19141
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.138
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,800.00
          Glenn & Joan Petty                                                    Contingent
          317 Jones Franklin Rd                                                 Unliquidated
          Raleigh, NC 27606                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,845.00
          Glenn (POA) & Shirley Currie/Dunn                                     Contingent
          1753 Swadley Street                                                   Unliquidated
          Lakewood, CO 80215                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Glenn and Lisa Roberts                                                Contingent
          145 West Sunset Drive                                                 Unliquidated
          Ephrata, PA 17522                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Global Connections Inc                                                Contingent
          5360 College Blvd Ste 200                                             Unliquidated
          Overland Park, KS 66211                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.138
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Global Discovery Vacations                                            Contingent
          5360 College Blvd Unit 200                                            Unliquidated
          Overland Park, KS 66211                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Global Exchange Vacation Club                                         Contingent
          27405 Puerta Real Ste 100                                             Unliquidated
          Mission Viejo, CA 92691-6314                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Global Quest                                                          Contingent
          9450 Sunset Dr.                                                       Unliquidated
          Miami, FL 33173                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,894.00
          Gloria & Geneva Aikens (Andrews)/Wilson                               Contingent
          9219 S Loomis St                                                      Unliquidated
          Chicago, IL 60620                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Gloria And James Martin                                               Contingent
          5201 Via Pauma                                                        Unliquidated
          Oceanside, CA 92057                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.138
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Gloria And Randolph Valdez                                            Contingent
          PO Box 44                                                             Unliquidated
          La Jara, CO 81140                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,644.00
          Gloria Brown and Michael Kelby                                        Contingent
          260 Carina Cir, Unit 105                                              Unliquidated
          Loveland, co 80537                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.139
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Gloria Jean Johnson-Ester                                             Contingent
          8339 S Green Street                                                   Unliquidated
          Chicago, IL 60620                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,245.00
          Gloria Lenzy                                                          Contingent
          1325 Perry St.                                                        Unliquidated
          Des Plaines, IL 60016                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Gloria Martinez                                                       Contingent
          PO Box 41443                                                          Unliquidated
          Phoenix, AZ 85080                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,200.00
          Gloria Phillips                                                       Contingent
          13711 Lakeshore Way Cove                                              Unliquidated
          Houston, TX 77077                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,295.00
          Gloria Sue Standish                                                   Contingent
          1187 Coast Village Road 1-798                                         Unliquidated
          Santa Barbara, CA 93108                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,494.60
          Glorieuse -Gloria - Lamour and Wilkens J                              Contingent
          635 Clear Lake Ave                                                    Unliquidated
          West Palm Beach, FL 33401                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Go Daddy                                                              Contingent
          14455 N. Hayden Rd #219                                               Unliquidated
          Scottsdale, AZ 85260                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.139
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Gold Canyon Resort Vacation Villas                                    Contingent
          6100 S Kings Ranch Rd                                                 Unliquidated
          Gold Canyon, AZ 85118                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.139
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Gold Point & Falcon Point                                             Contingent
          53 View Lane                                                          Unliquidated
          Breckenridge, CO 80424                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Gold Point - BGV                                                      Contingent
          53 View Lane                                                          Unliquidated
          Breckenridge, CO 80424                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Gold Point Condominiums                                               Contingent
          53 View Lane                                                          Unliquidated
          Breckenridge, CO 80424                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Gold Point in Breckenridge                                            Contingent
          53 View Lane                                                          Unliquidated
          Breckenridge, CO 80424                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,540.00
          Gonzalo Arroyave (SPO)                                                Contingent
          957 Orchard St.                                                       Unliquidated
          Peekskill, NY 10566                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grace FM                                                              Contingent
          18900 E Hampten Ave                                                   Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.140
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,859.00
          Grace Nolen                                                           Contingent
          444 Cemetery Rd                                                       Unliquidated
          Dickinson, TX 77539                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Graciano and Isabel Ramirez                                           Contingent
          118 Tenderfoot Trail                                                  Unliquidated
          Del Rio, TX 78840                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,265.00
          Graham Media Group                                                    Contingent
          161 N Clark St Suite 2900                                             Unliquidated
          Chicago, IL 60601                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5852
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $53,501.00
          graham media KPRC & KSAT                                              Contingent
          P O Box 934721                                                        Unliquidated
          Atlanta, GA 31193                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7B15
                                                                             Is the claim subject to offset?     No       Yes

 3.140
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grand Beach                                                           Contingent
          8317 Lake Bryan Beach Boulevard                                       Unliquidated
          Orlando, FL 32821                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grand Bliss - Mayan Resorts                                           Contingent
          Carretera Federal Cancun-Playa del Carme                              Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number       Mexico                       Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.141
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grand Cascades Nuevo Vallarta                                         Contingent
          Jos Rover Motta, 27                                                   Unliquidated
          07006 Palma de Mallorca Balearic Islands                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.141
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grand Cayman                                                          Contingent
                                                                                Unliquidated
          Grand Cayman KY1-9000 Cayman Islands                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grand Crown Resorts                                                   Contingent
          300 Golfview dr.                                                      Unliquidated
          Branson, MO 65616                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grand Entertainment Collections - Nuevo                               Contingent
          Km 1.2 Carr. Punta de Mita La Cruz de Hu                              Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number       Mexico                       Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.141
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grand Getaways                                                        Contingent
          7555 Commerce Court                                                   Unliquidated
          Sarasota, FL 34243                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grand Hilton Vacations                                                Contingent
          6355 Metrowest Blvd.                                                  Unliquidated
          Orlando, FL 32835                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grand Lake in Kissimmee FL-RCI                                        Contingent
          4901 Vineland Rd Ste 250                                              Unliquidated
          Orlando, FL 32811                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.141
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grand Lake Resorts Florida                                            Contingent
          4040 Central Florida Parkway                                          Unliquidated
          Orlando, FL 32837                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.141
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grand Leos                                                            Contingent
          110 grand palms dr                                                    Unliquidated
          pembroke pines, fl 33027                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grand Pacific                                                         Contingent
          5900 Pasteur Ct Ste 200. Carlsbad                                     Unliquidated
          Carlsbad, CA 92008                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grand Pacific Exchange                                                Contingent
          5900 Pasteur Court Suite 100.                                         Unliquidated
          Carlsbad, CA 92008                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grand Pacific Marbrisa                                                Contingent
          5900 Pasteur Court Suite 100.                                         Unliquidated
          Carlsbad, CA 92008                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grand Pacific Marrisa through Hilton Gra                              Contingent
          6355 Metrowest Blvd.                                                  Unliquidated
          Orlando, FL 32835                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grand Pacific Palisades                                               Contingent
          5805 Armada Drive.                                                    Unliquidated
          Carlsbad, CA 92008                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grand Pacific Resorts                                                 Contingent
          5900 Pasteur Ct #200                                                  Unliquidated
          Carlsbad, CA 92008                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.142
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grand Pacific Resorts                                                 Contingent
          5900 Pasteur Ct Ste 200                                               Unliquidated
          Carlsbad, CA 92008                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grand Pacifica Marbrisa                                               Contingent
          5900 Pasteur Ct Ste 200                                               Unliquidated
          Carlsbad, CA 92008                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grand Residences                                                      Contingent
          Blvd. El Cid, Unidad 28 Lote 1-01                                     Unliquidated
          77580 Puerto Morelos, Quintana Roo Mexic                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.142
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grand Seas Resort                                                     Contingent
          2424 N Atlantic Ave.                                                  Unliquidated
          Daytona Beach, FL 32118                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grand Sol Mar                                                         Contingent
          Av. Solmar #1A Col. Centro                                            Unliquidated
          Cabo San Lucas, BCS C.P. Mexico                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grand View Resorts in Las Vegas                                       Contingent
          9940 Las Vegas Boulevard South                                        Unliquidated
          Las Vegas, NV 89183                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grande Crowne Resorts                                                 Contingent
          300 Golfview Drive                                                    Unliquidated
          Branson, MO 65616                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.143
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grandvista Painted Mountain                                           Contingent
          2025 N. 3rd Street Ste. 230                                           Unliquidated
          Phoenix, AZ 85004                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grasshopper                                                           Contingent
          1st Avenue Suite 200                                                  Unliquidated
          Needham, MA 02494                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Great Eastern Resorts                                                 Contingent
          6302 E Mckellips Rd                                                   Unliquidated
          Mesa, Az 85200                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Great Escapes                                                         Contingent
          Resort President 1172 State Route 9                                   Unliquidated
          Queensbury, NY 12804                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Great Rock at Branson                                                 Contingent
          175 Golf View Drive                                                   Unliquidated
          Branson, MO 65616                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Greenspoon Marder LLP                                                 Contingent
          590 Madison Avenue, Suite 1800                                        Unliquidated
          New York, NY 10022                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,208.00
          Greg & Carmela Stepp                                                  Contingent
          2638 Coach House Loop                                                 Unliquidated
          Castle Rock, CO 80109                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.144
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,420.00
          Greg & Cathy Spangler                                                 Contingent
          2031 Vineyard dr                                                      Unliquidated
          Windsor, CO 80500                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Greg & Debbie Cothran                                                 Contingent
          8616 Woodridge Dr                                                     Unliquidated
          Sherwood, AR 72120                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Greg & Lori Heath                                                     Contingent
          4153 Harris St                                                        Unliquidated
          Toldeo, OH 43613                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,500.00
          Greg & Shawna Grey                                                    Contingent
          505 S State Street                                                    Unliquidated
          Bloomington, IL 61701                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,150.00
          Greg & Shelley Hook                                                   Contingent
          602 Joyce Ann Dr.                                                     Unliquidated
          Manchester, MO 63021                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Greg & Toni McClanahan                                                Contingent
          2893 E. Derringer Way                                                 Unliquidated
          Gilbert, AZ 85297                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Greg And Carolyn Young                                                Contingent
          7605 South Monaco Way                                                 Unliquidated
          Centennial, CO 80112                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.144
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,000.00
          Greg And Janice Gettes/Minch                                          Contingent
          204 W Stimmel                                                         Unliquidated
          Unit #2                                                               Disputed
          West Chicago, IL 60185
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.144
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,320.00
          Greg and Jodi Kevern                                                  Contingent
          6753 S. Rachael Way                                                   Unliquidated
          Gilbert, AZ 85298                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.144
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Gregory & Dixie Green                                                 Contingent
          5445 Hoyt Drive                                                       Unliquidated
          Arvada, CO 80002                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,149.00
          Gregory & Lanetia Valcin                                              Contingent
          13238 Westmont Heights Lane                                           Unliquidated
          Houston, TX 77044                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,677.00
          Gregory & Sadalia Irving                                              Contingent
          19 Wire Road Loop                                                     Unliquidated
          Huntsville, Tx 77320                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Gregory Alexander and Laurie Nelson                                   Contingent
          4155 Maizeland Road                                                   Unliquidated
          Colorado Springs, CO 80909                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Gregory And Laura Pinter                                              Contingent
          10 Lincoln Avenue                                                     Unliquidated
          Glenhead, NY 11545                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.145
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,396.00
          Gregory And Tina Harris                                               Contingent
          13411 Piney View Lane                                                 Unliquidated
          Houston, TX 77044                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,000.00
          Gregory Knox                                                          Contingent
          1414 Ohio Ave                                                         Unliquidated
          White Oak, PA 15131                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,800.00
          Gregory Raymer                                                        Contingent
          14011 Blue River Trail                                                Unliquidated
          Broomfield, Co 80023                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,480.00
          Gretchen and Tom Schorege                                             Contingent
          13182 E 148th Ave                                                     Unliquidated
          Brighton, CO 80601                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grupo Clb Playa Del Sol                                               Contingent
          P.O. Box 11528.                                                       Unliquidated
          Santa Rosa, CA 95406                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.145
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Grupo Velas                                                           Contingent
          3400 N MCCOLL RD STE 20A                                              Unliquidated
          MCALLEN, TX 78501                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          Guadalupe and Apolinar Salas                                          Contingent
          3162 Scott Drive                                                      Unliquidated
          Bolling AFB, DC 20032                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.146
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,064.00
          Guadalupe and David Garcia                                            Contingent
          20057 E 58th Place                                                    Unliquidated
          Aurora, CO 80019                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,816.00
          Guadalupe Hartshorn                                                   Contingent
          149 Baytree Dr                                                        Unliquidated
          Spring Creek, NV 89815                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,285.00
          Guisella and Geroge Rodriguez                                         Contingent
          253 Collfield Ave                                                     Unliquidated
          Staten Island, NY 10314                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,600.00
          Gurjant and Rupinder Badiesha                                         Contingent
          9516 North Arlington Ave                                              Unliquidated
          Kansas City, MO 64157                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,076.05
          Gustavo and Carolyn Nicolalde                                         Contingent
          7305 Tipperary Ct                                                     Unliquidated
          North Richland Hills, TX 76182                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Gusto                                                                 Contingent
          1201 16th St Mall Ste 350                                             Unliquidated
          Denver, CO 80202                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,300.00
          Gwen Hearn and David Floyd                                            Contingent
          207 English Ivy Dr.                                                   Unliquidated
          Griffin, GA 30223                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.146
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,394.65
          Gwendolyn Jeffery                                                     Contingent
          6126 Mason Way                                                        Unliquidated
          Rosenberg, TX 77471                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.146
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,996.00
          Gwendolyn(Gwen)&Jonathan Reavis                                       Contingent
          2109 NC Hwy 67                                                        Unliquidated
          Jonesville, NC 28642                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          H. Dennis Smith                                                       Contingent
          4555 Rocky Mountain Dr.                                               Unliquidated
          Medina, OH 44256                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hacienda Del Mar                                                      Contingent
          Corredor Tur stico SJC-CSL KM. 10. Lote                               Unliquidated
          Cabo del Sol, Cabo San Lucas BCS M xico                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hacienda Encantada                                                    Contingent
          Carretera Transpeninsular km 7.3 A-4                                  Unliquidated
          23410, Cabo San Lucas BCS Mexico                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Halina Ghaowi                                                         Contingent
          6020 Lincoln Ave                                                      Unliquidated
          Unit 306                                                              Disputed
          Morton Grove, IL 60053
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.147
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hanalei Bay Resort                                                    Contingent
          5380 Honoiki Road Princeville                                         Unliquidated
          Kauai, HI 96722                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.147
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Hank & Dolores Collison                                               Contingent
          679 Arbor Lane                                                        Unliquidated
          Warminster, PA 18974                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,735.50
          Hannah And Noel Manalo                                                Contingent
          2140 Saber Court                                                      Unliquidated
          Naperville, IL 60565                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hannah Smith                                                          Contingent
          5701 E 8th Ave, Apt. 302                                              Unliquidated
          Denver, CO 80220                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,812.00
          Hans & Margaret Fischer                                               Contingent
          10100 E Pinewood Dr                                                   Unliquidated
          Parker, CO 80138                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.147
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Harbor Side Resort at Atlantis **There i                              Contingent
          One Casino Drive                                                      Unliquidated
          P.O.Box N-4777, Nassau Bahamas                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Harbor Side/ Bahamas **There is an addre                              Contingent
          One Casino Drive                                                      Unliquidated
          P.O.Box N-4777, Nassau Bahamas                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Harbor Walk Resorts                                                   Contingent
          26 Robbins Road                                                       Unliquidated
          Falmouth, MA 02540                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.148
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Harborside Resort                                                     Contingent
          20 Patriots Point Road                                                Unliquidated
          Mount Pleasant, SC 29464                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Harbortown Point                                                      Contingent
          1651 Anchors Way                                                      Unliquidated
          Ventura, CA 93001                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,000.00
          Harold & Evelyn Netter                                                Contingent
          17618 Tower Bluff Lane                                                Unliquidated
          Cypress, TX 77433                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,265.00
          Harold & Joyce Shambley                                               Contingent
          906 Cypress Point Circle                                              Unliquidated
          Mitchellville, MD 20721                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $55,996.35
          Harold & Mae Martin                                                   Contingent
          9042 S. Cornell Ave                                                   Unliquidated
          Chicago, IL 60617                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Harold & Shirley Dembo                                                Contingent
          32 Bunker Hill Drive                                                  Unliquidated
          Middletown, NJ 07748                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,245.00
          Harold And Evelyn Wilburn                                             Contingent
          2713 Westchester Lane                                                 Unliquidated
          Modesto, CA 95350                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.148
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,673.00
          Harold Copp                                                           Contingent
          94 Ball Pond Road                                                     Unliquidated
          New Fairfield, CT 06812                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,144.65
          Harold Jr and Patricia Hilker                                         Contingent
          PO Box 1508                                                           Unliquidated
          Morro Bay, CA 93443                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,870.88
          Harold Moquet                                                         Contingent
          47 South Sturbridge Road 1 Front                                      Unliquidated
          Charlton, MA 01507                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Harold O. Miller Esq                                                  Contingent
          5531 Cannes Cr Ste 201                                                Unliquidated
          Sarasota, FL 34231                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          HAROLD O.MILLER and Todd Hoepker P.A.                                 Contingent
          PO Box 3311                                                           Unliquidated
          Orlando, FL 32802                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,307.00
          Harold Purdy                                                          Contingent
          6607 Elsworth Ave.                                                    Unliquidated
          Dallas, TX 75214                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,000.00
          Harriet Smith                                                         Contingent
          7910 SW Matheny Dr                                                    Unliquidated
          Beaverton, OR 97008                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.149
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Harris & Beth Friedberg                                               Contingent
          23 William Penn Cir                                                   Unliquidated
          Medford, NJ 08055                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Harry & Cynthia Wimer                                                 Contingent
          4440 Lenni Circle                                                     Unliquidated
          Emmaus, PA 18049                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Harry & Robin Johnson                                                 Contingent
          1113 Sleighill Court                                                  Unliquidated
          Mount Ariy, MD 21771                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.149
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,913.19
          Harry And Dorothea Kenney                                             Contingent
          2654 Veteran Street                                                   Unliquidated
          Pittsburgh, PA 15414                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $33,600.00
          Harry Dawson and Anjelita Ordonez                                     Contingent
          5417 West Sunnyside Ave                                               Unliquidated
          Chicago, IL 60630                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,996.00
          Harry&Imogene(Genie) Bickle                                           Contingent
          404 Cody Street                                                       Unliquidated
           TX 75501-5834                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hart Ranch                                                            Contingent
          23645 Clubhouse Drive                                                 Unliquidated
          Rapid City, SD 57702                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.150
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,328.00
          Hartley Beverage Jr                                                   Contingent
          35 Evergreen Dr                                                       Unliquidated
          South China, ME 04358                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hawaii Department of the Attorney Genera                              Contingent
          425 Queen Street                                                      Unliquidated
          Honolulu, HI 96813                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hawaiian Princes                                                      Contingent
          84-1021 Lahilahi Street                                               Unliquidated
          Waianae, HI 96792                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,940.00
          Hazel And James Grant                                                 Contingent
          2240 Shady Maple Lane                                                 Unliquidated
          Loganville, GA 30052                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hearst Communications, Inc.                                           Contingent
          300 West 57th Street                                                  Unliquidated
          New York, NY 10019                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Heather Borrego                                                       Contingent
          1881 w ridge road                                                     Unliquidated
          littleton, CO 80120                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,745.00
          Heather Dellapenta                                                    Contingent
          5286 Pierson Court                                                    Unliquidated
          Wheatridge, CO 80033                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.151
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Heather Leavesley and Nad Weyer                                       Contingent
          5198 E Weaver Pl                                                      Unliquidated
          Centennial, CO 80121                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Heather Rehmeier                                                      Contingent
          259 County Road 405B                                                  Unliquidated
          Valley Spring, TX 76885                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Hector & Alana Favela                                                 Contingent
          3930 West Rose Garden Lane                                            Unliquidated
          Glendale, AZ 85308                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,536.00
          Hector & Blanca Moreno                                                Contingent
          209 Fawn Trail                                                        Unliquidated
          Lake Jackson, TX 77566                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,283.00
          Hector & Sally Gutierrez                                              Contingent
          Po Box 604                                                            Unliquidated
          Rosenberg, TX 77471                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,236.17
          Hector and Angelica Melgar                                            Contingent
          6818 Rowan Lane                                                       Unliquidated
          Houston, TX 77074                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,226.00
          Hector And Beatriz Pajares (SPO)                                      Contingent
          301 Fernbank Ct.                                                      Unliquidated
          Alpharetta, GA 30004                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.151
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,447.00
          Heidi & David Renfro                                                  Contingent
          P.O. Box 789                                                          Unliquidated
          Collinsville, TX 76233                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Heidi Lankford                                                        Contingent
          150 Autumn Woods Dr                                                   Unliquidated
          Kings Mountain, NC 28086                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.151
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,450.00
          Heidi Wagner                                                          Contingent
          3377 W 114th Cir Unit D                                               Unliquidated
          Westminister, CO 80031                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,050.00
          Helen & Clyde White                                                   Contingent
          1162 Woodmere Dr.                                                     Unliquidated
          Lithonia, GA 30058                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,244.00
          Helen & Donnya & Rayford Cooper/Stephens                              Contingent
          14806 Ashland Pines Lane                                              Unliquidated
          Humble, TX 77396                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,690.00
          Helen & Verle Guthrie                                                 Contingent
          9258 Rockhurst Street                                                 Unliquidated
          Unit 306                                                              Disputed
          Highlands Ranch, CO 80129
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.152
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,074.00
          Helen (JoAnne) & Richard Jordan                                       Contingent
          423 Ridgecrest Dr                                                     Unliquidated
          Punta Gorda, FL 33982                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.152
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,592.80
          Helen and Robert Salamone                                             Contingent
          103 Roweland Ave                                                      Unliquidated
          Delmar, NY 12054                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,516.00
          Helen Ayala                                                           Contingent
          4505 Blue Lake Court                                                  Unliquidated
          Fort Worth, TX 76103                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,545.00
          Helena And Stan Slodyczka                                             Contingent
          38 Bewntwood                                                          Unliquidated
          PO Box 4062                                                           Disputed
           CO 81637
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.152
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,007.48
          Helena And Wayman (Richard) Gray                                      Contingent
          18434 West Western Star Blvd                                          Unliquidated
          Goodyear, AZ 85338                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,533.00
          Helena Slanina                                                        Contingent
          523 Winding Way                                                       Unliquidated
          Warminster, PA 18974                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,816.00
          Heli & Charles Powell                                                 Contingent
          11350 Hero Way West, Apt #3403                                        Unliquidated
          Leander, TX 78641                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,060.00
          Henrita Wagner and Phillip Dallas                                     Contingent
          315 North St. Nicholas Circle Unit 23                                 Unliquidated
          Flagstaff, AZ 86004                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.153
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,759.00
          Henry & Barbara Everett/Parry                                         Contingent
          41 Muddy Cross Rd                                                     Unliquidated
          Hobbsville, NC 27946                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,435.50
          Henry & Cheryl Domen                                                  Contingent
          29737 Millrace Lane                                                   Unliquidated
          Millsboro, DE 19966                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,457.75
          Henry & Nancy Mullin                                                  Contingent
          11426 Newport St                                                      Unliquidated
          Thornton, CO 80233                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Herbert & Ana Rodriguez                                               Contingent
          114 Lancaster Way                                                     Unliquidated
          Royal Palm Beach, FL 33414                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,700.00
          Herbert and Elaine Hoffman                                            Contingent
          31 Marcus Lane                                                        Unliquidated
          Castle Pines, CO 80108                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,295.00
          Hercules Mack                                                         Contingent
          PO Box 6488                                                           Unliquidated
          Spring Hill, FL 34611                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Heriberto And Lillian Santos                                          Contingent
          2633 N Oak Park                                                       Unliquidated
          Chicago, IL 60707                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.153
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,970.00
          Hermanie (Mimi) & Shannon Smerker                                     Contingent
          6053 S Adams Dr                                                       Unliquidated
          Centennial, CO 80121                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.153
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          High Point World Resorts                                              Contingent
          2951 High Point Blvd                                                  Unliquidated
          Kissimmee, FL 34747                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          High Sierra Condos, Alderwood Resorts                                 Contingent
          40710 Village Drive Suite 304                                         Unliquidated
          Big Bear Lake, CA 92315                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Highland Resort at Verde Ridge                                        Contingent
          434 Gleneagles Dr,                                                    Unliquidated
          Davenport, FL 33897                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Highlands Resorts                                                     Contingent
          625 S. Verde Santa Fe Parkway                                         Unliquidated
          Cornville, AZ 86325                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,531.00
          Hilary & Cynthia Davis                                                Contingent
          3930 North 6th Street                                                 Unliquidated
          Philadelphia, PA 19140                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,960.00
          Hilda (Jean) Strain                                                   Contingent
          13649 Stoneybrook Lane                                                Unliquidated
          EL cAJON, CA 92021-8834                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.154
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hill Country Orange Lake                                              Contingent
          819 Water Street Suite 300                                            Unliquidated
          Kerrville, TX 78028                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hilton Grand Vacations                                                Contingent
          6355 MetroWest Blvd., Suite 180                                       Unliquidated
          Orlando, FL 32835                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hilton Grand Vacations                                                Contingent
          6355 Metrowest Blvd., Suite 180                                       Unliquidated
          Orlando, FL 32835                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hilton Head Resorts                                                   Contingent
          22 Harbourside Ln                                                     Unliquidated
          Hilton Head Island, SC 29928                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hilton Vacation Club                                                  Contingent
          6355 Metrowest Blvd.                                                  Unliquidated
          Orlando, FL 32835                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hilton Vacation Village                                               Contingent
          6355 Metrowest Blvd.                                                  Unliquidated
          Orlando, FL 32835                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hiscox Inc                                                            Contingent
          5 Concourse Parkway Suite 2150                                        Unliquidated
          Atlanta, GA 30328                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.155
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $424,424.46
          Hogan Lovells US LLP                                                  Contingent
          Two North Cascade Avenue Suite 1300                                   Unliquidated
          Colorado Springs, CO 80903                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1860
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $424,424.46
          Hogan Lovells US LLP                                                  Contingent
          600 Brickell Avenue Suite 2700                                        Unliquidated
          Miami, FL 33131                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1860
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Holiday Beach Resorts                                                 Contingent
          19 Via De Luna                                                        Unliquidated
          Pensacola Beach, FL 32561                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Holiday Beach Resorts                                                 Contingent
          P. O. Box 10977                                                       Unliquidated
          Pensacola, FL 32524                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Holiday Concepts Group **There is an ad                               Contingent
          10 Dover St                                                           Unliquidated
          Cremorne, VIC 03121-0000                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Holiday Grand Vacation                                                Contingent
          9271 S John Young Parkway                                             Unliquidated
          Orlando, FL 32819                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Holiday Inn Club Vacations                                            Contingent
          9395 South John Young Parkway                                         Unliquidated
          Orlando, FL 32819                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.155
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Holiday Inn Club Vacations Inc. / Holida                              Contingent
          9395 S. John Young Pkwy.                                              Unliquidated
          Orlando, FL 32819                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Holiday Inn/Orange Lake/ Silver Leaf                                  Contingent
          9395 S. John Young Pkwy.                                              Unliquidated
          Orlando, FL 32819                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Holiday Lounge                                                        Contingent
          16701 Collins Ave                                                     Unliquidated
          Sunny Isles Beach, FL 33160                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Holiday Park Resort LTD                                               Contingent
          1-415 Commonwealth Road                                               Unliquidated
          Kelowna BC V4V 1P4                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Holiday Park Resorts                                                  Contingent
          1-415 Commonwealth Road                                               Unliquidated
          Kelowna BC V4V 1P4                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Holliday Palmer                                                       Contingent
          707 Braeburn Terrace                                                  Unliquidated
          Lansdale, PA 19446                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,457.00
          Holly & Carlos Gonzales-Pena                                          Contingent
          4719 Cole Ave Apt 308                                                 Unliquidated
          Dallas, TX 75205                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.156
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Holly and Scott Marz                                                  Contingent
          1639 E Glendover Way                                                  Unliquidated
          Sandy, UT 84092                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Holly Tree Resorts                                                    Contingent
          412 Main Street                                                       Unliquidated
          West Yarmouth, MA 02673                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hollywood Beach Tower                                                 Contingent
          301 Harrison St.                                                      Unliquidated
          Hollywood, FL 33019                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.156
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hollywood Beach Towers                                                Contingent
          301 Harrison Street                                                   Unliquidated
          Hollywood, FL 33019                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hono Koa Vacation Club - Hawaii                                       Contingent
          3801 Lower Honoapiilani Rd                                            Unliquidated
          Lahaina, HI 96761                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Hope and Danial Pace                                                  Contingent
          1629 Highway 63                                                       Unliquidated
          Pine Grove, LA 70453                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hotel NYX Cancun                                                      Contingent
          Boulevard Kukulcan Mz52 Km 11.5 Zona Hot                              Unliquidated
          , Canc n, Q.R Mexico                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.157
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,264.00
          Howard and Debra Mirvis                                               Contingent
          2318 Cavesdale Rd                                                     Unliquidated
          Owings Mills, MD 21117                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,070.00
          Howard And Rose Jane Wyant                                            Contingent
          1112 Mary Frances Drive                                               Unliquidated
          Kissimmee, FL 34741                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,092.55
          Howard Jacquet                                                        Contingent
          411 Tite St.                                                          Unliquidated
          Houston, TX 77029                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,476.47
          Hurlel & Rita Elliott                                                 Contingent
          2658 Milburn Drive                                                    Unliquidated
          League City, TX 77573                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hyatt                                                                 Contingent
          161 North Concord Exchange                                            Unliquidated
          South St. Paul, MN 55075                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hyatt Residence Club / HV Global Managem                              Contingent
          Financial Services, 1200 Bartow Road                                  Unliquidated
          Lakeland, FL 33801                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Hyatt Vacation Club                                                   Contingent
          11800 Coconut Plantation Drive                                        Unliquidated
          Bonita Springs, FL 34134                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.158
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,262.50
          Ian & Gabrielle Seidenberg                                            Contingent
          973 Upper Meadows Pl                                                  Unliquidated
          Henderson, NV 89052                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,382.00
          Ida Yassin                                                            Contingent
          6103 Havendale Dr                                                     Unliquidated
          Houston, TX 77072                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Idaho Department of the Attorney General                              Contingent
          700 W. Jefferson Street P.O. Box 83720                                Unliquidated
          Boise, ID 83720                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $494,564.75
          iHeart                                                                Contingent
          14001 N. Dallas Parkway Suite 300                                     Unliquidated
          Dallas, TX 75240                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1945
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $395,864.75
          Iheart media                                                          Contingent
          P.O. BOX 419499                                                       Unliquidated
          Boston, MA 02241                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0199
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Illinois Department of the Attorney Gene                              Contingent
          100 W Randolph St                                                     Unliquidated
          Chicago, IL 60601                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          ILX Premiere Vacation Club                                            Contingent
          2111 E. Highland Avenue                                               Unliquidated
          #200                                                                  Disputed
          Phoenix, AZ 85016
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.158
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Imperial Resorts                                                      Contingent
          290-290/1 Surawong Rd.                                                Unliquidated
          Siphaya, Bangrak Bangkok 10500                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Indian Palms Intervals in Palm Springs                                Contingent
          70100 Highway 111                                                     Unliquidated
          Rancho Mirage, CA 92270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Indian Peaks                                                          Contingent
          817 County Road 834                                                   Unliquidated
          Winter Park, CO 80442                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Indiana Department of the Attorney Gener                              Contingent
          302 W Washington St                                                   Unliquidated
          Indianapolis, IN 46204                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Infinity Concierge                                                    Contingent
          101 Convention Center Dr STE 1225.                                    Unliquidated
          Las Vegas, NV 89109                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,600.00
          Inger Elisabeth Andersson                                             Contingent
          8588 Ostrom Way                                                       Unliquidated
          Weeki Wachee, FL 34613                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,700.00
          Ingrid Delgado Paredes                                                Contingent
          5640 Enfield Way                                                      Unliquidated
          Suwanee, GA 30024                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.159
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Inn at Silver Creek                                                   Contingent
          62927 US Highway 40.                                                  Unliquidated
          Silver Creek, CO 80446                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Inn Season Resort                                                     Contingent
          33 Brookline Road                                                     Unliquidated
          Lincoln, NH 03251                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Interval International                                                Contingent
          6262 Sunset Drive                                                     Unliquidated
          Miami, FL 33143                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Inverness at del Lago                                                 Contingent
          100 La Costa Drive                                                    Unliquidated
          Montgomery, TX 77356                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,070.00
          Irene and Richard Brown                                               Contingent
          PO Box 659                                                            Unliquidated
          Murraysville, PA 15668                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,626.00
          Irene Brock and Allison Cade                                          Contingent
          5258 Estes Cir                                                        Unliquidated
          Arvada, Co 80002                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,523.62
          Irene Delgado and Monique Miranda                                     Contingent
          4683 N. 105th Ave.                                                    Unliquidated
          Phoenix, AZ 85037-5114                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.160
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Isabel Ruiz                                                           Contingent
          1039 w 9th st                                                         Unliquidated
          Tempe, AZ 85281                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Island Gold Resort                                                    Contingent
          300 Tarpon Blvd.                                                      Unliquidated
          Fripp Island, SC 29920                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Island Golf                                                           Contingent
          W399 U.S. 2 & 41                                                      Unliquidated
          Harris, MI 49845                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Island Links                                                          Contingent
          1 Coggins Point Road                                                  Unliquidated
          Hilton Head Island, SC 29926                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Island One Resorts                                                    Contingent
          2345 SAND LAKE RD STE 100                                             Unliquidated
          Orlando, FL 32809                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Island Seas Bahama                                                    Contingent
          PO Box F44735                                                         Unliquidated
          Freeport, Grand Bahama Bahamas                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Isle of Bali II Diamond Resort                                        Contingent
          17777 Bali Blvd.                                                      Unliquidated
          Winter Garden, FL 34787                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.160
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,495.00
          Issei Nakamura                                                        Contingent
          1602 W Artesia Sq unit D                                              Unliquidated
          Gardena, CA 90248                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.160
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,367.75
          Ivan & Alison Thompson                                                Contingent
          6031 Ainsdale Court                                                   Unliquidated
          Dallas, TX 75252                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,430.00
          Ivan & Kimiko Garcia                                                  Contingent
          2522 Saratoga Dr.                                                     Unliquidated
          Barksdale Air Force Base, LA 71110                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Ivy and Rosemary Shavit                                               Contingent
          15714 29th St East                                                    Unliquidated
          Parrish, FL 34219                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Izatys Resort                                                         Contingent
          40005 85th Ave                                                        Unliquidated
          Onamia, MN 56359                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,035.00
          J & Laura Gutierrez/McCoy                                             Contingent
          1303 W. 116th Ave, Unit #107                                          Unliquidated
          Westminster, CO 80234                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,052.00
          J Refugio Arredondo                                                   Contingent
          5906 Jim St                                                           Unliquidated
          Houston, TX 77092                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.161
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,700.00
          Jack & Betty Maywald                                                  Contingent
          27527 Golf Lane                                                       Unliquidated
          Huffman, TX 77336                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,295.00
          Jack & Darlene Gaskins                                                Contingent
          5431 W Vassar Ave                                                     Unliquidated
          Visalia, CA 93277                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Jack and Charlotte Beall                                              Contingent
          509 Anderson County Rd 471                                            Unliquidated
          Montalba, TX 75853                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,420.00
          Jack And Nadereh Roepers                                              Contingent
          1342 Potomac School Rd                                                Unliquidated
          McLean, VA 22101                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.161
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,722.00
          Jackilyn Munroe Earley                                                Contingent
          1650 Sactahe Trail                                                    Unliquidated
          Elizabeth, CO 80107                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Jackson Hole Town Center                                              Contingent
          325 West Broadway                                                     Unliquidated
          Jackson, WY 83001                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,870.00
          Jacob Cormier                                                         Contingent
          915 Front St.                                                         Unliquidated
          Richmond, TX 77469                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.162
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Jacob Gonzalez                                                        Contingent
          7814 S Gaylord Way                                                    Unliquidated
          Centennial, CO 80122                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,875.00
          Jacqueline & Terry Smith                                              Contingent
          6028 Old South Drive                                                  Unliquidated
          Iron Station, NC 28080                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,490.00
          Jacqueline (Jacke) Eichenberger                                       Contingent
          17209 Wilde Avenue                                                    Unliquidated
          Unit 108                                                              Disputed
          Parker, CO 80134
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.162
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,367.00
          Jacqueline and Scott Mullin                                           Contingent
          8153 South Highway 26                                                 Unliquidated
          Valley Springs, CA 95252                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,687.00
          Jacqueline Cooper                                                     Contingent
          5217 D Street                                                         Unliquidated
          Philadelphia, PA 19120                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,398.00
          Jacqueline Salvato (Ludovici)                                         Contingent
          1 Duke Dr.                                                            Unliquidated
          Lake Worth, FL 33460                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,092.00
          Jacquelyn & Ebere Igbokwe                                             Contingent
          PO Box 450103                                                         Unliquidated
          Houston, TX 77245                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.162
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Jacquie and Michael Kelley                                            Contingent
          2718 E Teakwood Pl.                                                   Unliquidated
          Chandler, AZ 85249                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,295.00
          Jaliyla Fraser                                                        Contingent
          13 Boyden St.                                                         Unliquidated
          East Orange, NJ 07083                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          James & Adrienne Santos                                               Contingent
          11505 Carriage Crossing Dr                                            Unliquidated
          Upper Marlboro, MD 20772                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          James & Anne Dorre                                                    Contingent
          675 Country Club Dr                                                   Unliquidated
          Kingman, AZ 86401                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          James & Carol Miersch                                                 Contingent
          103 West Lillian Ave                                                  Unliquidated
          Arlington Heights, IL 60004                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          James & Deborah Mika                                                  Contingent
          2132 E. Everglades Blvd.                                              Unliquidated
          Ft. Mohave, AZ 86426                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          James & Elizabeth Chacon                                              Contingent
          1133 E 12th Ave                                                       Unliquidated
          Broomfield, CO 80020                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.163
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,105.00
          James & Gloria Nash                                                   Contingent
          1705 Augus T Lane                                                     Unliquidated
          Brighton, CO 80601                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          James & Helen Ries                                                    Contingent
          26030 County Rd 18                                                    Unliquidated
          Keenesburg, CO 80643                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          James & Jeonghe Lal                                                   Contingent
          280 Overbrook Lane                                                    Unliquidated
          Front Royal, VA 22630                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,830.00
          James & Jodean Frederick                                              Contingent
          10133 W Geddes Cir                                                    Unliquidated
          Littleton, CO 80127                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          James & Judy Strommen                                                 Contingent
          8649 Buttercup Ct.                                                    Unliquidated
          Victoria, MN 55386                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,827.85
          James & Karen Arrington                                               Contingent
          116 Como Trace Drive                                                  Unliquidated
          Senatobia, MS 38668                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,000.00
          James & Leonette Lewis                                                Contingent
          5802 Bridlington St                                                   Unliquidated
          Houston, TX 77085                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.164
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          James & Merrisa Stoll                                                 Contingent
          3953 Kenrick Drive                                                    Unliquidated
          Bethlehem, PA 18020                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          James & Nancy Solano                                                  Contingent
          5730 W 8th Ave                                                        Unliquidated
          Lakewood, CO 80214                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,457.85
          James & Pamela Williams                                               Contingent
          9298 Glen Meadow Ln                                                   Unliquidated
          Bristow, VA 20136                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,095.00
          James & Pamela Yurchak                                                Contingent
          17202 Winding Oak Court                                               Unliquidated
          Cypress, TX 77429                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,295.00
          James & Rebecca Buckley/Zumwalt                                       Contingent
          2010 Lewis Trail                                                      Unliquidated
          Grand Prairie, TX 75052                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          James & Rebecca Young                                                 Contingent
          27467 Camino Tower                                                    Unliquidated
          Boerne, TX 78015                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,219.00
          James & Sherry Murphy                                                 Contingent
          3816 Crystal Lane                                                     Unliquidated
          Temple Hills, MD 20748                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.165
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,780.00
          James & Shirley Brown                                                 Contingent
          96 Northampton Blvd                                                   Unliquidated
          Stafford, VA 22554                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,105.00
          James & Sumi Laroche                                                  Contingent
          3782 Richfield St                                                     Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,688.00
          James & Vanessa Hooker                                                Contingent
          1319 Woodlark Dr.                                                     Unliquidated
          District Heights, MD 20747                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,300.00
          James (Jim) & Verna Fitzsimmons                                       Contingent
          9071 E. Mississippi Ave #6A                                           Unliquidated
          Denver, CO 80247                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,367.00
          James (Jim) Marvin                                                    Contingent
          2641 W. Upland Dr                                                     Unliquidated
          Chandler, AZ 85224                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          James (Jimmy) & Ella Andrews                                          Contingent
          3307 Golden Cypress Lane                                              Unliquidated
          Pearland, TX 77584                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,095.00
          James Alderton                                                        Contingent
          95 Paul Dr                                                            Unliquidated
          Washingtion, PA 15301                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.165
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,715.00
          James and Benadette Gray                                              Contingent
          24429 E Brandt Ave                                                    Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,058.00
          James and Bobbie Sibley                                               Contingent
          11564 Grandview Dr                                                    Unliquidated
          Montgomery, TX 77356                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.165
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,950.00
          James and Jeanette Carter                                             Contingent
          1910 Circleview Dr                                                    Unliquidated
          Greensboro, NC 28269                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,278.00
          James And Jessica Clark                                               Contingent
          110 Drury Lane                                                        Unliquidated
          Mooresville, NC 28115                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          James and Lori Palmer                                                 Contingent
          997 Auburn Drive                                                      Unliquidated
          Erie, CO 80516                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          James and Marilyn Straz                                               Contingent
          2643 Riverside St                                                     Unliquidated
          Franklin Park, IL 60131                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          James And Maxine Nicholas                                             Contingent
          2532 Blarney Drive                                                    Unliquidated
          Harrisburg, PA 17112-8615                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.166
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,194.00
          James and Paula Gellenthin                                            Contingent
          416 E. Woodall                                                        Unliquidated
          Smithfield, NC 27577                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,700.00
          James And Suzanne Barrett                                             Contingent
          5437 Royal Paddock Way                                                Unliquidated
          Merritt Island, FL 32953                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,000.00
          James and Teresa Peterson                                             Contingent
          4509 Iron Bridge Road                                                 Unliquidated
          4509 Iron Bridge Road, VA 23234                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,122.00
          James Baize                                                           Contingent
          5598 Cross Creek Dr.                                                  Unliquidated
          Colo. Springs, CO 80924                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          James Bell                                                            Contingent
          733 Emerald Dr.                                                       Unliquidated
          Fayetteville, NC 28311                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,747.00
          James Bush                                                            Contingent
          1403 Broadway                                                         Unliquidated
          Rensselar, NY 12144                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,410.00
          James Callahan/Deborah Aquino                                         Contingent
          20 Walter Drive                                                       Unliquidated
          Saratoga Springs, NY 12866                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.167
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          James Clark and Nancy Arellano                                        Contingent
          28-11 20012 St                                                        Unliquidated
          Bayside, NY 11360                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,764.00
          James H. Williams                                                     Contingent
          8106 Prarie Park Pl                                                   Unliquidated
          Chicago, IL 60619                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,800.00
          James Heyward                                                         Contingent
          2510 Silver Bell Loop                                                 Unliquidated
          Fayettville, NC 28304                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          James Hicks                                                           Contingent
          340 Twain Circle                                                      Unliquidated
          Mabelton, GA 30126                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,372.00
          James Mark and Jacqie Braley                                          Contingent
          5375 E Briarwood                                                      Unliquidated
          Centennial, CO 80122                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,056.00
          James Mathews and Larry and Britt Hughes                              Contingent
          6325 W mansfield Ave #215                                             Unliquidated
          Denver, CO 80235                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,732.50
          James McGue                                                           Contingent
          295 Gordon Ct                                                         Unliquidated
          Castle Rock, CO 80104                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.167
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          James OConnor                                                         Contingent
          7325 S Nucla St                                                       Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.167
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,995.00
          James Pinkel                                                          Contingent
          6037 S Elizabeth Way                                                  Unliquidated
          Centennial, CO 80112                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          James R. Cocco                                                        Contingent
          7268 Frisco Lane                                                      Unliquidated
          Sarasota, FL 34241                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,795.00
          James Waters                                                          Contingent
          2451 Bond Ave                                                         Unliquidated
          Clearwater, FL 33759                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,302.00
          Jamie & Robert Cessna                                                 Contingent
          3353 Yorkshire Dr.                                                    Unliquidated
          North Hutingdon, PA 15642                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Jamie And Connie Gagne                                                Contingent
          14017 Wolcott Drive                                                   Unliquidated
          Tampa, FL 33624                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,900.00
          Jamie and Jim Dinkins                                                 Contingent
          1700 W Sunflower St                                                   Unliquidated
          Dunlap, IL 61525                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.168
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Jamie James-Campbell                                                  Contingent
          637 County Rd 728B                                                    Unliquidated
          Sweeney, TX 77480                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,757.00
          Jamie Patterson                                                       Contingent
          5683 Many Springs Dr.                                                 Unliquidated
          CO Springs, CO 80923                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,310.00
          Jan & David Carlyle                                                   Contingent
          1035 Yorkshire Drive                                                  Unliquidated
          Marion, OH 43302                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,391.46
          Jan & Mike Costas                                                     Contingent
          7478 W Nichols Pl                                                     Unliquidated
          Littleton, CO 80128                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.168
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,770.00
          Jan and Siv A.M. Verschuur                                            Contingent
          Po box 3926                                                           Unliquidated
          Estes park, CO 80517                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Janae Sturgis                                                         Contingent
          7833 Citadel Drive                                                    Unliquidated
          Servern, MD 21144                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,108.25
          Janath Gode                                                           Contingent
          6526 5th Ave South                                                    Unliquidated
          Richfield, MN 55423                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.169
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,920.00
          Jane And Steve Collar                                                 Contingent
          81 Davis Rd                                                           Unliquidated
          Westminister, MA 01473                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,845.00
          Jane Bumgarner                                                        Contingent
          303 Bolick Dr NE                                                      Unliquidated
          Conover, NC 28613                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,280.86
          Janene Robinson and Christopher Biddy                                 Contingent
          1221 Centaur Circle, Unit B                                           Unliquidated
          Lafayette, CO 80026                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,095.00
          Janet & Jim Rivas                                                     Contingent
          10297 Dowling Way                                                     Unliquidated
          Highlands Ranch, CO 80126                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,673.00
          Janet & R. Kirk Gaus                                                  Contingent
          3202 Juniper Dr                                                       Unliquidated
          McKinney, TX 75070                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Janet And Gary Currence                                               Contingent
          2408 NE 77th Street                                                   Unliquidated
          Gladstone, MO 64118                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.169
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,915.00
          Janet Benedict                                                        Contingent
          16629 E Auburn Hills Dr                                               Unliquidated
          Parker, CO 80134                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.169
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,376.00
          Janet Duncan                                                          Contingent
          2736 Spring Glen Road                                                 Unliquidated
          Jacksonville, FL 32207                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,250.00
          Janet Eon                                                             Contingent
          3661 Kings Road                                                       Unliquidated
          Building #2 Unit #106                                                 Disputed
          Palm Harbour, FL 34685
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.170
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,750.00
          Janet Lake                                                            Contingent
          1049 Willow Bay                                                       Unliquidated
          Elgin, IL 60123                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Janet Maus                                                            Contingent
          7408 Berkshire Drive                                                  Unliquidated
          Clinton, MD 20735                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,432.63
          Janet Parhams                                                         Contingent
          2543 Meridian Parkway Apt. #2116                                      Unliquidated
          Durham, NC 27713                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Janice & James McLaughlin/Rukas                                       Contingent
          7132 Akron St.                                                        Unliquidated
          Philadelphia, PA 19149                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Janice & Keith Christensen                                            Contingent
          14210 N 20th Place                                                    Unliquidated
          Phoeniz, AZ 85022                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.170
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Janice and Charles Bigelow                                            Contingent
          8232 Willow Street                                                    Unliquidated
          Leominster, MA 01453                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,165.00
          Janice and Roger Wilson                                               Contingent
          44603 Gerladine Lane, North                                           Unliquidated
          Davenport, WA 99122                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,532.72
          Janice Cotten                                                         Contingent
          2720 County Road 155                                                  Unliquidated
          Alvin, TX 77511                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,602.00
          Janice Hayes (John Hussell) Thomas Hayes                              Contingent
          300 Summers St                                                        Unliquidated
          Charleston, WV 25301                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Janice, Richard, Roderick and Georganna                               Contingent
          2644 Sharpview Lane                                                   Unliquidated
          Dallas, TX 75228                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Janie Williamson                                                      Contingent
          1456 E Girard Pl, Apt 123-A                                           Unliquidated
          Englewood, CO 80113                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,750.00
          Janiece Barraco                                                       Contingent
          955 Hover Ridge Cir                                                   Unliquidated
          Longmont, CO 80501                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.171
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,996.00
          Janilyn M. Welsh Trust                                                Contingent
          840 Woodbine Ave                                                      Unliquidated
          Glendale, OH 45252                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,481.00
          Janine&Ernest Colson                                                  Contingent
          PO Box 387                                                            Unliquidated
          Colby, KS 67701                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,420.00
          Janis Estrada                                                         Contingent
          5028 Airline Road                                                     Unliquidated
          Dallas, TX 75205                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Jardin Azul Season                                                    Contingent
          10600 W. Charleston Blvd.                                             Unliquidated
          Las Vegas, NV 89135                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,638.00
          Jared & Charrie Adamson                                               Contingent
          906 Mclane St                                                         Unliquidated
          Victoria, TX 77904                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,000.00
          Jared & Shannon Larson                                                Contingent
          9319 NE 133rd Ave                                                     Unliquidated
          Vancouver, WA 98682                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,270.00
          Jarold and Mary Creech                                                Contingent
          9252 W. Louisiana Ave                                                 Unliquidated
          Lakewood, CO 80232                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.172
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,501.00
          Jasmin Cole and Ronald (Ron) Clark                                    Contingent
          529 Warnock Street                                                    Unliquidated
          Louisville, KY 40217                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Jason & Veronica Loud                                                 Contingent
          PO Box 2793                                                           Unliquidated
          Florence, AZ 85132                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Jason Hellem                                                          Contingent
          13844 Pastel Lane                                                     Unliquidated
          Parker, CO 80134                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,500.00
          Jason Wass                                                            Contingent
          1880 La Jolla                                                         Unliquidated
          Stockton, CA                                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,128.00
          Jay & Thelma Strachan/Catio                                           Contingent
          5448 Madison St.                                                      Unliquidated
          New Port Richie, FL 34652                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,400.00
          Jay Abrams and Janet Bubis                                            Contingent
          6623 Hillbriar Dr                                                     Unliquidated
          Dallas, TX 75248                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Jay and Alisha McMillin                                               Contingent
          5765 Redbridge Drive                                                  Unliquidated
          Timnath, CO 80547                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.172
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,060.00
          Jay And Nita Rao                                                      Contingent
          49 Canal View Rd                                                      Unliquidated
          Lawrenceville, NJ 08648                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,330.00
          Jay Keener                                                            Contingent
          844 N Sandpiper Ct                                                    Unliquidated
          Wichita, KS 67230                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,407.50
          Jay Snyder                                                            Contingent
          9243 E. Nassau Ave                                                    Unliquidated
          Denver, CO 80237                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Jay Womeldorf                                                         Contingent
          601 W Fillmore St #328                                                Unliquidated
          Phoenix, AZ 85003                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Jayne & Corey Ruttan                                                  Contingent
          3 Horizon View Lane                                                   Unliquidated
          Calgary, Canada T3Z 3M4                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Jean and Robert Ahlfinger                                             Contingent
          2677 Lawrenceville HWY Apt.# 428                                      Unliquidated
          Decatur, GA 30033                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,917.70
          Jean and Ted Dorsey                                                   Contingent
          6545 Childs Road                                                      Unliquidated
          Oswego, OR 97035                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.173
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,095.00
          Jean Brynoff                                                          Contingent
          4695 West 99th Place                                                  Unliquidated
          Westminster, CO 80031                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,088.00
          Jean Haertel                                                          Contingent
          17946 S FM148                                                         Unliquidated
          Scurry, TX 75158                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,598.39
          Jean Mahan                                                            Contingent
          (618) 531-0212 or jeannie.mahan.dc@gmail                              Unliquidated
           MD 20854                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,000.00
          Jeanean Boyd                                                          Contingent
          2204 Franklin DR                                                      Unliquidated
          Arlington, TX 76011                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,097.00
          Jeanette & Lee Baker                                                  Contingent
          12542 Saint Charlotte Drive                                           Unliquidated
          Tampa, FL 33618                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,452.00
          Jeanie And Scott Krebs                                                Contingent
          3333 Southfork Pkwy, Apt #127                                         Unliquidated
          Manvel, TX 77566                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,457.75
          Jeff & Joanne Tuma                                                    Contingent
          155955 Bayview Drive NE                                               Unliquidated
          Parkers Prairie, Mn 56361                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.174
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Jeff & Lena Player                                                    Contingent
          4914 Old River Ave                                                    Unliquidated
          Firestone, CO 80504                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Jeff and AnnMarie Stetzel                                             Contingent
          4121 S Cathay Way                                                     Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,450.00
          Jeff and Cheryl Donnel                                                Contingent
          6615 W 84th Way                                                       Unliquidated
          #104                                                                  Disputed
          Arvada, CO 80003
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.174
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,319.70
          Jeff And Erlinda (Lin) Guerrero                                       Contingent
          13175 Christine Marie Court                                           Unliquidated
          Jacksonville, FL 32225                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,051.00
          Jeff Jarmes/Keith Collins                                             Contingent
          806 E Kilbourn AVE                                                    Unliquidated
          Milwaukee, MI 53202                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,645.00
          Jeff Pepple and Julie Danduran                                        Contingent
          PO box 65                                                             Unliquidated
          Fessenden, ND 58438                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,635.00
          Jeff Smith                                                            Contingent
          PO Box 773                                                            Unliquidated
          Georgetown, CO 80444                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.174
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Jeffrey & Angela Kruggel                                              Contingent
          1544 Conant Court                                                     Unliquidated
          Mishawaka, IN 46544                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.174
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          Jeffrey & Cynthia Cardiel                                             Contingent
          1701 Fortworth Hwy Space 51                                           Unliquidated
          Weatherford, TX 76086                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,960.00
          Jeffrey & Debra Benson                                                Contingent
          21303 Follin Road                                                     Unliquidated
          Fredericktown, OH 43019                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,522.00
          Jeffrey & Joyce Lambert                                               Contingent
          13374 165th Ave                                                       Unliquidated
          Becker, MN 55308                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,745.00
          Jeffrey & Marilyn Ackermann                                           Contingent
          2966 Akron ct.                                                        Unliquidated
          Denver, CO 80238                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,608.00
          Jeffrey & Susan Thomas                                                Contingent
          2357 Shrewsbury Run E.                                                Unliquidated
          Colliervile, TN 38017                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,650.00
          Jeffrey (Jeff) & Ninfa Byrd                                           Contingent
          834 Xavier St                                                         Unliquidated
          Denver, CO 80204                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.175
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Jeffrey and Jennifer Wauthier                                         Contingent
          5123 S Fraser Way                                                     Unliquidated
          Aurora, CO 80015                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Jeffrey and Robin Johnson                                             Contingent
          8846 Vrain St                                                         Unliquidated
          Westminster, CO 80031                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Jeffrey Colerick                                                      Contingent
          3383 S Grape St                                                       Unliquidated
          Denver, CO 80222                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,131.00
          Jenell and Miguel Alexander-Moctezuma                                 Contingent
          1 Fairview Lane                                                       Unliquidated
          Palmcoast, FL 32137                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.175
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,093.15
          Jennie Samuels                                                        Contingent
          16935 Page Avenue                                                     Unliquidated
          Hazelcrest, IL 60429                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,545.00
          Jennifer & Ismael Leon/Ruiz                                           Contingent
          13845 W 9th St.                                                       Unliquidated
          Zion, IL 60099                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,705.00
          Jennifer & Richard Lewis                                              Contingent
          3408 Palmisano Blvd                                                   Unliquidated
          Chalmette, LA 70043                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.176
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,295.00
          Jennifer & Victoria Sims/St.Laurent                                   Contingent
          114 Crockett Court                                                    Unliquidated
          Smyrna, TN 37167                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,365.00
          Jennifer and Eric Bauer                                               Contingent
          1430 S Ward CT                                                        Unliquidated
          Lakewood, CO 80228                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,190.00
          Jennifer and James Jim Owens                                          Contingent
          5404 Cedardale Ln                                                     Unliquidated
          Baxter, MN 56425                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,395.00
          Jennifer Hill                                                         Contingent
          1215 Tiny Tree Dr.                                                    Unliquidated
          Missouri City, TX 77489                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,688.00
          Jennifer Howard/Daniel Gomez                                          Contingent
          1620 Venice Blvd Apt 208                                              Unliquidated
          Venice, CA 90291                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,232.50
          Jennifer Johler                                                       Contingent
          4408 Marriott Dr APT 254                                              Unliquidated
          Raleigh, NC 27612                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.176
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,420.00
          Jennifer Lang                                                         Contingent
          167 N Sycamore Ave                                                    Unliquidated
          Los Angeles, CA 90036                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.176
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Jennifer Ross                                                         Contingent
          19695 Clubhouse Dr Apt 134                                            Unliquidated
          Parker, CO 80138                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,514.00
          Jenny and Alfred Perez/Salazar                                        Contingent
          611 Alcorn St                                                         Unliquidated
          Sugar Land, TX 77478                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,900.00
          Jenny and Steve Berggren                                              Contingent
          1574 Spring Water Place                                               Unliquidated
          Highlands Ranch, CO 80129                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,995.00
          Jenny Judd and John Brady                                             Contingent
          41942 Tilton Drive                                                    Unliquidated
          Palmdale, CA 93551                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Jeremy & Amy Guddat                                                   Contingent
          11357 West Ford Place                                                 Unliquidated
          Lakewood, Co 80226                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Jerod Slivka                                                          Contingent
          864 Diamond Rim Dr                                                    Unliquidated
          Colorado Springs, CO 80921                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,250.00
          Jerome and Patrica Hammitt                                            Contingent
          92407 Spells Rd                                                       Unliquidated
          Sturgeon Lake, MN 55783                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.177
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Jerri & Johnny Floyd                                                  Contingent
          7 3757 W 91st                                                         Unliquidated
          Merrillville, IN 46410                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Jerry & Avice Legg                                                    Contingent
          22745 S Highway 2                                                     Unliquidated
          Vinita, OK 74301                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,227.50
          Jerry & JoAnn Phillips                                                Contingent
          936 Meade St.                                                         Unliquidated
          Denver, CO 80204                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Jerry and Caroline Sue Richards                                       Contingent
          4664 Allende Ave.                                                     Unliquidated
          Oceanside, CA 92057                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Jerry And Elizabeth Hopkins                                           Contingent
          1509 Hale Ave                                                         Unliquidated
          Platte City, MO 64079                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Jerry And Glenda Fleming                                              Contingent
          1470 E Humble Rd                                                      Unliquidated
          Overton, TX 75684                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,285.00
          Jerry And Lacy Curry                                                  Contingent
          434 Bickett Lane                                                      Unliquidated
          Spring, Tx 77373                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.178
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,958.88
          Jesse & Brittany Hitchcock/Poyner                                     Contingent
          27106 US 138                                                          Unliquidated
          Iliff, CO 80736                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,552.00
          Jesse & Janice McNeal                                                 Contingent
          9000 Huntmeadow Lane                                                  Unliquidated
          Upper Marlboro, MD 20772                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Jesse and Dulce Edgar                                                 Contingent
          9767 Chocolate Summit Drive                                           Unliquidated
          Elcajon, CA 92021                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,340.00
          Jesse and Lori Garcia                                                 Contingent
          2827 S Lamar                                                          Unliquidated
          Denver, CO 80227                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,100.00
          Jessica and Jose Santos                                               Contingent
          4501 Country Hills Blvd                                               Unliquidated
          Pant City, FL 33563                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,745.00
          Jessica Battista                                                      Contingent
          6327 Morningside Dr                                                   Unliquidated
          Hubbard, OH 44425                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.178
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,750.00
          Jessica Hardcastle and Benino Pruneda jr                              Contingent
          1106 LIllie st                                                        Unliquidated
          Deer Park, TX 77536                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.179
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Jessica Lewis                                                         Contingent
          15080 Iola St                                                         Unliquidated
          Brighton, CO 80602                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Jessica Oxley                                                         Contingent
          136 Sycamore Lane Unit C                                              Unliquidated
          Oldsmar, FL 34677                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,512.00
          Jessie Elie & Arturo Contreras                                        Contingent
          202 Nashua St                                                         Unliquidated
          Park Forest, IL 60466                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Jessy & Jerel Kratt                                                   Contingent
          606 Famoso Hills Dr                                                   Unliquidated
          Bakersfiels, CA 93308                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,200.00
          Jesus & Maura Gurrola                                                 Contingent
          4811 West Dunbar Dr                                                   Unliquidated
          Laveen, AZ 85339                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,376.00
          Jesus and Angela Belloc                                               Contingent
          632 East Mohave Circle #90                                            Unliquidated
          Eloy, AZ 85131                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          JF Best Consulting                                                    Contingent
          1048 Marlin Lakes Cir #20211                                          Unliquidated
          Sarasota, FL 34232                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.179
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,617.75
          Jill & Michael Campos                                                 Contingent
          1116 N Stanley Place                                                  Unliquidated
          Chandler, AZ 85226                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,957.00
          Jillian Queripel                                                      Contingent
          2 Finley Rd                                                           Unliquidated
           NJ 08302                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.179
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,350.00
          Jim & Brenda Walter                                                   Contingent
          2335 Woodbend Circle                                                  Unliquidated
          New Port Richey, FL 34655                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Jim & Carol Roberts                                                   Contingent
          1890 Golden Eagle Court                                               Unliquidated
          Broomfield, CO 80020                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,550.00
          Jim & Cheryl Johnson                                                  Contingent
          PO Box 812                                                            Unliquidated
          Fort Benton, MT 59442                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,259.00
          Jim & Cindy Hamilton                                                  Contingent
          1852 E 142nd Ave                                                      Unliquidated
          Brighton, CO 80602                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,200.00
          Jim & Judy Ware                                                       Contingent
          1075 Carib Loop East                                                  Unliquidated
          Cordova, TN 38018                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.180
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,829.20
          Jim & Sue Hall                                                        Contingent
          1920 Kona Drive                                                       Unliquidated
          Fort Collins, CO 80528                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,746.00
          Jim and Antoinette Augliera                                           Contingent
          2193 S Ouray St                                                       Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,927.47
          Jim And Joan Swanson                                                  Contingent
          12771 East Crystal Forest                                             Unliquidated
          Gold Canyon, AZ 85118                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          Jim and Martha Huffman                                                Contingent
          10209 Colville St                                                     Unliquidated
          PO BOX: 770883                                                        Disputed
          Eagle River, AK 99577
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.180
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Jim Degenhardt                                                        Contingent
          PO Box 279                                                            Unliquidated
          Safety Harbor, FL 33761                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.180
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,652.50
          Jimmy & Dianne Green                                                  Contingent
          208 Lee St                                                            Unliquidated
          Knightdale, NC 27545                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,207.00
          Jimmy & Yelysoco Ortega                                               Contingent
          1102 Nikki Lane                                                       Unliquidated
          Stafford, TX 77477                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.181
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,446.00
          Jimmy Seto                                                            Contingent
          12942 Elgin Place                                                     Unliquidated
          Denver, CO 80239                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $2,522,088.00
          JLL Jones Lang LaSalle Americas Inc                                   Contingent
          8100 E Maplewood Ave Suite 240                                        Unliquidated
          Greenwood Village, CO 80111                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8714
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,128.00
          Jo Ann Newsome                                                        Contingent
          7443 Towerview Lane                                                   Unliquidated
          Missouri City, TX 77489                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,442.00
          Jo Ann Peschel                                                        Contingent
          1015 Tri Oaks Lane, Unit #32                                          Unliquidated
          Houston, TX 77043                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Jo Anne And Bernard (Gene) Barr                                       Contingent
          11244 Lowell Avenue                                                   Unliquidated
          Overland Park, KS 66210                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,579.60
          Joan & Jerome (Jerry) Gittlein                                        Contingent
          320 South Road                                                        Unliquidated
          PO Box 286                                                            Disputed
          Rye Beach, NH 03871
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.181
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Joan and John Wayne Clark                                             Contingent
          7105 N. Spur Rd                                                       Unliquidated
          Prescott, AZ 86305                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.181
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Joan Lanier and Sherry Batchelor                                      Contingent
          103 Dearing Dr                                                        Unliquidated
          Knightdale, NC 27545                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.181
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,832.00
          Joan Mancuso                                                          Contingent
          6500 E Shadow Ln                                                      Unliquidated
          Inverness, FL 34452                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,245.00
          JoAnn Ellis                                                           Contingent
          1585 Nathaniel Street                                                 Unliquidated
          Newton, NC 28658                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,544.00
          Joann Spencer                                                         Contingent
          800 Pebble Drive                                                      Unliquidated
          Greensboro, NC 27410                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Joanna Brown                                                          Contingent
          909 Bannock ST, Apt 1201                                              Unliquidated
          Denver, CO 80204                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,079.00
          Joanne & Brian Angle                                                  Contingent
          1284 Saginaw Crescent                                                 Unliquidated
          Mississauga, Ontario L5H4B8                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          Joanne And Cory Mulinare                                              Contingent
          2461 Deloraine Trail                                                  Unliquidated
          Maitland, FL 32751                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.182
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,446.14
          JoAnne and Richard Jordan-Extended File                               Contingent
          11644 SW Egret Circle Apt. 906                                        Unliquidated
          Arcadia, FL 34269                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Joanne Briggs                                                         Contingent
          326 Catherine St                                                      Unliquidated
          Mckees Rock, PA 15136                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,552.00
          Joanne Hallock                                                        Contingent
          29 Pioneer Place                                                      Unliquidated
          Eaton, CO 80615                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,100.00
          Joanvieve Jackson                                                     Contingent
          839 Silverthorne Drive                                                Unliquidated
          Burleson, TX 76028                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.182
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,410.00
          Joaquin and Sylvia Rocha                                              Contingent
          23003 Birnamwood Blvd                                                 Unliquidated
          Spring, TX 77373                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Jockey Club                                                           Contingent
          3700 Las Vegas Boulevard South                                        Unliquidated
          Las Vegas, NV 89109                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,420.00
          Jodie & Michael McQuay                                                Contingent
          200 Indiana St.                                                       Unliquidated
          Haines City, FL 33844                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.183
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Jodie and Jonathan Rye                                                Contingent
          229 Green Acres Dr                                                    Unliquidated
          Murphy, TX 75094                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,117.00
          Jodie Jenkins Oliphant & Ashley Oliphant                              Contingent
          14003 Quention Drive                                                  Unliquidated
          Houston, TX 77045                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,600.00
          Jody and Mari Dobson                                                  Contingent
          1405 Diana Ln                                                         Unliquidated
          Colorado Springs, CO 80909                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Jody Tyriver                                                          Contingent
          1011 Inverness Main St Unit 313                                       Unliquidated
          Englewood, CO 80112                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Joe & Debra Richards                                                  Contingent
          7009 W Morning Dove Dr.                                               Unliquidated
          Glendale, AZ 85308                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,110.95
          Joe & Diane Wantz                                                     Contingent
          8776 Booth Rd                                                         Unliquidated
          Mentor, OH 44060                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,000.00
          Joe & Georgia Eyler                                                   Contingent
          1848 Houston Lake RD                                                  Unliquidated
          Kathleen, GA                                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.183
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Joe & Merilyn Carrell                                                 Contingent
          PO Box 236                                                            Unliquidated
          Fulton, TX 78358                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Joe & Sheila Rinaldis                                                 Contingent
          113 Caleb Dr                                                          Unliquidated
          Danville, NH 03819                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,250.00
          Joe & Virginia Romero                                                 Contingent
          5205 W. Caryl Ave                                                     Unliquidated
          Littleton, CO 80128                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Joe And Gail Mahoney                                                  Contingent
          PMB 1520 PO BOX 439060                                                Unliquidated
          San Ysidro, CA 92143                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,990.00
          Joeand Penelope Nicholl                                               Contingent
          10164 W Lake Dr                                                       Unliquidated
          Littleton, CO 80127                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,910.00
          Joey & June Pope                                                      Contingent
          1104 Tulsa Street                                                     Unliquidated
          Cathage, TX 75633                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Johan Alpenland Resort (Austria)                                      Contingent
          A-5600 St Johann im Pongau                                            Unliquidated
          Austria                                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.184
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Johanna Hall                                                          Contingent
          6033 Castlegate Dr w, Apt 2715                                        Unliquidated
          Castle Rock, CO 80108                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,550.00
          John & Ann Brown                                                      Contingent
          3604 Potomac Ave                                                      Unliquidated
          Dallas, TX 75205                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,390.00
          John & Barbara Calderon                                               Contingent
          5060 Stone Harbour Circle                                             Unliquidated
          Wimauma, FL 33598                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,401.00
          John & Becky Duvall/Villanueva                                        Contingent
          4145 Country Club Drive                                               Unliquidated
          Dickinson, TX 77539                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          John & Beverly Webb/Jenkins                                           Contingent
          1129 Glen Avon Rd                                                     Unliquidated
          Darby, PA 19023                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          John & Christine Tolley                                               Contingent
          2323 W 112th Street                                                   Unliquidated
          Chicago, IL 60643                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          John & Connie Klein                                                   Contingent
          3410 Bagatelle Lane                                                   Unliquidated
          Mundelein, IL 60060                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.185
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,923.00
          John & Erica Vincent                                                  Contingent
          1650 Wichita Dr                                                       Unliquidated
          Prosper, TX 75078                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,553.00
          John & Kelly Gabriel                                                  Contingent
          22011 Beachgrove Ln                                                   Unliquidated
          Katy, TX 77494                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,898.00
          John & Kerry Taylor                                                   Contingent
          4922 Almond Crest Dr                                                  Unliquidated
          Pueblo, CO 81005                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          John & Louise Ashley                                                  Contingent
          P.O Box 132                                                           Unliquidated
          London, MN 56273                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,470.00
          John & Martha Hiles                                                   Contingent
          1153 Bounnyton Pl                                                     Unliquidated
          Castle Rock, co 80104                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,132.00
          John & Nancy Termine/James                                            Contingent
          225 S Heights Blvd, Unit# 3406                                        Unliquidated
          Houston, TX 77077                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,405.00
          John & Patricia Baker                                                 Contingent
          6013 Woodcliffe Drive                                                 Unliquidated
          Windsor, CO 80550                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.186
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,500.00
          John & Patricia Markell                                               Contingent
          7466 Heather Walk Dr                                                  Unliquidated
          Weeki Wachee, FL 34613                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          John & Renee (Robin) Spencer                                          Contingent
          123 Dahlia Road                                                       Unliquidated
          Huntsville, TX 77320                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,039.90
          John & Renee Cazer                                                    Contingent
          7394 Pyrite Ct.                                                       Unliquidated
          Castle Rock, CO 80108                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,650.00
          John & Susan Debee                                                    Contingent
          775 Allison St                                                        Unliquidated
          Lakewood, CO 80214                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,000.00
          John & Susan McCarthy                                                 Contingent
          7280 Route 81                                                         Unliquidated
          East Durham, NY 12423                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          John & Susan Thompson                                                 Contingent
          1327 W 135th Ave                                                      Unliquidated
          Westminister, Co 80234                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,100.00
          John & Teresa Grabowski                                               Contingent
          2065 Huber Dr.                                                        Unliquidated
          Quakertown, PA 18951                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.186
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,449.00
          John & Teresa Stober                                                  Contingent
          101 Trail Bend Court                                                  Unliquidated
          Cary, NC 27513                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,479.72
          John & Tina Young                                                     Contingent
          4404 East 500 North                                                   Unliquidated
          Columbia City, IN 46725                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,500.00
          John & Virginia (Lila) Hope                                           Contingent
          14802 East Temple Drive                                               Unliquidated
          Aurora, CO 80015                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,500.00
          John & Wanda Riviere                                                  Contingent
          9340 Rock Lynn Circle                                                 Unliquidated
          Waldorf, MD 20603                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          John and Ada Horn                                                     Contingent
          804 Garden Ave                                                        Unliquidated
          Lebanon, PA 17046                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          John and Carol Unwin                                                  Contingent
          12731 Forest Canyon Drive                                             Unliquidated
          Parker, CO 80138                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,357.00
          John and Charlene Ingham                                              Contingent
          182 Pinehurst Dr                                                      Unliquidated
          CranberryTownship, PA 16066                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.187
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,107.57
          John and Cheryl Kirby                                                 Contingent
          24 Avery Nicole Dr                                                    Unliquidated
          Wearverville, VA 28787                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,245.00
          John and Ethel Sodia                                                  Contingent
          6692 E LaSalle Pl                                                     Unliquidated
          Denver, CO 80224                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          John and Karin Shaffer                                                Contingent
          12 North 14th St                                                      Unliquidated
          Millville, NJ 08332                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          John and Karri McLaughlin                                             Contingent
          709 Turkey Run Dr.                                                    Unliquidated
          Round Lake Heights, IL 60073                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,940.00
          John And Kathryn Curtis                                               Contingent
          530 Winterside Drive                                                  Unliquidated
          Apollo Beach, FL 33572                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.187
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,008.00
          John And Linda Kreiger                                                Contingent
          165 Dogwood Dr                                                        Unliquidated
          Warren, IN 46792                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,545.00
          John And Marsha Woodard                                               Contingent
          1714 Benjamin Drive                                                   Unliquidated
          Salisbury, NC 28146                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.188
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,950.00
          John And Nancy Riley                                                  Contingent
          7408 Fontana Street                                                   Unliquidated
          Praire Village, KS 66208                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,550.00
          John and Renate Sopcich                                               Contingent
          114 North Summerfield Drive                                           Unliquidated
          Valparaiso, IN 46385                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,700.00
          John And Rosanne Post                                                 Contingent
          10557 Ridgecrest Cir.                                                 Unliquidated
          Highlands Ranch, CO 80129                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          John And Sharlyn Guthrie                                              Contingent
          1806 Watermark Lane                                                   Unliquidated
          Wylie, TX 75098                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,720.00
          John and Stacie Nowak                                                 Contingent
          4570 Meade St                                                         Unliquidated
          Denver, CO 80211                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          JOHN E MORTIMER                                                       Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.188
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,050.37
          John George & Marjorie Maturi                                         Contingent
          24054 Butterfly Lane                                                  Unliquidated
          Porter, TX 77365                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.188
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,750.00
          John Gerdes and Helen Coates Gerdes                                   Contingent
          11 club lane                                                          Unliquidated
          Littleton, CO 80123                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.188
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,500.00
          John Halsted                                                          Contingent
          3905 Centenary Dr                                                     Unliquidated
          Denton, TX 76210                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,183.25
          John Harvey                                                           Contingent
          3904 Los Robles Dr.                                                   Unliquidated
          Plano, TX 75074                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,700.00
          John Monette                                                          Contingent
          PO Box 82271                                                          Unliquidated
          Pheonix, AZ 85071                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,300.00
          John Nabritt                                                          Contingent
          841 Brickleridge Lane SE                                              Unliquidated
          Mableton, GA 30126                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,250.00
          John Nicholson                                                        Contingent
          303 W Alva Street                                                     Unliquidated
          Tampa, FL 33603                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,775.00
          John Slicker And Amanda Leigh                                         Contingent
          P.O. Box 1210                                                         Unliquidated
          Agoura Hills, CA 91376                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.189
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          John Sr and Judy Rothwell                                             Contingent
          77 Lakeside Terrace                                                   Unliquidated
          Henson, MA 02341                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,700.00
          John Sullivan and Karla Desrosiers                                    Contingent
          23 Ritter St                                                          Unliquidated
          Unit B                                                                Disputed
          Nashua, NH 03060
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.189
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,500.16
          John Vandegrift                                                       Contingent
          166 Branch Valley Way                                                 Unliquidated
          Dallas, GA 30132                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,500.00
          John&Laurel Foege                                                     Contingent
          8851 Providence Knoll Mews                                            Unliquidated
          North Chesterfield, VA 23236                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.189
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,000.00
          Johneen & Christian Mayercheck                                        Contingent
          222 Roxbury Drive                                                     Unliquidated
          Greensburg, PA 15601                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,847.00
          JohnJr&Linda Woloshun                                                 Contingent
          710 Arlington Avenue                                                  Unliquidated
          Jeannette, PA 15644                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,457.75
          Johnnie & Valerie Mickle                                              Contingent
          4031 Claiborne Plantation Way                                         Unliquidated
          Fredericksburg, VA 22408                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.190
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,270.00
          Johnny and Shhetona Jenkins                                           Contingent
          14663 E Purdue Pl                                                     Unliquidated
          Aurora, CO 80014                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,338.14
          Joilzo (Joe) & Telma De Souza                                         Contingent
          95 Mount Pleasant Street                                              Unliquidated
          Marlboro, MA 01752                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,478.36
          Jolanda and Phil Thomas                                               Contingent
          14107 Aster Estates Lane                                              Unliquidated
          Cypress, TX 77429                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,950.00
          Jolene and James Tittsworth                                           Contingent
          245 Sattler Road                                                      Unliquidated
          Spring Branch, TX 78070                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,200.00
          Jolie Ferrier                                                         Contingent
          ,11222 Bethel Church Road                                             Unliquidated
          Midland, NC 28107                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,797.00
          Jon Bartley                                                           Contingent
          2277 Winding Dr                                                       Unliquidated
          Longmont, CO 80504                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.190
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Jon Dollar                                                            Contingent
          5661 Dayton St                                                        Unliquidated
          Denver, CO 80238                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.190
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,214.00
          Jon Whitsitt                                                          Contingent
          1114 Burke Dr                                                         Unliquidated
          Gallup, NM 87301                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,000.00
          Jonathan & Karrie Thompson                                            Contingent
          1988 Mount Joy Place                                                  Unliquidated
          Lexington, KY 40503                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,319.00
          Jonathan & Natalie Saucedo                                            Contingent
          6708 Coral Bells Lane                                                 Unliquidated
          Dickinson, TX 77539                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,926.00
          Jonathan Locklear and Adam Bryant                                     Contingent
          4813 Cedar Pass Dr                                                    Unliquidated
          Hope Mills, NC 28348                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Joni Debaldo                                                          Contingent
          PO Box 308                                                            Unliquidated
          Fulton, MD 20759                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          JORDAN SALKIN                                                         Contingent
          1503 S. Coast Drive Suite 202                                         Unliquidated
          Costa Mesa, CA 92626                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,200.00
          Jorge & Maria Esparza                                                 Contingent
          2314 Bivensbrook Drive                                                Unliquidated
          Houston, TX 77607                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.191
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,900.00
          Jorge & Maria Nassar                                                  Contingent
          8846 Chelsworth Dr                                                    Unliquidated
          Houston, TX 77083                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,200.00
          Jorge & Raquel Castro                                                 Contingent
          12914 Shady Knoll Lane                                                Unliquidated
          Cypress, TX 77429                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,196.00
          Jorge & Sheyla Acurero/Torres                                         Contingent
          14559 S. Juniper Shade Drive                                          Unliquidated
          Herriman, UT 84096                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,952.00
          Jorge And Damaris Juarez                                              Contingent
          110 Otter Trail                                                       Unliquidated
          Lake Jackson, TX 77566                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Jose & Amparo Guzman/Gonzalez                                         Contingent
          725 Dakota River Ave                                                  Unliquidated
          El Paso, TX 79932                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,595.00
          Jose & Dorothy Segundo                                                Contingent
          4721 W Montebello Ave                                                 Unliquidated
          Glendale, AZ 85301                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,826.96
          Jose & Kristina Cervantes                                             Contingent
          2272 Plainfield Pl.                                                   Unliquidated
          Oxnard, CA 93036                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.192
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,950.00
          Jose And Barbara Castillo                                             Contingent
          7322 Collins Manor Drive                                              Unliquidated
          Spring, TX 77389-1495                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Jose And Paulina Canizales                                            Contingent
          20819 Foxwood Glen lane                                               Unliquidated
          Humble, TX 77338                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,745.00
          Jose L. & Marivel Igartua                                             Contingent
          4629 North Delphia                                                    Unliquidated
          Chicago, IL 60656                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,099.00
          Jose Luis Contreras-Torres and Claudia M                              Contingent
          5250 West 53rd Avenue #2                                              Unliquidated
          Arvada, CO 80002                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,310.00
          Jose Santos-Barron Andrade and Luz Jaazi                              Contingent
          660 Meade St.                                                         Unliquidated
          Denver, CO 80219                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Joseph & Connie Cameron                                               Contingent
          9465 Southwest 90th St                                                Unliquidated
          Ocala, FL 34481                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,495.00
          Joseph & Judy Alston                                                  Contingent
          3921 Heritage Trail                                                   Unliquidated
          Wake Forest, NC 27587                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.193
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Joseph & Julie Petagno                                                Contingent
          535 Stirrup Drive                                                     Unliquidated
          Greensburg, PA 15601                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,800.00
          Joseph & Lauren Vincent                                               Contingent
          1506 Horseshoe Drive                                                  Unliquidated
          Raymore, MO 64083                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,268.00
          Joseph & Lois Presti                                                  Contingent
          2503 Brooke Road                                                      Unliquidated
          Pennsburg, PA 18073                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,910.00
          Joseph & Melody Vansuch                                               Contingent
          12642 Willis Lane                                                     Unliquidated
          Santa Ana, CA 92705                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,880.00
          Joseph & Sheryl Miller                                                Contingent
          6818 Hills Drive                                                      Unliquidated
          New Port Richey, FL 34653                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Joseph & Virginia Baranski                                            Contingent
          648 Washington Crossing RD                                            Unliquidated
          New Town, PA 18940                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,795.00
          Joseph (Jody) and Jennifer Pierce                                     Contingent
          309 Tapia Lane                                                        Unliquidated
          Prattville, AL 36067                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.193
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,937.00
          Joseph Adducci                                                        Contingent
          12795 W. 19th Pl.                                                     Unliquidated
          Lakewood, CO 80215                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Joseph Ahearn                                                         Contingent
          P.O box 840                                                           Unliquidated
          Dover Plains, NY 12522                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,008.25
          Joseph and Anna Oh                                                    Contingent
          363 Slocum Way                                                        Unliquidated
          Fort Lee, NJ 07024                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,390.00
          Joseph and Marilyn Zuccarelli                                         Contingent
          114 Lakeview Drive                                                    Unliquidated
          McKees Rocks, PA 15136                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,423.00
          Joseph Costabile                                                      Contingent
          26 Brook Lane                                                         Unliquidated
          Berlin, MA 01503                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Joseph Keogh and Ilene Warner                                         Contingent
          1276 Cressida Ct.                                                     Unliquidated
          LaFayette, CO 80026                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,937.00
          Joseph N and Joan M Cooper                                            Contingent
          5 Debbie Court                                                        Unliquidated
          Poughkeepsie, NY 12601-5829                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.194
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,100.00
          Joseph Taylor and Nola Feltner                                        Contingent
          2342 Montgomery Rd.                                                   Unliquidated
          Auburn, KY 42206                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Joseph Terrazzano                                                     Contingent
          26 Grove St                                                           Unliquidated
          Merrimac, MA 01860                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,279.00
          Joseph&Toni Glasper                                                   Contingent
          5990 Bennett Lawson Rd.                                               Unliquidated
          Mansfield, TX 76063                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,074.00
          Josephine Adeh                                                        Contingent
          6815 Shelby Oaks Drive                                                Unliquidated
          Richmond, TX 77407                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,100.00
          Josephine Tsao and Wolfgang Prestenbach                               Contingent
          673 South Flamingo Court                                              Unliquidated
          Denver, CO 80246                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.194
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Josh and Stacy Gomez                                                  Contingent
          82 Teaverry Place                                                     Unliquidated
          Manchester, NH 03102                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,853.00
          Joshua & Krista Rodriguez/Byrd                                        Contingent
          4131 Maple Grove                                                      Unliquidated
          Morningside, MD 20746                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.195
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Joshua & Terri Wingfield/Carlson                                      Contingent
          190 Kaha Street                                                       Unliquidated
          Kailua, HI 96734                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,336.00
          Joshua and Christina Trevino                                          Contingent
          802 Orin Circle - Apt C                                               Unliquidated
          Bryan, TX 77801                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,500.00
          Joshua and Dorcas Anne Durbin                                         Contingent
          6283 S Miller St                                                      Unliquidated
          Littleton, CO 80127                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,214.00
          Joshua And Rachel Hartline                                            Contingent
          2525 Rhoads Road                                                      Unliquidated
          Gilbertsville, PA 19525                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,650.00
          Joshua Friesner                                                       Contingent
          1602 Linden St                                                        Unliquidated
          Longmont, CO 80501                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Joshua Imlay                                                          Contingent
          150 Dayton St. Apt. C201                                              Unliquidated
          Aurora, CO 80010                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,244.60
          Jovonn & Rolanda Jefferson                                            Contingent
          1263 Pentcross Court SW                                               Unliquidated
          Marrietta, GA 30064                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.195
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,350.00
          Joy & Ralph Wierwille                                                 Contingent
          5920 highland grove drive                                             Unliquidated
          Summerfields, NC 27358                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.195
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Joy And Kingston Yong                                                 Contingent
          13105 Meandering Way                                                  Unliquidated
          Dallas, TX 75240                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Joyce & Karl Homberg                                                  Contingent
          617 Franklin Ave                                                      Unliquidated
          Baltimore, MD 21221                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,267.00
          Joyce and H. Grant Rollins                                            Contingent
          272 Knickerbocker Drive                                               Unliquidated
          Pittsburgh, PA 15235                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,100.00
          Joyce and Lawrence Behl                                               Contingent
          3812 S. Fraser St.                                                    Unliquidated
          Aurora, CO 80011                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,633.00
          Joyce McMahon                                                         Contingent
          10736 Union Dr                                                        Unliquidated
          Port Richey, FL 34668                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,174.00
          Joyce Rankin                                                          Contingent
          112 Laurel Valley Drive                                               Unliquidated
          West Columbia, TX 77486                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.196
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $64,987.07
          Joyce Woodward                                                        Contingent
          2200 Casement Rd                                                      Unliquidated
          Manhatten, KS 66502                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,627.00
          Jozefa And Zenon Aleszczyk                                            Contingent
          15419 Pinto St                                                        Unliquidated
          Homer Glen, IL 60491                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,990.00
          Juan & Diane Alvarado                                                 Contingent
          23433 West Link Way                                                   Unliquidated
          Plainfield, IL 60586                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Juan & Gail Luna                                                      Contingent
          P.O. Box 47808                                                        Unliquidated
          Tampa, FL 47808                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Juan & Sandra Quinonez                                                Contingent
          7859 Pecan Ct.                                                        Unliquidated
          El Paso, TX 79915                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,802.00
          Juan Alvarenga                                                        Contingent
          735 S Harlan ST                                                       Unliquidated
          Lakewood, CO 80226                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,532.00
          Juan and Cynthia De La Rosa                                           Contingent
          4235 54th St Rd                                                       Unliquidated
          Greeley, CO 80634                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.197
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          Juan and Frine Aparicio                                               Contingent
          8934 San Laberto Street                                               Unliquidated
          Houston, TX 77017                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,151.00
          Juan And Olga Limon                                                   Contingent
          54 N. Forrest Ave                                                     Unliquidated
          La Porte, TX 77571                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,000.00
          Juan Carlos and Teresa Ramirez                                        Contingent
          160 Muscovey Ln                                                       Unliquidated
          Johnstown, CO 80534                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,374.88
          Juan Carlos Lopez Ballen and Sandra Mile                              Contingent
          Carrera 70 D 120-21                                                   Unliquidated
          Bogota, Colombia 00011-1121                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,500.00
          Juanita Brock                                                         Contingent
          4043 W 127th street                                                   Unliquidated
          Apt 3                                                                 Disputed
          Aslip, IL 60803
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.197
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,358.00
          Judith & Vernon Pahnke                                                Contingent
          24336 Greenburg Ct                                                    Unliquidated
          Naperville, IL 60564                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,328.00
          Judith and Marvin Schroeder                                           Contingent
          P.O Box 22                                                            Unliquidated
          New Haven, MO 63068-1162                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.197
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,712.00
          Judith and Paul Buckwalter                                            Contingent
          1735 Walnut Ct.                                                       Unliquidated
          Carson City, NV 89703                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,024.09
          Judith Garcia                                                         Contingent
          7007 Brementown NE Rd                                                 Unliquidated
          Tinley Park, IL 60477                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,200.00
          Judith Koutsos                                                        Contingent
          8446 Cessna Dr                                                        Unliquidated
          New Port Richy, FL 34654                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,595.00
          Judith Ray                                                            Contingent
          26160 Summer Greens Drive                                             Unliquidated
          Bonita Springs, FL 34135                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Judy & Larry Lawyer                                                   Contingent
          545 FM 1488                                                           Unliquidated
          Apt 3308                                                              Disputed
          Conroe, TX 77401
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.198
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Judy and Geroge Marlin                                                Contingent
          7428 North West 104th St.                                             Unliquidated
          Oklahoma City, OK 73162                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,149.00
          Judy Butler                                                           Contingent
          47651 Wheeler Dr.                                                     Unliquidated
          Lexington, MD 20653                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.198
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Judy Egli                                                             Contingent
          405 3rd Ave                                                           Unliquidated
          Keremeos, BC, Canada V0X1N2                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,150.00
          Judy Helms                                                            Contingent
          2797 Wellsly Court NW                                                 Unliquidated
          Kennesaw, GA 30144                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,176.00
          Julia Greenhalgh (Gilbert)                                            Contingent
          P.O Box 631                                                           Unliquidated
          Bedford, MA 01730                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Julia McLain                                                          Contingent
          215 Commonwealth Rd                                                   Unliquidated
          Wayland, MA 01778                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,111.00
          Julia Ruddock and Simon Elliott                                       Contingent
          281 Hudson Street Suite 1                                             Unliquidated
          Cornwall-on-Hudson, NY 12520                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,470.00
          Julia Spagnuolo and M. Tchernuhin                                     Contingent
          225 S Harrison St #402                                                Unliquidated
          Denver, CO 80209                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Julian & Therese Gonzales                                             Contingent
          Po Box 5 119 washington ave                                           Unliquidated
          Merino, CO 80741                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.199
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,245.00
          Julian and Rebecca Mangum                                             Contingent
          3809 Bahama Rd                                                        Unliquidated
          Rougemont, NC 27572                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,600.00
          Juliann & Sam Manna                                                   Contingent
          12038 N 46TH Ave                                                      Unliquidated
          Glendale, AZ 85304                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,196.00
          Julie & Jean Mosher/Montwicki                                         Contingent
          465 W. Dominion Dr.                                                   Unliquidated
          Unit 1208                                                             Disputed
          West Dale, IL 60191
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.199
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,410.00
          Julie Deliberto                                                       Contingent
          1235 Hailshaw CT                                                      Unliquidated
          Wheatton, IL 60189                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,450.00
          Julie Glass                                                           Contingent
          615 3rd Ave. SW                                                       Unliquidated
          Great Falls, MT 59404                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Julie Mika Trustee of Byron Scott Jr Tru                              Contingent
          2544 Forest Bluff Drive SE                                            Unliquidated
          Grand Rapids, MI 49546                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.199
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,117.00
          Julius Jr & Jennifer Clebourn                                         Contingent
          5238 Kylie Springs Lane                                               Unliquidated
          Houston, TX 77066                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.200
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Jun Group Productions, LLC                                            Contingent
          P.O. Box 744843                                                       Unliquidated
          Atlanta, GA 30374                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,600.00
          June & David Wood                                                     Contingent
          242 Aston Ln                                                          Unliquidated
          Lexington, SC 29072                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,910.00
          June and Walter Upham                                                 Contingent
          9101 North Ambassador Drive                                           Unliquidated
          Apt 3103                                                              Disputed
          Kansas City, MO 64154
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.200
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          June Hochberg/Pat La Rosa                                             Contingent
          75 East Broadway                                                      Unliquidated
          3B                                                                    Disputed
          Long Beach, NY 11561
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.200
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,400.00
          Justin & Elisabeth Ryan                                               Contingent
          412 Sally Strret                                                      Unliquidated
          Wiggins, CO 80654                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Justin & Rana Schmidt                                                 Contingent
          12827 E. Ash Road                                                     Unliquidated
          Adams, NE 68301                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,536.35
          Justin and Stephanie Sayre                                            Contingent
          10094 Eagle Valley Way                                                Unliquidated
          Highlands Ranch, CO 80129                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.200
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,676.00
          Justin Williams                                                       Contingent
          7573 E Technology Way, #301                                           Unliquidated
          Denver, CO 80237                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kaanipali Beach Vacation Resort                                       Contingent
          104 Ka'anapali Shores Place                                           Unliquidated
          Lahaina Maui, HI 96761                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.200
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          KABB                                                                  Contingent
          4335 NW Loop 410                                                      Unliquidated
          San Antonio, TX 75320                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kahan Villa Vacation Club                                             Contingent
          4242 Lower Honoapiilani Highway Lahaina                               Unliquidated
          Maui, HI 96761                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kahana Beach in Maui                                                  Contingent
          4221 Lower Honoapiilani Highway Lahaina                               Unliquidated
          Maui, HI 96761                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kahana Villa Vacation Club                                            Contingent
          4242 Lower Honoapiilani Highway Lahaina                               Unliquidated
          Maui, HI 96761                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kainan Jeffers                                                        Contingent
          3533 W Alamo Dr                                                       Unliquidated
          Littleton, CO 80123                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.201
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,750.00
          Kamala and Colin Parker                                               Contingent
          4953 W. 4950 S.                                                       Unliquidated
          Hooper, UT 84315                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,788.00
          Kandria James & Matthew Dierolf                                       Contingent
          670 Dori Lane                                                         Unliquidated
          Stowe, PA 19464                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kansas Attorney General Derek Schmidt                                 Contingent
          120 SW 10th Ave, 2nd Floor                                            Unliquidated
          Topeka, KS 66612                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kara Baretich                                                         Contingent
          3902 Smoke Tree Dr.                                                   Unliquidated
          Colorado Springs, CO 80920                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,931.00
          Kara Shreffler Martin                                                 Contingent
          400 Deer Run Way                                                      Unliquidated
          Elizabethtown, KY 42701                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.201
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Karen & Larry Mosel                                                   Contingent
          198 Road West A South                                                 Unliquidated
          Ogallala, NE 69153                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,702.46
          Karen & Monica Naranjo / Mora-Wilson                                  Contingent
          599 W 190 St Apt 47                                                   Unliquidated
          New York, NY 10040                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.202
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,920.00
          Karen and Donnie Cox                                                  Contingent
          6786 Salvia Ct                                                        Unliquidated
          Arvada, CO 80007                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,650.00
          Karen And Richard Criner                                              Contingent
          3352 Berzin Court                                                     Unliquidated
          Katy, TX 77493                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Karen And Robert Akins                                                Contingent
          106 Birch Ave                                                         Unliquidated
          Castle Rock, CO 80104                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Karen and Robert Cheek                                                Contingent
          40 Sweet Hill Road                                                    Unliquidated
          Plaistow, NH 03865                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,545.00
          Karen and Stephen Kelly                                               Contingent
          21811 Wildwood Park Rd                                                Unliquidated
          Richmond, TX 77469                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Karen Belcher                                                         Contingent
          4002 East Decatur Street                                              Unliquidated
          Mesa, AZ 85205                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,000.00
          Karen Eaton-Noel                                                      Contingent
          500 Ranchero Drive Space 186                                          Unliquidated
          San Marcos, CA 92069                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.202
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,230.34
          Karen Goodar                                                          Contingent
          7415 S. Harvard Ave                                                   Unliquidated
          Chicago, IL 60621                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.202
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,200.00
          Karen Goodwin                                                         Contingent
          21 Chadwick Circle                                                    Unliquidated
          Norristown, PA 19403                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,376.00
          Karen Hall                                                            Contingent
          1234 W/ Lafayette Ave.                                                Unliquidated
          Baltimore, MD 21217                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Karen Jackson                                                         Contingent
          264 Flat Rock Dr.                                                     Unliquidated
          Denver, NC 28037                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Karen Kassian                                                         Contingent
          P.O. Box 395                                                          Unliquidated
          Keenesburg, CO 80643                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,892.00
          Karen Rothenbuhler                                                    Contingent
          1337 Mark Drive                                                       Unliquidated
          West Chester, PA 19380                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,336.18
          Karen Williams                                                        Contingent
          8737 Dogleg Road                                                      Unliquidated
          Sherrills Ford, NC 28673                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.203
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Kari Elizalde                                                         Contingent
          8437 E. 148th Way                                                     Unliquidated
          Thornton, CO 80602                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Karin and John Davidson                                               Contingent
          41942 London Dr                                                       Unliquidated
          Parker, CO 80138                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Karina Y. Gil/Sonny J. Poehls                                         Contingent
          610 N. Locust Drive                                                   Unliquidated
          Fresno, TX 77545                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,158.00
          Karl & Amy Locke                                                      Contingent
          2347 Daisy Lane                                                       Unliquidated
          Golden, CO 80401                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.203
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,600.00
          Karl & Kayla Zummallen                                                Contingent
          18315 Amalfi Coast Dr                                                 Unliquidated
          Cypruss, TX 77433                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,535.50
          Karl & Leslie Bunker                                                  Contingent
          153 Twin Oaks Circle                                                  Unliquidated
          Chula Vista, CA 91910                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,295.00
          Karl and Maria Belza                                                  Contingent
          7424 Birchshire                                                       Unliquidated
          Raleigh, NC 27616                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.204
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,970.00
          Karla & Francisco Saavedra (SPO)                                      Contingent
          5505 Tuxbury Pond Drive                                               Unliquidated
          Fort Worth, TX 76179                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,994.52
          Kasey Mikolajczyk and Ryan Garcia                                     Contingent
          116 Hickory St.                                                       Unliquidated
          Lake Jackson, TX 77566                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,363.00
          Kassi and Nick Bertogli                                               Contingent
          832 Clyde Circle                                                      Unliquidated
          Cheyenne, WY 82001                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,676.07
          Katawna & Andrew Holmes/Lincoln                                       Contingent
          1364 Zanna Grace Way                                                  Unliquidated
          Haslet, TX 76052                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,820.00
          Katharine Mahoney                                                     Contingent
          4145 Pecos St                                                         Unliquidated
          Denver, CO 80211                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,600.00
          Katherine & Juan Lozada                                               Contingent
          405 E Crest Ave                                                       Unliquidated
          Bensenville, IL 60106                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Katherine & Thomas Henson                                             Contingent
          825 Lanewood Pl                                                       Unliquidated
          Escondido, CA 92026                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.204
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,258.24
          Katherine (Ann) Toppin                                                Contingent
          148 Silver Mine Trail                                                 Unliquidated
          Auftell, GA 30168                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,900.00
          Katherine Algimer & Julius Gallishaw                                  Contingent
          743 Sparrow Lane                                                      Unliquidated
          Langhorne, PA 19407                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Katherine Bell Conway/Jennifer Applewhit                              Contingent
          599 West edgewater terrace                                            Unliquidated
          New Braunfels, TX 78130                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Katherine Craig                                                       Contingent
          4774 S Duquesne St                                                    Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Katherine Moser                                                       Contingent
          991 TIMBERVALE Trail                                                  Unliquidated
          Highlands Ranch, CO 80129                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,700.00
          Katherine Wickens                                                     Contingent
          2025 North Gibson Point                                               Unliquidated
          Hernando, FL 34442                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,673.00
          Kathleen & Christine Carroll                                          Contingent
          170 Louise Drive                                                      Unliquidated
          Mooresville, NC 28115                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.205
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,996.00
          Kathleen & Frank Gormley/Cofolelli                                    Contingent
          2806 North Mondrian Lane                                              Unliquidated
          Middletown, DE 19709                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,664.51
          Kathleen & Larry Bice                                                 Contingent
          1809 Highway 130 West                                                 Unliquidated
          Shelbyville, TN 37160                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,393.11
          Kathleen And Alan Smith                                               Contingent
          382 Long Pond Drive                                                   Unliquidated
          PO Box 844                                                            Disputed
          Harwich, MA 02645
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.205
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,950.00
          Kathleen and Karl Weinberg                                            Contingent
          3007 Covered Ridge Way                                                Unliquidated
          Joliet, IL 60435                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,117.00
          Kathleen and Robert Humiston                                          Contingent
          438 Creston Ave                                                       Unliquidated
          Kalamazoo, MI 49001                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,319.96
          Kathleen Dzon                                                         Contingent
          659 Woodcrest Drive                                                   Unliquidated
          Pittsburgh, PA 15205                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $39,018.00
          Kathleen Gibboney                                                     Contingent
          13 Evergreen Circle                                                   Unliquidated
          Cincinatti, OH 45215                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.206
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,500.00
          Kathleen Jones, Stephanie Ali and Brittn                              Contingent
          8470 Limekiln Pike Apt 1123-2                                         Unliquidated
          Wyncote, PA 19095                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,202.30
          Kathleen McKeever                                                     Contingent
          322 White Oaks Rd.                                                    Unliquidated
          Fontana, WI 53125                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,500.00
          Kathleen Odermatt                                                     Contingent
          3410 Winding Lake Way                                                 Unliquidated
          Kady, TX 77450                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,255.00
          Kathleen Rodolph                                                      Contingent
          19215 W. Thomas Rd.                                                   Unliquidated
          Utchfield Park, AZ 85340                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Kathleen Timme                                                        Contingent
          4158 Forever Circle                                                   Unliquidated
          Castle Rock, CO 80109                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,000.00
          Kathrine Allen                                                        Contingent
          515 S 200 E                                                           Unliquidated
          Kaysville, UT 84037                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,054.70
          Kathryn and Forbes Adams                                              Contingent
          648 Newport Drive                                                     Unliquidated
          Pittsburgh, PA 15235                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.207
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,645.00
          Kathryn Parrett                                                       Contingent
          7768 S Waverly Mountain                                               Unliquidated
          Littleton, CO 80127                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,170.00
          Kathy & Leslie Fuller                                                 Contingent
          220 Bohland Ave                                                       Unliquidated
          Bellwood, IL 60104                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Kathy and Darell Strait                                               Contingent
          202 NE Leann                                                          Unliquidated
          Blue Springs, Mo 64014                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,450.00
          Kathy Cargile POA for Anna Ward                                       Contingent
          11700 Benwick Dr                                                      Unliquidated
          Frisco, TX 75035                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,206.69
          Kathy Moore                                                           Contingent
          3553 Baxter Street                                                    Unliquidated
          Jacksonville, FL 32222                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Kathy Prather                                                         Contingent
          6032 Yeary Street                                                     Unliquidated
          Fort Worth, TX 76135                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,696.00
          Kathy Pullara                                                         Contingent
          490 Corte Amino                                                       Unliquidated
          Fountain, CO 80817                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.207
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Kathy Schulteti                                                       Contingent
          2735 Chamberlin Drive                                                 Unliquidated
          Indianapolis, IN 46227                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Kaven And Elizabeth DeShane                                           Contingent
          100 Tempe Drive                                                       Unliquidated
          Granite Shoals, TX 78654                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Kavita & Rupal Patel                                                  Contingent
          2502 Sara Ridge Lane                                                  Unliquidated
          Katy, TX 77450                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kay Goalder                                                           Contingent
          (720) 206-8357 or treesofcolor@yahoo.com                              Unliquidated
           CO                                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,346.00
          Kayatana (Kay) & Norbert (Bert) Jr. Thom                              Contingent
          2802 Delmar Blvd.                                                     Unliquidated
          St. Louis, MO 63103                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Kaye Coddington                                                       Contingent
          10035 133rd St North                                                  Unliquidated
          Seminole, FL 33776                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,639.00
          Kayla Phillips                                                        Contingent
          2450 6th St. South                                                    Unliquidated
          Wisconsin Rapids, WI 54494                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.208
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          KBJD - AM                                                             Contingent
          3131 S Vaughn Way #601                                                Unliquidated
          Aurora, CO 80014                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          KCNC                                                                  Contingent
          1044 Lincoln                                                          Unliquidated
          Denver, CO 80203                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          KCTV5                                                                 Contingent
          21241 Network Place                                                   Unliquidated
          Chicago, IL 60673-1212                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,619.64
          KDKA-TV / WPCW PITTSBURGH                                             Contingent
          420 Fort Duquesne Blvd Suite 100                                      Unliquidated
          Pittsburgh, PA 15222                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1168
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Keap - Infusionsoft                                                   Contingent
          1260 S Spectrum Blvd                                                  Unliquidated
          Chandler, AZ 85286                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.208
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,150.00
          Kecia Sherman                                                         Contingent
          2115 Oak Hill DR.                                                     Unliquidated
          Valrico, FL 33594                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,207.00
          Keela And Lawann McDonald                                             Contingent
          19422 Climbing Oaks Dr                                                Unliquidated
          Kingwood, Tx 77346                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.209
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,151.00
          Keith & Tracy Hunter                                                  Contingent
          1850 Red Cloud Road                                                   Unliquidated
          Longmont, CO 80504                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,445.00
          Keith and Marylee Liptock                                             Contingent
          349 Kaercher St                                                       Unliquidated
          Pittsburgh, PA 15207                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,376.00
          Keith And Tondalaya McMillan                                          Contingent
          293 Balmoral St.                                                      Unliquidated
          Clayton, NC 27520                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,907.00
          Keith Olivetti and Regina Truelove                                    Contingent
          6825 S Langdale st                                                    Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,367.00
          Keith Pritchett                                                       Contingent
          6307 Caminito Del Pastel                                              Unliquidated
          San Diego, CA 92111                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,052.00
          Kelley & Michael Woodard                                              Contingent
          19374 South Hwy 95                                                    Unliquidated
          Coeur d'alene, ID 83814                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,283.00
          Kelley Beavers-Davis                                                  Contingent
          629 Sinclair Ridge                                                    Unliquidated
          Rowlesburg, WV 26425                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.209
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,450.00
          Kelli Lanphere                                                        Contingent
          11382 West Hampden Place                                              Unliquidated
          Lakewood, CO 80227                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.209
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,710.00
          Kelly And Bradley Thompson                                            Contingent
          7003 Smithfield Road                                                  Unliquidated
          North Richland Hills, TX 76182                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Kelly Angevine and Sheila Falco                                       Contingent
          15 Iris Lane                                                          Unliquidated
          Londonderry, NH 03053                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,410.00
          Kelly Thornton                                                        Contingent
          796 Loma Linda Dr                                                     Unliquidated
          Brighton, CO 80601                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,950.00
          Kelvin Goon/Judith Voss                                               Contingent
          13718 Matanzas Pl                                                     Unliquidated
          Lakewood Ranch, FL 34202                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,961.50
          Ken & Connie Hall                                                     Contingent
          11060 W Parker Range Road                                             Unliquidated
          Littleton, CO 80127                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,088.00
          Ken & Louise Kirkland                                                 Contingent
          13302 W. Paintbrush Dr.                                               Unliquidated
          Sun City West, AZ 85375                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.210
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Ken and Barbara Nichols                                               Contingent
          503 Rywood Ct                                                         Unliquidated
          Cranberry 'Twp, PA 16066                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,418.75
          Ken And Camille Bonanno                                               Contingent
          6 Taft Road                                                           Unliquidated
          Wilmington, MA 01887                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Ken and Helen Shiflet                                                 Contingent
          2110 62nd Ave Ct.                                                     Unliquidated
          Greeley, CO 80634                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,525.00
          Kendra and Garrett Haag                                               Contingent
          2830 W 26th Ave #112                                                  Unliquidated
          Denver, CI 80211                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,200.00
          Kenneth & Carolyn Curry                                               Contingent
          1045 Alkire Street                                                    Unliquidated
          Golden, CO 80401                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,427.42
          Kenneth & Kathleen Marino                                             Contingent
          430 Sand Hill Street                                                  Unliquidated
          Marco Island, FL 34145                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,968.00
          Kenneth & Lynn Dander                                                 Contingent
          13976 Derby Line Road                                                 Unliquidated
          Genoa, IL 60135-7905                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.211
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,941.11
          Kenneth & Marilyn McClay                                              Contingent
          5019 West Hidden Valley Drive                                         Unliquidated
          Savage, MN 55378-2010                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          Kenneth & Patty Butts                                                 Contingent
          PO Box 600                                                            Unliquidated
          Anderson, TX 77830                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,719.00
          Kenneth & Yalonda Robinson                                            Contingent
          1208 E. 36th Place                                                    Unliquidated
          Gary, IN 46409                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,495.00
          Kenneth and Carol Rogers                                              Contingent
          P.O. Box 329                                                          Unliquidated
          Sabinal, TX 78881                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Kenneth And Charlene Green                                            Contingent
          19817 N. 90th Ave.                                                    Unliquidated
          Peoria, AZ 85382                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,058.00
          Kenneth and Tammy LeBlanc                                             Contingent
          10952 W 104th Pl                                                      Unliquidated
          Broomfield, CO 80021                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,392.00
          Kenneth Barnett                                                       Contingent
          3780 E 72nd Ave                                                       Unliquidated
          Anchorage, AK 99507                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.211
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,686.00
          Kenneth Coppola and Constance Cole                                    Contingent
          35109 Highway 79 SPC 201                                              Unliquidated
          Warner Spgs, CA 92086                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Kenny & Ernest Godina                                                 Contingent
          4551 Upham St                                                         Unliquidated
          Wheat Ridge, CO 80033                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,920.00
          Kenny & Katelyn Ponitz/Combs                                          Contingent
          3033 Ryan Place Dr                                                    Unliquidated
          Fort Worth, TX 76110                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,800.00
          Kent and Linda Peterson                                               Contingent
          21644 Swale Ave                                                       Unliquidated
          Parker, CO 80138                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kent Burns                                                            Contingent
          821 17th Street, Suite 500                                            Unliquidated
          Denver, CO 80202                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Kenton And Nicole Stobbe                                              Contingent
          1118 North Redbud Drive                                               Unliquidated
          Loveland, CO 80538                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kentucky Attorney General                                             Contingent
          700 Capital Avenue, Suite 118                                         Unliquidated
          Frankfort, KY 40601                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.212
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,920.00
          Kenya Johnson and Arkeem Matthews                                     Contingent
          7173 Marbury Court                                                    Unliquidated
          District Heights, MD 20747                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,846.00
          Kevin & Cheryl Dooley                                                 Contingent
          5945 S Fairfax Ct                                                     Unliquidated
          Centennial, CO 80121                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Kevin & Ines Johnson                                                  Contingent
          529 Skyline Dr                                                        Unliquidated
          Rostraver Township, PA 15012                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,533.00
          Kevin & Nancy O'Brien                                                 Contingent
          10225 W Mission Lane                                                  Unliquidated
          Sun City, AZ 85351                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,557.00
          Kevin & Peggy Sierzputowski                                           Contingent
          426 Joe Martin Rd.                                                    Unliquidated
          Lowell, IN 46356                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,374.00
          Kevin & Ruth Miller                                                   Contingent
          2413 Wilford Dr.                                                      Unliquidated
          Nashville, TN 37214                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,617.75
          Kevin A. Koestner                                                     Contingent
          P.O. BOX 56                                                           Unliquidated
          ELIZABETH, CO 80107                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.213
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Kevin And Carol Zenk                                                  Contingent
          10262 Lavonne Drive                                                   Unliquidated
          North Huntington, PA 15642                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,300.00
          Kevin and Susan Walker                                                Contingent
          295 E 1050 N                                                          Unliquidated
          Chesterton, IN 46304                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,957.00
          Kevin and Terri Hart                                                  Contingent
          1201 109th Lane NW                                                    Unliquidated
          Coon Rapids, MN 55449                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,328.00
          Kevin Arnold                                                          Contingent
          525 Lakeview Estates Drive                                            Unliquidated
          Hueytown, AL 35023                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,012.00
          Kevin Pettiette                                                       Contingent
          15420 N 67th Ave                                                      Unliquidated
          Glendale, AZ 85306                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,295.00
          Kevin Ramp                                                            Contingent
          172 Brandon Ct                                                        Unliquidated
          Bolingbrook, IL 60440                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          KFMB                                                                  Contingent
          7677 Engineer Rd                                                      Unliquidated
          San Diego, CA 92111                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.214
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,155.40
          KGTV                                                                  Contingent
          P.O. Box 844521                                                       Unliquidated
          Los Angeles, CA 90084                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3816
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,150.90
          Khang Xiong                                                           Contingent
          11750 Sherman St                                                      Unliquidated
          Northglenn, CO 80233                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          KHOU                                                                  Contingent
          11 News 5718 Westheimer Rd                                            Unliquidated
          Houston, TX 77057                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          KHOW/KOA                                                              Contingent
          4695 S Monaco St                                                      Unliquidated
          Denver, CO 80237                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Kile & Ashley Dillard/Alleman                                         Contingent
          8819 W 3rd Ave                                                        Unliquidated
          Kennewick, WA 99336                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Kim and Kimberly Hackbardt                                            Contingent
          9311 104th Street                                                     Unliquidated
          Howard City, MI 49329                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Kim And Robert Christoph                                              Contingent
          5342 Sagamore Ct                                                      Unliquidated
          New Port Richey, FL 34655                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.214
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Kim Palomino                                                          Contingent
          222 W Northcastle Circle                                              Unliquidated
          The Woodlands, TX 77384                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,100.00
          Kimarka Young- Scott                                                  Contingent
          3017 Oak Green Circle Apt F                                           Unliquidated
          Ellicott City, MA 21043                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.214
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Kimbereleye and Gerald Wells                                          Contingent
          6703 Morning Glory Trace                                              Unliquidated
          Richmond, TX 77407                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,100.00
          Kimberlee & Jeff Tiba/ Richardson                                     Contingent
          2700 Haven Ct                                                         Unliquidated
          Evans, CO 80620                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $23,934.00
          Kimberley, Robert, Garrett & Jennifer Ta                              Contingent
          84 Riverside Drive                                                    Unliquidated
          Bay City, TX 77414                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,957.75
          Kimberly & Jason Dobson                                               Contingent
          781 Deverson Drive                                                    Unliquidated
          Rockwall, TX 75087                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Kimberly Allen                                                        Contingent
          6726 Catarina Cir                                                     Unliquidated
          Houston, TX 77084                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.215
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,219.00
          Kimberly and Santino Salyards                                         Contingent
          4220 Forbes Dr                                                        Unliquidated
          Plano, TX 75093                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,673.00
          Kimberly and Scott Nadeau                                             Contingent
          12 1/2 Daniels Street Apt 2                                           Unliquidated
          Salem, MA 01970                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kimberly and Scott Nadeau                                             Contingent
          12 1/2 Daniels Street Apt 2                                           Unliquidated
          Salem, MA 01970                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,796.00
          Kimberly and Steven Vann                                              Contingent
          2363 South Sedalia Circle                                             Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,524.00
          Kimberly And Virginia Glaize/Findlay                                  Contingent
          4714 Country Club View                                                Unliquidated
          Baytown, TX 77521                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.215
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,938.00
          Kimberly and William Russell                                          Contingent
          409 Mason Creek Dr.                                                   Unliquidated
          Lake Saint Louis, MO 63367                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,876.00
          Kimberly Frans                                                        Contingent
          6503 E. Rosebay St.                                                   Unliquidated
          Long Beach, CA 90808                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.216
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,200.00
          Kimberlyn And Toni Rivers                                             Contingent
          817 Springfield Road                                                  Unliquidated
          Clifton Heights, PA 19018                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          King's Creek Plantation                                               Contingent
          191 Cottage Cove Lane                                                 Unliquidated
          Williamsburg, VA 23185                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kings Gate                                                            Contingent
          619 Georgetown Crescent                                               Unliquidated
          Williamsburg, VA 23185                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kingsbury Crossing                                                    Contingent
          133 Deer Run Court                                                    Unliquidated
          Stateline, NV 89449                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,382.50
          Kirk And Sandra Long                                                  Contingent
          1504 Corinth Circle                                                   Unliquidated
          Lafeyette, CO 80026                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,100.00
          Kirk Iverson                                                          Contingent
          9014 Pinewood Drive                                                   Unliquidated
          Dallas, TX 75243                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,057.00
          Kirt & Connie Barker                                                  Contingent
          2515 Indian Hills Drive                                               Unliquidated
          Loveland, CO 80538                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.216
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,985.00
          KMOV Digital                                                          Contingent
          27410 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7331
                                                                             Is the claim subject to offset?     No       Yes

 3.216
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          KMOV-TV                                                               Contingent
          1 S Memorial Dr                                                       Unliquidated
          Saint Louis, MO 63102                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,668.23
          KNXV-TV and KASW-TV Lisa Feldman                                      Contingent
          515 N 44th St                                                         Unliquidated
          Phoenix, AZ 85008                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7803
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,918.68
          Koi & Kimberly Woods                                                  Contingent
          557 Small Cedar Drive                                                 Unliquidated
          League City, TX 77573                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kona Islander                                                         Contingent
          75-5776 Kuakini Highway Kailua                                        Unliquidated
          Kailua, HI 96740                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Kona Resort                                                           Contingent
          75-5852 Alii Drive                                                    Unliquidated
          Kailua-Kona, Island of Hawaii HI 96740                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $38,153.26
          KPRC and KSAT                                                         Contingent
          P O Box 934721                                                        Unliquidated
          Atlanta, GA KPRC TTT 576585-2 KP                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9126
                                                                             Is the claim subject to offset?     No       Yes




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 3.217
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          KPRC Local 2                                                          Contingent
          8181 Southwest Fwy                                                    Unliquidated
          Houston, TX 77074                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,284.00
          Krista And Michael Ondish                                             Contingent
          707 Meadow Lane                                                       Unliquidated
          PO Box 346                                                            Disputed
          Madison, PA 15663
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.217
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,058.25
          Kristi & Bruce Benningsdorf                                           Contingent
          1466 Folsum Drive                                                     Unliquidated
          Windsor, CO 80550                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,518.00
          Kristi & Thomas Payne                                                 Contingent
          1326 Elkins Hollow Lane                                               Unliquidated
          League City, TX 77573                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.217
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,473.60
          Kristin & Scott Schaefer                                              Contingent
          203 Somerset Ct                                                       Unliquidated
          New Lenox, IL 60451                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,800.00
          Kristina and Shawn Martin                                             Contingent
          2254 West Fair Avenue                                                 Unliquidated
          Lancaster, OH 43130                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,145.00
          Kristopher & Cami Dickson                                             Contingent
          1107 North Cynthia Court                                              Unliquidated
          Ridgecrest, CA 92555                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.218
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          krystal international vacation club                                   Contingent
          #2456) Avenida de Las Garzas Puerto Vall                              Unliquidated
          Jalisco 48300 Mexico                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Krystal Notter                                                        Contingent
          103 Hickory Street                                                    Unliquidated
          Roswell, GA 30075                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          KSE Radio                                                             Contingent
          720 S. Colorado Blvd. Suite 1200 N                                    Unliquidated
          Denver, CO 80246                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          KSHB-TV                                                               Contingent
          PO BOX 204224                                                         Unliquidated
          Dallas, TX 75320-4224                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          KTAR                                                                  Contingent
          16th Street, Suite 200                                                Unliquidated
          Phoenix, AZ 85020                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          KTRK                                                                  Contingent
          3310 Bissonnet St.                                                    Unliquidated
          Houston, TX 77005                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          KTVK                                                                  Contingent
          5555 N 7th Ave                                                        Unliquidated
          Phoenix, AZ 85013                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.218
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          KTVT                                                                  Contingent
          5233 Bridge St                                                        Unliquidated
          Fort Wort, TX 76103                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $122,271.81
          KUSA-TV/KTVD                                                          Contingent
          PO BOX: 637386                                                        Unliquidated
          Cincinnati, OH 45263                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       635A
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,875.00
          KUSI News 9 San Diego                                                 Contingent
          PO Box 719051                                                         Unliquidated
          San Diego, CA 92171                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6481
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,875.00
          KUSI San Diego                                                        Contingent
          P.O. Box 719051                                                       Unliquidated
          San Diego, CA 92171                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6481
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          KWGN-TV                                                               Contingent
          PO BOX 59743                                                          Unliquidated
          Los Angeles, CA 90074                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,622.00
          Kya Sanders                                                           Contingent
          908 Thornbriar Ct                                                     Unliquidated
          Hampton, VA 23661                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,100.00
          Kyle & Kathryn Coulthart                                              Contingent
          6814 Regents Village Way                                              Unliquidated
          Apollo Beach, FL 33572                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.219
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,095.00
          Kyle & Katie Paukert                                                  Contingent
          6700 E. 134th Cir                                                     Unliquidated
          Thornton, CO 80602                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,328.00
          Kyle & Lisa Segar                                                     Contingent
          3063 Riley Ridge Rd.                                                  Unliquidated
          Holland, MI 49424                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,957.00
          Kyle And Adina Biddinger                                              Contingent
          18035 Dog Leg Road                                                    Unliquidated
          Marysville, OH 43040                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.219
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          La Casta Beach Club                                                   Contingent
          1504 N Ocean Blvd                                                     Unliquidated
          Pompano Beach, FL 33062                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          La Quinta                                                             Contingent
          49-499 Eisenhower Drive                                               Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          La Semana Adventures                                                  Contingent
          1400 West Brigantine Avenue.                                          Unliquidated
          Brigantine, NJ 08203                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,842.00
          Lacey And Corey Newman                                                Contingent
          9388 Warbler Ave                                                      Unliquidated
          Fountain Valley, CA 92708                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.220
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          LaCosta Beach Club Contract                                           Contingent
          1504 North Ocean Boulevard                                            Unliquidated
          Pompano Beach, FL 33062                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,510.60
          LaCrisha And Christopher Lorenzoni                                    Contingent
          106 Porter Street                                                     Unliquidated
          Newcumberland, WV 26047                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          LaJoyce & Daniel Clark                                                Contingent
          445 Berkshire Ave                                                     Unliquidated
          Romeoville, IL 60446                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Lake Tahoe                                                            Contingent
          3368 Lake Tahoe Boulevard                                             Unliquidated
          Ste 103 South Lake Tahoe, CA 96150                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Lake View - Texas                                                     Contingent
          5128 FM 66                                                            Unliquidated
          Waxahachie, TX 75167                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          LaKesha & Melissa Russ                                                Contingent
          10253 South 1st Ave                                                   Unliquidated
          Inglewood, CA 90303                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.220
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Lakeside Terrace Avon CO (Vistana)                                    Contingent
          173 Lake Street                                                       Unliquidated
          Avon, CO 81620                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.221
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Lakeview                                                              Contingent
          One Lakeview Drive                                                    Unliquidated
          Morgantown, WV 26508                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,386.00
          Lamar & Aletha Davis                                                  Contingent
          1826 S Indiana Ave unit E                                             Unliquidated
          Chicago, IL 60616                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,443.00
          Lamberto and Ana Laura Perez                                          Contingent
          8226 Poplar Way Apt #R203                                             Unliquidated
          Englewood, CO 80112                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Land O' Lakes                                                         Contingent
          4001 Lexington Ave N                                                  Unliquidated
          Arden Hills, MN 55126                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Landing at 7 Coves                                                    Contingent
          7031 Kingston Cove Ln.                                                Unliquidated
          Willis, TX 77318                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Landmark Holiday Beach Resort                                         Contingent
          17501 Front Beach Road                                                Unliquidated
          Florida, FL 32413                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Lando Resorts Corporation                                             Contingent
          3015 N Ocean Boulevard # 121                                          Unliquidated
          Fort Lauderdale, FL 33308                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.221
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,245.00
          Lane & Lori McKinney                                                  Contingent
          17043 El Camino Real Blvd                                             Unliquidated
          Suite 101                                                             Disputed
          Houson, TX 77058
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.221
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Lanphier Accounting                                                   Contingent
          621 17th St UNIT 2400                                                 Unliquidated
          Denver, CO 80202                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.221
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,300.00
          Larry & Audrey Powell                                                 Contingent
          16507 Smooth Pine Lane                                                Unliquidated
          Sugar Land, TX 77498                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,394.65
          Larry & Catherine Glovka                                              Contingent
          100 Kirk Place                                                        Unliquidated
          Owatonna, MN 55060                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Larry & Debbie Campbell                                               Contingent
          14 Rambling Wood Court                                                Unliquidated
          The Woodlands, TX 77380                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,534.00
          Larry & Glenda Keeney                                                 Contingent
          4844 Danielle Ct                                                      Unliquidated
          Granite City, IL 62040                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Larry & Joyce Pasquale                                                Contingent
          103 Cypress Grove Lane                                                Unliquidated
          Ormond Beach, FL 32174                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.222
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,250.00
          Larry & Joyce Russell                                                 Contingent
          1010 Oakdale Drive                                                    Unliquidated
          Anderson, IN 46011                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,043.00
          Larry & Kim Enomoto                                                   Contingent
          1717 Timber Pass                                                      Unliquidated
          Knoxville, TN 37909                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,250.00
          Larry & Patricia Morgan                                               Contingent
          2913 corriente way                                                    Unliquidated
          Lincoln, CA 95648                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,580.00
          Larry & Patricia Rexrode                                              Contingent
          16954 Elsinore Road                                                   Unliquidated
          Jacksonville, FL 32226                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,100.00
          Larry & Ronda Meuren                                                  Contingent
          1815 7th St                                                           Unliquidated
          Greeley, CO 80631                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.222
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Larry & Vicky Hand                                                    Contingent
          4784 South Cathay Court                                               Unliquidated
          Aurora, CO 80015                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,271.00
          Larry and Deanna Southwick                                            Contingent
          9573 N Avenida Obregon                                                Unliquidated
          Kingman, AZ 86409                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.223
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,170.00
          Larry and Mary Brown                                                  Contingent
          23805 E Grand Place                                                   Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Larry and Ofelia Morales                                              Contingent
          13341 Briarwood Drive                                                 Unliquidated
          Broomfield, CO 80020                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,845.00
          Larry And Virginia Hoffman                                            Contingent
          1339 Sandstone Drive                                                  Unliquidated
          McDonald, PA 15057                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Larry Feierstein                                                      Contingent
          9019 E Panorama Cir                                                   Unliquidated
          Englewood, CO 80112                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Larry Hipkins                                                         Contingent
          4651 Nottoway Dr                                                      Unliquidated
          Leesburg, FL 34748                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Larry Richardson                                                      Contingent
          7930 25th Ave North                                                   Unliquidated
          St. Petersburg, FL 33710                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          LAS vegas - GrandView                                                 Contingent
          9940 Las Vegas Boulevard South                                        Unliquidated
          Las Vegas, NV 89183                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.223
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Lasamana                                                              Contingent
          PO Box 4077                                                           Unliquidated
          97064 St Martin, CEDEX French West Indie                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.223
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,376.00
          LaShanda Elaine and Robert Henderson                                  Contingent
          623 Kisner Dr                                                         Unliquidated
          Independence, MI 64056                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,151.43
          LaShawn and Christopher Johnson                                       Contingent
          3518 Swordfern Place                                                  Unliquidated
          Katy, TX 77449                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,376.00
          Latasha and Cedrick McClellan                                         Contingent
          4671 Sherman Hills Parkway                                            Unliquidated
          Jacksonville, FL 32210                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          LaTour Resort                                                         Contingent
          One Vance Gap Road                                                    Unliquidated
          Asheville, NC 28805                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,245.96
          Latoya (Alfreda) & Curtis Jones                                       Contingent
          1678 Rifle Way SW                                                     Unliquidated
          Marietta, GA 30064                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,425.00
          Laura and Joseph Tardiff                                              Contingent
          6319 Hamman St                                                        Unliquidated
          Houston, TX 77007                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.224
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,424.00
          Laura Davoli                                                          Contingent
          10380 West 107 Circle                                                 Unliquidated
          Westminster, CO 80021                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,500.00
          Laura Lowe                                                            Contingent
          7116 cox pike                                                         Unliquidated
          Fairview, TN 37062                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Laura McKnight                                                        Contingent
          10140 Jill Avenue                                                     Unliquidated
          Highlands Ranch, CO 80130                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,938.37
          Laura Oja                                                             Contingent
          1909 16th Lane NE                                                     Unliquidated
          Issaquah, WA 98029-7330                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.224
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,243.76
          Laura Thompson                                                        Contingent
          16130 Pipers View Dr                                                  Unliquidated
          Webster, TX 77598                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Laura Whitmore                                                        Contingent
          1701 19th Ave.                                                        Unliquidated
          Greeley, CO 80631                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Laurel                                                                Contingent
          81 Treetops Circle                                                    Unliquidated
          White Haven, PA 18661                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.225
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,920.00
          Lauren & Michael Campbell/Wade                                        Contingent
          4817 Heritage Heights Circle                                          Unliquidated
          Hazelwood, MO 63042                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,265.00
          Lauren & Slava Landwehr/Stampher                                      Contingent
          1271 North Stratton Avenue                                            Unliquidated
          Castle Rock, CO 80104                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,500.00
          Laurie Arnold                                                         Contingent
          6421 S Dallas Ct                                                      Unliquidated
          Englewood, CO 80111                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,930.00
          Lavelle Kirby and Sharon Carison                                      Contingent
          10200 Melody Dr                                                       Unliquidated
          Northglenn, CO 80260                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Laverne & Gwendolyn Conaway/Jones                                     Contingent
          4601 Brookfield Drive                                                 Unliquidated
          Suitland, MD 20746                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,533.20
          Laverne & Peggy Gehman                                                Contingent
          1411 Oceania Ave South                                                Unliquidated
          Naples, FL 34113                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.225
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,405.79
          Lavette and Kevin Fargo                                               Contingent
          3543 Willow Street                                                    Unliquidated
          Flossmoor, IL 60422                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.225
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,700.00
          Lavonne Mahoney                                                       Contingent
          5465 W. Princeton Drive                                               Unliquidated
          Denver, CO 80235                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $70.00
          Law Offices of Julia Knearl                                           Contingent
          945 Front St.                                                         Unliquidated
          Louisville, CO 80027                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3174
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,133.30
          Lawrence & Charlotte A. Morse                                         Contingent
          105 Old Farm Road                                                     Unliquidated
          Whitehouse Station, NJ 08889                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Lawrence & Judith Heckmann                                            Contingent
          4205 Oceanwood Street                                                 Unliquidated
          Bakersfield, CA 93309                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,170.00
          Lawrence & Martha Torline                                             Contingent
          9525 W 66th Ave                                                       Unliquidated
          Arvada, CO 80004                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,945.00
          Lawrence (Larry) and Kathleen (Kathy) K                               Contingent
          113 19th Ave                                                          Unliquidated
          Munhall, PA 15120                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,552.00
          Lawrence and Gaetane Bergman                                          Contingent
          24619 S. Golfview DR.                                                 Unliquidated
          Sun Lakes, AZ 85248                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.226
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,250.00
          Lawrence and Margretta Perry                                          Contingent
          4748 Raven Run                                                        Unliquidated
          Broomfield, CO 80023                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $32,976.00
          Lawrence and Patricia Spitler                                         Contingent
          1103 J Street                                                         Unliquidated
          Barling, AR 72923                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Lawrence Anthony Macro                                                Contingent
          10685 W. Sundance Mountain                                            Unliquidated
          Littleton, CO 80127                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.226
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Lawrence Welk Resort                                                  Contingent
          8860 Lawrence Welk Drive                                              Unliquidated
          Escondido, CA 92026                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Leah Vanarsdall                                                       Contingent
          4672 West 20th Street Road                                            Unliquidated
          Unit 523                                                              Disputed
          Greeley, CO 80634
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.227
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Leana And Gregory Flowers/Wilson                                      Contingent
          4006 S. King Dr.                                                      Unliquidated
          Chicago, IL 60653                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Leanne Walker                                                         Contingent
          3545 Di Leuca Street                                                  Unliquidated
          Punta Gorda, FL 33950                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.227
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,481.00
          Lee & Marsha Wallace                                                  Contingent
          5840 N 46th Pl                                                        Unliquidated
          Phoenix, AZ 85018                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Lee & Molly Jean Walker                                               Contingent
          509 Love Circle                                                       Unliquidated
          Corsicana, TX 75110                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Lee & Nancy Hemink                                                    Contingent
          104 Fairview Court                                                    Unliquidated
          Chocowinity, NC 27817                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Legacy Vacations                                                      Contingent
          98 Palm Coast Resort Blvd                                             Unliquidated
          Palm Coast, FL 32137                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Lehigh Resort Club                                                    Contingent
          231 Joel Boulevard                                                    Unliquidated
          Lehigh Acres, FL 33936                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $41,819.14
          Leighland Gutierrez                                                   Contingent
          78 Sun Up Circle                                                      Unliquidated
          Erie, CO 80516                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.227
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,391.00
          Lenora & Vincent Catchings                                            Contingent
          1135 W. 87th St                                                       Unliquidated
          Chicago, IL 60620                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.228
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,008.00
          Lenore Waters                                                         Contingent
          3442 N Kolmar Ave                                                     Unliquidated
          Chicago, IL 60641                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,610.00
          Leo And Janet Johnson                                                 Contingent
          1718 Marys Lake Rd                                                    Unliquidated
          Estes Park, CO 80517                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,117.00
          Leo and Karen Collins                                                 Contingent
          6130 Wakulla Springs Rd                                               Unliquidated
          Jacksonville, FL 32258                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,245.00
          Leon & Tracey Spearman                                                Contingent
          322 Webster Street                                                    Unliquidated
          Cary, PA 27511                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,268.00
          Leon McKendrick                                                       Contingent
          14728 S. Nestled Cove                                                 Unliquidated
          Draper, UT 84020                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,300.00
          Leona Parsons                                                         Contingent
          2059 East Brown Road                                                  Unliquidated
          Mesa, AZ 85213                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,882.40
          Leonard & Elizabeth Ryer                                              Contingent
          11 Bigelow Way                                                        Unliquidated
          South Grafton, MA 01560                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.228
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,420.00
          Leonard & Patricia James/Wooten                                       Contingent
          6901 Bullock Dr.                                                      Unliquidated
          San Diego, CA 92114                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.228
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,876.00
          Leota Blevins                                                         Contingent
          410 South 1st St                                                      Unliquidated
          Unit E                                                                Disputed
          Jacksonville Beach, FL 32250
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.228
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,920.00
          Leotha and Frank Thibodeaux-Hail                                      Contingent
          3319 Chriesman Lane                                                   Unliquidated
          Missouri City, TX 77459                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,000.00
          LeRoy and Minnie Harris                                               Contingent
          8058 Solitaire Court                                                  Unliquidated
          Orlando, FL 32836                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,750.00
          Leslie & Patricia Stewart                                             Contingent
          21435 Royal Troon Dr                                                  Unliquidated
          Leesburg, FL 34748                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,795.00
          Lester and Linda Kuebler                                              Contingent
          PO Box 280                                                            Unliquidated
          Parkston, SD 57366                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,420.83
          Leticia & Derek & Ashley Johnson/Houston                              Contingent
          734 Ashland Avenue                                                    Unliquidated
          Eddystone, PA 19022                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.229
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,117.00
          Levi & Loretta Davis                                                  Contingent
          7025 Aspen Creek Lane                                                 Unliquidated
          Dallas, TX 75252                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $600,000.00
          Libertas Funding                                                      Contingent
          411 W Putnam Ave, Suite 220, Greenwich                                Unliquidated
          Greenwich, CT 06830                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2021
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Lifetime of Vacation Resort                                           Contingent
          7770 West US Highway 192                                              Unliquidated
          Kissimmee, FL 34747                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,182.00
          Lila Roberts                                                          Contingent
          PO Box 480                                                            Unliquidated
          McMinnville, OR 97128                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,985.00
          Lillian and Jack Beasley                                              Contingent
          2634 W 39th Ave                                                       Unliquidated
          Denver, CO 80211                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.229
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Lina and Ghassan Asmar                                                Contingent
          5327 Yarwell Dr                                                       Unliquidated
          Houston, TX 77096                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,673.00
          Linda & Bob Clausen                                                   Contingent
          2459 Rosenberry Road                                                  Unliquidated
          Gilbertsville, PA 19525                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.230
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,400.00
          Linda & George Cazares                                                Contingent
          17503 Memorial Crest Drive                                            Unliquidated
          Spring, TX 77379                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $35,000.00
          Linda & James Jenkins                                                 Contingent
          2831 Corral Estates Drive                                             Unliquidated
          Arnold, MO 63010                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,115.00
          Linda & Laura Gregerson/Brovold                                       Contingent
          15364 Jeffers Pass North West                                         Unliquidated
          Prior Lake, MN 55372                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Linda & Mark Engel                                                    Contingent
          235 Alexander Ave                                                     Unliquidated
          Strabane, PA 15363                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,000.00
          Linda & Sharon Smith/Sanner                                           Contingent
          1004 Barnsley Dr.                                                     Unliquidated
          South Park, PA 15129                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Linda & Stanley Kurowski                                              Contingent
          1970 Park Ave                                                         Unliquidated
          Hanover Park, IL 60133                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,135.00
          Linda & Victor McNatt / Clements                                      Contingent
          1804 North West 7th Court                                             Unliquidated
          Battleground, WA 98604                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.230
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Linda & William Reynolds                                              Contingent
          130 White Eagle Drive                                                 Unliquidated
          Waleska, GA 30183                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.230
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Linda and Edward High                                                 Contingent
          17480 Glennville Dr                                                   Unliquidated
          Dumfries, VA 22026                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,732.50
          Linda Bechtol and Mark Herrmann                                       Contingent
          4042 W Greenwood Pl                                                   Unliquidated
          Denver, CO 80236                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Linda Greene                                                          Contingent
          1503 Dellano Way                                                      Unliquidated
          The Villages, FL 32159                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,365.00
          Linda Jarnagin                                                        Contingent
          8222 Forest Ridge Road                                                Unliquidated
          Spring, TX 77379-3910                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,723.60
          Linda Jordan                                                          Contingent
          1015 N. Jamestown Rd                                                  Unliquidated
          Decatur, GA 30033                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,300.00
          Linda Murillo                                                         Contingent
          2525 South Dayton Way                                                 Unliquidated
          #2107                                                                 Disputed
          Denver, CO 80231
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.231
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,650.00
          Linda Spychalska                                                      Contingent
          2265 Portofino Place, Unit #2114                                      Unliquidated
          Palm Harbor, FL 34683                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,545.00
          Linda Sutton                                                          Contingent
          3101 School Rd                                                        Unliquidated
          Murrysville, PA 15668                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,394.65
          Linda Sutton-Jones                                                    Contingent
          10905 Henlopen Court                                                  Unliquidated
          Silver Spring, MD 20902                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,420.00
          Linda Tetzlaff                                                        Contingent
          500 East Grant Street Apt 703                                         Unliquidated
          Minneapolis, MN 55404                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.231
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Links Golf and Racquet Club                                           Contingent
          917 Thomas Ave.                                                       Unliquidated
          Myrtle Beach, SC 29582                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,732.00
          Linn & John Echoff                                                    Contingent
          1811 FM 646 North                                                     Unliquidated
          Santa Fe, TX 77510                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,800.00
          Lionel & Abby Daniels                                                 Contingent
          113 Gilroy Ave                                                        Unliquidated
          Uniondale, NY 11553                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.232
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,525.27
          Lionel & Hazel Finley                                                 Contingent
          629 Grand Prince Ln                                                   Unliquidated
          Raleigh, NC 67603                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Lions Gate Condominiums                                               Contingent
          603 Forest Walk Ln                                                    Unliquidated
          Odenton, MD 21113                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Lisa & Jerry Collins                                                  Contingent
          260 South Ridge                                                       Unliquidated
          Senoia, GA 30276                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,457.00
          Lisa & John Simonds                                                   Contingent
          311 Setucket Road                                                     Unliquidated
          Dennis, MA 02638                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,450.00
          Lisa & LuEllen Whitney/Curran                                         Contingent
          3300 Kyle Avenue North                                                Unliquidated
          Golden Valley, MN 55422                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Lisa & Michael Swanson                                                Contingent
          27906 Castle Park Lane                                                Unliquidated
          Fulshear, TX 77441                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,545.00
          Lisa & Robert Smull                                                   Contingent
          F 213 Cambridge R                                                     Unliquidated
          King of Prussia, PA 19406                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.232
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,308.25
          Lisa & Sidney Bailey/Toombs                                           Contingent
          117 Lincoln Avenue                                                    Unliquidated
          Yeadon, PA 19050-2932                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Lisa & Timothy Phelps                                                 Contingent
          43 Meadow Lane                                                        Unliquidated
          Wheatland, WY 82201                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,345.00
          Lisa and Donald Swaim                                                 Contingent
          540 Dudley St                                                         Unliquidated
          Lakewood, CO 80226                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,167.00
          Lisa and Donna Lopiccolo/Pierce                                       Contingent
          1004 Nirth Harvey Street                                              Unliquidated
          Griffith, IN 46319                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,215.00
          Lisa Brown                                                            Contingent
          5446 S. Indiana Unit 1S                                               Unliquidated
          Chicago, IL 60615                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,008.00
          Lisa Foster                                                           Contingent
          4880 White Rock Dr                                                    Unliquidated
          Broomfield, CO 80023                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Lisa Handy                                                            Contingent
          3826 Glover Meadows Lane                                              Unliquidated
          Houston, TX 77047                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.233
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,998.00
          Lisa Leyva                                                            Contingent
          2645 Via Sonoma                                                       Unliquidated
          Carrollton, TX 75006                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          Lisa Lovett-Thompson                                                  Contingent
          11 Christy Lane                                                       Unliquidated
          Randolph, MA 02368                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Lisa Riley-Dyrssen                                                    Contingent
          78840 350th St                                                        Unliquidated
          Olivia, MN 56277                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,420.00
          Lisa Savoy                                                            Contingent
          6850 Arbor Lane                                                       Unliquidated
          Bryans Road, MD 20616                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,979.00
          Lisa Simmons                                                          Contingent
          8501 Bantry Court                                                     Unliquidated
          Plano, TX 75025                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,016.50
          Littler Mendelson, PC                                                 Contingent
          1900 Sixteenth Street, Suite 800                                      Unliquidated
          Denver, CO 80202                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5360
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,016.50
          Littler Mendelson, PC                                                 Contingent
          PO Box 207137                                                         Unliquidated
          Dallas, TX 75320                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.234
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,900.00
          Lizbeth and Elvis Padilla-Mendez                                      Contingent
          5275 Deephaven Ct                                                     Unliquidated
          Denver, CO 80239                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,536.00
          Lois and James Whelan                                                 Contingent
          2337 S Kenton Way                                                     Unliquidated
          Aurora, CO 80014                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,464.00
          Lois Fitzgerald                                                       Contingent
          180 Main St, Apt 115B                                                 Unliquidated
          Walpole, MA 02081                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,800.00
          Lois Jobe                                                             Contingent
          604 College                                                           Unliquidated
          Apt 25                                                                Disputed
          Pilot Grove, MO 65276
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.234
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,923.00
          Lois Ventura                                                          Contingent
          54 Willow Bay Drive                                                   Unliquidated
          Missouri City, TX 77459                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,250.00
          Lolete & Marvin Nunn Jr                                               Contingent
          7707 Sisterdale Drive                                                 Unliquidated
          Cypress, TX 77433                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          London Bridge Resort                                                  Contingent
          1477 Queens Bay.                                                      Unliquidated
          Lake Havasu City, AZ 86403                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.235
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,345.00
          Loralie Deautremont                                                   Contingent
          7667 S Locust St                                                      Unliquidated
          Centennial, CO 80112                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,520.15
          Lorenza (Joseph) Collins and Collins Fam                              Contingent
          801 S. Financial Pl                                                   Unliquidated
          Apt 1106                                                              Disputed
          Chicago, IL 60605
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.235
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,106.00
          Loretta and Brandon Day                                               Contingent
          6800 Falcon Bridge Rd                                                 Unliquidated
          Chapel Hill, NC 27517                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,400.00
          Loretta and Mark White                                                Contingent
          1223 Huntington Greens Dr                                             Unliquidated
          Sun City Center, FL 33573                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Loretta and Michelle Roach                                            Contingent
          168 W 4th St Apt 14                                                   Unliquidated
          New York, NY 10014                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Lori Lee                                                              Contingent
          3363 W Laurel Lane                                                    Unliquidated
          Littleton, CO 80123                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,950.00
          Lori Spilhaus                                                         Contingent
          PO Box 1027                                                           Unliquidated
          Santa Fe, NM 87504                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.235
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,295.00
          Lorietta Nelson                                                       Contingent
          7055 E. 5th Ave                                                       Unliquidated
          Denver, CO 80220                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Lorne and Rita Stills                                                 Contingent
          1910 SE Sagebrush Dr                                                  Unliquidated
          Madra, OR 97741                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.235
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Lorraine & Kenneth Ostrowski                                          Contingent
          24645 S. Volbrecht Rd                                                 Unliquidated
          Crete, IL 60417                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Lorraine Gosnell and Elzina Gwinn                                     Contingent
          27602 Bent Oak Lane                                                   Unliquidated
          Magnolia, TX 77354                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,450.00
          Lorraine Kaplan                                                       Contingent
          2550 North Lakeview Ave                                               Unliquidated
          Unit S3102                                                            Disputed
          Chicago, FL 60614
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.236
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,618.77
          Lorraine Parker                                                       Contingent
          401 N Brownleaf Rd                                                    Unliquidated
          Newark, DE 19713                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Los Abrigabos                                                         Contingent
          160 Portal Lane                                                       Unliquidated
          Sedona, AZ 86339                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.236
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Los Almo                                                              Contingent
          1000 Central Ave.                                                     Unliquidated
          Los Alamos, NM 87544                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Los Cabos Golf Resort                                                 Contingent
          Via de Carlos Lote #601 KM 3.7 Carret. T                              Unliquidated
          Cabo San Lucas, BCS 23410 Mexico                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Loss Valley Resort                                                    Contingent
          49337 Lost Valley Road                                                Unliquidated
          Vergas, MN 56587                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Lost Valley Lake                                                      Contingent
          2334 Hwy ZZ                                                           Unliquidated
          Owensville, MO 65066                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,500.00
          Lottie & Ronnie Thomas                                                Contingent
          5314 persimmon pass                                                   Unliquidated
          Richmond, TX 77407                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.236
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,846.00
          Lou And Sharon Ehmke                                                  Contingent
          832 Pinehurst Lane                                                    Unliquidated
          Schaumberg, IL 60193                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Louanna and Thomas Burnett                                            Contingent
          17588 Retrac Way                                                      Unliquidated
          Grass Valley, CA 95949                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.237
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Louis & Jodie Prange/Hanzlik                                          Contingent
          5852 Watson Drive                                                     Unliquidated
          Fort Collins, CO 80528                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,420.00
          Louis and Marilyn Conde                                               Contingent
          611 Jackson Street                                                    Unliquidated
          Phildelphia, PA 19148                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,955.00
          Louise Brown                                                          Contingent
          10671 Pointe Mountain Top Circle #87                                  Unliquidated
          Spring Valley, CA 91978                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Louisiana Attorney General                                            Contingent
          1885 N 3rd St                                                         Unliquidated
          Baton Rouge, LA 70802                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Lucayan Resort                                                        Contingent
          2941 Lucayan Harbour Cir                                              Unliquidated
          Kissimmee, FL 34746                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Lucie Moore                                                           Contingent
          1100 Desiree Lane                                                     Unliquidated
          Highland Village, TX 75077                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,500.00
          Lucille, King, Willie Kindred and Icyphi                              Contingent
          10234 S. Vernon                                                       Unliquidated
          Chicago, IL 60628                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.237
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Lucinda Wake                                                          Contingent
          2818 Jasmine St                                                       Unliquidated
          Denver, CO 80207                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.237
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,971.00
          Lucy & Johnny & Andrea Gomez                                          Contingent
          13011 Venice Lane                                                     Unliquidated
          Stafford, TX 77477                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,606.15
          Luellen and William Penton                                            Contingent
          18 East Knightsbridge Drive                                           Unliquidated
          Conroe, TX 77385                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,336.80
          Luis & Karin Rodriguez/ Ayala-Mendoza (S                              Contingent
          6262 Underhill Street                                                 Unliquidated
          Houston, TX 77092                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,845.82
          Luis & Maria Morales/Moreno                                           Contingent
          4203 Scottsdale St                                                    Unliquidated
          Durham, NC 27712                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,294.00
          Luis & Priscilla Soria/Diaz                                           Contingent
          37884 Amber Leaf Court                                                Unliquidated
          Murrieta, CA 92562                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,700.00
          Luis & Rosemarie Tormis                                               Contingent
          2607 Golden Creek Lane                                                Unliquidated
          Pearland, TX 77584                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.238
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,760.00
          Luis and Lucia Carrera                                                Contingent
          3213 Risner St                                                        Unliquidated
          Las Cruces, NM 88011                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,200.00
          Luis And Walter Sanchez                                               Contingent
          4528 W. 161st St                                                      Unliquidated
          Lawndale, CA 90260                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,500.00
          Lula & Gene Huskey                                                    Contingent
          18710 Aberdeen Hollow Lane                                            Unliquidated
          Tomball, TX 77377                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,165.00
          Lula Thomas                                                           Contingent
          4213 Diamond Square                                                   Unliquidated
          Vero Beach, FL 32967                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Lumen & Ana Chan                                                      Contingent
          3426 mesquite drive                                                   Unliquidated
          Sugar land, TX 77479                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,250.00
          Lupe and Richard Zaragoza                                             Contingent
          1451 South Blueridge Drive                                            Unliquidated
          Globe, AZ 85501                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,722.00
          Lurlene and Stanley Unruh                                             Contingent
          6578 S Iris St                                                        Unliquidated
          Littleton, CO 80123                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.239
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          LV Tower 52                                                           Contingent
          300 CRESCENT COURT SUITE 1100                                         Unliquidated
          DALLAS, TX 75201                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,511.00
          Lydia and Richard Garner                                              Contingent
          46901 Seneca Ridge Dr.                                                Unliquidated
          Sterling, VA 20164                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,456.00
          Lyle and Rebecca Fischer                                              Contingent
          231 Little Blacktail Rd.                                              Unliquidated
          Careywood, ID 83809                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Lyly & Travis Noble                                                   Contingent
          8279 S. Kellerman Cir                                                 Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,950.00
          Lynda and Christopher Granfield                                       Contingent
          556 16th Ave NE                                                       Unliquidated
          St. Petersburg, FL 33704                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,339.00
          Lynda and Doug Ricketts                                               Contingent
          3840 Three Chimeys Lane                                               Unliquidated
          Cumming, GA 30041                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.239
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,808.00
          Lynda and George Decker                                               Contingent
          6943 Freeport Rd                                                      Unliquidated
          Riverview, FL 33578                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.239
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,592.55
          Lyndon & Kristie Yates                                                Contingent
          11211 Willow Field Dr                                                 Unliquidated
          Cypress, TX 77429                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Lynn & Curt Wiedenroth                                                Contingent
          127 Lexington St                                                      Unliquidated
          Burlington, MA 01803                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Lynn & Marie Glass/Gill                                               Contingent
          5160 Webster Rd                                                       Unliquidated
          Centerburg, OH 43011                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,650.00
          Lynn & Marilyn Reyelts                                                Contingent
          6585 S. Sedalia Ct                                                    Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,154.58
          Lynn & Spices Gleason                                                 Contingent
          16107 Nassau Drive                                                    Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,675.00
          Lynnette Dingle                                                       Contingent
          195 Jerome Ave                                                        Unliquidated
          Staten Island, NY 10305                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,056.00
          Lynnette Smotherman and Denise Byrnes                                 Contingent
          7585 Fenton St                                                        Unliquidated
          Westminister, CO 80003                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.240
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,545.00
          M.G. Dorothea and Percy Peaks                                         Contingent
          860 Junction Drive                                                    Unliquidated
          Apt 430                                                               Disputed
           TX 75013
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.240
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Mabel Joseph - Awuku                                                  Contingent
          3368 Seneca Farm Drive                                                Unliquidated
          Buford, GA 30519                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Macdonald Resorts                                                     Contingent
          17813 E. Hudson Bay Rd                                                Unliquidated
          Bayview, ID 83803                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.240
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,207.10
          Madeline And Doel Burgos (SPO)                                        Contingent
          3413 W 28th Street                                                    Unliquidated
          Lehigh Acres, FL 33971                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,027.75
          Madeline McGhee                                                       Contingent
          417 S 24th Avenue                                                     Unliquidated
          Bellwood, IL 60104                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Madhumita Das                                                         Contingent
          2760 Pemberly Ave                                                     Unliquidated
          Highlands Ranch, CO 80126                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Magdalena & Jovan Perez                                               Contingent
          126 East Vantura St. Apt B                                            Unliquidated
          Santa Paula, CA 93060                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.241
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Magdalena Bernhardt                                                   Contingent
          3345 Zephyer Court                                                    Unliquidated
          Wheatridge, CO 80033                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          magreasa                                                              Contingent
          5858 La 44                                                            Unliquidated
          Convent, LA 70723                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,622.00
          Magtibay Zosimo                                                       Contingent
          1713 Jarboe St                                                        Unliquidated
          Kansas City, MO 64108                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,290.00
          Maira & Javier Paez/Ruiz-Arredondo (SPO)                              Contingent
          1104 Helton Street                                                    Unliquidated
          Dalton, GA 30720                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,550.00
          Maire & Jason Alexander                                               Contingent
          308 Maddington Place                                                  Unliquidated
          Hillsborough, NC 27278                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Makai Club and Sedona/Villas of Sedona                                Contingent
          PO Box 2252                                                           Unliquidated
          Sedona, AZ 86339                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.241
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Mandy & James Damico                                                  Contingent
          Po Box 3599                                                           Unliquidated
          Battle Creek, MI 49017                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.242
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Manhattan Club                                                        Contingent
          200 W 56th St.                                                        Unliquidated
          New York, NY 10019                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,117.75
          Manny & Zoie Samson                                                   Contingent
          103 Downing Place                                                     Unliquidated
          Sothern Pines, NC 28387                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,754.29
          Manuel & Doris Dukes                                                  Contingent
          10701 N 99th Ave                                                      Unliquidated
          Peoria, AZ 85345                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,636.00
          Marc & Leslie Gaines                                                  Contingent
          6691 S Marion St                                                      Unliquidated
          Centennial, CO 80121                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Marc and Jessica Collins                                              Contingent
          6580 D Picatinny Lane                                                 Unliquidated
          Fort Carson, CO 80902                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          March McGovern Edward Jones                                           Contingent
          9360 Station Street Ste 475                                           Unliquidated
          Lone Tree, CO 80124                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,600.00
          Marcia & David Terry/Teal                                             Contingent
          1573 Gentry Street                                                    Unliquidated
          Clear Water, FL 33755                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.242
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Marcia and Charles Alexander                                          Contingent
          2252 Newbury Drive                                                    Unliquidated
          East Cleveland, OH 44112                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,843.00
          Marcia Cunningham                                                     Contingent
          17701 S Avalon Blvd #219                                              Unliquidated
          Carson, CA 90746                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.242
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,065.00
          Marco And Monica Duran                                                Contingent
          22811 Red Leo Lane                                                    Unliquidated
          Springs, TX 77389                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,200.00
          Marcus & Nizinga Troutman                                             Contingent
          9807 S Charles St                                                     Unliquidated
          Chicago, IL 60643                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,676.00
          Marcus And Robbin Lyle                                                Contingent
          170 Isenhour Road                                                     Unliquidated
          Rockmart, GA 30153                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,449.84
          Margaret & Scott Wittmer                                              Contingent
          18607 Burnt Candle                                                    Unliquidated
          Spring, TX 77388                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,363.95
          Margaret Collignon                                                    Contingent
          7497 S Cherry Ct.                                                     Unliquidated
          Centennial, CO 80122                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.243
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,420.89
          Margaret Ellis                                                        Contingent
          1479 Byberry Road                                                     Unliquidated
          Bensalem, PA 19020                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,245.00
          Margaret Johnston                                                     Contingent
          2002 Beazley                                                          Unliquidated
          Brenham, TX 77833                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,670.00
          Maria (Sonia) & Ramiro Zavala                                         Contingent
          922 W 9th St.                                                         Unliquidated
          Freeport, TX 77541                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,580.85
          Maria and Francisco Ascencio/ Duran                                   Contingent
          2 Forestdale Park                                                     Unliquidated
          Calumet City, IL 60409                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,743.00
          Maria and Jorje Garza                                                 Contingent
          PO Box 512                                                            Unliquidated
          Bayard, NE 69334                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.243
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,845.82
          Maria and Luis Moreno                                                 Contingent
          4203 Scottsdale St.                                                   Unliquidated
          Durham, NC 27712                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,850.00
          Maria Colunga and Luis Lopez                                          Contingent
          280 N 4th Ave                                                         Unliquidated
          Brighton, CO 80601                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.244
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,850.00
          Maria Estrella                                                        Contingent
          511 Neptune Bay Cir Unit 2                                            Unliquidated
          St. Cloud, FL 34769                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,400.00
          Maria Ferrer/Amado Chavez                                             Contingent
          5545 Kittredge St.                                                    Unliquidated
          Denver, CO 80239                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Maria Geschwill                                                       Contingent
          4344 Reservoir Blvd.                                                  Unliquidated
          Columbia Heights, MN 55421                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,176.00
          Maria Julia Zanella Munoz                                             Contingent
          5731 North Christian Ave                                              Unliquidated
          Chicago, IL 60659                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,600.00
          Maria Martinez                                                        Contingent
          28 W 5th St                                                           Unliquidated
          Watsonville, CA 95076                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,898.00
          Maria, Jairo, Diana, Janet Banuelos/Garc                              Contingent
          4703 East County Road 150 North                                       Unliquidated
          Logansfort, IN 46947                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,793.00
          Mariah and Dwayne Comlan                                              Contingent
          3931 Alcazar Drive                                                    Unliquidated
          Castle Rock, CO 80109                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.244
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Marianne & Frank Baker                                                Contingent
          422 Leppo                                                             Unliquidated
          Westminister, MD 21158                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.244
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,498.00
          Marianne and Ralph Markus                                             Contingent
          29 chevy chase dr                                                     Unliquidated
          Buffalo grove, IL 60089                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Maribal Armony                                                        Contingent
          CARRETERA A PUNTA DE MITA KM 8.3                                      Unliquidated
          PLAYA DESTILADERAS, BAH A DE                                          Disputed
          BANDERAS NA
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.245
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,285.00
          Marie & Gary Barraclough                                              Contingent
          PO Box 8688 (all mail goes here)                                      Unliquidated
          Topeka, KS 66608                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,207.00
          Marie & Mitchel Garza-Powell/Gonzales                                 Contingent
          30 Palm Desert Drive                                                  Unliquidated
          Manvel, TX 77578                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,200.00
          Marie Baker                                                           Contingent
          27915 13th Ave South                                                  Unliquidated
          Des Moines, WA 98198                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,200.00
          Marie Rustemeyer and Eric Wyatt                                       Contingent
          4224 S. Altamont St.                                                  Unliquidated
          Spokane, WA 99223                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.245
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Marie Williams                                                        Contingent
          905 N Indiana Ave                                                     Unliquidated
          Atlantic City, NJ 08401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,876.00
          Mariela & Roger Richardson                                            Contingent
          1477 Bergen Rock St                                                   Unliquidated
          Castle Rock, CO 80109                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Marieli Bonilla                                                       Contingent
          1408 21st St SE                                                       Unliquidated
          Ruskin, FL 33570                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,500.00
          Marilyn & Gregory Davis                                               Contingent
          5275 Wilhelm Drive                                                    Unliquidated
          Colorado Springs, CO 80911                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.245
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,995.00
          Marilyn (Skip) Boehm                                                  Contingent
          2051 Glenhill Road                                                    Unliquidated
          Colorado Springs, CO 80906                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Marilyn and Armando Pompa                                             Contingent
          1124 Carmelita Circle                                                 Unliquidated
          Monrovia, CA 91016                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,996.00
          Marilyn And David Faust                                               Contingent
          528 Prospect Ave                                                      Unliquidated
          Bethlehem, PA 18018                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.246
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,745.00
          Marilyn and Paul Brown                                                Contingent
          170 Glenview Drive                                                    Unliquidated
          Lake Quivira, KS 66217                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,720.00
          Marilyn Bradford                                                      Contingent
          2490 Manzana                                                          Unliquidated
          San Diago, CA 92139                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Marilyn Carvalho                                                      Contingent
          235 N Hedrick Ave                                                     Unliquidated
          Lecanto, FL 34461                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Marilyn Jensen                                                        Contingent
          36101 Delaire Landing RD                                              Unliquidated
          Philadelphia, PA 19114                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,160.67
          Marilyn Thomas and Joseph Meurkson                                    Contingent
          4527 S King Dr. Unit 2                                                Unliquidated
          Chicago, IL 60653                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,295.00
          Marina & Michael Yap                                                  Contingent
          24180 Calle Artino                                                    Unliquidated
          Murrieta, CA 92562                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.246
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Marina El Cid - Mazitian                                              Contingent
          1705 Avenida Camar n S balo Mazatl n                                  Unliquidated
          Sinaloa, Mazatl n Sinaloa                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.246
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,001.60
          Mario And Aretha Velasco                                              Contingent
          3503 Fallen Oak Drive                                                 Unliquidated
          Buford, GA 30519                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mario Valdez                                                          Contingent
          4500 Cook Street                                                      Unliquidated
          Apt B                                                                 Disputed
          Denver, CO 80216
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.247
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,000.00
          Marion Calvino                                                        Contingent
          5241 North Laramie Avenue                                             Unliquidated
          Chicago, IL 60630                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Marisa Resort                                                         Contingent
          304 Moo 4                                                             Unliquidated
          Chiang Dao, 50170 Ban Muang Ngai Thailan                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Marival Vacation Club                                                 Contingent
          53 Villa 8 11 Nuevo Vallarta                                          Unliquidated
          Nayarit, 63732 M xico                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,750.00
          Marjorie Bernard                                                      Contingent
          13474 W Utah Circle                                                   Unliquidated
          Lakewood, CO 80228                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Marjorie Green                                                        Contingent
          610 Shady Dale Drive                                                  Unliquidated
          Stafford, TX 77477                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.247
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,500.00
          Mark & Alisa Osborne                                                  Contingent
          706 Barossa Valley Dr                                                 Unliquidated
          Concord, NC 28027                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,200.00
          Mark & Candice Perez                                                  Contingent
          7787 West Camino De Oro                                               Unliquidated
          Peoria, AZ 85383                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,045.00
          Mark & Caren Stephenson/Circo                                         Contingent
          7602 S. Emerson St.                                                   Unliquidated
          Centennial, CO 80122                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.247
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,282.06
          Mark & Cheryl Chapman                                                 Contingent
          2908 La Estrella Circle                                               Unliquidated
          Colorado Springs, CO 80917                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Mark & Dawn Bozzo                                                     Contingent
          607 McCabe Ave                                                        Unliquidated
          Bradley Beach, NJ 07720                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,450.00
          Mark & Donna Gallup                                                   Contingent
          5221 Ampthill Drive                                                   Unliquidated
          Alexandria, VA 22312                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Mark & Jason Fox/Pierce                                               Contingent
          175 Rampart Way                                                       Unliquidated
          Suite 909                                                             Disputed
          Denver, CO 80230
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.248
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,150.00
          Mark & Julia Maliszewski                                              Contingent
          1104 Division St                                                      Unliquidated
          Osage, IA 50461                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,376.00
          Mark & Kathleen Wilden                                                Contingent
          313 Durango Dr                                                        Unliquidated
          Marion, IA 52302                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Mark & Lindzee Winterton                                              Contingent
          2,711 S 10,000 W                                                      Unliquidated
          Roosevelt, UT 84066                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,368.00
          Mark & Suany Alvarez                                                  Contingent
          183 Cannon Avenue                                                     Unliquidated
          Staten Island, NY 10314                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,295.00
          Mark & Tanya Hughes                                                   Contingent
          3871 Lunn DR                                                          Unliquidated
          Nashville, TN 37218                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,996.00
          Mark & Tracy Mosier                                                   Contingent
          114 Peninsula Drive                                                   Unliquidated
          Kelso, WA 98626                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.248
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,908.00
          Mark & Valerie De Leon                                                Contingent
          763 County Road 18                                                    Unliquidated
          Ceresco, NE 68017                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.249
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Mark and Beth Stettler                                                Contingent
          75 Ronald Ave.                                                        Unliquidated
          Layton, UT 84041                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Mark and Grechen Mcgoffin                                             Contingent
          6297 S Killarney Court                                                Unliquidated
          Centennial, CO 80016                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,036.00
          Mark and Stephanie Simmons                                            Contingent
          841 E 200 N                                                           Unliquidated
          Spanish Fork, UT 84660                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,000.00
          Mark Chisum                                                           Contingent
          237 Genoa Ave                                                         Unliquidated
          Lubbock, TX                                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,296.00
          Mark Morawiec                                                         Contingent
          674 Sundance Circle                                                   Unliquidated
          Erie, CO 80516                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,479.56
          Mark Pickering                                                        Contingent
          32 Meadowbrook Ln                                                     Unliquidated
          Gardner, MA 01440                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,696.00
          Mark Richardson                                                       Contingent
          6533 S Ouray st                                                       Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.249
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,788.00
          Mark Valerio                                                          Contingent
          7874 Armadillo Trail                                                  Unliquidated
          Evergreen, CO 80439                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,900.00
          Mark White                                                            Contingent
          6818 Dusty Miller Way                                                 Unliquidated
          Colorado Springs, CO 80908                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,358.25
          Marla Wickens/Margie Welch                                            Contingent
          8393 Eagle Nest Dr.                                                   Unliquidated
          Avon, IN 46123                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,000.00
          Marlena&John Roland                                                   Contingent
          8190 NW 12 Court                                                      Unliquidated
          Coral Springs, FL 83071                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,500.00
          Marq and Tamara Del Monte                                             Contingent
          8155 E Fairmount Drive                                                Unliquidated
          #1427                                                                 Disputed
          Denver, CO 80230
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.250
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Marq Del Monte                                                        Contingent
          8155 E Fairmount Dr, Apt.1427                                         Unliquidated
          Denver, CO 80230                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Marriott International                                                Contingent
          10400 Fernwood Road                                                   Unliquidated
          Bethesda, MD 20817                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.250
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Marriott International, Inc.                                          Contingent
          10400 Fernwood Road                                                   Unliquidated
          Bethesda, MD 20817                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Marriott Vacation Club                                                Contingent
          9002 San Marco Court.                                                 Unliquidated
          Orlando, FL 32819                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Marriott Vacation Club                                                Contingent
          6649 Westwood Blvd., Suite 300                                        Unliquidated
          Orlando, FL 32821                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Marriott Vacation Club/ Grand Vista Cond                              Contingent
          P. O. Box 8038                                                        Unliquidated
          Lakeland, FL 33802                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.250
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,781.76
          Marsha Atencio and Arturo De La Rosa                                  Contingent
          14242 East Hawaii Circle                                              Unliquidated
          Unit D                                                                Disputed
          Aurora, CO 80012
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.250
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,940.00
          Marsha Kaufman                                                        Contingent
          8618 North Chatham Circle                                             Unliquidated
          Kansas City, MO 64154                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,597.00
          Marsha McGee                                                          Contingent
          519 York Ave                                                          Unliquidated
          Ellwood City, PA 16117                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.251
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $24,298.85
          Marsha Stamps-White                                                   Contingent
          8915 South Dante Avenue                                               Unliquidated
          Chicago, IL 60619                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,528.84
          Marshall Davis                                                        Contingent
          8525 South Green Street Apt. 1A                                       Unliquidated
          Chicago, IL 60620                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,245.00
          Marshan E. Hicks                                                      Contingent
          8447 Laurelon Place                                                   Unliquidated
          Temple Terrace, FL 33637                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,295.00
          Martha & Justin Muniz                                                 Contingent
          569 Topanga Ct                                                        Unliquidated
          Colton, CA 92324                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,170.00
          Martha and Ronald Tucker                                              Contingent
          8653 E Doane Pl                                                       Unliquidated
          Denver, Co 80231                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Martha Lovingood (Hollowell)                                          Contingent
          725 West Bear Swamp Rd.                                               Unliquidated
          Hertford, NC 27944                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,365.00
          Martha Novikoff                                                       Contingent
          6203 Alden Bridge Drive                                               Unliquidated
          Apt 5205                                                              Disputed
          The Woodlands, TX 77382
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.251
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Martha Ward                                                           Contingent
          PO Box 760                                                            Unliquidated
          Mars, PA 16046                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.251
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,958.10
          Martin (Marty) Kretz And Niara Valentine                              Contingent
          10701 N Pecos St                                                      Unliquidated
          Apt 1902                                                              Disputed
          North Glenn, CO 80234
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.252
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,595.50
          Martin and Edna Sloan                                                 Contingent
          9010 Greenpoint Ln                                                    Unliquidated
          Highlands Ranch, CO 80130                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Martin Bertocchi/Judith Curtis                                        Contingent
          1860 Great Lakes Drive                                                Unliquidated
          Dyer, IN 46311                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          MARTIN LEWIS CORDELL                                                  Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.252
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          MARTIN MILES WERNER                                                   Contingent
          1739 Lake Marion Dr.                                                  Unliquidated
          Apopka, FL 32712                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,320.00
          Marvin Achterberg & Patricia Simone                                   Contingent
          4540 Balsam St                                                        Unliquidated
          Wheat Ridge, CO 80033                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.252
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,240.00
          Marvin And Monica Davis                                               Contingent
          2545 29th Ave                                                         Unliquidated
          Greeley, CO 80634                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,453.66
          Marvin and Monique Gordon/Duguay                                      Contingent
          2663 Crystal Circle                                                   Unliquidated
          Dunedin, FL 34698                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,165.00
          Marvy Rico/Jorge Aguirre                                              Contingent
          4825 E Violet St                                                      Unliquidated
          Gardendale, TX 79758                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,223.60
          Mary & Dennis Jarnot                                                  Contingent
          1000 Oakridge Ave                                                     Unliquidated
          Shoreview, MN 55126                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.252
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,533.20
          Mary & Leo Samuelson                                                  Contingent
          1625 Cedar Street                                                     Unliquidated
          Moscow, IA 52760                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,406.00
          Mary & Robert Castagnera                                              Contingent
          600 Portsmouth Port                                                   Unliquidated
          Bel Air, MD 21014                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,640.00
          Mary & Robert Lively                                                  Contingent
          46688 Glen Pointe Drive                                               Unliquidated
          Shelby Township, MI 48315                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.253
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Mary & Yoseph Mohd Abukhdeir/Kader                                    Contingent
          9806 Palazzo Streets                                                  Unliquidated
          Sessner, FL 33584                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Mary and Carl Sward                                                   Contingent
          PO Box 731                                                            Unliquidated
          Blanco, TX 78606                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,150.17
          Mary and Douglas Freeman                                              Contingent
          6995 Hill Court                                                       Unliquidated
          Parker, CO 80134                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,630.74
          Mary And Eugene Wilkins                                               Contingent
          509 Little John Lane                                                  Unliquidated
          Modesto, CA 95350-1507                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,500.00
          Mary and Gary Norton                                                  Contingent
          13511 Wells River Drive                                               Unliquidated
          Houston, TX 77041                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,157.25
          Mary And George Ridgnal                                               Contingent
          8238 S Honore                                                         Unliquidated
          Chicago, IL 60620                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.253
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,750.00
          Mary and James Hartmann                                               Contingent
          1212 South Eaton Street                                               Unliquidated
          Lakewood, CO 80232                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.253
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,473.00
          Mary and Lorenzo Nieto                                                Contingent
          5065 Bella Collina St                                                 Unliquidated
          Oceanside, CA 92056                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,839.00
          Mary and Nelson Miller                                                Contingent
          2509 560th Street                                                     Unliquidated
          Klona, IA 52247                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,673.00
          Mary and Paul Grant                                                   Contingent
          2440 Kensington Greens Dr                                             Unliquidated
          Sun City, FL 33573                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,398.00
          Mary and Raymond Slimak                                               Contingent
          9319 Torrance Ave                                                     Unliquidated
          Brooklyn, OH 44144                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,750.00
          Mary And Robert Rainer                                                Contingent
          145 College Street                                                    Unliquidated
          Jonesboro, GA 30236                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,867.00
          Mary and Scott Jessen                                                 Contingent
          3305 Canyon Creek Dr                                                  Unliquidated
          Richardson, TX 75080                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,720.00
          Mary and Stephen Bowens                                               Contingent
          25311 E Glasgow PL                                                    Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.254
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $48,295.00
          Mary Ann & Dan Elston                                                 Contingent
          149 S. 225th Lane                                                     Unliquidated
          Buckeye, AZ 85326                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,700.00
          Mary Avent                                                            Contingent
          15101 Black Stone Ave                                                 Unliquidated
          Dolton, IL 60419                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Mary Barnhart                                                         Contingent
          5166 39th St South                                                    Unliquidated
          St. Petersburg, FL 33711                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.254
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,376.00
          Mary Beth & Morgan Allen                                              Contingent
          2213 SW Walden Place                                                  Unliquidated
          Lee Summit, MO 64081                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,178.00
          Mary Beth and Jason Ballard                                           Contingent
          311 Westridge Drive                                                   Unliquidated
          Ofallon, MO 63366                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,596.00
          Mary Beth and Timothy Bauer                                           Contingent
          405 Oxford St                                                         Unliquidated
          Northfield, MN 55057                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,270.00
          Mary Coen                                                             Contingent
          348 Cecil Henderson Rd                                                Unliquidated
          Canonsburg, PA 15317                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.255
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Mary Dennis                                                           Contingent
          1247 Citruswood Trail Lane                                            Unliquidated
          Rosenberg, TX 77471                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,250.00
          Mary Fran Whitney                                                     Contingent
          6848 W Chatfield Pl                                                   Unliquidated
          Littleton, CO 80128                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,940.00
          Mary Jane Herrmann and Karin Fertsch                                  Contingent
          84 Derstine Road                                                      Unliquidated
          Apt 2301                                                              Disputed
          Hatfield, PA 19440
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.255
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,008.00
          Mary Jane Rose                                                        Contingent
          1 Waltham Ct                                                          Unliquidated
          Trenton, NJ 08690                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,450.00
          Mary Jo & Gene Leahy/Johnson                                          Contingent
          4033 S. Carson St., Unit D                                            Unliquidated
          Aurora, CO 80014                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,295.00
          Mary Kay & Darin Langolf                                              Contingent
          4518 Coues Deer Lane                                                  Unliquidated
          Conroe, TX 77303                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.255
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Mary Sue Epley                                                        Contingent
          1913 Big Cypress Drive                                                Unliquidated
          St Cloud, FL 34771                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.256
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Mary Tzintzun                                                         Contingent
          2015 W. Benjamin Holt Dr                                              Unliquidated
          Stockton, CA 95207                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $74,400.00
          Maryann Greene                                                        Contingent
          12932 W. Figueroa Dr.                                                 Unliquidated
          Sun City West, AZ 85375                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,250.00
          Maryanne Shea                                                         Contingent
          11307 Copley Ct                                                       Unliquidated
          Spring Hill, FL 34609                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          MaryBeth and Charles DiPaolo                                          Contingent
          168 Dunnemann Ave                                                     Unliquidated
          Charleston, SC 29403                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Maryland Attorney General                                             Contingent
          200 St. Paul Place                                                    Unliquidated
          Baltimore, MD 21202                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Massachusetts Attorney General s Office                               Contingent
          1 Ashburton Pl                                                        Unliquidated
          Boston, MA 02108                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Massanutten Resort                                                    Contingent
          1822 Resort Drive Massanutten                                         Unliquidated
           VA 22840                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.256
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Massanutten Resort                                                    Contingent
          P.O. Box 1227                                                         Unliquidated
          Harrisonburg, VA 22803                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,500.00
          Matt & Janae Reinhard                                                 Contingent
          6455 West 100th South                                                 Unliquidated
          Decatur, IN 46733                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.256
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,617.75
          Matthew & Bonnie Richard                                              Contingent
          471 Main Stre                                                         Unliquidated
          Ringe, NH 03461                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,750.00
          Matthew & Edwina Walters                                              Contingent
          11610 Marathon Cir                                                    Unliquidated
          Venice, FL 34293                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,400.00
          Matthew & Marie Payne                                                 Contingent
          11643 Newton Place                                                    Unliquidated
          Westminster, CO 80031                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,670.00
          Matthew And Antonia Hayes                                             Contingent
          751 S Spruce St                                                       Unliquidated
          Escondido, CA 92025                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Matthew and Manuela Mulligan                                          Contingent
          353 Seahorse DR                                                       Unliquidated
          Windsor, CO 80550                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.257
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,794.00
          Matthew MacQueen                                                      Contingent
          2321 Bennett Ave, Unit B                                              Unliquidated
          Glenwood Springs, CO 81601                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Matthew&Saundra Valek                                                 Contingent
          218 May Loop                                                          Unliquidated
          Fort Huachuca, AZ 85613                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Maui Beach vacation Club                                              Contingent
          515 South Kihei Road Kihei                                            Unliquidated
          Maui, HI 96753                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Maureen & Fawzi Soliman                                               Contingent
          7533 Jomel Dr                                                         Unliquidated
           FL 34607                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,382.50
          Maureen And Harvey Urbanski                                           Contingent
          780 Cedar Gate Lane                                                   Unliquidated
          Leechburg, PA 15656                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.257
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Maurice & Dorothy Sullivan                                            Contingent
          495 Senon Dr.                                                         Unliquidated
          Lemont, IL 60439                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.258
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,700.00
          Maurice & Rozanne DeShazer                                            Contingent
          9239 Bighorn Dr                                                       Unliquidated
          Littleton, CO 80127                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.258
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Maurice Harvey                                                        Contingent
          1709 Boston Road                                                      Unliquidated
          Apt 1K                                                                Disputed
          Bronx, NY 10460
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.258
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Maverick                                                              Contingent
          485 S. Atlantic Ave.                                                  Unliquidated
          Ormond Beach, FL 32176                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.258
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,095.00
          Max & janet Grunzburger/Peterson                                      Contingent
          4500 Montview Blvd                                                    Unliquidated
          Denver, CO 80207                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.258
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Max&Deloris Herron                                                    Contingent
          1822 College Street                                                   Unliquidated
          Sulphur Springs, TX 75482                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.258
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,874.98
          Maxine Johnson                                                        Contingent
          1717 NE 108 Ave                                                       Unliquidated
          Portland, OR 97220                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.258
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mayan Palace Regency                                                  Contingent
          Av. S balo Cerritos S/N Zona Hotelera No                              Unliquidated
          Mazatl n, Mexico 81110-0000                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.258
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mayan Palace Regency                                                  Contingent
          Av. S balo Cerritos S/N Zona Hotelera No                              Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.258
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mayan Resorts                                                         Contingent
          Av Costera de las Palmas No. 1121 Fracc.                              Unliquidated
          Guerrero, 39900 Mexico                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.258
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,101.00
          Maybelline & Jordan Carpenter                                         Contingent
          17706 December Pine Lane                                              Unliquidated
          Spring, TX 77379                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,500.00
          Mayfield And John Lake                                                Contingent
          1555 Golf Link Drive                                                  Unliquidated
          Stone Mountain, GA 30088                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,207.00
          McGoffin Marketing                                                    Contingent
          6297 S Killarney Ct                                                   Unliquidated
          Centennial, CO 80016                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,814.11
          McKinnon Broadcasting - NACM                                          Contingent
          COMMERCIAL                                                            Unliquidated
          606 N Pines Rd., Suite 102                                            Disputed
          Spokane Valley, WA 99206
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       8195                         Is the claim subject to offset?     No       Yes


 3.259
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Medford & Joan Campbell Jr                                            Contingent
          4800 Coyle Road Unit 403                                              Unliquidated
          Owings Mills, MA 21117                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Megan Seftas                                                          Contingent
          1672 Dover St, 114                                                    Unliquidated
          Lakewood, CO 80215                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.259
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,870.00
          Meghan & Leticia Birdseye/Guevara                                     Contingent
          831 Hearthstone Drive                                                 Unliquidated
          Stone Mountain, GA 30083                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Mei Kamenik                                                           Contingent
          5182 silverbirch dr                                                   Unliquidated
          Castro valley, CA 94552                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Meilo & Kimberly Del Toro                                             Contingent
          238 Zenobia Street                                                    Unliquidated
          Denver, Co 80219                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,495.00
          Mel and Rose Reyes                                                    Contingent
          2807 Mossy Log Court                                                  Unliquidated
          Houston, TX 77084                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.259
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,915.00
          Melanie And Louis Perri                                               Contingent
          1284 Mystic Court                                                     Unliquidated
          Spring Hill, FL 34609                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,044.00
          Melanie And Robert Matej                                              Contingent
          PO BOX 363                                                            Unliquidated
          Orchard, TX 77464                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,935.00
          Melanie Schaar                                                        Contingent
          44250 W. Caven Drive                                                  Unliquidated
          Maricopa, AZ 85138                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.260
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Melia Hotels International                                            Contingent
          Gremio Toneleros                                                      Unliquidated
          24. Pol gono Industrial Son Castell . 07                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Melissa and Howard Fear                                               Contingent
          12238 W. 70th Ave                                                     Unliquidated
          Arvada, CO 80004-2332                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Melissa Cintron (Camacho)                                             Contingent
          4932 N. Nagle Ave                                                     Unliquidated
          Chicago, IL 60630                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,545.00
          Melissa Johnson                                                       Contingent
          3630 Josephine St                                                     Unliquidated
          Denver, CO 80205                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,918.00
          Melissa/Sharita Perez/Jones                                           Contingent
          110 Clearview Avenue #102                                             Unliquidated
          Friendswood, TX 77546                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Melito and Ivy Garcia                                                 Contingent
          6305 W 6th Ave D29                                                    Unliquidated
          Lakewoord, CO 80214                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.260
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,698.98
          Melody & Terry Mcdonald                                               Contingent
          13015 Terminal Way                                                    Unliquidated
          Woodbridge, VA 22193                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.260
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,996.00
          Melody Vroman                                                         Contingent
          122 Fessler Drive                                                     Unliquidated
          Bloomingdale, IL 60108                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,856.00
          Melvin & Emma Bates                                                   Contingent
          9399 W Burgandy Ave                                                   Unliquidated
          Littleton, CO 80123                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,745.00
          Melvin & Gloria Graves                                                Contingent
          1404 Lakewood Drive                                                   Unliquidated
          Joliet, IL 60431                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Melvin & Linda Drukman/Miller                                         Contingent
          5338 Brooke Ridge Dr.                                                 Unliquidated
          Dunwoody, GA 30338                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          MENU Silverleaf Resorts Headquarters &                                Contingent
          6321 Boulevard 26                                                     Unliquidated
          North Richland Hills, TX 76180                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Merchant Services                                                     Contingent
          PO BOX 6010                                                           Unliquidated
          Hagerstown, MD 21741                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Meredith Corporation                                                  Contingent
          5700 Knob Road                                                        Unliquidated
          Nashville, TN 37209                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.261
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Meredith Myers                                                        Contingent
          19342 E Purdue Cir                                                    Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,850.00
          Meredith Myers Consultant - Lighthouse B                              Contingent
          19342 E Purdue Cir                                                    Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3253
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Meridian Financial Services                                           Contingent
          PO Box 1410                                                           Unliquidated
          Ashville, NC 28802                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.261
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Merle & Vickie Lowe/Clark                                             Contingent
          1815 Downing Ave                                                      Unliquidated
          Westchester, IL 60154                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,048.00
          Merlene Castro                                                        Contingent
          586 Parkside Dr                                                       Unliquidated
          Chula Vista, CA 91910                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,550.00
          Merrill and Maxine Cazier                                             Contingent
          514 Americas Way #10803 Box                                           Unliquidated
          Elder, SD 57719                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mexico Grand Hotels                                                   Contingent
          AV. 16 DE SEPTIEMBRE #82, COL. CENTRO                                 Unliquidated
          MEXICO CITY, Mexico CDMX 6000                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.262
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mia Reef Isla Mujeres                                                 Contingent
          Islote El Yunque                                                      Unliquidated
          Zazil-ha s/n, Centro - Supmza. 001 77400                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       Q.R.
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,022.42
          Michael & Alice Dore                                                  Contingent
          407 Bronson Street                                                    Unliquidated
          Medina, OH 44256                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Michael & Alice Moore                                                 Contingent
          25 Wesley Dr. Apt E                                                   Unliquidated
          Asheville, NC 28803                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,245.00
          Michael & Anastasia Martinez                                          Contingent
          112 Standish Lane                                                     Unliquidated
          Schaumburg, IL 60193                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Michael & Cecilia Hyland                                              Contingent
          29635 Cottonwood Cove Dr                                              Unliquidated
          Menifee, CA 92584                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,232.00
          Michael & Diana Stephens                                              Contingent
          4938 Rabbit Mountain Ct                                               Unliquidated
          Colorado Springs, CO 80924                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.262
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Michael & Dianna Silberhorn                                           Contingent
          9026 Stargaze Ave                                                     Unliquidated
          San Diago, CA 92129                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.263
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Michael & Felicia & Jeremy Woodruff/Wall                              Contingent
          620 Camden Ridge                                                      Unliquidated
          Birmingham, AL 35226                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Michael & Jamie Mattei                                                Contingent
          7890 Laurel Drive                                                     Unliquidated
          Nineveh, IN 46164                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,245.00
          Michael & Kim Anderson                                                Contingent
          1790 White Oaks Rd                                                    Unliquidated
          Campbell, CA 95008                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,571.00
          Michael & Lisa Green                                                  Contingent
          10638 E 112th Way                                                     Unliquidated
          Henderson, CO 80640                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,398.00
          Michael & Margarita McGuire                                           Contingent
          7868 Drake Road                                                       Unliquidated
          Woodbury, MN 55125                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Michael & Mildred (Millie) Gardner/Cox                                Contingent
          3385 Ravinia Circle                                                   Unliquidated
          Aurora, IL 60504                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,102.50
          Michael & Patty Jo Johnson                                            Contingent
          61 Golf House Rd                                                      Unliquidated
          Laguna Vista, TX 78578                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.263
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,882.75
          Michael & Roberta Marvels                                             Contingent
          3 Pointview Court                                                     Unliquidated
          Arden, NC 28704                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          Michael & Sheila Geoghan                                              Contingent
          57 Coral Dr                                                           Unliquidated
          Hazlet, NJ 07730                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,833.71
          Michael & Sonia Escobedo                                              Contingent
          2411 Quail Valley East Drive                                          Unliquidated
          Missouri City, TX 77459                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Michael & Stephanie Guise                                             Contingent
          7719 Hillgate Way                                                     Unliquidated
          Parker, CO 80134                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,533.00
          Michael & Valinda Goodman                                             Contingent
          6037 Zinnia Court                                                     Unliquidated
          Arvada, CO 80004                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,564.12
          Michael & Wanda Klindt                                                Contingent
          103 Bridlewood Lane                                                   Unliquidated
          Bluffton, SC 29910                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,980.00
          Michael (Mike) Aldrich                                                Contingent
          1180 Graves Ave B                                                     Unliquidated
          Estes Park, CO 80517                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.264
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,245.00
          Michael (Mike) and Mary Beth Berent                                   Contingent
          414 Sagebrush Road                                                    Unliquidated
          Naperville, IL 60565                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          MICHAEL A.MOLFETTA and Flordia Legal                                  Contingent
          Con                                                                   Unliquidated
          9000 NW 44th St Suite 220                                             Disputed
          Sunrise, FL 33351
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.264
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Michael and Amiana Judd                                               Contingent
          39820 US HWY, 19 N Lot #108                                           Unliquidated
          Tarpon Springs, FL 34689                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,754.00
          Michael and Christie Galbos                                           Contingent
          5728 South Caper Street                                               Unliquidated
          Boise, ID 83716                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,000.00
          Michael And Debra Sampiller                                           Contingent
          309 Yolane Drive                                                      Unliquidated
          Sugar Grove, IL 60554                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.264
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,250.00
          Michael And Geraldine Horn                                            Contingent
          10 Boxwood Drive                                                      Unliquidated
          Morristown, NJ 07960                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,225.00
          Michael And Joan Finnerty                                             Contingent
          2 Phylmor Dr.                                                         Unliquidated
          Westboro, MA 01581                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.265
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,245.00
          Michael and Karleen Leger                                             Contingent
          3401 Lee Pkwy STE 2105                                                Unliquidated
          Dallas, TX 76065                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,745.00
          Michael and Kimberly Dennis                                           Contingent
          8646 E Nance St                                                       Unliquidated
          Mesa, AZ 85207                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,200.00
          Michael And Lynne Driscoll                                            Contingent
          5612 E Dayshore Walk                                                  Unliquidated
          Long Beach, CA 90803                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,850.00
          Michael and Marcena Reed                                              Contingent
          3156 Secretariat Lane                                                 Unliquidated
          Montgomery, IL 60538                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Michael and Mary Vetere                                               Contingent
          112 Longwell Dr                                                       Unliquidated
          Grove City, PA 16127                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,920.00
          Michael and Ruth Turczyn III/Turczyn                                  Contingent
          2218 Redwood Dr                                                       Unliquidated
          Slatington, PA 18080                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Michael and Sandra Edwards                                            Contingent
          197 Range Street                                                      Unliquidated
          Hartline, WA 99135                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.265
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,246.50
          Michael and Shannon Kofta                                             Contingent
          4220 Blair Ridge Rd                                                   Unliquidated
          Cedar Falls, IA 50613                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.265
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Michael And Sharron Pizzuto                                           Contingent
          PO Box 44                                                             Unliquidated
          Golden, CO 80402                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,008.00
          Michael and Terri Balzano                                             Contingent
          2016 Naamans Rd, Unit #B1                                             Unliquidated
          Wilmington, DE 19810                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,695.00
          Michael and Terrilyn Renella                                          Contingent
          17056 W. 63rd Drive                                                   Unliquidated
          Arvada, CO 80403                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,245.00
          Michael And Yolanda Richards                                          Contingent
          3129 West 100th Place                                                 Unliquidated
          Evergreen Park, IL 60805                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Michael Beaton                                                        Contingent
          6505 N Windmont Ave                                                   Unliquidated
          Parker, CO 80134                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,600.00
          Michael Carpenter                                                     Contingent
          16754 E Ave X Space 28                                                Unliquidated
          Llano, CA 93544                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.266
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Michael Corrigan                                                      Contingent
          1257 Briarhollow Ln                                                   Unliquidated
          Highlands Ranch, CO 80129                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,450.00
          Michael Curry and Nora Villasenor                                     Contingent
          2874 Everett Dr                                                       Unliquidated
          Friendswood, TX 77546                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,652.00
          Michael Ferguson and Sandy Ho                                         Contingent
          3770 Hickory Hill Dr.                                                 Unliquidated
          Colorado Springs, CO 80906                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,673.00
          Michael Friday                                                        Contingent
          2772 El Camino Real N                                                 Unliquidated
          Salines, CA 93907                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.266
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Michael Haas                                                          Contingent
          6900 W Grant Ranch Blvd. #23                                          Unliquidated
          Littleton, CO 80123                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Michael Hailey/Kathy Reese                                            Contingent
          563 27th Trail                                                        Unliquidated
          Cotopaxi, CO 81223                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Michael Healey                                                        Contingent
          58 Mill Street                                                        Unliquidated
          Weymouth, MA 02188                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.267
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Michael J Early                                                       Contingent
          3150 S Tamarac Dr, Apt E306                                           Unliquidated
          Denver, CO 80231                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Michael Karaman                                                       Contingent
          439 westwood center #15                                               Unliquidated
          Fayetteville, NC 28314                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,392.47
          Michael Madison                                                       Contingent
          22737 Meadow View Road                                                Unliquidated
          Morrison, CO 80465                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,830.00
          Michael Matveenko                                                     Contingent
          176 Stage Coach Rd                                                    Unliquidated
          Sicklerville, NJ 08081                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,900.00
          Michael Mihane                                                        Contingent
          3892 South Mission Parkway                                            Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,845.00
          Michael Psaras                                                        Contingent
          90 Hickory Lane                                                       Unliquidated
          Bayville, NJ 08721                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.267
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,388.00
          Michael Troedel                                                       Contingent
          1709 Mulberry Dr                                                      Unliquidated
          Lake Villa, IL 60046                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.267
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,376.00
          Michele & Percy Forward Jr                                            Contingent
          4831 Sunset Park Lane                                                 Unliquidated
          Rosharon, TX 77583                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,420.00
          Michele And Andre Powell                                              Contingent
          8639 S Rockwell St                                                    Unliquidated
          Chicago, IL 60652                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,300.00
          Michell Martinez                                                      Contingent
          1648 N Magnolia Ave #106                                              Unliquidated
          El Cajon, CA 92020                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,005.00
          Michelle & James Lansford                                             Contingent
          2778 Vista View Drive                                                 Unliquidated
          Lewisville, TX 75067                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Michelle & Robert Kerro                                               Contingent
          116 North Port Lane                                                   Unliquidated
          Huron, OH 44839                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,245.00
          Michelle (Murphy) Dorcas                                              Contingent
          389 SW Upstage Glen                                                   Unliquidated
          Lake City, FL 32024                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,432.00
          Michelle and Donald Adams                                             Contingent
          4810 Mimosa St                                                        Unliquidated
          Loveland, CO 80535                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.268
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,700.00
          Michelle and Mark Macgregor                                           Contingent
          1217 Raindrop Way                                                     Unliquidated
          Castle Rock, CO 80109                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,559.73
          Michelle and Robert Moyler                                            Contingent
          8022 Parnell St                                                       Unliquidated
          Houston, TX 77051                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,457.10
          Michelle Cole                                                         Contingent
          11560 Summer Trace                                                    Unliquidated
          Hampton, GA 30228                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.268
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,591.05
          Michelle Elko and Cliff Jodzuweit                                     Contingent
          2324 S Elm Drive                                                      Unliquidated
          Denver, CO 80222                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,407.85
          Michelle Grinnage                                                     Contingent
          4996 Notting Glen Lane                                                Unliquidated
          Snellville, GA 30039                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,977.65
          Michelle Jordan                                                       Contingent
          2811 Shadow Woods Court                                               Unliquidated
          Houston, TX 77043                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,412.55
          Michelle Mathewson                                                    Contingent
          1635 E 7th Ave                                                        Unliquidated
          Denver, CO 80218                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.269
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,244.60
          Michelle Smith-Ausman and Robert Ausman                               Contingent
          307 Birch Avenue                                                      Unliquidated
          Pittsburgh, PA 15228                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,940.00
          Michelle Stevenson                                                    Contingent
          40 Vendor Lane                                                        Unliquidated
          Mays Landing, NJ 08330                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Michelle Valencia                                                     Contingent
          483 Greenhorn Dr                                                      Unliquidated
          Canon City, CO 81212                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Michigan Department of Attorney General                               Contingent
          525 W. Ottawa St.                                                     Unliquidated
          Lansing, MI 48906                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Middle Earth                                                          Contingent
          43980 Mahlon Vail Road, #806                                          Unliquidated
          Temecula, CA 92592                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Middle Earth                                                          Contingent
          1309 Coffeen Avenue, Suite 2500                                       Unliquidated
          Sheridan, WY 82801                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.269
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          MIDDLE EARTH, LTD.                                                    Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.270
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,328.00
          Midge Forson                                                          Contingent
          209 Long Ridge Dr.                                                    Unliquidated
          Murrells Inlet, SC 29576                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,678.54
          Miguel And Jessica Chaparro                                           Contingent
          108 Crest Drive                                                       Unliquidated
          Log Lane Village, CO 80705                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Miguel Lujan                                                          Contingent
          5820 S Windermere Street                                              Unliquidated
          Littleton, CO 80120                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,108.25
          Miguel Williams                                                       Contingent
          5806 Perrie Ln                                                        Unliquidated
          Camp Springs, MD 20746                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $51,480.00
          Mike & Laurine Tilley                                                 Contingent
          11009 Valley Lights Dr                                                Unliquidated
          El Chion, CA 92020                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,900.00
          Mike And Bonnie O'Grady                                               Contingent
          5799 W. Conservation Dr                                               Unliquidated
          Frederick, CO 80504                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Mike And Carol Waters                                                 Contingent
          296 Anchors Way                                                       Unliquidated
          North Court, FL 34287                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.270
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,536.00
          Mike and Erika Humbert                                                Contingent
          894 E County Down Dr                                                  Unliquidated
          Chandler, AZ 85249                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Mike Whittenburg                                                      Contingent
          152 A. Ayer Rd                                                        Unliquidated
          Shirley, MA 01464                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.270
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.50
          Mildred Burnside, W. Fredrick Burnside a                              Contingent
          520 North Halsted Street                                              Unliquidated
          Apartment 412                                                         Disputed
          Chicago, IL 60642
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.271
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          MIle High Productions                                                 Contingent
          4215 Independence Dr                                                  Unliquidated
          Loveland, CO 80538                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,795.00
          Milinda (Mindy) Mcginnis (Holston)                                    Contingent
          36182 W. 287th St.                                                    Unliquidated
          Paola, KS 66071                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,604.18
          Milton & Debra Martin                                                 Contingent
          522 Majestic Ridge Dr                                                 Unliquidated
          Houston, TX 77049                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Milton & Yaritza Gonzalez                                             Contingent
          20700 Leeward Ln.                                                     Unliquidated
          Cutler Bay, FL 33189                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.271
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,108.25
          Mindy Kobusch                                                         Contingent
          2220 Applecross Road                                                  Unliquidated
          Inverness, IL 60010                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          MINNESOTA ATTORNEY GENERAL                                            Contingent
          445 Minnesota Street , Suite 1400                                     Unliquidated
          St. Paul, MN 55101                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Minnie Acosta Richardson                                              Contingent
          (303) 873-4751 ext 401                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.271
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,330.00
          Minnie and Jowana Williams and Dona Halt                              Contingent
          7705 Fanwood Court                                                    Unliquidated
          District Heights, MD 20747                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          MIQ (National Display Online)                                         Contingent
          1001 Bannock St.                                                      Unliquidated
          Denver, CO 80204                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.271
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          MIQ (National Display Online)                                         Contingent
          261 5th Ave 26th floor                                                Unliquidated
          New York, NY 10016                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Miramar Residents Club-Costa Rica                                     Contingent
          61101 Playa Herradura                                                 Unliquidated
          Garabito, Puntarenas Costa Rica                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.272
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,420.00
          Miriam Broderick                                                      Contingent
          840 Grove Street                                                      Unliquidated
          Haddonfield, NJ 08033-1030                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,775.00
          Misleidys Lemus and Yerandys Avila                                    Contingent
          8201 NW 68th Ave                                                      Unliquidated
          Tamarac, FL 33321                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mississippi Attorney General                                          Contingent
          P.O. Box 220                                                          Unliquidated
          Jackson, MS 39205                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Missouri Attorney General's Office                                    Contingent
          Supreme Court Building 207 W. High St. P                              Unliquidated
          Jefferson City, MO 65102                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,300.00
          Mitch Jones                                                           Contingent
          6235 Split Creek Lane                                                 Unliquidated
          Alexandria, VA 22312                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mitchell Reed Sussman & Associates                                    Contingent
          1053 S Palm Canyon Dr                                                 Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mizner Place as Westin Tower                                          Contingent
          1775 Bonaventure Blvd.                                                Unliquidated
          Weston, FL 33326                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.272
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Modular Interiors, Inc.                                               Contingent
          PO Box 202                                                            Unliquidated
          Broomfield, CO 80038                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.272
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          MOLFETTA LAW                                                          Contingent
          15795 Rockfield Blvd suite a,                                         Unliquidated
          Irvine, CA 92618                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,249.55
          Molly And John Todd                                                   Contingent
          4046 South Yampa Street                                               Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,440.00
          Mona & Nicole Offer/Suggs                                             Contingent
          643 Picther Street                                                    Unliquidated
          Baltimore, MD 21217                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,200.00
          Mona Mohsen                                                           Contingent
          8 Larkfield Dr                                                        Unliquidated
          Toronto, ON M3B2H1                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Monarch Grand Vacations                                               Contingent
          8335 Las Vegas Blvd S                                                 Unliquidated
          Las Vegas, NV 89123                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,598.00
          Monica (Mikki) & Lawrence (Larry) Wagner                              Contingent
          317 Alabama St SW                                                     Unliquidated
          Lonsdale, MN 55046                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.273
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,732.00
          Monica Hegeman                                                        Contingent
          7989 Sioux Ln                                                         Unliquidated
          Lakeland, FL 33810                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,376.00
          Monice Silas                                                          Contingent
          411 E. 72nd St., Floor #1                                             Unliquidated
          Chicago, IL 60619                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,745.00
          Monique and Phill Spinabella                                          Contingent
          At Life Stream                                                        Unliquidated
          13617 N 55th Ave Apt 101                                              Disputed
          Glendale, AZ 85304
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.273
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Monique Davis                                                         Contingent
          18375 E Idaho Pl                                                      Unliquidated
          Aurora, CO 80017                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.273
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,800.00
          Monique Gadsby and Quentin Hall                                       Contingent
          97-30 57th Ave #15M                                                   Unliquidated
          Corona, NY 11368                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Montana Office of the Attorney General                                Contingent
          215 N Sanders St.                                                     Unliquidated
          Helena, MT 59601                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Monte Cristo Estates                                                  Contingent
          Predio Para so Escondido 1 23450 Cabo Sa                              Unliquidated
          Baja California Sur Mexico                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.274
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,105.00
          Montgomery & Robin Younce                                             Contingent
          10072 E Superstition Range Rd                                         Unliquidated
          Gold Canyon, AZ 85118                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,420.00
          Montriece & Raynell Robles/McBride                                    Contingent
          530 S Dovson Rd Apt 324                                               Unliquidated
          Mesa, AZ 85202                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Morgan Lanae Gutierrez-Armijo                                         Contingent
          10826 Rainribbon Rd                                                   Unliquidated
          Highlands Ranch, CO 80126                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mount Vista                                                           Contingent
          1301 S. Crismon Road Mesa                                             Unliquidated
           AZ 85209                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mountain Loft                                                         Contingent
          4960 Conference Way North Suite 100                                   Unliquidated
          Boca Raton, FL FL 33431                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mountain Side Lodge                                                   Contingent
          4417 Sundial Place Whistler                                           Unliquidated
          B.C. Canada V8E 0M8                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.274
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mountain Village                                                      Contingent
          455 Mountain Village Blvd. Suite A                                    Unliquidated
          Mountain Village, CO 81435                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.274
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mountain Vista Condominium Association                                Contingent
          11002 Benton St                                                       Unliquidated
          Westminster, CO 80020                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mountainside Lodge                                                    Contingent
          4417 Sundial Place Whistler                                           Unliquidated
          B.C. Canada V8E 0M8                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          MROP - ORE                                                            Contingent
          1521 East 3900 South                                                  Unliquidated
          Salt Lake City, UT 84124                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Multi Resort Ownership                                                Contingent
          1521 E 3900 S                                                         Unliquidated
          Salt Lake City, UT 84124                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Multi Resorts Ownership                                               Contingent
          1521 E 3900 S.                                                        Unliquidated
          Salt Lake City, UT 84124                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          MWG Administrators                                                    Contingent
          PO Box 14067                                                          Unliquidated
          Jackson, MS 39236                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Mystic Dunes Resort & Golf Club (Diamond                              Contingent
          7600 Mystic Dunes Ln                                                  Unliquidated
          Celebration, FL 34747                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.275
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,821.51
          NACM Commercial Services                                              Contingent
          606 N Pines Rd Suite 102                                              Unliquidated
          Spokane Valley, WA 99206                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8195
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,061.00
          Nancy & Edward J. Galaydamock/Mock                                    Contingent
          4009 Welchester Dr                                                    Unliquidated
          Chyenne, WY 82009                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,515.00
          Nancy and Robert Carter                                               Contingent
          9608 Summit Ridge Ct.                                                 Unliquidated
          Parker, CO 80138                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.275
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,600.00
          Nancy and Scott Candler                                               Contingent
          7368 W. Fremont Dr.                                                   Unliquidated
          Littleton, CO 80128                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,048.50
          Nancy Cowee                                                           Contingent
          12464 E. Wesley Ave                                                   Unliquidated
          Aurora, CO 80014                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,376.00
          Nancy Hall                                                            Contingent
          5775 West 29th Street                                                 Unliquidated
          #312                                                                  Disputed
           CO 80634
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.276
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Nancy Hassell-Haight                                                  Contingent
          5233 Bellaire Blvd                                                    Unliquidated
          B108                                                                  Disputed
          Bellaire, TX 77401
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.276
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Nancy Seid                                                            Contingent
          693 East Halpin Drive                                                 Unliquidated
          Meridian, ID 83646                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,938.43
          Nannette And Tom Inocente                                             Contingent
          4205 Old Timber Lane                                                  Unliquidated
          Crowley, TX 76036                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Nantucket Resorts                                                     Contingent
          3 Step Lane                                                           Unliquidated
          Nantucket, MA 02554                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,880.00
          Naomi Foster                                                          Contingent
          401 W. Spring St                                                      Unliquidated
          West Haven, CT 06516                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Natalie & Abimelec Bodaghian/Burgos                                   Contingent
          6108 W Ave. L12                                                       Unliquidated
          Lancaster, CA 93536                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,607.80
          Natalie Walker                                                        Contingent
          3485 Eagle Ridge Drive                                                Unliquidated
          Woodbridge, VA 22191-6562                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.276
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,950.00
          Nathan & Gloria Miller                                                Contingent
          1505 Fort Duquesna Dr                                                 Unliquidated
          Sun City Center, FL 33573                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.277
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Nathan & Tanya Minor                                                  Contingent
          1810 Goulv Drive                                                      Unliquidated
          District Heights, MD 20747                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Nathan Witmyer                                                        Contingent
          5818 Cumbre Vista Way                                                 Unliquidated
          CO Springs, CO 80924                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,318.81
          Nathaniel (Niel) & Brenda Foote                                       Contingent
          499 Alton Road                                                        Unliquidated
          Galloway, OH 43119                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,282.75
          Natisha And Lawrence Reeves-Williams                                  Contingent
          537 Stephen Drive N                                                   Unliquidated
          Schererville, IN 46375                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Nativo                                                                Contingent
          100 N. Pacific Coast Highway, 10th Floor                              Unliquidated
          El Segundo, CA 90245                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          NBC                                                                   Contingent
          30 Rockefeller Plaza                                                  Unliquidated
          New York, NY 10112                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          NBC4 WCMH-TV                                                          Contingent
          3165 Olentangy River Road                                             Unliquidated
          Columbus, OH 43202                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.277
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Nebraska Attorney General                                             Contingent
          2115 State Capitol                                                    Unliquidated
          Lincoln, NE 68509                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,038.00
          Neil & Gloria Gonzalez                                                Contingent
          11551 Erwin Street Apt. 2                                             Unliquidated
          North Hollywood, CA 91606                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.277
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,045.00
          Neil and Beth Carlberg                                                Contingent
          916 49th Ave Ct                                                       Unliquidated
          Greeley, CO 80634                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,176.69
          Nelly Perez-Mendez and Rogelio Mendez                                 Contingent
          3759 W. 58th Pl                                                       Unliquidated
          Chicago, IL 60629                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,132.40
          Nelson & Janice Eckrote                                               Contingent
          1614 Harding Avenue                                                   Unliquidated
          Williamsport, PA 17701                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Nelson and Silvana Girot                                              Contingent
          12310 SW 194th St                                                     Unliquidated
          Miami, FL 33177                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,227.00
          Neva & Gail Stevenson/Parsons                                         Contingent
          393 Homewood Ave                                                      Unliquidated
          Orillia, Ontario CA L3V3K9                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.278
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Nevada Attorney General                                               Contingent
          5420 Kietzke Lane, Suite 202                                          Unliquidated
          Reno, NV 89511                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Nevada Attorney General                                               Contingent
          Grant Sawyer Building 555 E. Washington                               Unliquidated
          Las Vegas, NV 89101                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Nevada Attorney General                                               Contingent
          100 North Carson Street                                               Unliquidated
          Carson City, NV 89701                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          New Hampshire Department of Justice                                   Contingent
          33 Capitol Street                                                     Unliquidated
          Concord, NH 03301                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          New Jersey Attorney General                                           Contingent
          Richard J. Hughes Justice Complex, 25 Ma                              Unliquidated
          Trenton, NJ 08611                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.278
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          New Mexico Attorney General                                           Contingent
          201 3rd St NW #300                                                    Unliquidated
          Albuquerque, NM 87102                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          New York Office of the Attorney General                               Contingent
          The Capitol                                                           Unliquidated
          Albany, NY 12224                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.279
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,725.00
          News Channel 8 WFLA - Great 38 WTTA                                   Contingent
          200 South Parker Street,                                              Unliquidated
          Tampa, FL 33606                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2733
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Newsmax Media                                                         Contingent
          750 Park of Commerce Dr                                               Unliquidated
          Boca Raton, FL 33487                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,336.50
          Nexstar Broadcasting Media Group                                      Contingent
          545 E John Carpenter Freeway Suite 700                                Unliquidated
          Irving, TX 75062                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2162
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,948.75
          Nexstar Media collections WKRN                                        Contingent
          PO Box 743299                                                         Unliquidated
          Atlanta, GA 30384                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,126.62
          Nextiva                                                               Contingent
          8800 E Chaparral Road Suite 300                                       Unliquidated
          Scottsdale, AZ 85250                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1548
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,707.10
          Nicholas & Candice Van Rooyen                                         Contingent
          4796 Apache Trail                                                     Unliquidated
          Columbiaville, MI 48421                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,956.67
          Nichole & Matthew Woodrum                                             Contingent
          1933 Indian Woods Lane                                                Unliquidated
          Okeana, OH 45053                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.279
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,206.00
          Nichole Fisher                                                        Contingent
          342 Ravinia Way                                                       Unliquidated
          Lawrenceville, GA 30044                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.279
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Nick & Cynthia Slattery                                               Contingent
          31070 463rd Ave                                                       Unliquidated
          Vermillion, SD 57069                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.280
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,795.00
          Nick & Paula Boyett                                                   Contingent
          600 Chandler Drive                                                    Unliquidated
          Baytown, TX 77521                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.280
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,890.00
          Nick (Harrison) & Linda Eiteljorg                                     Contingent
          142 Grays Lane                                                        Unliquidated
          Haverford, PA 10941                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.280
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,700.00
          Nick and Maria Paparella                                              Contingent
          1460 Mohawk Rd                                                        Unliquidated
          Mohegan Lake, NY 10547                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.280
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,900.00
          Nicklaus and Stephanie Diede                                          Contingent
          4360 Thompson Parkway                                                 Unliquidated
          Johnstown, CO 80534                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.280
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,072.00
          Nicolas, Yahani, Kelly and Vicki Robinso                              Contingent
          9003 Anderson Bluff                                                   Unliquidated
          Converse, TX 78244                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.280
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,418.00
          Nicole & Ralph Sheppard                                               Contingent
          2810 Ireton Place                                                     Unliquidated
          Kannapolis, NC 28083                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.280
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,367.75
          NIcole (Nikki) and Mara Saltzburg                                     Contingent
          7335 La Paz Court                                                     Unliquidated
          Apt 107                                                               Disputed
          Boca Raton, FL 33433
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.280
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,460.00
          Nicole and Daniel Folden                                              Contingent
          7881B Buckeye Cir                                                     Unliquidated
          Shaw AFB, SC 29152                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.280
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Nicole And Desarie Barclay                                            Contingent
          9603 Vinca Circle                                                     Unliquidated
          Apt F                                                                 Disputed
          Charlotte, NC 28213
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.280
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Nicole Foster                                                         Contingent
          23 Oakland St Apt 23-6                                                Unliquidated
          Aurora, CO 80012                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.281
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Nicole Rivera                                                         Contingent
          6000 S Fraser St 6-201                                                Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.281
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Nicole Spinato                                                        Contingent
          6226 Red Canyon Drive Apt G                                           Unliquidated
          Highlands Ranch, CO 80130                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.281
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,744.60
          Nicolle Hoffman and Mark Zemke                                        Contingent
          6678 S. Arapahoe Drive                                                Unliquidated
          Littleton, CO 80120                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.281
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,800.00
          Nievia & Walter Chambers                                              Contingent
          303 Lakeglen Ct                                                       Unliquidated
          Sugar Land, TX 77478                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.281
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,957.00
          Nina & Eduardo Cortez/Dehoyos                                         Contingent
          2309 Trinity Park Court                                               Unliquidated
          Deer Park, TX 77536                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.281
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,580.11
          Ninfa & Noelle Gancero                                                Contingent
          502 Redondo Dr                                                        Unliquidated
          Unit 110                                                              Disputed
          Downers Grove, IL 60516
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.281
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Noble Resorts                                                         Contingent
          600 6th St South                                                      Unliquidated
          Kirkland, WA 98033                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.281
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,900.00
          Noelani & Daniel Derouin                                              Contingent
          305 Choker St SE                                                      Unliquidated
          Olympia, WA 98503                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.281
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,900.00
          Noelise And Martin Cornelius                                          Contingent
          7607 Las Flores Dr                                                    Unliquidated
          Houston, TX 77083                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.281
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,372.00
          Noella And Wesley Violet                                              Contingent
          4919 Enchanted Springs Drive                                          Unliquidated
          Rosharon, TX 77583                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,440.00
          Noelle Schaffold-Noel and John Schaffold                              Contingent
          213 North Rose Drive                                                  Unliquidated
          Glenshaw, PA 15116-3117                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,040.00
          Nona Lee                                                              Contingent
          1508 E San Miguel Ave                                                 Unliquidated
          Phoenix, AZ 85014                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,800.00
          Nora Ortiz                                                            Contingent
          14218 S Manistee St                                                   Unliquidated
          Burnham, IL 60633                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,845.75
          Noreen And Paul Colley                                                Contingent
          200 Snyder Dr                                                         Unliquidated
          Moon Township, PA 15108                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Norm and Linda Bledsoe                                                Contingent
          21803 E Heritage Pkwy                                                 Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          Norma & Robert Pullen                                                 Contingent
          2802 Homecoming Lane                                                  Unliquidated
          Waldorf, MD 20603-4022                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.282
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Norma Alonzo and Lillian Bustos                                       Contingent
          4901 E Sunrise Dr #604                                                Unliquidated
          Tucson, AZ 85718                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,932.00
          Norma and Doel Echevarria                                             Contingent
          1129 Morris Court                                                     Unliquidated
          Beach Park, IL 60099                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,495.00
          Norma and Thomas Cameron                                              Contingent
          39 Goshen Rd.                                                         Unliquidated
          Carthage, MS 39051                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.282
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Norman & Beverly Walker/Nelson                                        Contingent
          9539 N Canyon Heights Dr                                              Unliquidated
          Cedar Hills, UT 84062                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,498.00
          Norman & Mercedes Fraga                                               Contingent
          2644 O'donnell drive                                                  Unliquidated
          San pablo, CA 94806                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,148.00
          Norman (Kevin) & Leora Whiting                                        Contingent
          992 E. Ashburn Mountain Drive                                         Unliquidated
          Sahuarita, AZ 85629                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,849.00
          Norman And Barbara Atkins                                             Contingent
          4006 Chesley Martin Drive                                             Unliquidated
          Louisville, KY 40229                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.283
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,105.00
          Norman and June Brigandi                                              Contingent
          14152E Linvale Place Unit 604                                         Unliquidated
          Aurora, co 80014                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,045.00
          Norris & Carol Overdahl                                               Contingent
          268 Del Sol Ave                                                       Unliquidated
          Davenport, FL 33837                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,545.00
          Norris & Velma Dillard                                                Contingent
          4922 Mayflower St                                                     Unliquidated
          Houston, TX 77033                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          North Carolina Attorney General                                       Contingent
          114 West Edenton Street                                               Unliquidated
          Raleigh, NC 27603                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          North Dakota Attorney General                                         Contingent
          600 E. Boulevard Ave Dept. 125                                        Unliquidated
          Bismarck, ND 58505                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          North Pier Ocean Villas                                               Contingent
          1800 Canal Dr                                                         Unliquidated
          Carolina Beach, NC 28428                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.283
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,644.00
          Novlet Rose                                                           Contingent
          1661 Mariner Lane                                                     Unliquidated
          Port St. Lucie, FL 34983                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.284
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Nunzio & Carol Bonaventura                                            Contingent
          105 Sunning Dale Court South                                          Unliquidated
          Lancaster, PA 17603                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          O'Conner & Alita Anderson                                             Contingent
          4645 Hayes St. NE                                                     Unliquidated
          Washington DC, DC 20019                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Oak Plantation                                                        Contingent
          4090 Enchanted Oaks Cir                                               Unliquidated
          Kissimmee, FL 34741                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Oaks at Resort World Condo Association                                Contingent
          8451 PALM PARKWAY LAKE                                                Unliquidated
          BUENA VISTA, FL 32836                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Occidental Vacation Club                                              Contingent
          Av. Sarasota 65                                                       Unliquidated
          Santo Domingo, Dominican Republic                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ocean Canyon Properties                                               Contingent
          1001 Walnut St                                                        Unliquidated
          Texarkana, TX 75501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ocean Forest Colony                                                   Contingent
          5900 N Ocean Blvd                                                     Unliquidated
          Myrtle Beach, SC 29577                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.284
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ocean Key Resort                                                      Contingent
          0 Duval St                                                            Unliquidated
          Key West, FL 33040                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ocean Landing Coco Beach                                              Contingent
          900 N Atlantic Ave                                                    Unliquidated
          Cocoa Beach, FL 32931                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.284
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ocean Pines                                                           Contingent
          1445 Duck Rd                                                          Unliquidated
          Duck, NC 27949                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ocean Reef Yacht Club                                                 Contingent
          G83Q+Q5X                                                              Unliquidated
          Freeport, The Bahamas                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ocean Sands Beach Club                                                Contingent
          3301 Hill St                                                          Unliquidated
          New Smyrna Beach, FL 32169                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ocean Time                                                            Contingent
          6 135th St                                                            Unliquidated
          Ocean City, MD 21842                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Octavia And Slade Hollinger                                           Contingent
          261 Mango Dr                                                          Unliquidated
          Palatka, FL 32177                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.285
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,450.00
          Odis Richardson                                                       Contingent
          153 Jennifer Lane                                                     Unliquidated
          Calumet City, IL 60409                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Office of the Attorney General Colorado                               Contingent
          1300 Broadway, 10th Floor                                             Unliquidated
          Denver, CO 80203                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Office of the Attorney General of Iowa                                Contingent
          Hoover State Office Building 1305 E. Wal                              Unliquidated
          Des Moines, IA 50319                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Office of the Attorney General State of                               Contingent
          PL-01 The Capitol                                                     Unliquidated
          Tallahassee, FL 32399                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Office of the Maine Attorney General                                  Contingent
          6 State House Station                                                 Unliquidated
          Augusta, ME 04333                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.285
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Office of the Oklahoma Attorney General                               Contingent
          313 NE 21st Street                                                    Unliquidated
          Oklahoma City, OK 73105                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.286
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ohio Attorney General                                                 Contingent
          30 E. Broad St., 14th Floor                                           Unliquidated
          Columbus, OH 43215                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.286
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,445.00
          Ola & Aljahi Gardner                                                  Contingent
          2714 6th St                                                           Unliquidated
          Winthrop, IL 60096                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.286
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,699.16
          Olainia Taylor and Walter Haynes                                      Contingent
          PO Box 39013                                                          Unliquidated
          Denver, CO 80239                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.286
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,000.00
          Olalekan Daramola                                                     Contingent
          10524 Lavon Bend                                                      Unliquidated
          Austin, TX 78717                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.286
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Old Bay Getaway                                                       Contingent
          7 Fig Street                                                          Unliquidated
          Cape Charles, VA 23310                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.286
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,707.00
          Ole (Gus) and Anne Ovstegard                                          Contingent
          17 Beachwood Dr                                                       Unliquidated
          Hilton Head Island, SC 29928                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.286
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,179.27
          Olga And Larry Smith                                                  Contingent
          4340 Kansas st apt# 4                                                 Unliquidated
          San Diego, CA 92104                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.286
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Olive Holness                                                         Contingent
          5415 Trails Way                                                       Unliquidated
          Bakersfield, CA 93313                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.286
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Oliver and Helen Yoon                                                 Contingent
          300 State St unit 92233                                               Unliquidated
          SouthLake, TX 76092                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.286
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,450.00
          Olivia Bailon                                                         Contingent
          1658 Lomita Blvd.                                                     Unliquidated
          APT D                                                                 Disputed
          Harbor City, CA 90710
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.287
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,195.77
          Oluyinka (Yinka) Oluwaseun Fesojaiye                                  Contingent
          8201 Kona Ave                                                         Unliquidated
          Apt 290                                                               Disputed
          Jacksonville, FL 32211
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.287
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Olympic Village Inn                                                   Contingent
          1900 Squaw Valley Rd                                                  Unliquidated
          Olympic, CA 95730                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Olympic Village Inn, Tahoe                                            Contingent
          1909 Chamonix Pl,                                                     Unliquidated
          Olympic Valley, CA 96146                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,850.00
          Omar and Patricia Dena                                                Contingent
          24963 Coral Canyon Rd                                                 Unliquidated
          Corona, CA 92883                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Opal Gill/Sonya Jacobs                                                Contingent
          4018 177th St                                                         Unliquidated
          Country Club Hills, IL 60478                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.287
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,020.64
          Ora Washington                                                        Contingent
          8608 Paper Birch Lane, PO Box 16750                                   Unliquidated
          Fort Worth, TX 76162                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Orange Lake Resorts                                                   Contingent
          8505 W Irlo Bronson Memorial Hwy                                      Unliquidated
          Kissimmee, FL 34747                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Oregon Department of Justice                                          Contingent
          1162 Court St. NE                                                     Unliquidated
          Salem, OR 97301                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Oritshemajemite Oma-Pedru Maj Pedru and                               Contingent
          10333 Clay Road Apt 4005                                              Unliquidated
          Houston, TX 77041                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.287
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,240.00
          Orlando and Vernail Price                                             Contingent
          534 Georgia Circle                                                    Unliquidated
          Loganville, GA 30052                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.288
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,995.00
          Orlando Arredondo and Gloria Avila                                    Contingent
          17156 East Dorado Drive                                               Unliquidated
          Centennial, CO 80015                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.288
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Orlando Resort Development Group                                      Contingent
          ONE VANCE GAP ROAD                                                    Unliquidated
          ASHEVILLE, NC 28805                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.288
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,400.00
          Oscar Canizales                                                       Contingent
          3910 Woodlake Dr                                                      Unliquidated
          Hanover Park, IL 60133                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.288
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Outdoor Promotions                                                    Contingent
          7100 North Broadway #7G                                               Unliquidated
          Denver, CO 80221                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.288
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Outfront Media                                                        Contingent
          4647 Leyden St                                                        Unliquidated
          Denver, CO 80216                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.288
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Oyster Bay                                                            Contingent
          4357 S Island Hwy                                                     Unliquidated
          Campbell River, BC V9H 1N4, Canada                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.288
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,125.00
          Pablo & Errika Cavero                                                 Contingent
          18741 E Water Dr                                                      Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.288
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Pablo (Pepi) Pepin                                                    Contingent
          5858 North Mulligan Ave                                               Unliquidated
          Apt 1                                                                 Disputed
          Chicago, IL 60646
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.288
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $36.50
          PACER Service Center                                                  Contingent
          PO Box 5208                                                           Unliquidated
          Portland, OR 97208                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       4807
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.288
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Pacific Office Automation                                             Contingent
          14747 NW Greenbrier Pkwy                                              Unliquidated
          Beaverton, OR 97006                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.289
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Pacifico Palmarini                                                    Contingent
          94803 Hilspach ST                                                     Unliquidated
          Philadelphia, PA 19115                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.289
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          PAHIO Resorts                                                         Contingent
          3970 Wyllie Rd                                                        Unliquidated
          Princeville, HI 96722                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.289
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Palace Resorts                                                        Contingent
          301 NW 18th Ave                                                       Unliquidated
          Miami, FL 33125                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.289
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Palace View South - Branson                                           Contingent
          700 Blue Meadows Rd                                                   Unliquidated
          Branson, MO 65616                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.289
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Palm Beach Resort                                                     Contingent
          22984 Perdido Beach Blvd                                              Unliquidated
          Orange Beach, AL 36561                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.289
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Palm Beach Shores Resort                                              Contingent
          181 S Ocean Ave                                                       Unliquidated
          Palm Beach Shores, FL 33404                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.289
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Palm Canyon                                                           Contingent
          2800 S Palm Canyon Dr                                                 Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.289
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Palm Shore Beach                                                      Contingent
          181 S Ocean Ave                                                       Unliquidated
          Palm Beach Shores, FL 33404                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.289
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Palmera Resorts                                                       Contingent
          33 Office Park Road, Unit 219                                         Unliquidated
          Hilton Head Island, SC 29938                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.289
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Palms Golf Club                                                       Contingent
          57000 Palms Dr                                                        Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Paloma & Charles Hill                                                 Contingent
          4315 Stonebridge Drive                                                Unliquidated
          Missouri City, TX 77459                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,520.00
          Pam & Dave Falls                                                      Contingent
          1901 Falconhurst Drive                                                Unliquidated
          Charlotte, SC 28216                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Pam and Melvin Ora                                                    Contingent
          1290 Milano Cir                                                       Unliquidated
          Dunedin, FL 69380-4384                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.290
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,500.00
          Pam Dunlap                                                            Contingent
          4017 17th St. North                                                   Unliquidated
          St. Petersburg, FL 33714                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,650.00
          Pamela & Duane Holmes                                                 Contingent
          4455 South Van Gordon way                                             Unliquidated
          Morrison, CO 80465                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,903.07
          Pamela & Randall Smith                                                Contingent
          9125 Rockrose Drive                                                   Unliquidated
          Tampa, FL 33647                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,998.00
          Pamela & William Boiler                                               Contingent
          1919 Mount Blanco Rd.                                                 Unliquidated
          Chester, VA 23836                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Pamela And Al Durel                                                   Contingent
          108 Pintail Dr.                                                       Unliquidated
          Clute                                                                 Disputed
           TX 77531
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.290
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,856.00
          Pamela and Jeffrey Meyer                                              Contingent
          3045 Timberchase Trail                                                Unliquidated
          Highlands Ranch, CO 80126                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.290
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,295.00
          Pamela and Paul Highfill                                              Contingent
          5502 Winding Way Dr                                                   Unliquidated
          Houston, TX 77091                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.291
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,245.00
          Pamela and Sheldon Barthlama                                          Contingent
          3536 Delta Court                                                      Unliquidated
          Loveland, CO 80538                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,900.00
          Pamela Carter                                                         Contingent
          700 N Leisure Point                                                   Unliquidated
          Inverness, FL 34453                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,300.00
          Pamela Petties                                                        Contingent
          950 W. 116th St.                                                      Unliquidated
          Chicago, IL 60643                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,472.34
          Pamela Shaw                                                           Contingent
          35 Jean Drive                                                         Unliquidated
          Florissant, MO 63031                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,949.00
          Pamela Wilson and Custer Trust                                        Contingent
          11754 Encino Ave                                                      Unliquidated
          Granada Hills, CA 91344                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Paniolo Resort                                                        Contingent
          68-1745 Waikoloa Rd                                                   Unliquidated
          Waikoloa Village, HI 96738                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Paradise Beach Resort and Spa                                         Contingent
          Av. Paseo de los Cocoteros 1 Nuevo Valla                              Unliquidated
          Nayarit Mexico                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.291
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Paradise Island Beach Club Bahamas                                    Contingent
          suite 1226, Garden View Drive,                                        Unliquidated
          Paradise Island Nassau, Paradise Island                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Paradise Village                                                      Contingent
          Av. Paseo de los Cocoteros 1 Nuevo Valla                              Unliquidated
          , Riviera Nayarit, Nay Mexico                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.291
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Park Regency Resort                                                   Contingent
          1710 Prospector Ave                                                   Unliquidated
          Park City, UT 84060                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.292
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,253.00
          Parnell Jordan                                                        Contingent
          5325 Adams St.                                                        Unliquidated
          Merriville, IN 46410                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.292
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,950.00
          Parveen Ranjan                                                        Contingent
          14415 N 14th Dr                                                       Unliquidated
          Phoenix, AZ 85023                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.292
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,200.00
          Pat & Luke Morton                                                     Contingent
          255 Mason Ct                                                          Unliquidated
          Sycamore, IL 60178                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.292
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,370.00
          Pat and Charles Wertin                                                Contingent
          440 E Mineral Ct                                                      Unliquidated
          Littleton, CO 80122                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.292
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,250.00
          Pat Devine and Kirwan MacMillan                                       Contingent
          Po Box 295                                                            Unliquidated
          Plaistow, NH 03865                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.292
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Pat Espinoza                                                          Contingent
          8478 Mesa Heights Rd.                                                 Unliquidated
          Santee, CA 92071                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.292
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Pat Johnson                                                           Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.292
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,622.00
          Patrice Andreozzi                                                     Contingent
          6 Lake Dr                                                             Unliquidated
          New Fairfield, CT 06812                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.292
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,600.00
          Patrice Wall                                                          Contingent
          1114 W Williams Cir, Apt #5                                           Unliquidated
          Elizabeth City, NC 27909                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.292
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Patricia & William Johnson                                            Contingent
          720 Oak Terrace                                                       Unliquidated
          Orange City, FL 32763                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,250.00
          Patricia Allison                                                      Contingent
          1333 Armsley Ct                                                       Unliquidated
          Fort Collins, CO 80525                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.293
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Patricia and Dale Polick                                              Contingent
          3328 Stonebridge Trail                                                Unliquidated
          Valrico, FL 33596                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,295.00
          Patricia and Henry Jackson                                            Contingent
          23 Union Landing RD                                                   Unliquidated
          Cinnaminson, NJ 08077                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,382.50
          Patricia And Joseph Putila                                            Contingent
          300 Center Street                                                     Unliquidated
          Carmichaels, PA 15320-1048                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,715.90
          Patricia And Patrick Puranda                                          Contingent
          5021 Lake Field Drive                                                 Unliquidated
          Douglasville, GA 30135                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Patricia And Peter Daniluk                                            Contingent
          9424 W. Kentucky Ave.                                                 Unliquidated
          Lakewood, CO 80226                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,105.00
          Patricia and Stanley Frahm                                            Contingent
          6757 S Gibraltar Ct                                                   Unliquidated
          Centennial, CO 80016                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,426.51
          Patricia Avila and Pablo Olvera                                       Contingent
          6002 S 43rd St                                                        Unliquidated
          Phoenix, AZ 85042                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.293
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,583.00
          Patricia Bolanos                                                      Contingent
          12-04 robin lane                                                      Unliquidated
          Bayside, NY 11360                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.293
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Patricia Dykes                                                        Contingent
          11540 Lemmond Acres Drive                                             Unliquidated
          Mint Hills, NC 28227                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,277.50
          Patricia Fredrick                                                     Contingent
          16932 East Amherst Drive                                              Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,283.25
          Patricia Gryder                                                       Contingent
          1220 Camelot Ct.                                                      Unliquidated
          Lenoir, NC 28645                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,495.00
          Patricia Ressmeyer                                                    Contingent
          3095 Carson Street                                                    Unliquidated
          Aurora, CO 80011                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,804.00
          Patrick & Bonnie Robinson                                             Contingent
          7036 S. Shawnee                                                       Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Patrick & Christina Boling                                            Contingent
          75733 Rickelin Dr.                                                    Unliquidated
          Covington, LA 70435                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.294
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,108.00
          Patrick & Debra Neeley                                                Contingent
          5009 Marburn Ct                                                       Unliquidated
          Sacramento, CA 95823                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Patrick & Kendra Cole                                                 Contingent
          4877 Cinta Ct.                                                        Unliquidated
          San Diego, CA 92122                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Patrick Johnson                                                       Contingent
          3410 S. Biscay Way                                                    Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.294
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Patrick Mogbo                                                         Contingent
          367 W. Locust Street                                                  Unliquidated
          Unit 307                                                              Disputed
          Chicago, IL 60610
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.294
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Patrick Sylvester                                                     Contingent
          915 N York St. Condo 202                                              Unliquidated
          Elmhurst, IL 60126                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.295
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          PATRIOT ADVOCATES, INC.                                               Contingent
          1065 W. MORSE BLVD., SUITE 103                                        Unliquidated
          Winter Park, FL 32789                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.295
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,521.00
          Patti and Stosh Bippus                                                Contingent
          15050 Harrison Street                                                 Unliquidated
          Brighton, CO 80602                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.295
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $27,660.00
          Paul & Carolyn Secor                                                  Contingent
          2934 Beachtree Lane                                                   Unliquidated
          Bedford, TX 76021                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.295
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,250.00
          Paul & Donnie Keys                                                    Contingent
          24479 S. Independence Blvd.                                           Unliquidated
          Crete, IL 60417                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.295
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,458.00
          Paul & Gay (GG) Marshall                                              Contingent
          11414 Taos Lane                                                       Unliquidated
          Houtson, TX 77070                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.295
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Paul & Jean Marietta                                                  Contingent
          8714 Oak Park Ave                                                     Unliquidated
          Oak Lawn, IL 60453                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.295
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,190.00
          Paul & Linda Smith                                                    Contingent
          502 Oldcastle St.                                                     Unliquidated
          Houston, TX 77013                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.295
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Paul & Lorraine Shoemaker                                             Contingent
          212 Sun Swept                                                         Unliquidated
          Troy, MO 63379                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.295
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,745.00
          Paul & Nancy Anderson                                                 Contingent
          8364 Sumpter Ct                                                       Unliquidated
          Elizabeth, CO 80107                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.295
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Paul & Phyllis Forsythe                                               Contingent
          1054 N. 88th St.                                                      Unliquidated
          Mesa, AZ 85207                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,887.00
          Paul & Sandra Thompson                                                Contingent
          23766 bouquet canyon pl                                               Unliquidated
          Moreno Valley, CA 92557                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,167.00
          Paul and Angela Grandacarpio                                          Contingent
          2213 Cushman Drive                                                    Unliquidated
          Columbia, SC 29204                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,515.00
          Paul And Karen Washington                                             Contingent
          902 W. Mierianne St                                                   Unliquidated
          Houston, TX 77088                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Paul Breidenbach and Deborah Duley                                    Contingent
          2469 Bold Springs Road                                                Unliquidated
          Dacula, GA 30019                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,950.00
          Paul Jaminet                                                          Contingent
          13175 Elizabeth St.                                                   Unliquidated
          Thornton, CO 80241                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,894.00
          Paul Mayo                                                             Contingent
          5502 W Buena Vista Ave                                                Unliquidated
          Visalia, CA 93291                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.296
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Paul Miller                                                           Contingent
          PO Box 24463                                                          Unliquidated
          Denver, CO 80224                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $26,674.00
          Paul Puskar                                                           Contingent
          707 Cottonwood Dr                                                     Unliquidated
          Monroeville, PA 15146                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.296
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,845.00
          Paul Reed                                                             Contingent
          0N801 Friendship Way                                                  Unliquidated
          Unit 1204                                                             Disputed
          Geneva, IL 60134
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.296
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,400.00
          Paula and Courtney Torrey                                             Contingent
          14104 Reeves Road                                                     Unliquidated
          Robbins, IL 60472                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Paula And Larry Kendrick                                              Contingent
          206 Ivy Hill Court                                                    Unliquidated
          Stephens City, VA 22655                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,250.00
          Paula and Marilyn Schulze/Helpenstell                                 Contingent
          7042 S. Valdai St                                                     Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,038.00
          Paula and Michael Kotchian                                            Contingent
          5 Dooling Circle                                                      Unliquidated
          Peabody, MA 01960                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.297
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,213.00
          Paula and Ronald Shaffer                                              Contingent
          242 Frontier St.                                                      Unliquidated
          Grand Junction, CO 81503                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Paula Clark-Martin                                                    Contingent
          29951 E 163 Place                                                     Unliquidated
          Brighton, CO 80603                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Paula Haddock, LLC                                                    Contingent
          744 Glencoe St.                                                       Unliquidated
          Denver, CO 80220                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,309.49
          Paula Hopkins-Routten                                                 Contingent
          18413 Bent Pine Drive                                                 Unliquidated
          Hudson, FL 34667                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,950.00
          Paula Potts and Patricia Colon                                        Contingent
          2116 South Clinton                                                    Unliquidated
          Berwyn, IL 60402                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,498.00
          Paulina & Mike Fendel                                                 Contingent
          (214) 228-5113 or mike.fendel@gmail.com                               Unliquidated
           TX                                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.297
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,183.25
          Pauline & Moe Mercado                                                 Contingent
          132 47th Ave Ct                                                       Unliquidated
          Greeley, CO 80634                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.298
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,255.00
          Pauline Jessica Dario and Adel Abou Alch                              Contingent
          774 Broadway, Apt A                                                   Unliquidated
          Bayonne, NJ 07002                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Payment Depot                                                         Contingent
          238 W Chapman Ave UNIT 201                                            Unliquidated
          Orange, CA 92866                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,520.00
          Peggy & Glen Thompson                                                 Contingent
          1902 Concord St                                                       Unliquidated
          Deer Park, TX 77536                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,920.00
          Peggy & Melvin (Deceased) Walker                                      Contingent
          319 7th St Pl SW                                                      Unliquidated
          Conover, NC 28613                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,072.00
          Peggy & Ted Hockless                                                  Contingent
          14503 Round Mountain Dr.                                              Unliquidated
          Houston, TX 77090                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Peggy & Thomas Lundberg                                               Contingent
          44408 348th Lane                                                      Unliquidated
          Aitkin, MN 56431                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,441.00
          Peggy Earnest, Stephanie and Traci Loud                               Contingent
          270 Main St.                                                          Unliquidated
          Newport, NJ 08345                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.298
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Pennsylvania Office of Attorney General                               Contingent
          Strawberry Square                                                     Unliquidated
          Harrisburg, PA 17120                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Peppertree Resorts Limited                                            Contingent
          6277 SEA HARBOR DR                                                    Unliquidated
          Orlando, FL 32821                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.298
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Peregrine Home Owners Association Inc.                                Contingent
          6015 Lehman Dr                                                        Unliquidated
          Colorado Springs,, CO 80918                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Perennial Vacation Club                                               Contingent
          1775 River Ranch Drive                                                Unliquidated
          Bandera, TX 78003                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,806.00
          Perry and Ruby Moore                                                  Contingent
          16240 E Eldorado Pl                                                   Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Perry Miller and Caroline Marvets                                     Contingent
          N8405 510th St                                                        Unliquidated
          Spring Valley, WI 54767                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,890.00
          Peter & Frances Reynolds                                              Contingent
          1116 Fidelity Dr.                                                     Unliquidated
          Pittsburgh, PA 15236                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.299
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,716.00
          Peter & Maria Sciambia                                                Contingent
          4820 Bridle Path Way                                                  Unliquidated
          Fort Worth, TX 76244                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Peter & Patricia Vukas                                                Contingent
          12006 Forestview Dr.                                                  Unliquidated
          Orland Park, IL 60467                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,520.00
          Peter & Rose Marie Mast                                               Contingent
          3923 Westib Dr                                                        Unliquidated
          Fulshear, TX 77441                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Peter and Grace Wang                                                  Contingent
          13915 Rockingham Rd                                                   Unliquidated
          Germantown, MD 20874                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Peter And Margaret Craney                                             Contingent
          Lincoln Dr.                                                           Unliquidated
          Peshtigo, WI 54157                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.299
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,850.00
          Peter Battista and Citywide Building Mai                              Contingent
          1555 Industrial Dr.                                                   Unliquidated
          Itasca, IL 60143                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Peter Catalano                                                        Contingent
          244 California St                                                     Unliquidated
          Apt B                                                                 Disputed
          Newton, MA 02458
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.300
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Peter Kuhns                                                           Contingent
          3495 Stockton Drive                                                   Unliquidated
          Mount Pleasant, SC 29466                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,800.00
          Peter Ross                                                            Contingent
          W305N7261 COUNTY RD E                                                 Unliquidated
          Heartland, WI 53029                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,949.00
          Petrease & Omar Jefferson/Broussard                                   Contingent
          107 W Austin St                                                       Unliquidated
          Dayton, TX 77535                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,425.00
          Phil Abello                                                           Contingent
          6420 Gilmore Grove                                                    Unliquidated
          Colorado Springs, CO 80918                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,270.00
          Phil and Chritine Egan                                                Contingent
          8420 E 160th Pl                                                       Unliquidated
          Brighton, CO 80602                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Philip & Christina Desautels                                          Contingent
          801 W Lucerene                                                        Unliquidated
          Layfette, CO 80026                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,320.00
          Philip & Eliza Villa                                                  Contingent
          23881 W Desert Bloom St.                                              Unliquidated
          Buckeye, AZ 85326                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.300
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Philip & Emily Brister                                                Contingent
          3105 11th St. NE                                                      Unliquidated
          Watford City, ND 58854                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.300
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,550.00
          Philip Earl                                                           Contingent
          33 Pine Acres Road                                                    Unliquidated
          Foxborow, MA 00025-7908                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,750.00
          Philip Feinstein                                                      Contingent
          1100 Russell Blvd                                                     Unliquidated
          Thornton, CO 80229                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Phillip & Alma Josey                                                  Contingent
          117 North Dale Rd                                                     Unliquidated
          Glen Burnie, MD 21060                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,400.00
          Phillip & Heather Pollok                                              Contingent
          161 Cortez St                                                         Unliquidated
          Sterling, CO 80751                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,600.00
          Phillip & Jennifer Wylie                                              Contingent
          265 Dumas City Rd                                                     Unliquidated
          El Dorado, AR 71730                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Philomema and Funmilayo Olukemi                                       Contingent
          1962 S. Oswego                                                        Unliquidated
          Aurora, CO 80014                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.301
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,599.00
          Phyllis and Tom Gildenblatt                                           Contingent
          1208 Rothschild Blvd.                                                 Unliquidated
          Southlake, TX 76092                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,394.65
          Phyllis Shotkoski                                                     Contingent
          6324 S Elati St                                                       Unliquidated
          Littleton, CO 80120                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,957.75
          Phyllis Wilson                                                        Contingent
          118 Madison St SW                                                     Unliquidated
          Washington DC, Washington DC 20011-0000                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Pier 7 Condominium Trust                                              Contingent
          711 MA-28                                                             Unliquidated
          South Yarmouth, MA 02664                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.301
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Pine Meadows                                                          Contingent
          120 Vischer Drive                                                     Unliquidated
          Mountain Village, CO 81435                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Pines Meadow Ridge/RCI                                                Contingent
          83 Meadow Ln                                                          Unliquidated
          Fraser, CO 80442                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Pinney Shores                                                         Contingent
          8350 Piney Shores Dr                                                  Unliquidated
          Conroe, TX 77304                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.302
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Plantation Resort                                                     Contingent
          1101 Platt Blvd.                                                      Unliquidated
          Surfside Beach, SC 29575                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Playa Del Sol                                                         Contingent
          444 Florida St SE                                                     Unliquidated
          Albuquerque, NM 87108                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Playa Grande - Mexico                                                 Contingent
          Av. Playa Grande 1, Centro, 23450                                     Unliquidated
          , Cabo San Lucas, B.C. Mexico                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Players Club Owners Association                                       Contingent
          35 Deallyon Ave                                                       Unliquidated
          Hilton Head Island, SC 29928                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Plaza Del Sol Club                                                    Contingent
          Los Igualados, 83010 Hermosillo                                       Unliquidated
          , Sonora Mexico                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Plaza Pelicanos Grand Beach Resort                                    Contingent
          Ave. Jos Clemente Orozco 131, Zona Hote                               Unliquidated
          Las Glorias, 48330, Puerto Vallarta, Jal                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.302
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Plaza Resort Club                                                     Contingent
          121 West St                                                           Unliquidated
          Reno, NV 89501                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.302
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Plaza Vacation Club                                                   Contingent
          Jos Clemente Orozco 131, Zona Hotelera                                Unliquidated
          Puerto Vallarta, Jalisco Mexico                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Plusthis                                                              Contingent
          2490 S Gilbert Rd #200-B                                              Unliquidated
          Chandler, AZ 85286                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Poipu Point                                                           Contingent
          1613 Pe'e Rd                                                          Unliquidated
          Koloa, HI 96756                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,200.00
          Polina Stolyarova                                                     Contingent
          131 Delia Lane                                                        Unliquidated
          Phildelphia, PA 19115                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Pollard Brook Resort                                                  Contingent
          33 Brookline Rd                                                       Unliquidated
          Lincoln, NH 03251                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Polo Towers International                                             Contingent
          3745 S Las Vegas Blvd                                                 Unliquidated
          Las Vegas, NV 89109                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Pono Kai                                                              Contingent
          4-1250 Kuhio Hwy                                                      Unliquidated
          Kapa?a, HI 96746                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.303
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,042.00
          Porsia and Terry Carter                                               Contingent
          9340 E Girard Ave #6                                                  Unliquidated
          DEnver, co 80231                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Port O Call                                                           Contingent
          13 Barcelona Rd                                                       Unliquidated
          Hilton Head Island, SC 29928                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,930.00
          Portia Herron                                                         Contingent
          1603 Mallard Ct.                                                      Unliquidated
          Jonesboro, GA 30238                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.303
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,833.00
          Prashant & Nisha Desai                                                Contingent
          3004 Highlands By The Lake Way                                        Unliquidated
          Lakeland, FL 33812                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Preferred Villa group                                                 Contingent
          6850 Bermuda Rd                                                       Unliquidated
          Las Vegas, NV 89119                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Premier Vacation Club                                                 Contingent
          Paseo Herencia Mall G-101                                             Unliquidated
          J.E. Yrausquin Blvd 382-A, Palm Beach Ar                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Premiere Iheart                                                       Contingent
          15260 Ventura Blvd. Suite 400                                         Unliquidated
          Sherman Oaks, CA 91403                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.304
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,850.00
          Premkumarie Singh and Shahab Mohamed                                  Contingent
          721 Center Meadow Lane                                                Unliquidated
          Danberry, CT 06810                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Presidential Resorts                                                  Contingent
          9220 Plank Rd                                                         Unliquidated
          Spotsylvania Courthouse, VA 22553                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Principal Financial Group                                             Contingent
          711 High S                                                            Unliquidated
          Des Moines, IA 50392                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          Priscilla and James Greene                                            Contingent
          2950 E Old Settlers Blvd, Unit# 65                                    Unliquidated
          Round Rock, TX 78665                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,300.00
          Priscilla Denetdeel-Yildir                                            Contingent
          16825 North 14th Street                                               Unliquidated
          Phoenix, AZ 85022                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Productive Electric, LLC                                              Contingent
          2775 W Hampden Ave Suite 200                                          Unliquidated
          Englewood, CO 80110                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.304
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Promotora sunset beach club                                           Contingent
          PMB 477- 444 Brickell Ave.                                            Unliquidated
          Miami, FL 33131-2492                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.305
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Prosper Consulting, LLC                                               Contingent
          2628 S Flower CT                                                      Unliquidated
          Lakewood, CO 80227                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Pueblo Bonito Resorts                                                 Contingent
          2300 Boswell Court, Suite 225                                         Unliquidated
          Chula Vista, Cabo San Lucas, B.C. 91914-                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Puerto Rico Attorney General                                          Contingent
          Apartado 9020192                                                      Unliquidated
          San Juan, PR 00902-0192                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Pura Vida Club Lifestyle via Sunset Worl                              Contingent
          Blvd. Kukulcan Km. 7                                                  Unliquidated
          Zona Hotelera, 77500, Canc n, Q.R. Mexic                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Purely Makeup, LLC                                                    Contingent
          929 Park View St.                                                     Unliquidated
          Castle Rock, CO 80104                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          QM Resorts                                                            Contingent
          515 Nichols Blvd                                                      Unliquidated
          Sparks, NV 89431                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Quadna Mountain Vacation Owners Associat                              Contingent
          200 Quadna Mtn                                                        Unliquidated
          Road Hill City, MN 55748                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.305
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Quail Hollows - Crown Resorts                                         Contingent
          1 Edge Rock Drive                                                     Unliquidated
          Drums, PA 18222                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Quickbooks - Intuit                                                   Contingent
          2600 Marine Wa                                                        Unliquidated
          Mountain View, CA 94043                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.305
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,514.00
          Quindora Thurmon                                                      Contingent
          18221 Idlewild                                                        Unliquidated
          Country Club Hills, IL 60478                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Rachelle Fertig                                                       Contingent
          6401 S. Boston Street # L203                                          Unliquidated
          Greenwood Village, CO 80111                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,307.18
          Rachinda Smallwood                                                    Contingent
          9917 S. Union Ave.                                                    Unliquidated
          Chicago, IL 60628                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,950.00
          Racquel Queensborough, Robert Fearon and                              Contingent
          63 Freshspring Drive                                                  Unliquidated
          Brampton, ON L6R 3H8                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Radisson Hotel                                                        Contingent
          3814, 11340 Blondo St                                                 Unliquidated
          Omaha, NE 68164                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.306
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,450.00
          Rafael & Carmen Alvarez                                               Contingent
          22058 W Solano Dr                                                     Unliquidated
          Buckeye, AZ 85326                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,376.00
          Rafaela Reyes and Sarah Velasquez                                     Contingent
          701 Cyprus Hill Drive                                                 Unliquidated
          Little Elm, TX 75068                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,472.00
          Raiford and Leona Jenkins/Johnson                                     Contingent
          6500 Eastern Ave NE                                                   Unliquidated
          Washington, DC 20012                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Raintree North America Resorts                                        Contingent
          10000 Memorial Drive Suite 480                                        Unliquidated
          Houston, TX 77024                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Raintree Resort                                                       Contingent
          1000 Memorial Drive Suite 480                                         Unliquidated
          Houston, TX 77024                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.306
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,495.00
          Ralph and Mary Luna                                                   Contingent
          19712 E. Villanova Place                                              Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.307
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ralph Labrador                                                        Contingent
          (785) 223-7423 or rala22pr@gmail.com                                  Unliquidated
            89107                                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.307
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ramada                                                                Contingent
          22 Sylvan Way,                                                        Unliquidated
          Parsippany, NJ 07054                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.307
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,385.00
          Ramon And Marie Esguerra                                              Contingent
          231B Franklin Ave                                                     Unliquidated
          Cliffside Park, NJ 07010                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.307
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,117.00
          Ramona & Timothy Jones                                                Contingent
          PO Box 1218                                                           Unliquidated
          Cooleemee, NC 27014                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.307
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Ramsey and Faten Dahab                                                Contingent
          12000 N Bayshore Dr                                                   Unliquidated
          Apt 212                                                               Disputed
          North Miami, FL 33181
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.307
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Rancho Banderas                                                       Contingent
          Carretera a, Playa Destiladeras km 8.3,                               Unliquidated
          63729, Punta Mita, Nay Mexico                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.307
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Rancho San Lucas                                                      Contingent
          Carretera a Todos Santos KM 120 S/N Ranc                              Unliquidated
          San Lucas, 23473, IN Mexico                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.307
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,160.00
          Randal Parkhurst                                                      Contingent
          3711 S Athol Rd                                                       Unliquidated
          Athol, MA 01331                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.307
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,029.00
          Randall & Roberta Lawkin                                              Contingent
          7650 Holiday Drive                                                    Unliquidated
          Spring Hill, FL 34606                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.307
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Randy & Brenda Hunting                                                Contingent
          (702) 589-6128 or randylakeshore@aol.com                              Unliquidated
           ID 83801                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,100.00
          Randy & Jodie Hite                                                    Contingent
          5705 80th St North Apt 411                                            Unliquidated
          St Petersburg, Fl 33709                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,930.00
          Randy & Karen Greening                                                Contingent
          12194 Adams St                                                        Unliquidated
          Thornton, CO 80241                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,876.00
          Randy & Tiffany Lunow                                                 Contingent
          2709 Goldenrod Road                                                   Unliquidated
          North Newton, KS 67117                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Randy And Tonja Walker                                                Contingent
          98 S. Eaton St                                                        Unliquidated
          Lakewood, CO 80226                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,500.00
          Randy Austin                                                          Contingent
          155 Riverview Drive                                                   Unliquidated
          Dawsonville, GA 30534                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.308
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Randy Hudson                                                          Contingent
          2604 Gideon Ave                                                       Unliquidated
          Zion, IL 60099                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Randy Scott                                                           Contingent
          4401 W Jamison Pl                                                     Unliquidated
          Littleton, CO 80128                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Raquel Allen                                                          Contingent
          5620 Johnson Street                                                   Unliquidated
          Arvada, CO 80002                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,626.00
          Rashidah Burns                                                        Contingent
          7409 Kwantre Park Ave                                                 Unliquidated
          Richmond, VA 23237                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.308
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Rathel Walker                                                         Contingent
          1608 Meyers Rd                                                        Unliquidated
          Lombard, IL 60148                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.309
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,250.00
          Raul And Henrietta Thomas                                             Contingent
          11103 Balata Court                                                    Unliquidated
          Charlotte, NC 28269                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.309
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,419.67
          Raushanah & Lutfee Muhsin                                             Contingent
          806 Lower Ferry Road                                                  Unliquidated
          Unit 4N                                                               Disputed
           NJ 08628
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.309
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Raven & Jacy Canada/Patt                                              Contingent
          4903 Chardon Rd                                                       Unliquidated
          Richmond, VA 22231                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.309
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,766.00
          Rawa Rasheed                                                          Contingent
          7300 Pirates Cove                                                     Unliquidated
          #2093                                                                 Disputed
          Las Vegas, NV 89145
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.309
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,950.75
          Ray & Patty Gettel                                                    Contingent
          4000 County Road 43                                                   Unliquidated
          Bailey, CO 80421                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.309
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,330.00
          Ray & Yulia Vallejos                                                  Contingent
          7162 S. Newbern Ct                                                    Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.309
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Ray and Diane Buller                                                  Contingent
          7557 Fairway Lane Apt A                                               Unliquidated
          Maineville, OH 45039                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.309
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,176.00
          Rayburn Johnson                                                       Contingent
          8515 Southmeadow Dr                                                   Unliquidated
          Houston, TX 77071                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.309
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,595.00
          Raymond & Mary Reed                                                   Contingent
          490 Logansport Rd                                                     Unliquidated
          Ford City, PA 16226                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.309
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,550.00
          Raymond and Belinda Alaniz                                            Contingent
          228 Santa Barbara Ave                                                 Unliquidated
          Sanger, CA 93657                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.310
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,501.00
          Raymond And Cora Kuykendall                                           Contingent
          1193 County Road                                                      Unliquidated
          PO Box 656                                                            Disputed
          Blessing, TX 77419
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.310
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,045.00
          Raymond And Debra Davis                                               Contingent
          3501 West 85th Place                                                  Unliquidated
          Chicago, IL 60652                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.310
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,666.00
          Raymond and Mary J Carlson                                            Contingent
          708 E Bluestem Lane                                                   Unliquidated
          North Platte, NE 69101                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.310
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,470.00
          Raymond Caldwell and Harold Guidroz                                   Contingent
          PO Box 12547                                                          Unliquidated
          Denver, CO 80212                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.310
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,141.60
          Raymond Cox                                                           Contingent
          3406 E 117th Place                                                    Unliquidated
          Thornton, CO 80233                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.310
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,358.25
          Raymond T & Lucy Higgs                                                Contingent
          217 Motor Ave                                                         Unliquidated
          Port Angeles, WA 98362                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.310
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          RCI                                                                   Contingent
          9998 N Michigan Rd                                                    Unliquidated
          Carmel, IN 46032                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.310
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          Rebecca & Curt Kekuna                                                 Contingent
          800 Kiaala Place                                                      Unliquidated
          Honolulu, HI 96825                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.310
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,250.00
          Rebecca and Daniel Galindo                                            Contingent
          4605 Grider Pass                                                      Unliquidated
          Austin, TX 78749                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.310
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Rebecca And John Paul Perez                                           Contingent
          12526 Astoria Blvd.                                                   Unliquidated
          Houston, TX 77089                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,245.00
          Rebecca And Richard Stoker                                            Contingent
          902 East 23rd Street                                                  Unliquidated
          Newton, NC 28658                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Rebecca Bleau                                                         Contingent
          PO Box 32                                                             Unliquidated
          New Bern, NC 28563                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,700.00
          Rebecca Musumeci                                                      Contingent
          248 East Side Drive                                                   Unliquidated
          Concord, NH 03301                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.311
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,000.00
          Rebekkah Fisher                                                       Contingent
          1835 S Bannock Street Apt 102                                         Unliquidated
          Denver, Co 80223                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Redwolf Lodge at Squaw Valley                                         Contingent
          2000 Squaw, Loop Rd                                                   Unliquidated
          Olympic Valley, CA 96146                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Regal Palms                                                           Contingent
          2700 Sand Mine Rd                                                     Unliquidated
          Davenport, FL 33897                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,008.00
          Regina and Virginia Jones                                             Contingent
          8645 Provident St                                                     Unliquidated
          Philadelphia, PA 19150                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,829.00
          Reginald Walker                                                       Contingent
          109 Wave Rd, Unit #11                                                 Unliquidated
          Kings Mountain, NC 28086                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,000.00
          Regus Management Group LLC                                            Contingent
          P.O. Box 842456                                                       Unliquidated
          Dallas, TX 75284                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.311
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,155.00
          Rejane & Demetrius Miller                                             Contingent
          19506 Meadow Lakes Dr.                                                Unliquidated
          Cypress, TX 77433                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.312
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,469.76
          Rena Jackson                                                          Contingent
          560 Dixon Road                                                        Unliquidated
          Jonesboro, GA 30238                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,565.00
          Rene & Ania Curbelo                                                   Contingent
          1307 Windleaf Dr. Unit A                                              Unliquidated
          Reston, VA 20194                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,450.00
          Rene Morse                                                            Contingent
          7602 Parker Road                                                      Unliquidated
          Houston, TX 77016                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,499.00
          Renee Bazinet and Todd Healy                                          Contingent
          17167 E Hawksbead Drive                                               Unliquidated
          Parker, CO 80134                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,500.00
          Renee Enoch                                                           Contingent
          183 E. 98th St. Apt. 3A                                               Unliquidated
          New York, NY 10029                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,450.00
          Renee Regnier                                                         Contingent
          5434 Rome St                                                          Unliquidated
          Aurora, CO 80015                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,957.00
          Reno and Randy and Ryan Engel                                         Contingent
          4554 Marion Rd                                                        Unliquidated
          Marion, TX 76051                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.312
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Resort at World Golf Village                                          Contingent
          1 World Golf Pl                                                       Unliquidated
          St. Augustine, FL 32092                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Resort Marketing Corp Hilton Head                                     Contingent
          20 Executive Park Road                                                Unliquidated
          Hilton Head Island, SC 29928                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.312
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Reuben H. and Deborah C. Hubbart JR                                   Contingent
          866 Promenade Ln                                                      Unliquidated
          Bluffton, SC 29909                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,876.00
          Reyes and Rosalia Rodriguez Jr / Domingu                              Contingent
          3020 Lavell                                                           Unliquidated
          Wichita Falls, TX 76308                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Reynold (Dean) & Laura Meisegeier                                     Contingent
          100 WoodCrest Drive                                                   Unliquidated
          Swartz Creek, MI 48473                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,389.00
          Rhoda Harper-Smith                                                    Contingent
          12805 Richmond Ave                                                    Unliquidated
          Grandveiw, MO 64030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Rhode Island Office of the Attorney Gene                              Contingent
          150 South Main Street                                                 Unliquidated
          Providence, RI 02903                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.313
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,506.03
          Rhonda and James Jim Armbrester                                       Contingent
          4803 Jones Cove Road                                                  Unliquidated
          Cosby, TN 37722                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,250.00
          Rhonda Gunnels                                                        Contingent
          47722 CRC                                                             Unliquidated
          Center, CO 81125                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Rhonda Newman and James Smith                                         Contingent
          8644 Adrienne PL                                                      Unliquidated
          Manassas, VA 20110                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,245.00
          Ricardo & Donna Canchola                                              Contingent
          5778 Beadmell Eay                                                     Unliquidated
          Saramento, CA 95835                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,293.00
          Ricardo & Izabella Acosta/Milasinovich                                Contingent
          6835 Huron St, Unit #207                                              Unliquidated
          Broomfield, CO 80023                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.313
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,402.00
          Ricardo Haro and Guadalupe De La Rosa                                 Contingent
          3302 S. 61 Ave.                                                       Unliquidated
          Cicero, IL 60804                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,750.00
          Rich & Sheila Griffin                                                 Contingent
          10973 Glengate Circle                                                 Unliquidated
          Highlands Ranch, CO 80130                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.314
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,070.00
          Richard & Anne Presley                                                Contingent
          1019 Pecan Ridge Lane                                                 Unliquidated
          Sealy, TX 77474                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          Richard & Balbina Rosalez                                             Contingent
          175 Country Rd 228                                                    Unliquidated
          Ganado, TX 77962                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,000.00
          Richard & Beverly Schultz                                             Contingent
          P.O. Box 41705                                                        Unliquidated
          St. Petersburg, FL                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          Richard & Cynthia Dushuttle/Devine                                    Contingent
          1511 Binney Dr                                                        Unliquidated
          Fort Pierce, FL 34949                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,500.00
          Richard & Heidi Zomnir                                                Contingent
          800 Chapel Hill Court                                                 Unliquidated
          Gibsonia, PA 15044                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,800.00
          Richard & Janelle Reding                                              Contingent
          1937 W Carrizo Springs                                                Unliquidated
          Pueblo, CO 81007                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,050.00
          Richard & Kathy Lucero/Rojas                                          Contingent
          2895 S Vaughn Way                                                     Unliquidated
          Aurora, CO 80014                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.314
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Richard & Kristen Lorentzen                                           Contingent
          19 Concord Rd                                                         Unliquidated
          Iselin, NJ 08830                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.314
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,161.33
          Richard & Latriece Connolly                                           Contingent
          2073 Graystone Hills Drive                                            Unliquidated
          Conroe, TX 77304                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,010.00
          Richard & Laura Gervais                                               Contingent
          5234 Carlingford                                                      Unliquidated
          Riverside, CA 92504                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,900.00
          Richard & Maggie Abbott-Wills                                         Contingent
          648 W Park Avenue                                                     Unliquidated
          Johnstown, CO 80534                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,015.00
          Richard & Teresa Galbraith                                            Contingent
          126487 N Bridge Road                                                  Unliquidated
          Aberdeen, SD 57401                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,617.75
          Richard & Wanda Harrison                                              Contingent
          431 NE Plantation Rd                                                  Unliquidated
          Stewart, FL 34996                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          RICHARD ALAN RUSSELL                                                  Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes




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 3.315
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Richard and Barbara Garti                                             Contingent
          11764 Casa Lago Ln                                                    Unliquidated
          Tampa, FL 33626                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,620.00
          Richard and Cindy Thomas                                              Contingent
          353 RiverFront Dr                                                     Unliquidated
          Hertford, NC 27944                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,545.00
          Richard and Emma Davis                                                Contingent
          7635 Great Bear Lake Drive                                            Unliquidated
          Micco, FL 32976                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,020.00
          Richard and Holly Rogers                                              Contingent
          27801 East Long Place                                                 Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.315
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,600.00
          Richard and Mary Jane Keller                                          Contingent
          1811 Educational DR                                                   Unliquidated
          White Oak, PA 15131                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.316
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,050.00
          Richard Capovilla and Willene Patton                                  Contingent
          308 Tartan Dr                                                         Unliquidated
          Johnstown, CO 80534                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.316
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,900.00
          Richard Harvey                                                        Contingent
          2957 Osceola St                                                       Unliquidated
          Denver, CO 80212                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.316
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,875.00
          Richard Howarth                                                       Contingent
          361 Rue Huron                                                         Unliquidated
          Pincourt, Quebec, Canada J7W 6G7                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.316
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Richard Sandoval                                                      Contingent
          3847 View Street                                                      Unliquidated
          Bakersfield, CA 93306                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.316
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          Richard Trivette                                                      Contingent
          1039 Castle Rock Court                                                Unliquidated
          Concord, NC 28025                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.316
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,500.00
          Rick & Janet Santana                                                  Contingent
          7791 18th Ave. North                                                  Unliquidated
          St. Petersburg, FL 33710                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.316
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,545.00
          Rick & Sandy Fell                                                     Contingent
          8587 Bluegrass Cir                                                    Unliquidated
          Parker, CO 80134                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.316
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,200.00
          Rick And Barbara Cherry                                               Contingent
          377 Caprice                                                           Unliquidated
          Lincolnton, NC 28092                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.316
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ridge at Tahoe                                                        Contingent
          400 Ridge Club Dr                                                     Unliquidated
          Stateline, NV 89449                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.316
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ridge Crest Resort - Tahoe/Interval/Reso                              Contingent
          26125 US-27                                                           Unliquidated
          Leesburg, FL 34748                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ridge Sierra Lake Tahoe                                               Contingent
          265 Quaking Aspen Ln                                                  Unliquidated
          Zephyr Cove, NV 89448                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,888.00
          Rigoberto & Kristie Rodriguez/ Martinez                               Contingent
          111 South Main Street                                                 Unliquidated
          Yerington, NV 89447                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Rip Tide Beach Club                                                   Contingent
          2806 N Ocean Blvd                                                     Unliquidated
          Myrtle Beach, SC 29577                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Rita (Joy) & Bryan Hundley                                            Contingent
          565 Easy St                                                           Unliquidated
          North Vernon, IN 47265-6432                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,762.50
          Rita Akanet                                                           Contingent
          19 Meadowbrook Ct Apt D                                               Unliquidated
          Fayatteville, GA 30215                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,820.00
          Rita Bowles                                                           Contingent
          8275 Circle Dr                                                        Unliquidated
          Westeminster, CO 80031                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.317
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,635.00
          Rita Eckhart                                                          Contingent
          1275 Mayfield Rd                                                      Unliquidated
          Alpharetta, GA 30009                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,468.00
          Rita Jones                                                            Contingent
          1333 Clybourne Street                                                 Unliquidated
          Batavia, IL 60510                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,820.82
          Rita Melson                                                           Contingent
          20 Lakemont Drive                                                     Unliquidated
          Newnen, GA 30263                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.317
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,595.00
          Rita Perkin                                                           Contingent
          8 6527 113th Place SE                                                 Unliquidated
          Bellevue, WA 98006                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,283.25
          Rita Sundermann                                                       Contingent
          817 NE Sonora Valley Cir                                              Unliquidated
          Blue Springs, MO 64014                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ritz-Carlton Club                                                     Contingent
          10400 FERNWOOD ROAD                                                   Unliquidated
          BETHESDA, MD 20817                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Rob & Carolyn Sheppard                                                Contingent
          55 Spring Meadow Dr                                                   Unliquidated
          Weatherly, PA 18255                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.318
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,995.00
          Robb and Tracy Hart                                                   Contingent
          5023 Fairfax E.                                                       Unliquidated
          Lakeland, FL 33813                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Robbin & Timothy Reynolds                                             Contingent
          4810 Bramble Way                                                      Unliquidated
          Shreveport, LA 71118                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,000.00
          Robert & Cynthia Pachello                                             Contingent
          2117 S Idalia St                                                      Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,223.00
          Robert & Debra Shuman                                                 Contingent
          9210 Pine Cove Rd                                                     Unliquidated
          Englewood, FL 34224                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,013.70
          Robert & Dixie Sharp                                                  Contingent
          3298 Hickory Fork Road                                                Unliquidated
          Gloucster, VA 23061                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Robert & Donna Pembrooke                                              Contingent
          449 Tivoli Rd                                                         Unliquidated
          Pittsburgh, PA 15239                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.318
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,545.00
          Robert & Elizabeth Bedi                                               Contingent
          1180 Chestershire Place                                               Unliquidated
          Pottstown, PA 19465                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.319
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,269.00
          Robert & Joan Merritt                                                 Contingent
          4222 CR 475                                                           Unliquidated
          Bushnell, FL 33513                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,358.00
          Robert & Kathleen Sembly                                              Contingent
          55 Southwell Court                                                    Unliquidated
          Dover, DE 19904                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,757.00
          Robert & Kerry Vano                                                   Contingent
          6107 E. Calle De Pompas                                               Unliquidated
          Cave Creek, AZ 85331                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,380.00
          Robert & Laura Casias                                                 Contingent
          5126 La Randa Dr.                                                     Unliquidated
          Pueblo, CO 81005                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,373.02
          Robert & Linda Bolerjack                                              Contingent
          4427 Shady River                                                      Unliquidated
          Missouri City, TX 77459                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,087.00
          Robert & Linda Campbell                                               Contingent
          3154 Ames Ave                                                         Unliquidated
          Kingman, AZ 86409                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Robert & Marcy Zavacky                                                Contingent
          415 Elmore Ave.                                                       Unliquidated
          West Mifflin, PA 15122                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.319
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,566.00
          Robert & Nancy Mockenhaupt                                            Contingent
          6749 W Fair Dr                                                        Unliquidated
          Littleton, Co 80123                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,867.00
          Robert & Sarita Darby                                                 Contingent
          247 County Road 1073                                                  Unliquidated
          Mountain Home, AR 72653                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.319
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,731.00
          Robert & Saundra Glyer                                                Contingent
          5420 Highway 554                                                      Unliquidated
          Calhoun, KY 42327                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,700.00
          Robert & Susan Hollis                                                 Contingent
          7020 W. 64th Ave                                                      Unliquidated
          Arvada, CO 80003                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,168.00
          Robert & Susan Saide                                                  Contingent
          7051 W. Eugie Ave.                                                    Unliquidated
          Peoria, AZ 85381                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,457.75
          Robert & Terrie Schleiter                                             Contingent
          4018 Cattail Pond Circle W                                            Unliquidated
          Jacksonville, FL 32224                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,180.00
          Robert & Vickie Gilmore                                               Contingent
          689 Cielo Vista Dr.                                                   Unliquidated
          Greenwood, IN 46143                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.320
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,950.00
          Robert and Ana Coronado                                               Contingent
          96 Camelot Ridge Dr.                                                  Unliquidated
          Brandon, FL 33511                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Robert and Angelita Kopec                                             Contingent
          2573 S Fundy Cir                                                      Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          Robert and Ann Morehead                                               Contingent
          4505 S Yosemite St #35                                                Unliquidated
          Denver, CO 80237                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,846.00
          Robert and Celinda Miller                                             Contingent
          9401 Central Park Ave                                                 Unliquidated
          Evanston, IL 60203                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,650.00
          Robert and Cynthia Primera                                            Contingent
          14831 Hollydale Dr.                                                   Unliquidated
          Houston, TX 77062                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.320
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,800.00
          Robert and Jacqueline Komrek                                          Contingent
          964 Oakview Rd                                                        Unliquidated
          Tarpon Springs, FL 34689                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Robert and Jamie McMichael                                            Contingent
          1220 Suncrest Lane                                                    Unliquidated
          Pueblo, CO 81005                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.321
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,900.00
          Robert and Kathryn Aliano                                             Contingent
          8067 S Newport Ct                                                     Unliquidated
          Centennial, CO 80112                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,350.00
          Robert And Linda Savage                                               Contingent
          23745 S. Jonathan Lane                                                Unliquidated
          Crete, IL 60417                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,691.00
          Robert And Lucia (Lucy) Castro                                        Contingent
          14117 W 6th St                                                        Unliquidated
          Santa Fe, TX 77517                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,522.99
          Robert and Lynn Bowman                                                Contingent
          130 36th Street                                                       Unliquidated
          Sea Isle City, NJ 08243                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,800.00
          Robert And Mahaley Souza                                              Contingent
          1674 Hwy 581                                                          Unliquidated
          Pikeville, NC 27863                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Robert And Margaret Parker                                            Contingent
          7762 Bloomfield Road                                                  Unliquidated
          Easton, MD 21601                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Robert and Marianne Dinges                                            Contingent
          7406 West 19th Street                                                 Unliquidated
          Greeley, CO 80634                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.321
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,411.05
          Robert and Mary Andersen                                              Contingent
          61141 Colorado Road 35                                                Unliquidated
          Genoc, CO 80818                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.321
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Robert and Rachel Munoz                                               Contingent
          3216 12th St                                                          Unliquidated
          Bay City, TX 77414                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Robert and Sarann Nolen                                               Contingent
          426 Tall Oaks Ln                                                      Unliquidated
          Richardson, TX 75081                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,670.00
          Robert and Shirley Ochsner                                            Contingent
          7141 South Coolidge Ct.                                               Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,569.00
          Robert Barrett                                                        Contingent
          7057 Talon Bay Drive                                                  Unliquidated
          North Port, FL 34287                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,298.00
          Robert Barry Minor                                                    Contingent
          6003 Wolf Creek Rd                                                    Unliquidated
          Wasa, BC ZOB2KO                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,022.50
          Robert Bryant                                                         Contingent
          304 Foxridge Road                                                     Unliquidated
          Orange Park, FL 32065                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.322
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,372.00
          Robert Gundel                                                         Contingent
          5090 Richmond Ave #280                                                Unliquidated
          Houston, TX 77056                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,283.30
          Robert Holloway                                                       Contingent
          11446 Jay St.                                                         Unliquidated
          Westminster, CO 80020                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Robert Jackson                                                        Contingent
          980 E. Main St.                                                       Unliquidated
          Smyrna, SC 29743                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,592.00
          Robert Lee                                                            Contingent
          281 Ponderosa Driv                                                    Unliquidated
          Boulder, CO 80303                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.322
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Robert Mace                                                           Contingent
          891 Dorchester Dr                                                     Unliquidated
          Carol Stream, IL 60188                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Robert Moore/Teri McMichael                                           Contingent
          6750 Falcon Springs Point                                             Unliquidated
          Peyton, CO 80831-7994                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Robert Morales                                                        Contingent
          1517 Lions Club Dr                                                    Unliquidated
          Brandon, FL 33511                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.323
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,250.00
          Robert Nelson                                                         Contingent
          5446 Ashbrook Place                                                   Unliquidated
          Downers Grove, IL 60515                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,979.00
          Robert Pletcher                                                       Contingent
          PO Box 1892                                                           Unliquidated
          Fraser, CO 80442                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Robert Sauzek                                                         Contingent
          158 Inverness Dr W, D215                                              Unliquidated
          Englewood, CO 80112                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Robert Sayle                                                          Contingent
          7562 Ellis Ave., Apt G3                                               Unliquidated
          Huntington Beach, CA 92648                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,445.00
          Robert Seaman                                                         Contingent
          333 Caruso Court                                                      Unliquidated
          Atlanta, GA 30350                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,250.00
          Robert Steapp and Sheila Karsh                                        Contingent
          3862 S. Xanthia St                                                    Unliquidated
          Denver, Co 80237                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.323
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Robert Sustak                                                         Contingent
          745 Hunting View Pt NW                                                Unliquidated
          Sandy Springs, GA 30328-2784                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.323
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Robert Talotta/Kathy Furgarino                                        Contingent
          416 Highland Ave.                                                     Unliquidated
          Westville, NJ 08093                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,420.00
          Roberta (Bobbi) J Wilson                                              Contingent
          2610 Park Hills Drive                                                 Unliquidated
          Sacramento, CA 95821                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,221.00
          Roberta and Charles Widiger                                           Contingent
          343 S Peoria Cr                                                       Unliquidated
          Aurora, CO 80012                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Roberta And Robert Brew                                               Contingent
          8114 Ashley Cir Drive N                                               Unliquidated
          Houston, TX 77071                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Roberta Haas                                                          Contingent
          100 Sophia Abe Apt # 204                                              Unliquidated
          Pittsburgh, PA 15236                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,570.40
          Roberta Rello and Al Casey                                            Contingent
          123 Gaslight Drive                                                    Unliquidated
          Apt 1                                                                 Disputed
          South Weymouth, MA 02190
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.324
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,400.00
          Robin Wabel                                                           Contingent
          770 West On the Greens Blvd                                           Unliquidated
          Cottonwood, AZ 86326-4597                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.324
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,450.00
          Robin Willis and Richard and Janet Green                              Contingent
          6509 Meadows West Dr                                                  Unliquidated
          Fort Worth, TX 76132                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,071.57
          Robin Wright and Lots of Love Preschool                               Contingent
          6052 Old Plank Blvd.                                                  Unliquidated
          Mattson, IL 60443                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Robina Lee                                                            Contingent
          4331 Gorman Ter SE                                                    Unliquidated
          Washington, D.C. 20019-0000                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.324
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Rodney & Donnetta Norris                                              Contingent
          611 Walnut Bend Drive                                                 Unliquidated
          Mansfield, TX 76063                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.325
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,517.00
          Rodney & Lori Covington                                               Contingent
          10402 N Mcclellan Drive                                               Unliquidated
          Fredericksburg, VA 22408                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.325
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,690.00
          Rodney and Janice McElvaine                                           Contingent
          15713 W Almeria Rd                                                    Unliquidated
          Goodyear, AZ 85395                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.325
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,900.00
          Roger & Carol Bolanda                                                 Contingent
          7555 Anvil Horn                                                       Unliquidated
          Littleton, CO 80127                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.325
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,145.00
          Roger & Donna Suro                                                    Contingent
          7 Great Circle Road                                                   Unliquidated
          Newark, DE 19711                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.325
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,957.75
          Roger & Rosalie Poole                                                 Contingent
          5034 Sand Rock Road                                                   Unliquidated
          Smithton, IL 62285                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.325
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,145.00
          Roger And Mitzi Mayfield                                              Contingent
          115 Springfield Dr                                                    Unliquidated
          Cooper, TX 75432                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.325
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,016.95
          Roger And Sharon Vincent                                              Contingent
          7106 Prairie Village Drive                                            Unliquidated
          Cypress, TX 77433                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.325
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,286.20
          Romeo & Carol Lafond                                                  Contingent
          1435 Blue Sky Way                                                     Unliquidated
          Unit 8-107                                                            Disputed
          Erie, CO 80516
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.325
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Romona Kea                                                            Contingent
          653 Morgans Trace                                                     Unliquidated
          Ellenwood, GA 30294                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.325
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,808.00
          Ron & Donna Hutchins                                                  Contingent
          12002 Nova Dr                                                         Unliquidated
          Houston, TX 77077                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.326
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,049.15
          Ron & Jackie Newlander                                                Contingent
          854 Sam Tennant Dr                                                    Unliquidated
          Dundee, FL 33838                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,773.00
          Ron & Kathryn Cline                                                   Contingent
          PO Box 197                                                            Unliquidated
          Ouray, CO 81427                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,632.00
          Ron and Donna Shaver                                                  Contingent
          318 Cheyenne St                                                       Unliquidated
          Ft Morgan, CO 80701                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Ron and Elena Roberts                                                 Contingent
          130 Scenic Trail                                                      Unliquidated
          Warrior, AL 35830                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Ron Griesenauer                                                       Contingent
          3853 Marcia Dr.                                                       Unliquidated
          St. Charles, MO 63304                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,750.00
          Ron Hyer                                                              Contingent
          387 Jess-Mar Drive                                                    Unliquidated
          Shawaee, CO 80475                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $31,033.20
          Ronald & Brenda Adams                                                 Contingent
          1229 Reedsport Place                                                  Unliquidated
          Desoto, TX 75115                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.326
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,600.00
          Ronald & Carol Allen                                                  Contingent
          1320 SE Ridgecrest Road                                               Unliquidated
          Happy Valley, OR 97086                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,810.55
          Ronald & Eloise White                                                 Contingent
          208 Womble Ave                                                        Unliquidated
          Savannah, GA 31406                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.326
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,395.00
          Ronald & June Burney                                                  Contingent
          5004 Sugar Farm Rd                                                    Unliquidated
          Hazlehurst, MS 39083                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.327
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,445.00
          Ronald & Mary Owen                                                    Contingent
          1011 Winding River Lane                                               Unliquidated
          Phoenixville, PA 19460                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.327
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,133.30
          Ronald & Vicki Scanlon                                                Contingent
          3614 Philmar Drive                                                    Unliquidated
          Toledo, OH 43623                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.327
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,200.00
          Ronald and Barbara Saville                                            Contingent
          2449 Jessica Drive                                                    Unliquidated
          Gilbertsville, PA 19525                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.327
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,795.00
          Ronald And Cara Reish                                                 Contingent
          839 Crestline Pl                                                      Unliquidated
          Littleton, CO 80120                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.327
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,528.45
          Ronald and Joyce Sampay                                               Contingent
          14615 Lourdes Drive                                                   Unliquidated
          Houston, TX 77049                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.327
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,738.00
          Ronald and Maryanne Fasula                                            Contingent
          425 E. Carol Ann Way                                                  Unliquidated
          Phoenix, AZ 85022                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.327
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,700.00
          Ronald And Sally Boys                                                 Contingent
          5 Rosehill Drive                                                      Unliquidated
          Sandys, Bermuda MA01                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.327
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Ronald and Susan Glotzbach                                            Contingent
          2733 Alstone Manor Dr.                                                Unliquidated
          Fort Wayne, IN 46804                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.327
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Ronald Ducroq                                                         Contingent
          2415 Marshall Parkway                                                 Unliquidated
          PO Box 8586                                                           Disputed
          Waukegan, IL 60079
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.327
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,310.00
          Ronald Johnson                                                        Contingent
          18981 100th Ave                                                       Unliquidated
          Tustin, MI 49688                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,587.00
          Ronald Lang                                                           Contingent
          2819 Linden Street                                                    Unliquidated
          Bethlehem, PA 18017                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.328
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,358.25
          Ronald Mitchell                                                       Contingent
          4015 W 93rd St Unit 2B                                                Unliquidated
          Oak Lawn, IL 60477                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,876.00
          Ronna and Rhett Buckley                                               Contingent
          7269 South Garland Court                                              Unliquidated
          Littleton, CO 80128                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,085.00
          Ronnie & Andrea Lynn Wyatt                                            Contingent
          4655 Lake View Drive West                                             Unliquidated
          Lakeland, FL 33813                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,000.00
          Ronnie & Judi Vaughn                                                  Contingent
          1708 Camino Rio                                                       Unliquidated
          Farmington, NM 87401                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,787.00
          Rosa & Nichelle Bentley                                               Contingent
          130 E Juanita                                                         Unliquidated
          Gilbert, AZ 85234                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,457.75
          Rosa & Yamil Widy                                                     Contingent
          1424 Chatsworth TRCE                                                  Unliquidated
          Lawrenceville, GA 30044                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,126.00
          Rosa And Victor Rodriguez/Alvarez                                     Contingent
          7829 41st Place                                                       Unliquidated
          Lyons, IL 60534                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.328
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,870.00
          Rosalind & Andrew Dunmore                                             Contingent
          111 Raleigh St SE                                                     Unliquidated
          Washington, DC 20032                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.328
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          Rosalind and Arthur Waller                                            Contingent
          100 Elizabeth Drive                                                   Unliquidated
          Apt 1401                                                              Disputed
          Pittsburgh, PA 15220
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.329
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,520.00
          Rosalind and Robert Ciencin                                           Contingent
          11440 W 78th Drive                                                    Unliquidated
          Aurora, CO 80005                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,796.00
          Rosalyne Cameron                                                      Contingent
          247 S. Pickett St Unit #301                                           Unliquidated
          Alexandria, VA 45787-1872                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,700.00
          Rosamari Isong                                                        Contingent
          6648 Youngstown                                                       Unliquidated
          Chino, CA 91710                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,061.00
          Rosanne and Calvin Moten                                              Contingent
          1605 Westchester Blvd.                                                Unliquidated
          Westchester, IL 60154                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Roscoe and Carol Dyal                                                 Contingent
          7395 East Ponderosa Circle                                            Unliquidated
          Parker, CO 80138                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.329
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Rose And Barry Roosevelt                                              Contingent
          3262 Canyon Glen Way                                                  Unliquidated
          Dacua, GA 30019                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Rose Braswell                                                         Contingent
          1117 Crescent Court                                                   Unliquidated
          Round Lake Beach, IL 60073                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,035.00
          Roseann Farrow (Masterson)                                            Contingent
          PO Box 10065                                                          Unliquidated
          Newburgh, NY 12552                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,200.00
          Rosemarie Read                                                        Contingent
          9201 E. Mississippi Ave.                                              Unliquidated
          Denver, CO 80247                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.329
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,690.00
          Rosemary, Michael and Patrick Walsh                                   Contingent
          1034 Fellsway                                                         Unliquidated
          Medford, MA 02155                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.330
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,664.00
          Rosendo and Teresa Treto                                              Contingent
          771 Glenarbor Circle                                                  Unliquidated
          Longmont, CO 80504                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.330
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,056.00
          Rosetta & Lacey Harper                                                Contingent
          501 Center Hill Ave NW                                                Unliquidated
          Atlanta, GA 30318                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.330
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Rosie & Thomas Mitchell                                               Contingent
          920 South Lyman Ave                                                   Unliquidated
          Oakpark, IL 60304                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.330
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          Rosita Redoux                                                         Contingent
          2420 Morningview Lane                                                 Unliquidated
          Castle Rock, CO 80109                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.330
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          Ross & Jennifer Brady                                                 Contingent
          208 Love Grass Court                                                  Unliquidated
          Wilmington, NC 28405                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.330
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,295.00
          Ross & Judith Landers                                                 Contingent
          8702 49th Terrace E                                                   Unliquidated
          Bradenton, FL 34211                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.330
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Roundhouse Resort in Pinetop                                          Contingent
          5829 Buck Springs Rd                                                  Unliquidated
          Pinetop, AZ 85935                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.330
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,300.40
          Roxanne Askins                                                        Contingent
          5121 Mountain View Drive                                              Unliquidated
          Krum, TX 76249                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.330
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Roxanne Carson and John Wiewel                                        Contingent
          6715 Rock Bridge Lane                                                 Unliquidated
          Ellenton, FL 34222                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.330
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,500.00
          Roy & Belinda Hopkins                                                 Contingent
          19434 W. Whitton Ave.                                                 Unliquidated
          Litchfield Park, AZ 85340                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,905.00
          Roy & Yvonne Jackson                                                  Contingent
          1037 South Adams Street                                               Unliquidated
          Hugoton, KS 67951                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,520.00
          Roy and Mary Perez                                                    Contingent
          231 Apache Place                                                      Unliquidated
          Lochbuie, CO 80603                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Roy and Sharon Johnson                                                Contingent
          3178 139th Ave NW                                                     Unliquidated
          Andover, MN 55304                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Royal Aloha Vacation Club                                             Contingent
          2224 Aloha Drive                                                      Unliquidated
          Honolulu, HI 96815                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Royal Beach and Tennis Club                                           Contingent
          400 Padre Blvd                                                        Unliquidated
          South Padre Island, TX 78597                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Royal Elite Vacation Club                                             Contingent
          Carretera Puerto Juarez-Chetumal Km. 295                              Unliquidated
          Calica, 77710, Playa del Carmen, Q. Mexi                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.331
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Royal Hacienda                                                        Contingent
          Km. 289+10, Carr. Canc n - Tulum, Centro                              Unliquidated
          , Playa del Carmen, Q. Mexico                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Royal Holiday Vacation Club                                           Contingent
          5727 NW 7th St - MMB # 281                                            Unliquidated
          Miami, FL 33126-3105                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,630.00
          Rozita Sterling and Ernest Cusseaux                                   Contingent
          404 Concord Drive                                                     Unliquidated
          Hurst, TX 76054                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.331
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,251.36
          Rubin And Marie Mack                                                  Contingent
          402 Fieldstone Drive                                                  Unliquidated
          Monroeville, PA 15146                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,380.00
          Ruby & Leroy Gordon                                                   Contingent
          601 S Edgelawn Dr                                                     Unliquidated
          Aurora, IL 60506                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,395.00
          Ruby Armstrong-Bey                                                    Contingent
          3541 S Telluride Way                                                  Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,800.00
          Rubye Bailey and Katie Autry                                          Contingent
          5952 W. Iowa St                                                       Unliquidated
          Chicago, IL 60651                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.332
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,300.00
          Rudolph Fuys & Annemarie Behrendt                                     Contingent
          5038 E. Emelita Ave                                                   Unliquidated
          Mesa, AZ 85206                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Russell & Judith Rugani/Karbowski                                     Contingent
          154 Foxwood Rd                                                        Unliquidated
          Coraopolis, PA 15108                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,534.00
          Russell & Tiffany Lind                                                Contingent
          527 South Oak Dr.                                                     Unliquidated
          Vadnais, MN 55127                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,312.19
          Russell And Donna Sutherland                                          Contingent
          560 Buccaneer Drive                                                   Unliquidated
          Winnie, TX 77665                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Ruth and Mark Stadtfeld                                               Contingent
          8022 Tamayo Dr                                                        Unliquidated
          Houston, TX 77083                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,394.65
          Ruth Ann & David Hankins                                              Contingent
          3140 West 50th Street                                                 Unliquidated
          Indianapolis, IN 46228                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.332
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ruth Barron Berumen                                                   Contingent
          2951 Alder St                                                         Unliquidated
          Denver, CO 80260                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.333
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,182.00
          Ruth Schmieden                                                        Contingent
          9627 N Crystal Lake Drive                                             Unliquidated
          Littleton, CO 80125                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,218.00
          Ruthie And Adriane Brown                                              Contingent
          605. N 33rd St                                                        Unliquidated
          Philadelphia, PA 19104                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,250.00
          Ryan & Angela King                                                    Contingent
          5666 Waverley Rd.                                                     Unliquidated
          Firestone, CO 80504                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,024.00
          Ryan & Carrie Taylor                                                  Contingent
          13852 Farm Road 69 North                                              Unliquidated
          Sulphur Bluff, TX 75481                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,626.00
          Ryan & Claudia Dacoscos/Ibarra                                        Contingent
          1663 East G Street Apt 151                                            Unliquidated
          Ontario, CA 91764                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Ryan Brown                                                            Contingent
          1827 S Ventura St                                                     Unliquidated
          Aurora, CO 80017                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,500.00
          Saba Wolde and Dan Teferi                                             Contingent
          20347 Center Brook Square                                             Unliquidated
          Sterling, VA 20165                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.333
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Sabrina and Alexander Cherry/Barking                                  Contingent
          2188 A Fulton Street                                                  Unliquidated
          Brooklyn, NY 11233                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,300.00
          Sabrina Woods/Susette Baines                                          Contingent
          17927 Diamond Peak Court                                              Unliquidated
          Humble, TX 77346                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.333
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,872.00
          Saeng Sayavong                                                        Contingent
          7171 Ruth Way                                                         Unliquidated
          Denver, CO 80221                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Sally and Richard Giller                                              Contingent
          5300 Blue Heron Blvd                                                  Unliquidated
          West Richland, WA 99353                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,250.00
          Sally Cowell                                                          Contingent
          17070 Gannon Way                                                      Unliquidated
          Rosemont, MN 55068                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Sally Merlock (Hampton)                                               Contingent
          2382 East Chestnut Ave                                                Unliquidated
          Vineland, NJ 08361                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,104.00
          Salvador & Isabel Rivera                                              Contingent
          5299 S. Cody Street                                                   Unliquidated
          Littleton, CO 80123                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.334
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,000.00
          Salvador & Noregen Noble                                              Contingent
          2710 Middleborough Circle                                             Unliquidated
          San Jose, CA 95132                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,034.00
          Salvador and Dora and Lizeth Barrera                                  Contingent
          10706 Indian Trail Drive                                              Unliquidated
          Tomball, TX 77388                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Salvatore Russo/Josesa Tapiador                                       Contingent
          11014 Grass Finch Road                                                Unliquidated
          Weeki Wachee, FL 34613                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,521.00
          Sam & Deborah Finney                                                  Contingent
          9900 Covered Bridge Rd                                                Unliquidated
          Prospect, KY 40059                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,737.00
          Sam & Helen Thielke                                                   Contingent
          8146 E Medina Ave                                                     Unliquidated
          Mesa, AZ 85209                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.334
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Sam & Sharon McCrickard                                               Contingent
          1845 Quebec Court                                                     Unliquidated
          Middleburg, FL 32068                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Sam and Karen Toney                                                   Contingent
          4461 Shadow Lane                                                      Unliquidated
          Spruce Creek, PA 16683                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.335
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $29,000.00
          Sam McKenzie                                                          Contingent
          6562 E Asbury Ave                                                     Unliquidated
          Denver, CO 80224                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Samantha Perez                                                        Contingent
          14214 Petrel Dr                                                       Unliquidated
          Colorado Springs, CO 80921                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,113.05
          Samantha Simpson                                                      Contingent
          7553 Winchester Avenue                                                Unliquidated
          Chicago, IL 60620                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,223.00
          Samuel & Patricia Van Houten                                          Contingent
          325 E Pierce St                                                       Unliquidated
          Tempe, AZ 85281                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,457.00
          Samuel and Linda Pullum                                               Contingent
          8555 S Rockwell St                                                    Unliquidated
          Chicago, IL 60652                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,500.00
          Samuel and Vanessa Lucero                                             Contingent
          7506 Quay St                                                          Unliquidated
          Arvada, CO 80003                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,894.65
          Samuel E. & Valerie Dottin                                            Contingent
          55 Amark Rd                                                           Unliquidated
          Brockton, MA 02302                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.335
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sand Beach Club                                                       Contingent
          9400 Shore Dr                                                         Unliquidated
          Myrtle Beach, SC 29572                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.335
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sandcastle Cove                                                       Contingent
          1141 Broad Creek Rd                                                   Unliquidated
          New Bern, NC 28560                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,355.00
          Sandi Mosser                                                          Contingent
          16370 W 10th Ave                                                      Unliquidated
          Golden, CO 80401                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,338.00
          Sandra & Donald Lunnon-Jenkins                                        Contingent
          8610 Josie St                                                         Unliquidated
          Houston, TX 77029                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Sandra (Sandy) Bell                                                   Contingent
          365 West Division Street                                              Unliquidated
          Coal City, IL 60416                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,538.84
          Sandra and Geoffrey Pitts                                             Contingent
          4309 Mossy Top Court                                                  Unliquidated
          Tallahassee, FL 32303                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Sandra and James Moore                                                Contingent
          26194 Trailwood Dr.                                                   Unliquidated
          Warrenton, MO 63383                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.336
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Sandra and Paul Straube                                               Contingent
          156 West Drive                                                        Unliquidated
          Northlake, IL 60164                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,092.00
          Sandra and Richard Fox                                                Contingent
          593 South Macon Court                                                 Unliquidated
          Aurora, CO 80012                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,245.00
          Sandra and Victor Alaniz                                              Contingent
          755 Cameron Dr                                                        Unliquidated
          Antioch, IL 60002                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.336
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Sandra Goodrich                                                       Contingent
          9559 W Coal Mine Ave                                                  Unliquidated
          Apt G                                                                 Disputed
          Littleton, CO 80123
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.336
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,674.50
          Sandra Green                                                          Contingent
          7600 Stenton Avenue                                                   Unliquidated
          Apt 3 i                                                               Disputed
          Philadelphia, PA 19118
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.337
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,140.00
          Sandra Hume                                                           Contingent
          1655 S Hilock Terrace                                                 Unliquidated
          Inverness, FL 34452                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.337
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,500.00
          Sandra McFarland                                                      Contingent
          4601 Evenstar Way                                                     Unliquidated
          Plano, TX 75074                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.337
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,800.00
          Sandra Messamishii                                                    Contingent
          18611 Clark Street Apt 7                                              Unliquidated
          Tarzana, CA 91356                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.337
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,420.00
          Sandra Runge                                                          Contingent
          2286 E. 1000 Ave                                                      Unliquidated
          Saint Peter, IL 62880                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.337
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,950.00
          Sandra Wiltz                                                          Contingent
          18522 Knob Hill Lake Lane                                             Unliquidated
          Humble, TX 77346                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.337
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sands at Kahana                                                       Contingent
          4299 Lower Honoapiilani Rd                                            Unliquidated
          Lahaina, HI 96761                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.337
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sands Ocean Club                                                      Contingent
          9550 Shore Dr                                                         Unliquidated
          Myrtle Beach,, SC 29572                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.337
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sands of Kahana                                                       Contingent
          P.O. Box 30270                                                        Unliquidated
          Honolulu, HI 96820-0270                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.337
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sands of Kahana Resorts resort                                        Contingent
          4299 Lower Honoapiilani Rd                                            Unliquidated
          Lahaina, HI 96761                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.337
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Sandy Flynn                                                           Contingent
          9004 Excelsior Loop                                                   Unliquidated
          Venice, FL 34293                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sanstone Creek Club                                                   Contingent
          1020 Vail View Dr                                                     Unliquidated
          Vail, CO 81657                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sapphire Resorts                                                      Contingent
          3700 S Las Vegas Blvd                                                 Unliquidated
          Las Vegas, NV 89109                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sapphire Resorts / Starpoint Resort Grou                              Contingent
          P.O. Box 93776                                                        Unliquidated
          Las Vegas, NV 89193                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,845.00
          Sara And Tom Albright/Ann and Forrest Be                              Contingent
          8306 N Highland Ave                                                   Unliquidated
          Kansas city, MO 64118                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sara McAtee                                                           Contingent
          411 Walnut St #17775                                                  Unliquidated
          Green Cove Springs, FL 32043                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,545.00
          Sara Nuckols                                                          Contingent
          912 Wilshire Drive                                                    Unliquidated
          Berhoud, CO 80513                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.338
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Sara O'Donnell and Judith Williams                                    Contingent
          6943 Tulip St                                                         Unliquidated
          Philadelphia, PA 19135                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Sara Rapp                                                             Contingent
          Po Box 61023                                                          Unliquidated
          Phoenix, AZ 85082                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Sarah & Alfred Ramos Kroeger                                          Contingent
          15 County Rd 18                                                       Unliquidated
          Espanola, NM 87532                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.338
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,332.52
          Sarah & Gabriel Ortega                                                Contingent
          4434 Raymond Ave                                                      Unliquidated
          Brookfield, IL 60513                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Sarah Holtzclaw                                                       Contingent
          181 King Street                                                       Unliquidated
          Clermont, GA 30527                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Saundra Guyton                                                        Contingent
          6807 Coolridge Rd                                                     Unliquidated
          Temple Hills, MD 20748                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,405.09
          Scarlett And Carlos Romero                                            Contingent
          131 Evan Road                                                         Unliquidated
          Wrawick, NY 10990                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.339
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Scenic Wolf Mountain Resort                                           Contingent
          578 Valley View Cir                                                   Unliquidated
          Mars Hill, NC 28754                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Schooner II Beach & Racquet Club                                      Contingent
          2108 N Ocean Blvd,                                                    Unliquidated
          Myrtle Beach,, SC 29577                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,950.00
          Scott & Camille Barnhart                                              Contingent
          860 Bramblewood Dr                                                    Unliquidated
          Castle Pines, CO 80108                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,554.00
          Scott & Christina Klemann                                             Contingent
          810 Red Tail Rd                                                       Unliquidated
          Yakima, WA 98908                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,645.00
          Scott & Kimberly Williams/Popkey                                      Contingent
          4929 W. Marcus Dr                                                     Unliquidated
          Phoenix, AZ 85083                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,225.20
          Scott & Patricia (Tish) Kruzan                                        Contingent
          16033 W 4th Street                                                    Unliquidated
          Hayward, WI 54843                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.339
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,554.12
          Scott & Patricia Schneider                                            Contingent
          1802 Pine Village Drive                                               Unliquidated
          Houston, TX 77080                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.340
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,800.00
          Scott and Doreen Hendrix                                              Contingent
          10556 Ura Lane                                                        Unliquidated
          Northglenn, CO 80234                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,372.00
          Scott And Kelly Evey                                                  Contingent
          6006 Allendale Ridge Trail                                            Unliquidated
          Richmond, TX 77407                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,608.00
          Scott And Rachelle Lehman                                             Contingent
          3438 N. Valerie                                                       Unliquidated
          Witchita, KS 67205                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Scott and Sheree Held                                                 Contingent
          553 Hoover Dr.                                                        Unliquidated
          Apollo, PA 15613                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,900.00
          Scott Anderson and Tammy Smallfoot                                    Contingent
          218 Spaulding Lane                                                    Unliquidated
          Fort Collins, CO 80524                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,268.00
          Scott Burkhart                                                        Contingent
          6537 Trailhead Road                                                   Unliquidated
          Highlands Ranch, CO 80130                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,632.50
          Scott Ohara & Laura Irwin                                             Contingent
          1651 W Canal Circle                                                   Unliquidated
          Unit 626                                                              Disputed
          Littleton, CO 80120
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.340
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Scottsdale Pinnacle Owners Assoc                                      Contingent
          17700 North Hayden Road, Unit: 2002                                   Unliquidated
          Scottsdale, AZ 85255                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          scottsdale sonoran villas vacation owner                              Contingent
          34305 N Scottsdale Rd,                                                Unliquidated
          Scottsdale, AZ 85266                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.340
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,057.49
          Scripps Media                                                         Contingent
          312 Walnut St.                                                        Unliquidated
          Cincinnati, OH 45202                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2443
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,155.40
          Scripps Media, Inc, KGTV, KMGH,KNXV, KS                               Contingent
          P.O. Box 204268                                                       Unliquidated
          Dallas, TX 75320                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3816
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sea Crest Surf & Raquet Club                                          Contingent
          3 Avocet Rd                                                           Unliquidated
          Hilton Head Island, SC 29938                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sea Mist Oceanfront Resort                                            Contingent
          305 13th Avenue                                                       Unliquidated
          South Myrtle Beach, SC 29577                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sea Palace                                                            Contingent
          147 Voorstraat                                                        Unliquidated
          Philipsburg, Sint Maarten                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.341
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sea Scape Beach and Golf Club                                         Contingent
          4724 N Croatan Hwy                                                    Unliquidated
          Kitty Hawk, NC 27949                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sea Watch Inn at The Landing                                          Contingent
          215 Atlantic Ave                                                      Unliquidated
          Murrells Inlet, SC 29576                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Sean & April Yarger                                                   Contingent
          2856 E Sandy Ct                                                       Unliquidated
          Gilbert, AZ 85297                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,207.45
          Sean Hawkins and Donna Stammen                                        Contingent
          1740 N Avenue Apt G                                                   Unliquidated
          National City, CA 91950                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Sean Kelly                                                            Contingent
          13703 Dexter Street                                                   Unliquidated
          Thornton, CO 80602                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.341
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Seasons at Greenwood Condominiums                                     Contingent
          1405 Olde Rd                                                          Unliquidated
          Clymer, NY 14724                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Seasons Holidays                                                      Contingent
          Wynchgate House, Woodlands Lane                                       Unliquidated
          Bradley Stoke, Bristol BS32 4JT                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.342
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sedona Pines Resort                                                   Contingent
          6701 AZ-89A                                                           Unliquidated
          Sedona, AZ 86336                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sedona Summit                                                         Contingent
          4055 Navoti Dr,                                                       Unliquidated
          Sedona, AZ 86336                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sedona Vacation Club- Los Abrigados                                   Contingent
          160 Portal Lane                                                       Unliquidated
          Sedona, AZ 86336                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,820.00
          Seline Braswell                                                       Contingent
          6429 Cherokee St                                                      Unliquidated
          Philadelphia, PA 19119                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Serene Imlay                                                          Contingent
          150 Dayton St, Apt. C201                                              Unliquidated
          Aurora, CO 80010                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,350.00
          Sergio & Beatrice Olivas                                              Contingent
          3105 Granite Rock Trail                                               Unliquidated
          Forney, TX 75126                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,000.00
          Sergio & Luz Rios                                                     Contingent
          4413 Archmere Ave.                                                    Unliquidated
          Cleveland, OH 44109                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.342
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,409.60
          Sergio Rios and Luz Ruiz                                              Contingent
          38446 N. Creek CT                                                     Unliquidated
          Beach Park, IL 60087                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.342
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Seth & Inger Jackson                                                  Contingent
          2330 Krameria St.                                                     Unliquidated
          Denver, CO 80207                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Shaina Trimboli                                                       Contingent
          18089 E Dorado Ave                                                    Unliquidated
          Centennial, CO 80015                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,141.00
          Shamecca Davis and Ebonique Alexander                                 Contingent
          3571 S Richfield ST                                                   Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,786.00
          Shannan & Michael Pahe/Howard                                         Contingent
          4109 W Alicia Dr.                                                     Unliquidated
          Laveen, AZ 85339                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,000.00
          Shannon and Ben Sandoval                                              Contingent
          6355 Metrowest Blvd. Suite 180                                        Unliquidated
          Castle Rock, CO 80108                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,645.00
          Sharon & Anthony & Melessa Finley/Willia                              Contingent
          5249 West Shore Drive SW                                              Unliquidated
          Conyers, GA 30094                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.343
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,917.00
          Sharon & Chris Conway                                                 Contingent
          16 Allen Lane                                                         Unliquidated
          Lexington, TN 38351                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,245.00
          Sharon & Ronald Corntassel                                            Contingent
          9 Wellington Way SE                                                   Unliquidated
          Rome, GA 30161                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,006.00
          Sharon & Timmy Smith                                                  Contingent
          164 Chriswood Ln                                                      Unliquidated
          Stafford, VA 22556                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,057.75
          Sharon (Sherry) and Ken Beaty                                         Contingent
          6409 West Grovers Ave                                                 Unliquidated
          Glendale, AZ 85308                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.343
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Sharon and Kevin Brown                                                Contingent
          36 Luscombe Lane                                                      Unliquidated
          Sandwich, MA 02563                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,570.00
          Sharon And Neil Meldgin                                               Contingent
          8215 Eynsford Dr                                                      Unliquidated
          Orland, IL 60462                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,890.80
          Sharon And Tim Mcculloch                                              Contingent
          8527 Ashford Green Lane                                               Unliquidated
          Houston, TX 77072-5670                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.344
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Sharon Archer                                                         Contingent
          5022 36th Pl.                                                         Unliquidated
          Hyattsville, MD 20782                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,376.00
          Sharon Blackman                                                       Contingent
          6829 Camino Rio                                                       Unliquidated
          Irving, TX 75093                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,367.75
          Sharon Callahan                                                       Contingent
          19 Graystone Dr                                                       Unliquidated
          Troy, MO 63379                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Sharon Condon- Hagel                                                  Contingent
          12021 S Greenfield Lane                                               Unliquidated
          Medical Lake, WA 99022                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,882.00
          Sharon Davis                                                          Contingent
          1219 Summer Lane                                                      Unliquidated
          Jackson, MS 39211                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,876.00
          Sharon Kernan and Rebecca Olson                                       Contingent
          382 Quinton Hancock Bridge Road                                       Unliquidated
          Salom, NJ 08079                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.344
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Sharon LaMacchia and Dawn Gutner                                      Contingent
          1214 Ballantrea Place                                                 Unliquidated
          Unit A                                                                Disputed
          Mundelein, IL 60060
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.344
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,295.00
          Sharon Peppers                                                        Contingent
          5451 W. Jackson                                                       Unliquidated
           IL 60644                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,261.28
          Sharon Poisson                                                        Contingent
          6711 W 11th Place                                                     Unliquidated
          Westminster, CO 80020                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,700.00
          Sharon Ross                                                           Contingent
          2820 Smooth Stone Trail                                               Unliquidated
          Raleigh, NC 27610                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,840.00
          Sharon Unkart                                                         Contingent
          6371 S Lakeview St                                                    Unliquidated
          Littleton, CO 80120                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,281.00
          Sharon Wood                                                           Contingent
          1601 Millers Ferry Rd                                                 Unliquidated
          Trailer 208                                                           Disputed
          Wilmer, TX 75172
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.345
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,791.82
          Sharon Zias                                                           Contingent
          5844 E Ithaca Pl                                                      Unliquidated
          Denver, CO 80237                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Sharron Newble-Majors                                                 Contingent
          2845 Paddle Wheel Drive                                               Unliquidated
          Nashville, TN 37214                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.345
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Shaun & Eleanor O'Kinsella                                            Contingent
          10709 Ninth Dr SE                                                     Unliquidated
          Everett, WA 98208                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Shaun Barnes                                                          Contingent
          4371 W Bellewood Dr                                                   Unliquidated
          Littleton, CO 80123                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Shaun Griffin                                                         Contingent
          3927 Horseshoe Circle                                                 Unliquidated
          Loomis, CA 95650                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.345
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Shavonne Young/Alif Bey                                               Contingent
          110 Aidone Lane                                                       Unliquidated
          New Castle, DE 19720                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.346
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,269.00
          Shawn & Audrey Davis                                                  Contingent
          25 Evangeline Street                                                  Unliquidated
          Rochester, NY 14619                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.346
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Shawn & Steven Ransom                                                 Contingent
          472 Westtree Lane                                                     Unliquidated
          Plantation, FL 33023                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.346
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Shawn Dixon                                                           Contingent
          1716 Skyline Drive                                                    Unliquidated
          Norfolk, VA 23518                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.346
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,560.20
          Shawne & Oda Gay                                                      Contingent
          3608 Silver Oak Court                                                 Unliquidated
          Lakewales, FL 33898                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.346
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          SHAYNA G. SCHROEDER and Zetrouer                                      Contingent
          Pasifer                                                               Unliquidated
          3135 1st Ave N #15549                                                 Disputed
          St Petersburg, FL 33733
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.346
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,173.00
          Sheila & Arthur Braley III                                            Contingent
          PO Box 926                                                            Unliquidated
          #5 Odyssis Drive                                                      Disputed
          Onset, MA 02558
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.346
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,200.00
          Sheila & James Spane                                                  Contingent
          5552 Foxwoods Drive                                                   Unliquidated
          Oak Lawn, IL 60453                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.346
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,174.00
          Sheila and Danny Laughlin                                             Contingent
          2487 S Evanston St                                                    Unliquidated
          Aurora, CO 80014                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.346
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,300.00
          Sheila and Lamont Pouncil                                             Contingent
          912 NW 112th Terrace                                                  Unliquidated
          Kansas City, KS 64155                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.346
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,880.00
          Sheila Bourne and Denise Bridge                                       Contingent
          1655 Coolridge                                                        Unliquidated
          Willow Grove, PA 19090                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.347
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,221.76
          Sheila Crawford                                                       Contingent
          960 Blue Heron Drive                                                  Unliquidated
          Rio Vista, CA 94571                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,009.00
          Sheila Lidberg                                                        Contingent
          11611 S Spainhour Rd                                                  Unliquidated
          Lone Jack, MO 64070                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Shelby Yaffe                                                          Contingent
          1255 19th St, Apt 609                                                 Unliquidated
          Denver, CO 80202                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Shell Vacation Club                                                   Contingent
          6277 Sea Harbor Drive                                                 Unliquidated
          Orlando, FL 32821                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Shenandoah Villas                                                     Contingent
          1822 Resort Drive                                                     Unliquidated
          Massanutten, VA 22840                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sheraton Corporate Office Headquarters a                              Contingent
          400 N Oxford Valley Rd                                                Unliquidated
          Langhorne, PA 19047                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sheraton Flex Vacations,LLC and Vistana                               Contingent
          9002 San Marco Ct                                                     Unliquidated
          Orlando, FL 32819-8600                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.347
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sheraton Steamboat Resort Villas                                      Contingent
          2200 Village Inn Ct                                                   Unliquidated
          Steamboat Springs, CO 80487                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,782.00
          Sheree and Luis Amaya                                                 Contingent
          5028 Joplin Ct                                                        Unliquidated
          Denver, CO 80239                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.347
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,870.00
          Sheri and Gary Shipley                                                Contingent
          5107 NW High Drive Terrace                                            Unliquidated
          Riverside, MO 64150                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.348
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,889.00
          Sheri Luaders                                                         Contingent
          12 Fawnwood Dr.                                                       Unliquidated
          St. Louis, MO 63128                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.348
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,595.00
          Sheridan and Clarence Lewis                                           Contingent
          5110 Creekview Drive                                                  Unliquidated
          Laporte, TX 77571                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.348
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sheridan Vista                                                        Contingent
          12401 International Dr                                                Unliquidated
          Orlando, FL 32821                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.348
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sherman's Travel                                                      Contingent
          112 West 34th Street Suite 2110                                       Unliquidated
          New York, NY 10120                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.348
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,488.00
          Sherreiph Osun                                                        Contingent
          (314) 440-2936 or nikkio-13@msn.com                                   Unliquidated
           TX 77449                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.348
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Sherri Nitta                                                          Contingent
          6599 S. Walden St                                                     Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.348
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,670.00
          Sherrie Alvarado                                                      Contingent
          1998 S. Columbine St.                                                 Unliquidated
          Apt. 1                                                                Disputed
          Denver, CO 80210
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.348
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,626.00
          Sherry Meador                                                         Contingent
          6386 Grace Lane                                                       Unliquidated
          Arvada, CO 80004                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.348
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,536.00
          Sheryl Vanwey and Tom Baltzer                                         Contingent
          1210 E 130th Ave Unit A                                               Unliquidated
          Thorton, CO 80241                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.348
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Shirlene Ladd                                                         Contingent
          1621 E Villa Rita Dr                                                  Unliquidated
          Phoenix, AZ 85022                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,727.91
          Shirley & Harvey Jr Jackson                                           Contingent
          3205 CR 289                                                           Unliquidated
          Somerville, TX 77879                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.349
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,750.00
          Shirley & John Mitchell-Valrie                                        Contingent
          9806 S Woodlawn Ave                                                   Unliquidated
          Chicago, IL 60628                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,008.00
          Shirley & Kenneth Wood                                                Contingent
          231 Zara St                                                           Unliquidated
          Pittsburgh, PA 15210                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Shirley and Brad Schmelzer                                            Contingent
          790 Appleby Pl                                                        Unliquidated
          Castle Rock, CO 80104                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Shirley and Eric Gilbert                                              Contingent
          7639 South Indiana Ave                                                Unliquidated
          Chicago, IL 60619                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Shirley Lytle                                                         Contingent
          864 I Street                                                          Unliquidated
          Burwell, NE 68823                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,320.00
          Shirley Seay                                                          Contingent
          575 Kenton                                                            Unliquidated
          Aurora, CO 80010                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,244.00
          Shirley Yost                                                          Contingent
          16385 W Rimrock St                                                    Unliquidated
          Surprise, AZ 85388                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.349
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          SHUTTS & BOWEN LLP                                                    Contingent
          300 South Orange Avenue, Suite 1600                                   Unliquidated
          Orlando, FL 32801                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.349
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,450.00
          Sid & Penny Revilla                                                   Contingent
          2380 E. Nichols Pl                                                    Unliquidated
          Centennial, CO 80122                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Sidney & Charlene Morris                                              Contingent
          PO Box 58                                                             Unliquidated
          Lingle, WY 82223                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sidney, M Leon Munoz                                                  Contingent
          13444 W Saratoga Dr                                                   Unliquidated
          Morrison, CO 80465                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sieda Royal with Interval International                               Contingent
          400 Padre Boulevard                                                   Unliquidated
          South Padre Island, TX 78597                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Signarama DTC Signs, LLC                                              Contingent
          7255 S Havana St STE 180                                              Unliquidated
          Centennial, CO 80112                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Silvarado Resorts, Napa Valley Resorts                                Contingent
          1600 Atlas Peak Road                                                  Unliquidated
          Napa Valley, CA 94558                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.350
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Silver Beach Club                                                     Contingent
          1025 S Atlantic Ave                                                   Unliquidated
          Daytona Beach, FL 32118                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Silver Lake Resort                                                    Contingent
          336 Crest Dr                                                          Unliquidated
          Idaho Springs, CO 80452                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Silver Seas Resort                                                    Contingent
          101 N Fort Lauderdale Beach Blvd,                                     Unliquidated
          Fort Lauderdale, FL 33304                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Silverado II                                                          Contingent
          490 Kings Crossing Rd                                                 Unliquidated
          Winter Park, CO 80482                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.350
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,900.00
          Silvia & Ramon Garcia/Ramirez                                         Contingent
          538 Julian St                                                         Unliquidated
          Waukegen, IL 60085                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.351
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,120.00
          Silvia Pineda and Fidel Flores                                        Contingent
          5289 Dearborn St                                                      Unliquidated
          Denver, CO 80239                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.351
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sinclair Broadcast Group                                              Contingent
          10706 Beaver Dam Road                                                 Unliquidated
          Hunt Valley, MD 21030                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.351
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,250.00
          Sinclair Broadcast Group C/O (DSYX)                                   Contingent
          P.O. Box 206270                                                       Unliquidated
          Dallas, TX 75320                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2692
                                                                             Is the claim subject to offset?     No       Yes

 3.351
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,250.00
          Sinclair Broadcast Group c/o DSYX FOX 28                              Contingent
          PO Box 206270                                                         Unliquidated
          Dallas, TX 75320                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8497,2692
                                                                             Is the claim subject to offset?     No       Yes

 3.351
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,800.00
          Sir Byron Jefferson and Kathleen Gaines                               Contingent
          11111 Saathoff Drive Apt 301                                          Unliquidated
          Syphers, TX 77429                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.351
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sirius XM                                                             Contingent
          PO Box 71170                                                          Unliquidated
          Philadelphia, PA 19176                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.351
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Smoke Tree Lodge                                                      Contingent
          11914 NC-105                                                          Unliquidated
          Banner Elk, NC 28604                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.351
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Smugglers' Notch Resort                                               Contingent
          4323 VT-108                                                           Unliquidated
          Jeffersonville, VT 05464                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.351
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Solaz Mexican Timeshare                                               Contingent
          410 ... CSL-SJC Access B Cabo Real                                    Unliquidated
          San Jose del Cabo, 23405 Mexico                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.351
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,917.00
          Soledad (Solie) & Agustin (Antonio) Carr                              Contingent
          1621 North Ann                                                        Unliquidated
          Texarkana, TX 75501                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Soleil Management and Globe Quest                                     Contingent
          7200 S Las Vegas Blvd suite a                                         Unliquidated
          Las Vegas, NV 89119                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          SolMar Resorts                                                        Contingent
          Av Solmar #1, Centro,                                                 Unliquidated
          , Cabo San Lucas, B.C. Mexico                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,812.50
          Solvere HR Consulting Reagan Freed                                    Contingent
          PO Box 508                                                            Unliquidated
          Grand Lake, CO 80447                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,177.00
          Sondra and Gerald VanDeVenter                                         Contingent
          7041 E. 60th Ave                                                      Unliquidated
          Commerce City, CO 80022                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sonia Lopez                                                           Contingent
          (956) 437-0505 or garzarvs77@hotmail.com                              Unliquidated
           AZ 85326                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,136.00
          Sonya and Vance Stewart                                               Contingent
          822 Millspring Drive                                                  Unliquidated
          Durham, NC 27705                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.352
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Sonya Caraway                                                         Contingent
          4511 7th St NE                                                        Unliquidated
          Washington DC, DC 20017                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,126.00
          Sonya Smith and Rainey Willie                                         Contingent
          2875 Dahlia St.                                                       Unliquidated
          Denver, CO 80207                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,876.00
          Sophia And Kenny Glover                                               Contingent
          4480 70th Street                                                      Unliquidated
          La Mesa, CA 91942                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.352
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          South Cape Resort & Club Condominiums                                 Contingent
          950 Falmouth Rd,                                                      Unliquidated
          Mashpee, MA 02649                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          South Carolina Attorney General The Hono                              Contingent
          P.O. Box 11549                                                        Unliquidated
          Columbia, SC 29211                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          South Dakota Office of the Attorney Gene                              Contingent
          1302 E Hwy 14, Suite 1                                                Unliquidated
          Pierre, SD 57501                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          South Peters Plaza Owner's Association                                Contingent
          C/O KYNDEL MCCURLEY, 620 S. PETERS                                    Unliquidated
          NEW ORLEANS, LA 70130                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.353
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          South Wind Management Corp                                            Contingent
          35 Deallyon Ave                                                       Unliquidated
          Hilton Head Island, SC 29928                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Southern Journeys of Texas                                            Contingent
          115 N Loop 1604 E suite #1209                                         Unliquidated
          San Antonio, TX 78232                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Spinnaker Resorts                                                     Contingent
          35 Deallyon Ave                                                       Unliquidated
          Hilton Head Island, SC 29928                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Spinnaker Resorts                                                     Contingent
          35 Deallyon Ave.                                                      Unliquidated
          Hilton Head, SC 29928                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Spinnaker Resorts                                                     Contingent
          35 Deallyon Ave.                                                      Unliquidated
          Hilton Head, SC 29928                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Splitrock Resorts                                                     Contingent
          428 Moseywood Road                                                    Unliquidated
          Lake Harmony, PA 18624                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.353
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          SPM Resorts                                                           Contingent
          9654 N Kings Hwy STE 101                                              Unliquidated
          Myrtle Beach, SC 29572-4041                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.354
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          St. Augustine Beach & Tennis Resort                                   Contingent
          3942 A1A South                                                        Unliquidated
          St. Augustine, FL 32080                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.354
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          St. George Pennant and Marisil Wright                                 Contingent
          3107 Craftsman Place                                                  Unliquidated
          Houston, TX 77080                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.354
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,420.00
          Stacie And Kelvin Hampton                                             Contingent
          1631 Plumwood Drive                                                   Unliquidated
          Houston, TX 77014                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.354
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          Stacie Pham and Bao Tran                                              Contingent
          3072 Serpa Drive                                                      Unliquidated
          San Jose, CA 95148                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.354
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,525.00
          Stacy & Roy Gould                                                     Contingent
          12856 W. Calle De Baca                                                Unliquidated
          Peoria, AZ 85383                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.354
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,520.00
          Stacy and Edward Leroux                                               Contingent
          13002 Steel Ct                                                        Unliquidated
          Thornton, CO 80241                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.354
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Stallion Springs                                                      Contingent
          28681 Stallion Springs Drive                                          Unliquidated
          Tehachapi, CA 93561                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.354
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,870.00
          Stan & Anne Ferguson/Walter                                           Contingent
          2980 N. Syracuse St                                                   Unliquidated
          Apt 409                                                               Disputed
          Denver, CO 80238
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.354
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Standard Insurance Company RC                                         Contingent
          PO Box 5676                                                           Unliquidated
          Portland, OR 97228                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.354
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Stanley Callies and Mariah Chastan                                    Contingent
          116 N D Avenue                                                        Unliquidated
          New Castle, CO 81647                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,047.00
          Stanley Jackson                                                       Contingent
          52 Brandywine Street SW                                               Unliquidated
          Washington, DC 20032                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,576.00
          Stanley Jeanie Jean Michaud                                           Contingent
          544 Greenwich St.                                                     Unliquidated
          Hempstead, NY 11550                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          Stanley Norris & Jo D. Sears                                          Contingent
          13002 W Asbury Place                                                  Unliquidated
          Lakewood, CO 80228                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,500.00
          Stanton Roberts                                                       Contingent
          216 Thunder Gulch Rd                                                  Unliquidated
          Bakersfield, CA 93307                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.355
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Star Dust Resorts                                                     Contingent
          000 South Las Vegas Boulevard                                         Unliquidated
          Las Vegas, NV 89109                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Star Island Resort & Club                                             Contingent
          5000 Ave of the Stars                                                 Unliquidated
          Kissimmee, FL 34746                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Star Point Resort Group                                               Contingent
          3700 S Las Vegas Blvd #200                                            Unliquidated
          Las Vegas, NV 89109                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Starwood Vacation Club                                                Contingent
          9002 San Marco Court                                                  Unliquidated
          Orlando, FL 32819                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          StaySky Vacations                                                     Contingent
          7055 S. Kirkman Road, Suite 100                                       Unliquidated
          Orlando, FL 32819                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.355
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Steel hill in New Hampshire                                           Contingent
          516 Steele Hill Road                                                  Unliquidated
          Sanbornton, NH 03269                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,376.00
          Stefanie and Marc Bloemers                                            Contingent
          2026 Wedgewood Lane                                                   Unliquidated
          Romeoville, IL 60446                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.356
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,785.00
          Stephanie & Michael Griesinger                                        Contingent
          298 Sibley St                                                         Unliquidated
          Carver, MN 55315                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,800.00
          Stephanie & Roberto Espinosa                                          Contingent
          3009 Lexington LN                                                     Unliquidated
          Glenview, IL 60026                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,863.69
          Stephanie And Raymond Beckford                                        Contingent
          5431 Harper Forest Drive                                              Unliquidated
          Houston, TX 77088                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Stephanie Corrente and Evelyn and James                               Contingent
          221 Spring Street                                                     Unliquidated
          East Greenwich, RI 02818                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Stephanie Hancock                                                     Contingent
          7593 E Technology Way, Apt 103                                        Unliquidated
          Denver, CO 80237                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,200.00
          Stephanie Lukas and Greg Rickens                                      Contingent
          6 Peter Cooper Rd Apt 7C                                              Unliquidated
          New York, NY 10010-6720                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Stephanie Pucci                                                       Contingent
          15787 E 107th Way                                                     Unliquidated
          Commerce City, CO 80022                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.356
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,650.00
          Stephen & Ann Breitigam                                               Contingent
          8611 Royal Cape Ct                                                    Unliquidated
          Houston, TX 77095                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.356
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,900.00
          Stephen & Diane Conlee                                                Contingent
          15635 N 184th Lane                                                    Unliquidated
          Surprise, AZ 85388                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,400.00
          Stephen & Jeanee Burns                                                Contingent
          2153 W. Leland Ave.                                                   Unliquidated
          Chicago, IL 60625                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,620.00
          Stephen & Josephine Wilkerson                                         Contingent
          7845 Zinnia St                                                        Unliquidated
          Arvada, CO 80005                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,400.00
          Stephen & Kathryn Harryman                                            Contingent
          15315 Icet Creek Ave                                                  Unliquidated
          Mont Belvieu, TX 77523                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,368.09
          Stephen & Rhonda Gugenheim                                            Contingent
          507 Cedar Ave                                                         Unliquidated
          Napa, CA 94559                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Stephen & Sandra Hurd                                                 Contingent
          P.O. Box 81                                                           Unliquidated
          Corinth, ME 04427                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.357
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,583.00
          Stephen & Stella Bugay                                                Contingent
          1969 S Vivian St                                                      Unliquidated
          Lakewood, CO 80228-4455                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,450.00
          Stephen & Susan Dyer                                                  Contingent
          PO Box 399                                                            Unliquidated
          Saratoga, WY 82331                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,910.00
          Stephen & Tammarelle Baxter                                           Contingent
          1553 Center Road                                                      Unliquidated
          Kendal, NY 14476                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Stephen And Cheryl Dilts                                              Contingent
          1481 Sawmill Road                                                     Unliquidated
          Downingtown, PA 19335                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.357
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,593.94
          Stephen and Delia Perez                                               Contingent
          4444 Alcott St.                                                       Unliquidated
          Denver, CO 80211                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.358
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,200.00
          Stephen and Ines Mander                                               Contingent
          7535 South West 164th St.                                             Unliquidated
          Palmetto Bay, FL 33157                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.358
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,820.00
          Stephen and Maren Powless                                             Contingent
          6413 Biscayne Blvd                                                    Unliquidated
          Edina, MN 55436                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.358
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,953.00
          Stephen And Peggy Crispin                                             Contingent
          21518 E 38th Place                                                    Unliquidated
          Denver, CO 80249                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.358
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,367.75
          Stephen Dale Cooper/Mary Pat                                          Contingent
          751 Sherman Ave apt 1 N                                               Unliquidated
          Evanston, IL 60202                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.358
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,690.00
          Stephen Joyce                                                         Contingent
          605 North Emerson St                                                  Unliquidated
          Arlington, VA 22203                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.358
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,228.00
          Stephen Paquin                                                        Contingent
          139 High St                                                           Unliquidated
          Medfield, MA 02052                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.358
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          Stephen Pramme & Tara Hudson                                          Contingent
          318 Elworthy Ranch Circle                                             Unliquidated
          Danville, CA 94526                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.358
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,712.70
          Stephen Yaniec/ Myli Nguyen                                           Contingent
          7055 County Road 171                                                  Unliquidated
          Alvin, TX 77511                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.358
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,283.00
          Steve & Carol Mattair                                                 Contingent
          3902 S. Dennis St.                                                    Unliquidated
          Kennewick, WA 99337                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.358
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,245.00
          Steve & Carole Longhurst                                              Contingent
          5 Hugo Gardens                                                        Unliquidated
          Rainham, Essex, England RM13 7LA                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,200.00
          Steve & Paula Dunsmore                                                Contingent
          HC 65 Box 61                                                          Unliquidated
          Bluebell, UT 84007                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Steve & Sandra Wood                                                   Contingent
          2765 Jed RD                                                           Unliquidated
          Escondido, CA 92027                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,995.00
          Steve and Kimberly Martinez                                           Contingent
          2540 Saulsbury Street                                                 Unliquidated
          Lakewood, CO 80214                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,569.76
          Steve Dichesare & Sherri Fox                                          Contingent
          9108 49th Ave East                                                    Unliquidated
          PalMetto, FL 34221                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,533.00
          Steve L and Ann Schefus                                               Contingent
          2925 Cobentry Lane                                                    Unliquidated
          Waukesha, WI 53188                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,895.00
          Steve Olszewski                                                       Contingent
          4368 S Kalispell Circle                                               Unliquidated
          Aurora, CO 80015                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.359
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,626.00
          Steve Rector and Myletia Wilkerson                                    Contingent
          7174 McHenry Ct.                                                      Unliquidated
          Remington, VA 22734                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Steve Tingley                                                         Contingent
          51 Pollard Rd                                                         Unliquidated
          Plaistow, NH                                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Steve/Glenda McFaddin                                                 Contingent
          4874 Mt. Shavano St.                                                  Unliquidated
          Brighton, CO 80601                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.359
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Steven & Debbie Waggoner                                              Contingent
          22018 Cliff View Rd                                                   Unliquidated
          Delta, CO 81416                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,745.00
          Steven & Peggy Howell                                                 Contingent
          PO Box 1514                                                           Unliquidated
          St. Helens, OR 97051                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,779.00
          Steven & Tania Young                                                  Contingent
          13865 W Blossom Way                                                   Unliquidated
          Litchfeild Park, AZ 85340                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Steven and Brenda Blackwell                                           Contingent
          11245 SE Cherry Creek Rd.                                             Unliquidated
          Elbert, CO 80106                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.360
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Steven and Jill Loria                                                 Contingent
          569 Blackthorn Dr                                                     Unliquidated
          Crystal Lake, IL 60014                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Steven and Linda Steele                                               Contingent
          16118 1st north                                                       Unliquidated
          Lakeland, MN 55043                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,046.00
          Steven and Michelle Braden                                            Contingent
          2930 Old Lynchburg Road                                               Unliquidated
          Charlottesville, VA 22903                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,950.00
          Steven and Sharon O'Connor                                            Contingent
          541 Kansas Ave                                                        Unliquidated
          Berthoud, CO 80513                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,400.00
          Steven and Sharon Roseman                                             Contingent
          9607 Bald Hill Road                                                   Unliquidated
          Bowie, MD 20721                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,108.25
          Steven Cashell                                                        Contingent
          4314 Whippoorwill Place                                               Unliquidated
          Castle Rock, CO 80109                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.360
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,850.00
          Steven Hill                                                           Contingent
          1408 Barrier Island Dr                                                Unliquidated
          Aubrey, TX 76227                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.361
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,873.19
          Steven Weaver                                                         Contingent
          1337 Bosque Street                                                    Unliquidated
          Broomfield, CO 80020                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,845.00
          Steven, Jennifer, Dalton, Koren Wright,                               Contingent
          12432 Leaflet Drive                                                   Unliquidated
          Fort Worth, TX 76244                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,500.00
          Stitcher                                                              Contingent
          5 Bryant Park                                                         Unliquidated
          New York, NY 10018                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1521
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Stitcher Media LLC                                                    Contingent
          P.O. Box 22560                                                        Unliquidated
          New York, NY 10087                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Stone Bridge Village                                                  Contingent
          1 Oak Lane                                                            Unliquidated
          Reeds Springs, MO 65737                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Stonebridge Resort - Branson, MO                                      Contingent
          50 Stonebridge Pkwy                                                   Unliquidated
          Branson West, MO 65737                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Stormy Point Village                                                  Contingent
          3200 N. Gretna Rd., Ste 120                                           Unliquidated
          Branson, MO 65616                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.361
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Stormy Point Village Capital Investments                              Contingent
          132 Cape Cod Dr Capital Vacations                                     Unliquidated
          Branson, MO 65616                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Streamside at Aspen                                                   Contingent
          2244 S Frontage Rd W                                                  Unliquidated
          Vail, CO 81657                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.361
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Streamside at Douglas                                                 Contingent
          2284 S Frontage Rd W                                                  Unliquidated
          Vail, CO 81657                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Streamside at Vail                                                    Contingent
          2285 S Frontage Rd W                                                  Unliquidated
          Vail, CO 81657                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,117.75
          Stuart & Anna Silberkraus                                             Contingent
          6803 Garlinghouse Ln                                                  Unliquidated
          Dallas, TX 75252                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Sue and Garold Carpenter                                              Contingent
          8307 West Nantucket                                                   Unliquidated
          Wichita, KS 67212                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Summer Bay Resort                                                     Contingent
          126-200 Summer Bay Blvd                                               Unliquidated
          Clermont, FL 34714                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.362
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Summer Winds Resort                                                   Contingent
          3179 Gretna Rd                                                        Unliquidated
          Branson, MO 65616                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Summit at the Four Seasons                                            Contingent
          974 White Oaks Road                                                   Unliquidated
          Laconia, NH 03246                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Summit Vacation Membership                                            Contingent
          177 Mentor Ave Laconia, NH                                            Unliquidated
          Laconia, NH 03246                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sun Rise Bay Resort & Club Condominium A                              Contingent
          10 Tampa Pl                                                           Unliquidated
          Marco Island, FL 34145                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sunbeam Television Corp                                               Contingent
          1401 79th Street Causeway                                             Unliquidated
          North Bay Village, FL 33141                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.362
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sundance Meadows Campground                                           Contingent
          43425 Sage Rd                                                         Unliquidated
          Aguanga, CA 92536                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Sunmin Jung                                                           Contingent
          12409 Pretoria Dr                                                     Unliquidated
          Silver Spring, MD 20904                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.363
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,400.00
          Sunny & Jacob Erznoznik                                               Contingent
          14784 S. Chimney Pass Dr                                              Unliquidated
          Bluffdale, UT 84065                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sunrise Cove at Village West                                          Contingent
          20785 170th Street                                                    Unliquidated
          Spirit Lake, IA 51360                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sunset Lagoon in Cancun                                               Contingent
          Boulevard Kukulc n KM 5.8 Zona Hotelera                               Unliquidated
          , Canc n, Quintana Ro Mexico                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sunset Royale                                                         Contingent
          Kukulcan Km 10 Zona Hotelera,; C.P. 7750                              Unliquidated
          , Cancun,; Q. ROO Mexico                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sunset World                                                          Contingent
          lote 13-B, Blvd. Kukulcan Km. 10,                                     Unliquidated
          Zona Hotelera,, 77500 Canc n, Q.R. Mexic                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sunset World Resorts & Vacations Experie                              Contingent
          lote 13-B, Blvd. Kukulcan Km. 10, Hotel                               Unliquidated
          Canc n, Quintana Roo, Mexico                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sunterra Resorts nka Diamond                                          Contingent
          10600 W Charleston Blvd                                               Unliquidated
          Las Vegas, NV 89135                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.363
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Surfside Resort through innSeason                                     Contingent
          Save 134 Menauhant Rd                                                 Unliquidated
          Falmouth, MA 02536                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.363
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Surrey Grand Crowne Resort - Branson, MO                              Contingent
          300 Golf View Dr                                                      Unliquidated
          Branson, MO 65616                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.364
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,396.00
          Susan & Daniel Sellman                                                Contingent
          3618 North Woodbury Lane                                              Unliquidated
          Janesville, WI 53545                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.364
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,033.00
          Susan & James Brewer                                                  Contingent
          1354 Switchgrass Road                                                 Unliquidated
           MO 65652                                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.364
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Susan & Nazario Vidaurre                                              Contingent
          7 S Redwing Street                                                    Unliquidated
          La Marque, TX 77568                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.364
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,479.00
          Susan And David Ekkela                                                Contingent
          6234 92nd Place                                                       Unliquidated
          Pleasant Prairie, WI 53158                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.364
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,745.00
          Susan And Jaison Sokolow                                              Contingent
          13386 N. 88th Pl.                                                     Unliquidated
          Scottsdale, AZ 85260                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.364
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,892.45
          Susan and Jerry Cowgill                                               Contingent
          1827 Atlanta Ave                                                      Unliquidated
          Oxford, MS 38655                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.364
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,250.00
          Susan and Raul Vasquez                                                Contingent
          15702 Baldswelle Dr                                                   Unliquidated
          Tomball, TX 77377                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.364
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,370.00
          Susan and Virgil Younger                                              Contingent
          16131 E Lake Dr                                                       Unliquidated
          Centennial, CO 80016                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.364
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,796.00
          Susan Archer                                                          Contingent
          7594 Route 66                                                         Unliquidated
          Averill Park, NY 12018                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.364
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,270.00
          Susan Avila                                                           Contingent
          21320 Williamette                                                     Unliquidated
          Centennial, CO 80015                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.365
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Susan Boer                                                            Contingent
          1000 Cedar Ridge Ln                                                   Unliquidated
          Apt #404                                                              Disputed
          Richton Park, IL 60471
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.365
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,750.00
          Susan Eborall                                                         Contingent
          308 May Stree                                                         Unliquidated
          Royse, TX 75189                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.365
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,420.00
          Susan Griggs                                                          Contingent
          17342 E Quail Ridge Dr                                                Unliquidated
          Fountain Hills, AZ 85268                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.365
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,995.25
          Susan Kennedy                                                         Contingent
          1235 Holly Lane                                                       Unliquidated
          Deerfield, IL 60015                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.365
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,700.00
          Susan Lanzillo                                                        Contingent
          14838 South 47th Way                                                  Unliquidated
          Phoenix, AZ 85044                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.365
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,586.00
          Susan Lewis and Frances Beck                                          Contingent
          2800 Prince Dr.                                                       Unliquidated
          Clarksville, TN 37043                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.365
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,578.00
          Susan Nastri                                                          Contingent
          328 Sweet Bay Circle                                                  Unliquidated
          Jupiter, FL 23458                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.365
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,193.00
          Susan Weinstein                                                       Contingent
          2330 N. Leyden St                                                     Unliquidated
          Denver, CO 80207                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.365
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,555.00
          Susana And Benjamin Manso (SPO)                                       Contingent
          429 Summersweet Lane                                                  Unliquidated
          Bartlett, IL 60103                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.365
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,183.00
          Suzanne & Jean Pariseau                                               Contingent
          6490 Approach Rd                                                      Unliquidated
          Sarasota, FL 34238                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.366
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,145.00
          Suzanne and Charles Baldree                                           Contingent
          16668 Vull Mesa Road                                                  Unliquidated
          Cederedge, CO 81413                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.366
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,995.00
          Suzanne and Greg Kapulka                                              Contingent
          6480 Vern Lane                                                        Unliquidated
          Evergreen, CO 80429                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.366
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,002.00
          Suzanne Broussard                                                     Contingent
          1526 Sherl ST                                                         Unliquidated
          Leauge City, TX 77573                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.366
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,410.00
          Suzette Simmons/Swift & Danny Simmons                                 Contingent
          1703 Royal Avenue                                                     Unliquidated
          Pekin, IL 61554                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.366
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Swallowtail                                                           Contingent
          70 Lighthouse Rd                                                      Unliquidated
          Hilton Head, SC 29928                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.366
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sweet water Jackson Hole                                              Contingent
          85 S King St                                                          Unliquidated
          Jackson, WY 83001                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.366
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Switch 10 Productions, LLC                                            Contingent
          7012 S Cherokee St                                                    Unliquidated
          Littleton, CO 80120                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.366
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,198.00
          Sy & Linda McGloughlin                                                Contingent
          9300 Marilla Dr                                                       Unliquidated
          Lakeside, CA 92040                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.366
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,370.00
          Sylvia Andrews                                                        Contingent
          8227 Temple Road                                                      Unliquidated
          Philadelphia, PA 19150                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.366
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,270.00
          Sylvia Munoz and Kenneth Kirk                                         Contingent
          300 Knox St                                                           Unliquidated
          Houston, TX 77007                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.367
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Sylvia Raye                                                           Contingent
          5254 Cedar Rock Drive                                                 Unliquidated
          Lithonia, GA 30038                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.367
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          SYSTEMA MARKETING, INC.                                               Contingent
          1503 S Coast Dr                                                       Unliquidated
          Costa Mesa, CA 92626                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.367
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          SYSTEMA MARKETING, INC.                                               Contingent
          22305 Caminito Tecate                                                 Unliquidated
          Laguna Hills, CA 92653                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.367
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          SYSTEMA MARKETING, INC.                                               Contingent
          1433 Abelia                                                           Unliquidated
          Irvine, CA 92606                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.367
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,420.00
          Tabitha King                                                          Contingent
          11438 Ebony Street                                                    Unliquidated
          Firestone, CO 80504                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.367
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,420.00
          Tad and Corla Harrison                                                Contingent
          PO Box 532                                                            Unliquidated
          420 County Rd 860                                                     Disputed
           CO 80478
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.367
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tafer Residence Club                                                  Contingent
          48390                                                                 Unliquidated
          Purto Vallarta, Jalisco Mexico                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.367
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tahati Village Resorts                                                Contingent
          7200 S Las Vegas Blvd                                                 Unliquidated
          Las Vegas, NV 89119                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.367
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tahiti Vacation Club                                                  Contingent
          5101 W Tropicana Ave                                                  Unliquidated
          Las Vegas, NV 89103                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.367
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tahiti Village                                                        Contingent
          P.O. Box 29352                                                        Unliquidated
          Phoenix, AZ 85038                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.368
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tahiti Village Resorts                                                Contingent
          7200 S Las Vegas Blvd                                                 Unliquidated
          Las Vegas, NV 89119                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.368
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tahoe Beach & Ski Club                                                Contingent
          3601 Lake Tahoe Blvd                                                  Unliquidated
          South Lake Tahoe, CA 96150                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.368
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tahoe Sands                                                           Contingent
          6610 N Lake Blvd                                                      Unliquidated
          Tahoe Vista, CA 96148                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.368
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tahoe Seasons Resort                                                  Contingent
          3901 Saddle Rd                                                        Unliquidated
          South Lake Tahoe, CA 96150                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.368
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          Taisha Stevens, Walesha and April Duval                               Contingent
          54 Maxwell St.                                                        Unliquidated
          Dorchester, MA 02124                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.368
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,240.00
          Takehiro and Chieri Yoshida                                           Contingent
          23954 Dorrington Estates Lane                                         Unliquidated
          Conroe, TX 77385                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.368
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,700.00
          Talaurie Heidemann                                                    Contingent
          905 Alyse                                                             Unliquidated
          Deer Park, TX 77536                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.368
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Tamara & Brian Smith                                                  Contingent
          6985 County RD 111 B                                                  Unliquidated
          Salida, CO 81201                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.368
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,378.41
          Tamara & James Lamm                                                   Contingent
          1925 N 1250 W                                                         Unliquidated
          Mapleton, UT 84664                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.368
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tamarack Resort                                                       Contingent
          311 Village Dr                                                        Unliquidated
          Tamarack, ID 83615                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.369
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tamera Cottrell                                                       Contingent
          6534 S Swadley Ct                                                     Unliquidated
          Littleton, CO 80127                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.369
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,496.00
          Tami and David Gossett                                                Contingent
          1640 Kansas Ave                                                       Unliquidated
          McPherson, KS 67460                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.369
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Tammy and Charles Vaiana                                              Contingent
          6875 Allison St                                                       Unliquidated
          Arvada, CO 80004                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.369
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Tammy and Donald Fuller                                               Contingent
          411 Walnut St                                                         Unliquidated
          PMB 14586                                                             Disputed
          Green Cove Springs, FL 32043
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.369
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,200.00
          Tammy and Mark Lyons                                                  Contingent
          520 Lion Brooke Lane                                                  Unliquidated
          Pine, CO 80470                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.369
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Tana And Horace Murray                                                Contingent
          7533 NC Hwy 90 W                                                      Unliquidated
          Collettsville, NC 28611                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.369
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,692.18
          Taneea & Jermaine Pearson                                             Contingent
          8363 Millom CT                                                        Unliquidated
          Lorton, VA 22079                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.369
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tanglewood                                                            Contingent
          Junction of Route 6 & 507                                             Unliquidated
          Hawley, PA 18428                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.369
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tanglewood Vacation Villas Association                                Contingent
          7900 MARTIN BLUFF RD                                                  Unliquidated
          GAUTIER, MS 39553                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.369
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tanner Rosner                                                         Contingent
          3910 Elati St, N289                                                   Unliquidated
          Denver, CO 80216                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.370
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,000.00
          Tanya Berrios and Lawrence Smith                                      Contingent
          7942 Joshua Tree Lane                                                 Unliquidated
          Jacksonville, FL 32256                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.370
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,108.25
          Tara & Gabe Ornelas                                                   Contingent
          19774 E Wagontrail Drive                                              Unliquidated
          Centennial, CO 80015                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.370
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tara Adams                                                            Contingent
          5006 S Malaya Way                                                     Unliquidated
          Aurora, CO 80015                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.370
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          TAYLER FRANCIS ZIRKLE                                                 Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.370
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,258.00
          Taylor Nohelty                                                        Contingent
          5 Stone Hill Dr Apt 1D                                                Unliquidated
          Stoneham, MA 02180                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.370
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          TaylorWagner                                                          Contingent
          10797 Cedar Brook Lane                                                Unliquidated
          Highlands Ranch, CO 80126                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.370
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Team Logic                                                            Contingent
          2000 S Colorado BLVD STE 760                                          Unliquidated
          Denver, CO 80222                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.370
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Team Player Productions                                               Contingent
          430 Indiana St                                                        Unliquidated
          Golden, CO 80401                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.370
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,745.75
          Ted & Gail Szklenski                                                  Contingent
          1119 Sunset Dr                                                        Unliquidated
          Coatesville, PA 19320                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.370
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Ted & Kathy Piunno                                                    Contingent
          15033 E Crestridge Dr                                                 Unliquidated
          Aurora, CO 80015                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.371
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,670.00
          Ted Forsmann and Mary Martinez                                        Contingent
          2923 N Miller Road                                                    Unliquidated
          Scottsdale, AZ 85251                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.371
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Ted Kimmes Jr.                                                        Contingent
          6870 Olive Strret                                                     Unliquidated
          Commerce City, CO 80022                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.371
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Teddy & Bernice Crafton                                               Contingent
          517 Oconee Circle                                                     Unliquidated
          Evans, GA 30809                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.371
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $254,024.67
          Tegna Media                                                           Contingent
          PO Box 637386                                                         Unliquidated
          Cincinnati, OH 00063-7386                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1594
                                                                             Is the claim subject to offset?     No       Yes

 3.371
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $41,864.26
          Tegna Media                                                           Contingent
          8350 Broad Street Suite 2000                                          Unliquidated
          Tysons, VA 22102                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       2842
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.371
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,183.25
          Temakie & Zachary McNutt/Raymond                                      Contingent
          480 Casad Rd                                                          Unliquidated
          Anthony, NM 88021                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.371
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tennessee Attorney General                                            Contingent
          P.O. Box 20207                                                        Unliquidated
          Nashville, TN 37202                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.371
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,780.00
          Terence And Elizabeth Rhone                                           Contingent
          2905 Bearcreek Ct.                                                    Unliquidated
          Fullerton, CA 92835                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.371
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,250.00
          Teresa and Justus Allen                                               Contingent
          10606 Camino Ruiz # 8-173                                             Unliquidated
          San Diego, CA 92126                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.371
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,448.65
          Teresa And Perry Winters-Strong                                       Contingent
          397 Pheasant Hill Drive                                               Unliquidated
          North Aurora, IL 60542                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.372
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,405.00
          Teresa Cox, Lisha Famrbo and David Cox                                Contingent
          5810 West Ohio Street                                                 Unliquidated
          Chicago, IL 60644                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.372
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,457.00
          Teresa Jones                                                          Contingent
          14883 E. 5th Circle Apt D                                             Unliquidated
          Aurora, CO 80011                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.372
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,745.00
          Teresa Schlarmann                                                     Contingent
          10818 Cedar St                                                        Unliquidated
          Riverview, FL 33569                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.372
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,420.00
          Teri & Gary Alexander                                                 Contingent
          310 Independence Drive                                                Unliquidated
          Garland, TX 75043                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.372
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,246.25
          Teri McMichael                                                        Contingent
          439 Ranger Court                                                      Unliquidated
          Boulder City, NV 89005                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.372
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,764.69
          Terrance (Terry) and Michelle Estrel                                  Contingent
          8028 Claude Court                                                     Unliquidated
          Sylvania, OH 43560                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.372
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,275.00
          Terrance (Terry) Nolan                                                Contingent
          3573 Still Knoll Lane                                                 Unliquidated
          Sherrills Ford, NC 28673                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.372
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,694.00
          Terre & Jerald Baldwin                                                Contingent
          12401 Maiden Lane                                                     Unliquidated
          Oklahoma City, OK 73142                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.372
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,500.00
          Terrence & Trina Jackson                                              Contingent
          12147 South Laflin Street                                             Unliquidated
          Chicago, IL 60643                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.372
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Terri and Jerry Flowers                                               Contingent
          29404 8th Ave E                                                       Unliquidated
          Roy, WA 98580                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.373
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Terri and Mark Roberts                                                Contingent
          19 E. Lavitt Lane                                                     Unliquidated
          Phoenix, AZ 85086                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.373
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Terry & Marcia Willmsen                                               Contingent
          1045 Yellow Brick Rd #216                                             Unliquidated
          Chaska, MN 55318                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.373
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Terry and Lisa Beynon                                                 Contingent
          9215 Sandy Lane                                                       Unliquidated
          Conifer, Co 80433                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.373
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,950.00
          Terry and Margaret McCoy                                              Contingent
          16710 Orchid Mist Dr                                                  Unliquidated
          Cypress, TX 77433                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.373
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Terry Firkins (Cambra)                                                Contingent
          117 Kessler Lane                                                      Unliquidated
          Fayepteville, NY 13066                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.373
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,950.00
          Terry Stuive                                                          Contingent
          14102 E Linvale Pl                                                    Unliquidated
          Aurora, CO 80014                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.373
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,500.00
          Tessa & Kristen McFunk/ Santos                                        Contingent
          14437 E. 1st Drive Apt A10                                            Unliquidated
          Aurora, CO 80011                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.373
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Texas Attorney General                                                Contingent
          PO Box 12548                                                          Unliquidated
          Austin, TX 78711                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.373
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Asny Company LLC.                                                 Contingent
          801 S Rampart Blvd STE 200                                            Unliquidated
          Las Vegas, NV 89145-4898                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.373
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Atrium Owners Association                                         Contingent
          2829 Guardian Lane #220                                               Unliquidated
          Virginia Beach, VA 23452                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.374
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Beach House and Racket club                                       Contingent
          6800 N Ocean Blvd                                                     Unliquidated
          Myrtle Beach, SC 29572                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.374
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Berkley Group                                                     Contingent
          2626 E Oakland Park Blvd                                              Unliquidated
          Ft. Lauderdale, FL 33306                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.374
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Colonies at Williamsburg                                          Contingent
          5380 Olde Towne Rd                                                    Unliquidated
          Williamsburg, VA 23188                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.374
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Colonies at Williamsburg                                          Contingent
          P.O. Box 9610                                                         Unliquidated
          Coral Springs, FL 33075-9610                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.374
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Cove at Yarmounth Resort                                          Contingent
          183 Main St                                                           Unliquidated
          West Yarmouth, MA 02673                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.374
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The E.W. Scripps Company Attn: Mimi Dari                              Contingent
          312 Walnut St.                                                        Unliquidated
          Cincinnati, OH 45202                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.374
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Flagship in Atlantic City                                         Contingent
          60 N Maine Ave                                                        Unliquidated
          Atlantic City, NJ 08401                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.374
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Grandview at Las Vegas                                            Contingent
          P.O. Box 9610                                                         Unliquidated
          Coral Springs, FL 33075-9610                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.374
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Imperial in waikiki                                               Contingent
          205 Lewers St                                                         Unliquidated
          Honolulu,, HI 96815                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.374
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Imperial Vacation Club                                            Contingent
          205 Lewers St                                                         Unliquidated
          Honolulu,, HI 96815                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.375
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Imperial, Hawaii                                                  Contingent
          205 Lewers St                                                         Unliquidated
          Honolulu,, HI 96815                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.375
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Inn and SilverCreek                                               Contingent
          62927 US-40,                                                          Unliquidated
          Granby, CO 80446                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.375
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Inn at Mazetlan                                                   Contingent
          Av Camar n S balo 6291                                                Unliquidated
          Zona Dorada,, Sin. Mexico                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.375
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Jockey Club                                                       Contingent
          3700 S Las Vegas Blvd,                                                Unliquidated
          Las Vegas, NV 89109                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.375
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Kimball in Salt Lake                                              Contingent
          150 N Main St,                                                        Unliquidated
          Salt Lake City,, UT 84103                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.375
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $38,153.26
          The Leviton Law Firm LTD                                              Contingent
          One Pierce Place, Suite 725W                                          Unliquidated
          Itasca, IL 60143                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9126
                                                                             Is the claim subject to offset?     No       Yes

 3.375
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Links Myrtle Beach                                                Contingent
          917 Thomas Ave,                                                       Unliquidated
          North Myrtle Beach,, SC 29582                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.375
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Lion Media Group                                                  Contingent
          1415 Park Ave. W                                                      Unliquidated
          Denver, CO 80205                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.375
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Manhattan Club                                                    Contingent
          200 W 56th St,                                                        Unliquidated
          New York, NY 10019                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.375
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Minerva Group                                                     Contingent
          14501 W Amherst Place                                                 Unliquidated
          Lakewood, CO 80228-4867                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.376
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Palms Country Club                                                Contingent
          1410 Laguna Heights Drive                                             Unliquidated
          Filinvest City, Alabang Muntinlupa                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.376
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Palms Country Club                                                Contingent
          57000 Palms Dr                                                        Unliquidated
          La Quinta, CA 92253                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.376
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Pines at Meadow Creek                                             Contingent
          13438 Berry Hill Ln,                                                  Unliquidated
          Pine,, CO 80470                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.376
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Resort on Coco Beach                                              Contingent
          1600 N Atlantic Ave                                                   Unliquidated
          Cocoa Beach,, FL 32931                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.376
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Ridge at Tahoe                                                    Contingent
          400 Ridge Club Dr,                                                    Unliquidated
          Stateline, NV 89449                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.376
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Royal Cancun (Club Internacional de                               Contingent
          Paseo Kukulcan Km 4.5                                                 Unliquidated
          Lote C2 Y C2A Zona Hotelera, Cancun, Q.R                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.376
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Royal Haciendas                                                   Contingent
          Mza. 70 Lt. 2 Carr. Chetumal-Puerto Ju r                              Unliquidated
          Km289+10, Centro Playa del Carmen, Solid                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.376
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Royal Islander                                                    Contingent
          BLVD. Kukulcan Km 17                                                  Unliquidated
          Lote 51 Zona Hotelera, Cancun, Q.Roo 775                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.376
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Royal Sands                                                       Contingent
          BLVD. Kukulcan KM 13.5 No. 32 Seccion A                               Unliquidated
          Segunda Etapa, Zona Hotelera, Cancun, Q.                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.376
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Shores At Lake Travis                                             Contingent
          1917 American Dr                                                      Unliquidated
          Lago Vista, TX 78645                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.377
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Villa at Palm Springs                                             Contingent
          1650 S Calle Palo Fierro,                                             Unliquidated
          Palm Springs, CA 92264                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.377
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Villa Group (Puerto Vallarta)                                     Contingent
          CDMX, Cam. Viejo a San Jose KM 0.5,                                   Unliquidated
          El Medano,, 23450 San Lucas BCS Mexico                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.377
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Village at Izaty                                                  Contingent
          8478 Par 5 Dr                                                         Unliquidated
          Onamia,, MN 56359                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.377
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Village Palmeadow Dune                                            Contingent
          10 Trent Jones Ln,                                                    Unliquidated
          Hilton Head Island, SC 29928                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.377
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Village Vacation Club Resort                                      Contingent
          2626 E. Oakland Park Blvd.                                            Unliquidated
          Ft. Lauderdale,, FL 33306                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.377
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Villages Resort By Silverleaf                                     Contingent
          18270 Singing Wood Ln                                                 Unliquidated
          Flink, TX 75762                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.377
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Villas at Summer Bay                                              Contingent
          126-200 Summer Bay Blvd,                                              Unliquidated
          Clermont,, FL 34714                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.377
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Villas of Sadona                                                  Contingent
          55 Northview Rd                                                       Unliquidated
          Sedona, AZ 86336                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.377
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $18,275.00
          The Walt Disney Compnay                                               Contingent
          190 N State St                                                        Unliquidated
          Chicago, IL 60601                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.377
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The WIlliamsburg Plantation,                                          Contingent
          5380 Olde Towne Rd                                                    Unliquidated
          Williamsburg, VA 23188                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.378
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Wren at Vail Run                                                  Contingent
          500 South Frontage Road E                                             Unliquidated
          Vail, CO 81657                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.378
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          The Wren- Vail                                                        Contingent
          500 S Frontage Rd E,                                                  Unliquidated
          Vail, CO 81657                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.378
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,046.00
          Theda Ray and Cindy Melson                                            Contingent
          1040 Hickory Lane                                                     Unliquidated
          Indiana, PA 15701                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.378
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,000.00
          Thedford & Lillie Lowery                                              Contingent
          2300 Braunsroth Lane                                                  Unliquidated
          Hampton, GA 30228                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.378
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,245.00
          Theodore (Ted) and Mary Sievert                                       Contingent
          8953 Birch Avenue                                                     Unliquidated
          Morton Grove, IL 60053                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.378
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Theresa & Earl Weldin                                                 Contingent
          4157 Miladies LN                                                      Unliquidated
          Doylestown, PA 18902                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.378
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,800.00
          Theresa & Warren Holloway                                             Contingent
          5441 Odessa Street                                                    Unliquidated
          Denver, CO 80249                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.378
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,035.00
          Theresa And Herbert Jacobs III                                        Contingent
          9733 South Vanvlissingen Road                                         Unliquidated
          Chicago, IL 60617                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.378
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,920.00
          Theresa Dillard                                                       Contingent
          10315 Colony Court                                                    Unliquidated
          Houston, TX 77041                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.378
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,624.75
          Theresa Hearold                                                       Contingent
          3639 New Haven Circle                                                 Unliquidated
          Castle Rock, CO 80109                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.379
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,500.00
          Theresa Herbert                                                       Contingent
          5226 Karl Pl.                                                         Unliquidated
          Washington, DC 20019                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.379
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,495.00
          Theresa Kollath                                                       Contingent
          7400 West GrantRanch Blvd. #32                                        Unliquidated
          Littleton, CO 80123                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.379
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,000.00
          Theresa Lathrop                                                       Contingent
          141 Boones Ridge Parkway SE                                           Unliquidated
          Acworth, GA 30102                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.379
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,250.00
          Therese (Teri) and Peter Wolfhagen                                    Contingent
          12966 Kingsbridge Lane                                                Unliquidated
          Houston, TX 77077                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.379
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,500.00
          Thomas & Claire La Rosa                                               Contingent
          65 South Locust Ave                                                   Unliquidated
          Marlton, NJ 08053                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.379
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Thomas & Gina Young                                                   Contingent
          7213 Birchbark Ct                                                     Unliquidated
          Raleigh, NC 27615                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.379
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,695.00
          Thomas & Jane Petrie                                                  Contingent
          401 Jackson St                                                        Unliquidated
          Denver, CO 80206                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.379
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,105.00
          Thomas & Joy Vincent                                                  Contingent
          12620 Forest St                                                       Unliquidated
          Thornton, CO 80241                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.379
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,548.56
          Thomas & Kathryn Dale                                                 Contingent
          15323 East Ritter Circle                                              Unliquidated
          Houston, TX 77071                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.379
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Thomas & Linda Tabor                                                  Contingent
          11924 London St NE Lane                                               Unliquidated
          Blaine, MN 55449                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.380
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,446.00
          Thomas & Lynette Borman                                               Contingent
          40 Crystal Sky Drive                                                  Unliquidated
          Sedona, AZ 89351                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.380
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,614.00
          Thomas & Margaret Mathues                                             Contingent
          737 Hilltop Drive                                                     Unliquidated
          White Lake, MI 48386                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.380
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Thomas & Mary Beachboard                                              Contingent
          5417 Thetford Pl                                                      Unliquidated
          Alexandria, VA 22310                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.380
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,449.52
          Thomas & Pamela Blake                                                 Contingent
          905 Roble Ave                                                         Unliquidated
          Modesto, CA 95354                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.380
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,420.00
          Thomas & Patricia Cormack                                             Contingent
          312 Kingstone Road                                                    Unliquidated
          Knightdale, NC 27545                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.380
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,500.00
          Thomas & Rose Chaidez                                                 Contingent
          8571 S Springfield RD                                                 Unliquidated
          Globe, AZ 85501                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.380
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Thomas & Una Fraser                                                   Contingent
          8222 W Gelding Dr                                                     Unliquidated
          Peoria, AZ 85381                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.380
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,800.00
          Thomas and Adriana Mathews                                            Contingent
          716 NE Seabrook Circle                                                Unliquidated
          Lee Summit, MO 64064                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.380
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Thomas and Ann Ruhoff                                                 Contingent
          105 center st                                                         Unliquidated
          scandanavia, WI 54977                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.380
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Thomas and Barbara Schaub                                             Contingent
          741 Mason Drive                                                       Unliquidated
          Warminster, PA 18974                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.381
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,200.00
          Thomas And Linda Goossens                                             Contingent
          248 Eastpoint Court                                                   Unliquidated
          SpringHill, FL 34606                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.381
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Thomas and Michelle Slamin                                            Contingent
          8 Lookout Ave                                                         Unliquidated
          Natick, MA 01760                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.381
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,670.00
          Thomas And Polly Lents                                                Contingent
          6014 Bur Lane                                                         Unliquidated
          Silver Lake, IL 60014                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.381
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Thomas Bean                                                           Contingent
          7340 e Harvard ave D208                                               Unliquidated
          denver, CO 80231                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.381
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,045.00
          Thomas Billig                                                         Contingent
          2002 Alexis Ct                                                        Unliquidated
          Tarpon Springs, FL 34689                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.381
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,655.00
          Thomas House                                                          Contingent
          16 WOODLAND DR.                                                       Unliquidated
          WEST MONROE, NY 13167                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.381
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,376.00
          Thomas Kilgallon                                                      Contingent
          330 summit ave                                                        Unliquidated
          Unit 105                                                              Disputed
          Boston, MA 02135
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.381
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Thousand Trails Campgrounds                                           Contingent
          Po Box 644093                                                         Unliquidated
          Cincinnati, OH 45264                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.381
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,070.00
          Threesa & Dontaniel Kimbrough                                         Contingent
          202 Gates Creek Dr.                                                   Unliquidated
          Oswego, IL 60543                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.381
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Thunderbird Resort Club                                               Contingent
          200 Nichols Blvd                                                      Unliquidated
          Sparks, NV 89431                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.382
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,764.30
          Tierney & Haymon & Mae Gentry                                         Contingent
          4007 Weatherfield Court                                               Unliquidated
          Sugarland, TX 77479                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.382
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,700.00
          Tiffany & Sandra Cureth                                               Contingent
          1950 Logan St.                                                        Unliquidated
          #302                                                                  Disputed
          Denver, CO 80203
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.382
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,350.00
          Tiffany Chipman (Bedford)                                             Contingent
          4800 S Springs Dr                                                     Unliquidated
          Chandler, AZ 85249                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.382
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,920.00
          Tiffany Roberts                                                       Contingent
          1411 W 135th Dr                                                       Unliquidated
          Westminster, CO 80234                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.382
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,606.00
          Tim & Diana Fleck/White                                               Contingent
          17959 E Oxford Pl                                                     Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.382
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,470.00
          Tim Motter                                                            Contingent
          8394 Sand Dollar Drive                                                Unliquidated
          Windsor, CO 80528                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.382
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,500.00
          Timothy & Rebecca Cowell                                              Contingent
          208 Elizabeth Way                                                     Unliquidated
          Homers City, PA 15748                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.382
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,457.75
          Timothy & Vickie Gantt                                                Contingent
          10303 S Herdic Place                                                  Unliquidated
          Vail, AZ 85641                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.382
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,445.00
          Timothy and Ann Collum                                                Contingent
          6581 S Ames Ct                                                        Unliquidated
          Littleton, CO 80123                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.382
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,000.00
          Timothy And Patricia O'Grady                                          Contingent
          12414 Attlee Dr                                                       Unliquidated
          Houston, TX 77077                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.383
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Timothy and Ruth Ross                                                 Contingent
          25 Cottonwood Rd                                                      Unliquidated
          Wayne, NJ 07470                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.383
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,000.00
          Timothy Harvin                                                        Contingent
          13220 Fox Bow Drive Unit 206                                          Unliquidated
          Upper Marlboro, MD 20774                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.383
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $22,000.00
          Timothy Houser & Shelly Rodgers                                       Contingent
          13009 S Parker Rd #369                                                Unliquidated
          Parker, CO 80134                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.383
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,420.00
          Timothy R. & Michelle A. Bair                                         Contingent
          6 Kathleen Drive                                                      Unliquidated
          Landenberg, PA 19350                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.383
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Timothy Spencer                                                       Contingent
          19063 Cottonwood Dr, 417                                              Unliquidated
          Parker, CO 80138                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.383
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Timothy Wells and Willie Parham                                       Contingent
          3962 Fire Fox Drive                                                   Unliquidated
          North Las Vegas, NV 89032                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.383
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,800.00
          Tina & Marc Mcnair                                                    Contingent
          109 Bala Road                                                         Unliquidated
          Cherry Hill, NJ 08002                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.383
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,968.00
          Tina Goodman (Holland)                                                Contingent
          8425 Snow Goose Way                                                   Unliquidated
          Ft Worth, TX 76118                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.383
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,397.86
          Titilola Lakeru-Rivers                                                Contingent
          4077 Hillside Road                                                    Unliquidated
          Lafayette Hill, PA 19444                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.383
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $33,541.17
          TMACS Collections - WFAA                                              Contingent
          901 Main Street, Suite 3800                                           Unliquidated
          Dallas, TX 75202                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       21In
                                                                             Is the claim subject to offset?     No       Yes

 3.384
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Tobias & Tiffany Williams/Jensen-William                              Contingent
          88 Barnstable Rd                                                      Unliquidated
          South Portland, ME 04106                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.384
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Tobin and Dawn Ewing                                                  Contingent
          19122 Camellia Bend Cir                                               Unliquidated
          Spring, TX 77379                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.384
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Toby Waitt                                                            Contingent
          #10 Fisherman Way                                                     Unliquidated
          East Gloucester, MA 01930                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.384
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,220.73
          Todd & Debbie Brooks/Woolford                                         Contingent
          12100 Peabody Lane                                                    Unliquidated
          Charlotte Lane, IL 20622                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.384
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,473.16
          Todd and Shalimar Price                                               Contingent
          194 Grand Mesa Dr                                                     Unliquidated
          Ozark, MO 65721                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.384
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $12,000.00
          Todd Hartley                                                          Contingent
          299 N. Riverside Dr. Apt 203                                          Unliquidated
          Pompano Beach, FL 33062                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.384
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,302.00
          Todd Reynoldson                                                       Contingent
          13960 Hemlock Ln North                                                Unliquidated
          Dayton, MN 55327                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.384
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,053.00
          Tom & Linda McAvey/Garvarino                                          Contingent
          109 Cutler Rd.                                                        Unliquidated
          Greene, NY 13778                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.384
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,174.00
          Tom & Marta Wohrley                                                   Contingent
          11432 E Regency Ct                                                    Unliquidated
          Parker, CO 80138                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.384
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,797.55
          Tom & Susan Bernhardt III/Gillespie                                   Contingent
          129 Spinney Road                                                      Unliquidated
          East Quogue, NY 11942                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.385
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,500.00
          Tom and Linda Parisi                                                  Contingent
          6839 Lupine Way                                                       Unliquidated
          Arvada, CO 80007                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.385
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          Tom Carllon                                                           Contingent
          18591 East 53rd Avenue                                                Unliquidated
          Denver, CO 80249                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.385
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,997.27
          Tom Shaughnessy                                                       Contingent
          11680 E Sahuaro Dr Unit 2032                                          Unliquidated
          Scottsdale, AZ 85259                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.385
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,108.00
          Tomas And Ana Lopez                                                   Contingent
          3412 W 73rd Place                                                     Unliquidated
          Chicago, IL 60629                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.385
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,995.00
          Tommy and Mary Biggs                                                  Contingent
          948 Chestnut Ridge Road                                               Unliquidated
          Manchester, MO 63021                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.385
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,335.00
          Toney Dvorak                                                          Contingent
          16389 West Ellsworth Drive                                            Unliquidated
          Golden, CO 80401                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.385
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,867.00
          Toni Booker                                                           Contingent
          3 Beacon Lane                                                         Unliquidated
          Newark, DE 19711                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.385
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,300.00
          Toni H and Fred Young                                                 Contingent
          15722 Pointer Ridge Drive                                             Unliquidated
          Bowie, MD 20716                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.385
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,358.00
          Tonika Butler                                                         Contingent
          1232 Plantation Pine Cir                                              Unliquidated
          Garner, NC 27529                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.385
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,683.00
          Tony and Mona Brown                                                   Contingent
          1170 Red Hawk Ridge Lane                                              Unliquidated
          O' Fallon, IL 62269                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.386
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          Tonya & Adebisi & Sonya Leeth/Ige/Teague                              Contingent
          6842 S Loomis Blvd                                                    Unliquidated
          Chicago, IL 60636                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.386
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,163.00
          Tonya & Byron Welch                                                   Contingent
          244 Lassiter Drive                                                    Unliquidated
          Ellenwood, GA 30294                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.386
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,957.75
          Tonya Danielewicz and Judith Ann Heldt T                              Contingent
          400 Hesburgh Dr                                                       Unliquidated
          Manteno, IL 60950                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.386
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Tonya Talley-Smith                                                    Contingent
          4825 Sheriff RD. NE                                                   Unliquidated
          Washington, DC 20019                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.386
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Topsider Resort                                                       Contingent
          75500 Overseas Hwy                                                    Unliquidated
          Islamorada, FL 33036                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.386
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,295.00
          Torris & Leesha Johnson                                               Contingent
          121 Hillview Circle                                                   Unliquidated
          Aiken, SC 29801                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.386
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Townhouses @ St. Augustine Beach &                                    Contingent
          Tenni                                                                 Unliquidated
          3960 A1A S                                                            Disputed
          St. Augustine, FL 32080
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.386
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,710.00
          Toyia Williams                                                        Contingent
          401 East 60th Drive                                                   Unliquidated
          Merillville, IN 46410                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.386
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,355.00
          Tracey & Starlet Ferguson/Robinson                                    Contingent
          10 Connecticut Court                                                  Unliquidated
          Madison, WI 53719                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.386
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,800.00
          Tracie Little                                                         Contingent
          1106 Barnaby Terrace SE                                               Unliquidated
          Washington, DC 20032                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.387
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Tracy & Andre Hambrick                                                Contingent
          2731 Lauren Lake Drive                                                Unliquidated
          Belleville, IL 06221                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.387
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,058.00
          Tracy & Christopher Kasperitis                                        Contingent
          14 Lilac Lane                                                         Unliquidated
          Levittown, PA 19054                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.387
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $9,190.00
          Tracy & Rob Manz                                                      Contingent
          134 Sabre Rd                                                          Unliquidated
          Springbook, Alberta T4S 2H7                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.387
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Tracy & Theodore McLaughlin                                           Contingent
          P.O Box 5431                                                          Unliquidated
          Cary, NC 27512                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.387
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,800.00
          Tracy and John Landi                                                  Contingent
          1610 Rd                                                               Unliquidated
          Voorhees, NJ 08043                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.387
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tracy Burke                                                           Contingent
          19303 E College Dr, Apt 109                                           Unliquidated
          Aurora, CO 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.387
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,625.00
          Tracy Caswell                                                         Contingent
          2958 Piedmont Manor Drive                                             Unliquidated
          Orange Park, FL 32065                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.387
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tracy Litzenberger                                                    Contingent
          141 Grouse Place                                                      Unliquidated
          Littleton, CO 80126                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.387
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Trapp Family Lodge                                                    Contingent
          700 Trapp Hill Rd                                                     Unliquidated
          Stowe, VT 05672                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.387
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Travel Advantage Network                                              Contingent
          PMB #311 672 Old Mill Rd                                              Unliquidated
          Millersville, MD 21108                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.388
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Travel Advantage Network                                              Contingent
          672 Old Mill Road, #311                                               Unliquidated
          Millersville, MD 21108                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.388
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Travel Resorts of America (Rocky Fort Re                              Contingent
          74978 Broadhead Rd                                                    Unliquidated
          Kimbolton, OH 43749                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.388
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Travel Smart                                                          Contingent
          8834 Jackwood St                                                      Unliquidated
          Houston, TX 77036-7328                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.388
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,035.00
          Travis & Courtney Madsen                                              Contingent
          6221 W Fremont Drive                                                  Unliquidated
          Littleton, CO 80128                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.388
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Travis Thomas                                                         Contingent
          ttravisthomas69@yahoo.com or (229) 225-8                              Unliquidated
            AZ 85015                                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.388
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Treasure Lake Via Crown Resorts                                       Contingent
          1372 Old State Highway 255                                            Unliquidated
          DuBois, PA 15801                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.388
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Trecia Lascor                                                         Contingent
          6502 Shea Place                                                       Unliquidated
          Highlands Ranch, CO 80130                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.388
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Trecia Lascor                                                         Contingent
          6502 Shea Place                                                       Unliquidated
          Highlands Ranch, CO 80130                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.388
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tree Top Resort                                                       Contingent
          290 Sherman Clabo Rd                                                  Unliquidated
          Gatlinburg, TN 37738                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.388
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Trevor & Sally Raghoo/Bernard                                         Contingent
          3830 nw 23rd pl                                                       Unliquidated
          Cocunut Creek, FL 33066                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.389
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tribune Media                                                         Contingent
          435 North Michigan Avenue                                             Unliquidated
          Chicago, IL 60611                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.389
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tropic Shores Resort                                                  Contingent
          3111 S Atlantic Ave                                                   Unliquidated
          Daytona Beach, FL 32118                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.389
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,721.00
          Troy & Lesli Sambrano                                                 Contingent
          2020 Lake Landing Dr.                                                 Unliquidated
          League city, TX 77573                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.389
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,732.00
          Troy Anderson and Lidia Valasquez                                     Contingent
          9655 Autumnwood Pl                                                    Unliquidated
          Highlands Ranch, CO 80129                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.389
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $16,443.59
          Troy Gray                                                             Contingent
          1480 South Chase Ct.                                                  Unliquidated
          Lakewood, CO 80232                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.389
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,495.00
          Troy Lybbert                                                          Contingent
          4696 66th Place North                                                 Unliquidated
          Pinellas, FL 33781                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.389
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,373.80
          Troy Wright                                                           Contingent
          1001 W Willowick Dr                                                   Unliquidated
          Grovetwon, GA 30813                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.389
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tullymore Golf Resort                                                 Contingent
          9940 St. Ives Drive                                                   Unliquidated
          Stanwood, MI 49346                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.389
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Turi & Brian Mcilquham                                                Contingent
          10385 130th Ave                                                       Unliquidated
          Bloomer, WI 54724                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.389
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Tuscany Village Vacations                                             Contingent
          8122 Arrezzo Way                                                      Unliquidated
          Orlando, FL 32821                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.390
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Twin Rivers Condominiums                                              Contingent
          300 Sterling Way                                                      Unliquidated
          Fraser, CO 80442                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.390
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Two Residence Club Barbados aka O2                                    Contingent
          Beach                                                                 Unliquidated
          Dover Road St Lawrence Gap Bridgetown                                 Disputed
          Christ Churc, BB15020 Barbados
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.390
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,800.00
          Tyler & Rebekah Edwards                                               Contingent
          728 Squire St.                                                        Unliquidated
          Colorado Springs, CO 80911                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.390
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,700.00
          Tyrone & Akira Alston                                                 Contingent
          437 SunneyView Rd                                                     Unliquidated
          Henderson, NC 27536                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.390
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,556.00
          Tyrone and Elise Stowe                                                Contingent
          19609 S McQueen Rd                                                    Unliquidated
          Chandler, AZ 85286                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.390
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,415.00
          Tyrone And Jasmin Woods                                               Contingent
          3905 Chain Bridge Road                                                Unliquidated
          Fairfax, VA 22030                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.390
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Tyrone Howze and Andondra Howze                                       Contingent
          5502 Howze Road                                                       Unliquidated
          Catawba, SC 29704                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.390
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,004.30
          Uche & Melissa Ebokah                                                 Contingent
          31640 Fairhill Dr                                                     Unliquidated
          Wesley Chapel, FL 33543                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.390
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,000.00
          Ukata Frank Thompson and Nneka                                        Contingent
          Joshua-An                                                             Unliquidated
          11212 Westpark Dr. Apt 720                                            Disputed
          Houston, TX 77042
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.390
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,108.00
          Ulla and Christopher Bingham/Bienko                                   Contingent
          8511 Canton Common Lane                                               Unliquidated
          Cypress, TX 77433                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.391
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,611.02
          United Chase Brian Business                                           Contingent
          P.O. Box 15298                                                        Unliquidated
          Wilmington, DE 19850                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.391
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          United Healthcare                                                     Contingent
          6465 Greenwood Plaza Blvd #300                                        Unliquidated
          Centennial, CO 80111                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.391
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Universal Vacation Club Villa Del PalMar                              Contingent
          6850 Bermuda Rd                                                       Unliquidated
          Las Vegas, NV 89119                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.391
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Unlimited Vacation Club                                               Contingent
          9450 Sunset Dr                                                        Unliquidated
          Miami, FL 33173-3206                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.391
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,600.00
          Urvashi and Billy Joe Foster                                          Contingent
          40 Jacqueline Drive                                                   Unliquidated
          PO BOx 760                                                            Disputed
          Georgetown, GA 39854
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.391
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          US Bank                                                               Contingent
          PO Box 1950                                                           Unliquidated
          St. Paul, MN 55101                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.391
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          US Bank, NA Bankruptcy/Recovery Dept                                  Contingent
          PO Box 5229                                                           Unliquidated
          Cincinnati, OH 45201                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.391
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          US Equal Employment Opportunity                                       Contingent
          303 E 17th Ave #410                                                   Unliquidated
          Denver, CO 80203                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0376
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.391
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          US Recreation Properties Inc.                                         Contingent
          BOX 268                                                               Unliquidated
          BANNING, CA 92220                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.391
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Utah Attorney General                                                 Contingent
          PO Box 142320                                                         Unliquidated
          SLC, UT 84114                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.392
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,900.00
          Uyen and Craig Adams                                                  Contingent
          1154 Aspen St                                                         Unliquidated
          Broomfield, CO 80020                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.392
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Vacation Internationale aka VI resorts                                Contingent
          116th Ave. N.E.                                                       Unliquidated
          Bellevue, WA 98004                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.392
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Vacation Network                                                      Contingent
          3296 Summit Ridge Pkwy Ste 1900                                       Unliquidated
          Duluth, GA 30096-6302                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.392
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Vacation Resorts International                                        Contingent
          25510 Commercentre Dr #100                                            Unliquidated
          Lake Forest, CA 92630                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.392
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Vacation Village at Bonaventure Owner's                               Contingent
          1775 Bonaventure Blvd., Ste. 1104                                     Unliquidated
          Weston, FL 33326-3131                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.392
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Vacation Village Corporate Headquarters                               Contingent
          2626 E. Oakland Park Blvd.                                            Unliquidated
          Ft. Lauderdale, FL 33306                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.392
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Vacation Village Corporate Headquarters                               Contingent
          2626 E. Oakland Park Blvd.                                            Unliquidated
          Ft. Lauderdale, FL 33306                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.392
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Vacation Villas                                                       Contingent
          3795 Vacation Villas Lane                                             Unliquidated
          Titusville, FL 32780                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.392
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Vail Resorts                                                          Contingent
          390 Interlocken Crescent                                              Unliquidated
          Broomfield, CO 80021                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.392
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Vail Run                                                              Contingent
          1000 Lions Ridge Loop                                                 Unliquidated
          Vail, CO 81657                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.393
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Vail Run Resort                                                       Contingent
          1000 Lions Ridge Loop                                                 Unliquidated
          Vail, CO 81657                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.393
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,995.00
          Val (Valeslia) Spearman                                               Contingent
          8669 S Addison Way                                                    Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.393
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,750.00
          Valarie And Peter Simpson                                             Contingent
          100 Central Avenue                                                    Unliquidated
          East Hartford, CT 06108                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.393
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,945.00
          Valarie Smith                                                         Contingent
          7937 Telluride Dr                                                     Unliquidated
          Houston, Tx 77040                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.393
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,615.65
          Valentin & Valerie Martinez/Ramos                                     Contingent
          6235 Saint Anne Forest Drive                                          Unliquidated
          Houston, TX 77088                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.393
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,843.96
          Valerie & Christian Cuevas                                            Contingent
          4517 Sunnyhill Dr                                                     Unliquidated
          Colorado Springs, CO 80916                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.393
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Valerie & Ernest Hall                                                 Contingent
          5451 Pine Forrest Circle                                              Unliquidated
          Gainsville, GA 30504                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.393
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Valerie And Robert Amador                                             Contingent
          662 S 34th Avenue                                                     Unliquidated
          Brighton, CO 80601                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.393
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Valerie Serrall                                                       Contingent
          2142 hollins st                                                       Unliquidated
          Baltimore, MD 21223                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.393
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Vallarta Gardens                                                      Contingent
          Km 1.2 Road, Punta de Mita                                            Unliquidated
          63734 Cruz de Huanacaxtle, Nay. Mexico                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.394
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,801.39
          Van (Gerald) and Teresa Krause                                        Contingent
          66 Glenwood Street                                                    Unliquidated
          Winston-Salem, NC 27106                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.394
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,295.00
          Van Beasley                                                           Contingent
          707 Happy Home Rd.                                                    Unliquidated
          Tyner, NC 27980                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.394
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,079.00
          Vanessa & Colton Hampton/Smith                                        Contingent
          8717 Greengrass Way                                                   Unliquidated
          Parker, CO 80134                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.394
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,800.00
          Vanessa & Darielle & Constance & Diedra                               Contingent
          210 Plymouth Lane                                                     Unliquidated
          Bolingbrook, IL 60440                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.394
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,500.00
          Vanessa & Vance Kendall/Pratt                                         Contingent
          10738 Shawnbrook St                                                   Unliquidated
          Houston, TX 77071                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.394
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,100.00
          Vanessa Colletti and Susan Freund and Ca                              Contingent
          721 N Lasalle St                                                      Unliquidated
          Chicago, IL 60654                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.394
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,957.00
          Vanessa Jones                                                         Contingent
          16325 Winchester Ave                                                  Unliquidated
          Markham, IL 60428                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.394
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $17,525.00
          Vanester And Nadine Jones                                             Contingent
          1225 East River Drive                                                 Unliquidated
          Margate, FL 33063                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.394
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,060.00
          Vanita And Robert Moore                                               Contingent
          1238 W 135th Ave                                                      Unliquidated
          Westminster, CO 80234                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.394
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,219.00
          Vashti & Marvin Hale                                                  Contingent
          206 Oriole Rd                                                         Unliquidated
          Matteson, IL 60443                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.395
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Velas Vallarta                                                        Contingent
          Av Paseo de la Marina Nte 585, Marina Va                              Unliquidated
          48354, Puerto Vallarta, Jal Mexico                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.395
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Venture Out Campgrounds                                               Contingent
          5001 E. Main Street                                                   Unliquidated
          Mesa, AZ 85205                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.395
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Vermont Attorney General                                              Contingent
          109 State St                                                          Unliquidated
          Montpelier, VT 05609                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.395
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,200.00
          Vern & Pam Nelson                                                     Contingent
          6015 county road 30                                                   Unliquidated
          Silverthorne, CO 80498                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.395
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,367.00
          Veronica & Lisa Watts                                                 Contingent
          1830 Plymouth CT                                                      Unliquidated
          Bowie, MD 20716                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.395
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,434.32
          Veronica and Frank Allen Jr                                           Contingent
          3219 Castledale Drive                                                 Unliquidated
          Houston, TX 77093                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.395
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Veronica Sanchez                                                      Contingent
          522 Lilac Terrance NE                                                 Unliquidated
          Leesburg, VA 20176                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.395
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,376.00
          Veronica Veiga                                                        Contingent
          872 Cresent St                                                        Unliquidated
          Brockton, MA 02302                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.395
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,101.00
          Vesta Schwartz                                                        Contingent
          18305 Queen Elizabeth Dr                                              Unliquidated
          Olney, MD 20832                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.395
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,500.00
          Vicente Gaan and Marie Epil-Gaan                                      Contingent
          2719 Lily Ln                                                          Unliquidated
          Rolling Meadows, IL 60008                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.396
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,400.00
          Vickie & Hugo Duenas                                                  Contingent
          4213 Sierra Redwood Drive                                             Unliquidated
          Bakersfield, CA 93313                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.396
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,620.00
          Vickie Craver                                                         Contingent
          6450 W 98th Ct                                                        Unliquidated
          Westminster, CO 80021                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.396
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,500.00
          Vicky & Larry Zuckman                                                 Contingent
          1721 Roberts Bend                                                     Unliquidated
          Weatherford, TX 76086                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.396
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Vicky And Raymond Reid                                                Contingent
          10 Cosmos Court West                                                  Unliquidated
          Homosassa                                                             Disputed
           FL 34446
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.396
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Vicky Rocher                                                          Contingent
          2813 Shadow Woods Court                                               Unliquidated
          Houston, TX 00077-0443                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.396
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.75
          Vicky&Laurel(Laurie) Bohlmann/Dexter                                  Contingent
          9191 Lillian Lane                                                     Unliquidated
          Thornton, CO 80229                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.396
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,183.56
          Victor & Yolanda Almendarez                                           Contingent
          2001 Foxglove Oaks CT                                                 Unliquidated
          Pearland, TX 77581                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.396
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,795.00
          Victor And Iryna Queiros                                              Contingent
          76 Piermonth St                                                       Unliquidated
          Quincy, MA 02170                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.396
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,700.00
          Victoria (Tori) Bebout                                                Contingent
          308 Spyglass Dr                                                       Unliquidated
          Rio Vista, CA 94571                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.396
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          Victoria and James Mueller                                            Contingent
          7529 Donner Pass Vw.                                                  Unliquidated
          Fountain, CO 80817                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.397
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,950.00
          Victoria Angelica and Robin Lee                                       Contingent
          7689 Palmilla Drive Apt 1205                                          Unliquidated
          San Diego, CA 92122                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.397
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,720.00
          Victoria Limas                                                        Contingent
          268 Candy Street                                                      Unliquidated
          El Campo, TX 77437                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.397
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,144.65
          Victoria Wright                                                       Contingent
          606 N. 78th Ave                                                       Unliquidated
          Greeley, CO 80634                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.397
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Vida Vacations/Mayan Resorts                                          Contingent
          PO Box 911841                                                         Unliquidated
          Dallas, TX 75391-1841                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.397
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Vidanta Resorts                                                       Contingent
          Nuevo Vallarta. Boulevard Riviera Nayari                              Unliquidated
          #254 Bahia de Banderas, Nayarit CP 63735                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.397
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Villa at Regal Palms                                                  Contingent
          2700 Sand Mine Rd                                                     Unliquidated
          Davenport, FL 33897                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.397
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Villa Cabo                                                            Contingent
          Avenida Peatonal Pescadores in front of                               Unliquidated
          Cabo San Lucas, B.C.S Mexico                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.397
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Villa del Arco                                                        Contingent
          Cam. Viejo a San Jose Km 0.4, El Medano                               Unliquidated
          Cabo San Lucas, B.C.S Mexico                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.397
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Villa del Mar                                                         Contingent
          Bonaventure Crescent,                                                 Unliquidated
          , TKCA 1ZZ Providenciales                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.397
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Villa Del Mar Cabo                                                    Contingent
          fraccionamiento Portales, 23473                                       Unliquidated
          Cabo San Lucas, B.C.S Mexico                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.398
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Villa Del Palmar                                                      Contingent
          Camino Viejo a San Jos Km.0.5 El M dano                               Unliquidated
          Cabo San Lucas, B.C.S Mexico                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.398
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Villa of Fortune Place                                                Contingent
          1201 Simpson Rd                                                       Unliquidated
          Kissimmee, FL 34744                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.398
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Villa Roma Resort aka Sullivan Catskills                              Contingent
          356 Villa Roma Rd                                                     Unliquidated
          Callicoon, NY 12723                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.398
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Villa Solarta aka Florida Vacation Homes                              Contingent
          1751 Sawyer Palm Pl                                                   Unliquidated
          Kissimmee, FL 34747                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.398
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Village Lando Resort and Lando Resort Co                              Contingent
          5405 Diplomat Cir # 106                                               Unliquidated
          Orlando, FL 32810                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.398
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Village North Condominium Association                                 Contingent
          8702 CHAMPIONS WAY                                                    Unliquidated
          PORT ST. LUCIE,, FL 34986                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.398
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Village of Winnipesaukee                                              Contingent
          233 Endicott St N # 316                                               Unliquidated
          Laconia, NH 03246                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.398
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Village Palmeadow Dunes                                               Contingent
          10 Trent Jones Ln                                                     Unliquidated
          Hilton Head Island, SC 29928                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.398
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Village West Resort                                                   Contingent
          16010 IA-86                                                           Unliquidated
          Spirit Lake, IA 51360                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.398
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Village West Resort                                                   Contingent
          20785 120th St.                                                       Unliquidated
          Spirite Lake, IA 51360                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.399
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Villas at Cave Creek                                                  Contingent
          38001 N School House Rd                                               Unliquidated
          Cave Creek, AZ 85331                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.399
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Villas at Fortune Place                                               Contingent
          1201 Simpson Rd                                                       Unliquidated
          Kissimmee, FL 34744                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.399
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Villas at Fortune Place                                               Contingent
          PO Box 730119                                                         Unliquidated
          Ormond Beach, FL 32173                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.399
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Villas at Regal Palm Vacations Club                                   Contingent
          2700 Sand Mine Rd                                                     Unliquidated
          Davenport, FL 33897                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.399
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Villas at Sedona                                                      Contingent
          55 Northview Rd                                                       Unliquidated
          Sedona, AZ 86336                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.399
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Villas at Southgate and Velas                                         Contingent
          280 W 2025 S                                                          Unliquidated
          St. George, UT 84770                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.399
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Villas at Summer Bay                                                  Contingent
          126-200 Summer Bay Blvd                                               Unliquidated
          Clermont, FL 34714                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.399
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Villas at Treetop - PA                                                Contingent
          Greystone Ct                                                          Unliquidated
          East Stroudsburg, PA 18302                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.399
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Villas on the Lake at Lake Conroe                                     Contingent
          17578 TX-105                                                          Unliquidated
          Conroe, TX 77306                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.399
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Villas Vallarta Resort                                                Contingent
          Av Paseo de la Marina Nte 585, Marina Va                              Unliquidated
          Puerto Vallarta, , Jal. Mexico                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.400
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Vincent & Felicia & Peach & Vincia Dixon                              Contingent
          316 Sion Hill                                                         Unliquidated
          Christiansted, St. Croix, USVI 00820-000                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.400
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,367.75
          Vincent Ortiz                                                         Contingent
          15263 W Gelding Drive                                                 Unliquidated
          Surprise, AZ 85379                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.400
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Vintage Landing POA                                                   Contingent
          179 Vintage Dr                                                        Unliquidated
          Village of Four Seasons, MO 65049                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.400
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          Violet Nettles                                                        Contingent
          2190 Aurora Ct                                                        Unliquidated
          Oak Harbor, WA 98277                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.400
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,122.00
          Virgil & Patricia Leih/Sandberg-Leih                                  Contingent
          7100 Metro Blvd                                                       Unliquidated
          #422                                                                  Disputed
          Edina, MN 55439
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.400
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,000.00
          Virginia and Clarence Barrs                                           Contingent
          956 Silver Spring Ct.                                                 Unliquidated
          St. Augustine, FL 32092                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.400
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,223.00
          Virginia And James Mickitsch/Beaumont                                 Contingent
          3 Hahn Rd West                                                        Unliquidated
          Canonsburg, PA 15317                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.400
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,329.00
          Virginia and Jerry Johnson                                            Contingent
          3650 Vance St # 306                                                   Unliquidated
          Wheatridge, CO 80033                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.400
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,644.65
          Virginia and Leonard Berwick                                          Contingent
          1215 Club House Rd                                                    Unliquidated
          Gladwyne, PA 19035                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.400
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $20,463.00
          Virginia and Paul Jensen                                              Contingent
          PO Box 381                                                            Unliquidated
          San Luis, CO 81152                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.401
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Virginia Attorney General                                             Contingent
          202 North Ninth Street                                                Unliquidated
          Richmond, VA 23219                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.401
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Vista Mirage Resort                                                   Contingent
          400 S Hermosa Dr                                                      Unliquidated
          Palm Springs, CA 92262                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.401
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Vista Sheraton resort                                                 Contingent
          160 W Beaver Creek Blvd                                               Unliquidated
          Avon, CO 81620                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.401
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Vistana                                                               Contingent
          6649 Westwood Blvd., Suite 300                                        Unliquidated
          Orlando, FL 32821                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.401
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Vita Lifestyle                                                        Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.401
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,537.20
          Vivia Tucker and Ashley                                               Contingent
          13 north 2nd St                                                       Unliquidated
          Darby, PA 19023                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.401
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,250.00
          Vivian and Rosalino Manila                                            Contingent
          210 Pomo Trail                                                        Unliquidated
          Harker Heights, TX 76548                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.401
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,739.00
          Vivian Kovacs                                                         Contingent
          8150 S Valdai Ct                                                      Unliquidated
          Aurora, CO 80016                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.401
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Voyager Beach Club                                                    Contingent
          11860 Gulf Blvd                                                       Unliquidated
          Treasure Island, FL 33706                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.401
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          VRI - Villas of Sedona                                                Contingent
          55 Northview Rd                                                       Unliquidated
          Sedona, AZ 86336                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.402
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          VSA Resorts                                                           Contingent
          2829 Guardian Ln, Ste 220                                             Unliquidated
          Virginia Beach, VA 23452                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.402
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $14,000.00
          W Thomas and Joyce Buck                                               Contingent
          5005 Heritage Dr                                                      Unliquidated
          Durham, NC 27712                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.402
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,995.00
          W. Esther Bright                                                      Contingent
          15555 E 40th Ave Unit 11                                              Unliquidated
          Denver, CO 80239                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.402
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $91,139.97
          Walt Disney Company                                                   Contingent
          1180 Celebration Blvd., Ste 201                                       Unliquidated
          Celebration, FL 03478                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.402
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,227.00
          Walt Laycock                                                          Contingent
          3615 W Kings Ave                                                      Unliquidated
          Phoenix, AZ 85053                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.402
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,245.00
          Walter And Anita Jo Golding                                           Contingent
          7313 164th Street East                                                Unliquidated
          Puyallup, WA 98375                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.402
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,388.22
          Walter and Becky Scherer                                              Contingent
          4121 FM563 South                                                      Unliquidated
          PO Box 172                                                            Disputed
          Anahuac, TX 77514
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.402
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,365.00
          Walter and Wanda Fountain                                             Contingent
          877 Private Road 1050                                                 Unliquidated
          Halletsville, TX 77964                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.402
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,250.00
          Walter Cuby                                                           Contingent
          11626 Sagewillow Lane                                                 Unliquidated
          Houston, TX 77089                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.402
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,745.00
          Walter, Toni, Evans, Kerbey, Bennett Fin                              Contingent
          3403 Banbury Place                                                    Unliquidated
          Houston, TX 77027                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.403
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,750.00
          Wanda and Allen Fogo                                                  Contingent
          512 Deframe Court                                                     Unliquidated
          Golden, CO 80401                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.403
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $28,000.00
          Wanda Diane & Vincent Hayes                                           Contingent
          737 Carefree Drive                                                    Unliquidated
          San Diego, CA 92114                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.403
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          Wanda Williams and Daniel Clayton                                     Contingent
          2508 Lancaster Rd NW                                                  Unliquidated
          Wilson, NC 27896                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.403
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Wapato Point                                                          Contingent
          1 Wapato Point Pkwy                                                   Unliquidated
          Manson, WA 98831                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.403
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,146.00
          Warren & Jean Wegener                                                 Contingent
          13304 Oakland DR                                                      Unliquidated
          Brunsville, MN 55337                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.403
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Washington Attorney General                                           Contingent
          1125 Washington St SE PO Box 40100                                    Unliquidated
          Olympia, WA 98504                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.403
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Wataha East Plantation                                                Contingent
          911 Riverwood Dr                                                      Unliquidated
          Murrells Inlet, SC 29576                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.403
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          WaveCrest (San Diego)                                                 Contingent
          1400 Ocean Ave                                                        Unliquidated
          Del Mar, CA 92014                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.403
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Way-Fm Colorado                                                       Contingent
          4820 Centennial Blvd. Suite 115                                       Unliquidated
          Colorado Springs, CO 80919                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.403
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,457.10
          Wayne & Beverly Meaders                                               Contingent
          114 Highland Park Trail                                               Unliquidated
          Sandy Springs, GA 30350                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.404
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,008.00
          Wayne & Erma/Kenneth Faulk/Goodson                                    Contingent
          1877 Miramonte Way                                                    Unliquidated
          Lawrenceville, GA 30045                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.404
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          Wayne & Walteria Joseph                                               Contingent
          3622 Summerow RD                                                      Unliquidated
          Lincolnton, NC 00020-8112                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.404
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,340.00
          Wayne And Carol Speedling                                             Contingent
          35306 N. Star Lane                                                    Unliquidated
          Grand Rapid, MN 55744                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.404
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,732.50
          Wayne And Deborah Craft                                               Contingent
          750 High View Drive                                                   Unliquidated
          Anchorage, AK 99515                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.404
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,845.00
          Wayne Ducote                                                          Contingent
          377 Big Beaver Creek Rd                                               Unliquidated
          Trout Creek, MT 59784                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.404
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,462.50
          WCNC                                                                  Contingent
          P.O. Box 637386                                                       Unliquidated
          Cincinnati, OH 45263                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       893A
                                                                             Is the claim subject to offset?     No       Yes

 3.404
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Webolutions                                                           Contingent
          6300 S Syracuse Way #100                                              Unliquidated
          Centennial, CO 80111                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.404
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Welk Resort                                                           Contingent
          300 Rancheros Dr., Suite 450                                          Unliquidated
          San Marcos, CA 92069                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.404
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Welk Resort Group                                                     Contingent
          300 Rancheros Drive, Ste 450                                          Unliquidated
          San Marcos, CA 92069                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.404
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $13,052.00
          Wellington Stanford                                                   Contingent
          3609 5th Avenue                                                       Unliquidated
          Los Angeles, CA 90018                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.405
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,837.50
          Wendie and Matthew Knowles                                            Contingent
          8822 W Arbor Ave                                                      Unliquidated
          Littleton, CO 80123                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.405
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,002.00
          Wendy and Alan Liljekrans                                             Contingent
          1491 Northcrest Drive                                                 Unliquidated
          Highlands Ranch, CO 80126                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.405
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,140.00
          Wendy Clark-Dillard                                                   Contingent
          7625 S. Chappel Ave                                                   Unliquidated
          Chicago, IL 60649                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.405
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,575.00
          Wendy Forbes                                                          Contingent
          11051 W Rowland Dr                                                    Unliquidated
          Littleton, CO 80127                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.405
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          Wendye King                                                           Contingent
          858 Mercury Circle                                                    Unliquidated
          Lone Tree, CO 80124                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.405
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,500.00
          Wesley Mason                                                          Contingent
          12 Fox Crescent                                                       Unliquidated
          Red Deer, Alberta T4N4X9                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.405
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          West Gate                                                             Contingent
          5601 Windhover Dr                                                     Unliquidated
          Orlando, FL 32819                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.405
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          West Oaks                                                             Contingent
          25 Lakeshore Dr                                                       Unliquidated
          Arnolds Park, IA 51331                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.405
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          West Virginia Attorney General                                        Contingent
          State Capitol Complex, Bldg. 1, Room E-2                              Unliquidated
          Charleston, WV 25305                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.405
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Westgate Las Vegas Resort                                             Contingent
          3000 Paradise road                                                    Unliquidated
          Las Vegas, NV 89109                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.406
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Westgate Resorts                                                      Contingent
          2801 Old Winter Garden Road                                           Unliquidated
          Ocoee, FL 34761                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.406
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Westin                                                                Contingent
          417 Fifth Ave, 9th Floor                                              Unliquidated
          New York, NY 10016                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.406
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Westin Hotels Corporate Office Headquart                              Contingent
          417 Fifth Avenue, 9th Floor                                           Unliquidated
          New York, NY 10016                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.406
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Westlake Resort                                                       Contingent
          4785 Laurel Ave                                                       Unliquidated
          Westlake, OR 97493                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.406
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Westwood Condominium Association                                      Contingent
          Holly Forest Rd                                                       Unliquidated
          Lake Harmony, PA 18624                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.406
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Westwood One                                                          Contingent
          3011 W. Grand Blvd Suite 700                                          Unliquidated
          Detroit, MI 48202                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.406
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $33,541.17
          WFAA                                                                  Contingent
          P.O. Box 637386 Cincinnati                                            Unliquidated
          Cincinnati, OH 45263                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       21In
                                                                             Is the claim subject to offset?     No       Yes

 3.406
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          WFOX-TV                                                               Contingent
          PO BOX 809238                                                         Unliquidated
          Chicago, IL 60680-9238                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.406
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $30,155.40
          WFTS                                                                  Contingent
          P.O. Box 864913                                                       Unliquidated
          Orlando, FL 32886                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3816
                                                                             Is the claim subject to offset?     No       Yes

 3.406
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          WFTS ABC                                                              Contingent
          4045 N Himes Ave                                                      Unliquidated
          Tampa, FL 33607                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.407
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          WFXT                                                                  Contingent
          6205 Peachtree Dunwoody Rd                                            Unliquidated
          Atlanta, GA 30328                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.407
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Wheelsburg Plantation                                                 Contingent
          404 Center St                                                         Unliquidated
          Wheelersburg, OH 45694                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.407
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Whiskey Jack-Whistler                                                 Contingent
          2011 Innsbruck Dr #107                                                Unliquidated
          Whistler, BC V8E0N3                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.407
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,870.00
          Whitney Catchings and Whitney Saunders                                Contingent
          8721 S. Essex Ave                                                     Unliquidated
          Chicago, IL 60617                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.407
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,160.00
          Wilberto Algarin - Lopez                                              Contingent
          11456 Jersey Drive                                                    Unliquidated
          Thornton, CO 80233                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.407
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Wild Oak Ranch                                                        Contingent
          9700 Military Dr W                                                    Unliquidated
          San Antonio, TX 78251                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.407
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,935.55
          Wilfred Benitez-Aulet                                                 Contingent
          4080 71st Ave North                                                   Unliquidated
          Pinellas Park, FL 33781                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.407
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,119.70
          Wilfredo & Lilia Rosario-Coreano                                      Contingent
          16 Brown Ave                                                          Unliquidated
          Apt #1                                                                Disputed
          Prospect Park, NJ 07508
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.407
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,626.00
          Wilio Pelico amd Zulma Ramos                                          Contingent
          211 William Street                                                    Unliquidated
          Portchester, NY 10573                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.407
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,622.00
          William & Barbara Weis                                                Contingent
          61039 Latham Rd                                                       Unliquidated
          California, MO 65018                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.408
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,700.00
          William & Brittany Payton                                             Contingent
          7862 Hill Crest Dr.                                                   Unliquidated
          Louviers, CO 80131                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.408
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,000.00
          William & Fritza Ewens                                                Contingent
          25275 E Country Rd 1700                                               Unliquidated
          Elmore City, OK 73433                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.408
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,280.00
          William & Gloria Mitchell                                             Contingent
          213 Marsh Place South                                                 Unliquidated
          St Augustine, FL 32080                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.408
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          William & Joanne Daniels                                              Contingent
          12023 George Farm Dr.                                                 Unliquidated
          Lovettsville, VA 20180                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.408
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,807.00
          William & Kelli Clark                                                 Contingent
          1040 32nd Ave                                                         Unliquidated
          Bellwood, IL                                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.408
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,000.00
          William & Linda Culver                                                Contingent
          17825 NW DeerCreek Ct                                                 Unliquidated
          Portland, OR 97229                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.408
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          William & Linda Popowick                                              Contingent
          2292 Richard Lee Street                                               Unliquidated
          Orange Park, FL 32073                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.408
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          William & Mary Roberts                                                Contingent
          14 Memorial Drive                                                     Unliquidated
          Tewksbury, MA 01876                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.408
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          William & Patience Gaskill                                            Contingent
          2 North St                                                            Unliquidated
          Brookeville, MD 20833                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.408
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,295.00
          William & Patricia Grego                                              Contingent
          938 Wayne Dr                                                          Unliquidated
          Winchester, VA 22601                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.409
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,673.00
          William & Rena Burrow                                                 Contingent
          2001 Campbell Parkway                                                 Unliquidated
          Richardson, TX 75082                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.409
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,170.00
          William & Ruth Spencer                                                Contingent
          125 York Rd                                                           Unliquidated
          Cranberry Twp, PA 16066                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.409
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,450.00
          William & Sue Waldroop                                                Contingent
          8400 Champions Gate Blvd                                              Unliquidated
          Apt 1312                                                              Disputed
          Champions Gate, FL 33896
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.409
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,137.37
          William & Vedia Carmichael                                            Contingent
          18025 Woods View Drive                                                Unliquidated
          Dumfries, VA 22026                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.409
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,356.28
          William (Bill) & Jeanne Kingsbury                                     Contingent
          25 E. Jackson Street                                                  Unliquidated
          Villa Park, IL 60181                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.409
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,450.00
          William (Bill) & Linda Schaefer                                       Contingent
          517 Fresh Pond Rd                                                     Unliquidated
          Ponte Vedra Beach, FL 32082                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.409
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,920.00
          William (Brett) and Kimberly (Kim) Barbe                              Contingent
          209 South Hess                                                        Unliquidated
          Hesston, KS 67062                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.409
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,950.00
          William (Mark) & Nancy Robertson                                      Contingent
          4635 St. Kevin Court                                                  Unliquidated
          Suwanee, GA 30024                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.409
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,845.00
          William (Rodney) & Letitia Lawson                                     Contingent
          3703 Clairton Drive                                                   Unliquidated
          Bowie, MD 20721                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.409
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,376.00
          William and April Dillow                                              Contingent
          1876 Current St.                                                      Unliquidated
          Liberty, MO 64068                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.410
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          William and Barbara Hanna                                             Contingent
          7219 Ballinger Ave.                                                   Unliquidated
          San Diego, CA 92119                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.410
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,700.00
          William and Deborah Bommer                                            Contingent
          5565 Stevenson Road                                                   Unliquidated
          Oxford, OH 45056                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.410
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,495.00
          William and Denise Murray                                             Contingent
          227 Belaire Ter                                                       Unliquidated
          Mount Laurel, NJ 08054                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.410
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,000.00
          William and Jacquline Groeneveld                                      Contingent
          6317 W 22nd Ct                                                        Unliquidated
          Lawrence, KS 66049                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.410
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,749.13
          William And Mary Tibbetts                                             Contingent
          6227 Westcroft Avenue                                                 Unliquidated
          Castle Rock, CO 80104                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.410
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,220.00
          William and Nancy Walser                                              Contingent
          8318 Quay Dr                                                          Unliquidated
          Arvada, CO 80003                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.410
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,316.00
          William And Zelda Blocker                                             Contingent
          13719 Cottrell Court                                                  Unliquidated
          Houston, TX 77077                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.410
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,270.00
          William Burch                                                         Contingent
          563 Barclay                                                           Unliquidated
          Craig, CO 81625                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.410
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,700.00
          William Chain                                                         Contingent
          2205 10th St NW                                                       Unliquidated
          Washington DC, D.C 20001-0000                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.410
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,295.00
          William Luther                                                        Contingent
          237 Perriwinkle Drive                                                 Unliquidated
          Sebastian, FL 32958                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.411
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          WILLIAM S. SALIBA                                                     Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.411
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,200.00
          William Scott and Yuriko Hoen                                         Contingent
          2689 Danielle Dr                                                      Unliquidated
          Carson City, NV 89706                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.411
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,457.75
          William Watson                                                        Contingent
          6211 Pioneer Way E                                                    Unliquidated
          Puyallup, WA 98371                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.411
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Williamsburg Plantation Resort                                        Contingent
          5380 Olde Town Rd                                                     Unliquidated
          Williamsburg, VA 23188                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.411
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Willie & Mary Crawford                                                Contingent
          811 Stone Mountain Dr                                                 Unliquidated
          Conroe, TX 77302                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.411
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,595.00
          Willie Eastland and Patricia Craft                                    Contingent
          6011 Haight St                                                        Unliquidated
          Houston, TX 77028                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.411
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,881.78
          Willie Jr, Constance and Carmaine Means                               Contingent
          2935 Chelsea Circle                                                   Unliquidated
          Olympia Fields, IL 60461                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.411
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,992.00
          Willie Mae Cooper                                                     Contingent
          336 Crimson Drive                                                     Unliquidated
          Albion, NY 14411                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.411
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Willow Valley                                                         Contingent
          354 Bairds Creek Rd                                                   Unliquidated
          Vilas, NC 28692                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.411
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $10,720.00
          Willy Tsang and Victoria Elaine Aldrich-                              Contingent
          10616 Southeast Deer Fern Street                                      Unliquidated
          Happy Valley, OR 97086                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.412
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Wilson Resorts Finance                                                Contingent
          9271 S John Young Pkwy                                                Unliquidated
          Orlando, FL 32819-8607                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.412
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Windward Passage                                                      Contingent
          418 Estero Blvd                                                       Unliquidated
          Fort Myers Beach, FL 33931                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.412
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Winner Circle Resort                                                  Contingent
          550 Via De La Valle                                                   Unliquidated
          Solana Beach, CA 92075                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.412
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Wisconsin Attorney General                                            Contingent
          PO Box 7857                                                           Unliquidated
          Madison, WI 53707                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.412
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          WJLA                                                                  Contingent
          1100 Wilson Blvd.                                                     Unliquidated
          Arlington, VA 22209                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.412
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,925.00
          WKMG - Altus Receivables Management                                   Contingent
          2400 Veterans Memorial Blvd., Ste 300                                 Unliquidated
          Kenner, LA 70062                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       1561
                                                                             Is the claim subject to offset?     No       Yes

 3.412
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,175.00
          WKRN                                                                  Contingent
          PO Box 743299 Atlanta                                                 Unliquidated
          Atlanta, GA 30384                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3173
                                                                             Is the claim subject to offset?     No       Yes

 3.412
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          WLS-TV/ABC 7 Chicago                                                  Contingent
          190 North State Street                                                Unliquidated
          Chicago, IL 60601                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.412
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          WM. Bryan Wright                                                      Contingent
          1958 East 7800                                                        Unliquidated
          South Weber, UT 84405                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.412
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          WMYD                                                                  Contingent
          20777 West 10 Mile Rd.                                                Unliquidated
          Southfield, MI 48075                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.413
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          WNCN                                                                  Contingent
          1205 Front St                                                         Unliquidated
          Raleigh, NC 27609                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.413
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          WOAI                                                                  Contingent
          4335 NW Loop 410                                                      Unliquidated
          San Antonio, TX 78229                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.413
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Wolf Run - Crown Resorts                                              Contingent
          Wolf Run Ct                                                           Unliquidated
          DuBois, PA 15801                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.413
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,554.00
          Woodson And Jana Burr                                                 Contingent
          PO Box 1710                                                           Unliquidated
          Show Low, AZ 85902                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.413
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Woodstone Meadows                                                     Contingent
          1822 Resort Dr                                                        Unliquidated
          Massanutten, VA 22840                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
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 3.413
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          World International Vacation Club                                     Contingent
          Pok-ta-pok, Kukulcan Boulevard, Zona Hot                              Unliquidated
          Canc n, Q.R Mexico                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.413
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Worldmark                                                             Contingent
          6277 Sea Harbor Drive                                                 Unliquidated
          Orlando, FL 32821                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.413
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Worldmark by Wyndham                                                  Contingent
          6277 Sea Harbor Drive                                                 Unliquidated
          Orlando, FL 32821                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.413
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          WPLG - Miami                                                          Contingent
          3401 West Hallandale Beach Boulevard                                  Unliquidated
          Pembroke Park, FL 33023                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.413
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $46,800.00
          WPVI Attn: WPVI-606                                                   Contingent
          P.O. Box 732384                                                       Unliquidated
          Dallas, TX 75373                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0301
                                                                             Is the claim subject to offset?     No       Yes

 3.414
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          WRAZ                                                                  Contingent
          2619 Western Blvd                                                     Unliquidated
          Raleigh, NC 27606                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.414
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,040.00
          WSMV Digital                                                          Contingent
          29824 Network Place Chicago                                           Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3253
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 592 of 597
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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.414
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,400.00
          WSMV Digital                                                          Contingent
          29824 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3253
                                                                             Is the claim subject to offset?     No       Yes

 3.414
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,270.00
          WTLV and WTSP - TMACS Collections                                     Contingent
          901 Main Street, Suite 3800                                           Unliquidated
          Dallas, TX 75202                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       5311
                                                                             Is the claim subject to offset?     No       Yes

 3.414
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          WTTE-TV                                                               Contingent
          1261 Dublin Rd                                                        Unliquidated
          Columbus, OH 43215                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.414
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          WUSA-TV and WUSA9.com                                                 Contingent
          4100 Wisconsin Ave NW                                                 Unliquidated
          Washington, DC 20016                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.414
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          WXIA-TV                                                               Contingent
          1 Monroe Pl NE                                                        Unliquidated
          Atlanta, GA 30324                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.414
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $120,000.00
          Wyco Equities                                                         Contingent
          12835 E Arapahoe Road Tower II STE100                                 Unliquidated
          Centennial, CO 80112                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.414
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Wyndham Vacation Resorts ( Wyndham /                                  Contingent
          Wor                                                                   Unliquidated
          10750 W. Charleston Blvd., Suite 130                                  Disputed
          Las Vegas, NV 89135
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 593 of 597
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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.414
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Wyndham Worldwide aka Club Wyndham,                                   Contingent
          Dolc                                                                  Unliquidated
          22 Sylvan Way                                                         Disputed
          Parsippany, NJ 07054
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.415
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Wyoming Attorney General                                              Contingent
          109 State Capitol                                                     Unliquidated
          Cheyenne, WY 82002                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.415
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,937.81
          Xan & Rose Noland/Dallen                                              Contingent
          20403 Orchard Lane                                                    Unliquidated
          St. Joseph, MO 64505                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.415
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,900.00
          Yasmin Murray/Granison Shines                                         Contingent
          2665 E Gillcrest Rd                                                   Unliquidated
          Gilbert, AZ 85298                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.415
 3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,295.00
          Yolanda and Jose Rodriguez                                            Contingent
          9719 Youngcrest Dr.                                                   Unliquidated
          Stafford, TX 77477                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.415
 4        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,420.00
          Yolanda and Toby Dugan                                                Contingent
          30 North Park Street                                                  Unliquidated
          Porterville, CA 93257                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.415
 5        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,000.00
          Yolanda Austin                                                        Contingent
          7429 Pipers Way APT #4                                                Unliquidated
          Downers Grove, IL 60516                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 594 of 597
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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.415
 6        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Zach & Sarah Howser                                                   Contingent
          4617 S Kittredge St                                                   Unliquidated
          Aurora, CO 80015                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.415
 7        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,160.00
          Zachary & Andrea Blass                                                Contingent
          2148 E 4300 N                                                         Unliquidated
          Filer, ID 83328                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.415
 8        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,995.00
          Zachary and Theresa Eby                                               Contingent
          1910 Sweetstem Dr                                                     Unliquidated
          Kingwood, TX 77345                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.415
 9        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,085.00
          Zackery & Taylor Fritts                                               Contingent
          1020 Runnion Ave                                                      Unliquidated
          Fort Wayne, IN 46808                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.416
 0        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $7,421.48
          Zebulon (Zeb) & Rebecka Lemley/Seyferth                               Contingent
          8901 Cloverleaf Circle                                                Unliquidated
          Parker, CO 80134                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.416
 1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,617.75
          Zenaida Bendicio                                                      Contingent
          8936 Parkside Dr.                                                     Unliquidated
          Des Plaines, IL 60016                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.416
 2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,000.00
          Zieshan and Anna Khan                                                 Contingent
          16708 E Mansfiled Cir.                                                Unliquidated
          Aurora, Co 80013                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 595 of 597
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 Debtor       Timeshare Termination Team, LLC                                                         Case number (if known)
              Name

 3.416
 3         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      $0.00
           Zoho Corporation                                                     Contingent
           4141 Hacienda Drive                                                  Unliquidated
           Pleasanton, CA 94588                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.416
 4         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                      $0.00
           Zoom                                                                 Contingent
           55 Almaden Boulevard, Suite 600                                      Unliquidated
           San Jose, CA 95113                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.416
 5         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $4,617.00
           Zoraida Vazquez Colon                                                Contingent
           16011 Keystone Ridge Lane                                            Unliquidated
           Houston, TX 77070                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.416
 6         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $6,645.25
           Zorina Mendoza                                                       Contingent
           23151 Rio Lobos Road                                                 Unliquidated
           Diamond Bar, CA 91765                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.416
 7         Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $3,500.00
           Zulema Espinoza                                                      Contingent
           207 Colony Creek Drive                                               Unliquidated
           Dickinson, TX 77539                                                  Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                            0.00
 5b. Total claims from Part 2                                                                            5b.   +    $                   25,388,526.81

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                      25,388,526.81


Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                               Page 596 of 597
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 Debtor       Timeshare Termination Team, LLC                                                     Case number (if known)
              Name




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims               Page 597 of 597
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 Fill in this information to identify the case:

 Debtor name         Timeshare Termination Team, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                                whom the debtor has an executory contract or unexpired
                                                                                lease

 2.1.        State what the contract or                   Real property lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                          E Maplewood Denver LLC
                                                                                    c/o Harbor Associates
             List the contract number of any                                        200 Pine Avenue, Suite 502
                   government contract                                              Long Beach, CA 90802


 2.2.        State what the contract or                   Real property lease
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                          Wyco Equities, Inc.
                                                                                    c/o Miller & Steiert, P.C.
             List the contract number of any                                        1901 W. Littleton Blvd.
                   government contract                                              Littleton, CO 80120




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Timeshare Termination Team, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      Holly and Brian                   6511 Village Road                                 Wyco Equities                      D
             Wilbur                            Parker, CO 80134                                                                     E/F       3.4147
                                                                                                                                    G




    2.2      Holly and Brian                   6511 Village Road                                 Payment Depot                      D
             Wilbur                            Parker, CO 80134                                                                     E/F       3.2981
                                                                                                                                    G




    2.3      Holly and Brian                   6511 Village Road                                 Fiserv Attn: Legal                 D
             Wilbur                            Parker, CO 80134                                  Papers                             E/F       3.1245
                                                                                                                                    G




    2.4      Holly and Brian                   6511 Village Road                                 US Equal                           D
             Wilbur                            Parker, CO 80134                                  Employment                         E/F       3.3917
                                                                                                 Opportunity
                                                                                                                                    G




    2.5      Holly and Brian                   6511 Village Road                                 US Bank, NA                        D
             Wilbur                            Parker, CO 80134                                  Bankruptcy/Recovery                E/F       3.3916
                                                                                                 Dept
                                                                                                                                    G




Official Form 206H                                                         Schedule H: Your Codebtors                                         Page 1 of 3
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 Debtor       Timeshare Termination Team, LLC                                       Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.6      Holly and Brian                   6511 Village Road                         Colorado Civil Rights              D
             Wilbur                            Parker, CO 80134                          Commission                         E/F       3.674
                                                                                                                            G




    2.7      Holly and Brian                   6511 Village Road                         Colorado Dept of                   D
             Wilbur                            Parker, CO 80134                          Labor                              E/F       3.675
                                                                                                                            G




    2.8      Holly and Brian                   6511 Village Road                         United Chase Brian                 D
             Wilbur                            Parker, CO 80134                          Business                           E/F       3.3910
                                                                                                                            G




    2.9      Holly and Brian                   6511 Village Road                         Business Capital One               D
             Wilbur                            Parker, CO 80134                          Spark Visa Holly                   E/F       3.391
                                                                                                                            G




    2.10     Holly and Brian                   6511 Village Road                         Hogan Lovells US                   D
             Wilbur                            Parker, CO 80134                          LLP                                E/F       3.1552
                                                                                                                            G




    2.11     Holly and Brian                   6511 Village Road                         Hogan Lovells US                   D
             Wilbur                            Parker, CO 80134                          LLP                                E/F       3.1553
                                                                                                                            G




    2.12     Holly and Brian                   6511 Village Road                         Merchant Services                  D
             Wilbur                            Parker, CO 80134                                                             E/F       3.2614
                                                                                                                            G




    2.13     Holly and Brian                   6511 Village Road                         US Bank                            D
             Wilbur                            Parker, CO 80134                                                             E/F       3.3915
                                                                                                                            G




Official Form 206H                                                   Schedule H: Your Codebtors                                       Page 2 of 3
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 Debtor       Timeshare Termination Team, LLC                                       Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                          Column 2: Creditor



    2.14     Holly and Brian                   6511 Village Road                         Canvas Bank                        D
             Wilbur                            Parker, CO 80134                                                             E/F       3.405
                                                                                                                            G




    2.15     Holly and Brian                   6511 Village Road                         Chase Bank                         D
             Wilbur                            Parker, CO 80134                                                             E/F       3.542
                                                                                                                            G




    2.16     Holly and Brian                   6511 Village Road                         Fiserv Mercant                     D
             Wilbur                            Parker, CO 80134                          Services - Bankrupsy               E/F       3.1246
                                                                                         Dept
                                                                                                                            G




    2.17     Holly and Brian                   6511 Village Road                         Libertas Funding                   D
             Wilbur                            Parker, CO 80134                                                             E/F       3.2295
                                                                                                                            G




    2.18     Brian Wilbur                      6511 Village Road                         Wyco Equities, Inc.                D
                                               Parker, CO 80134                                                             E/F
                                                                                                                            G   2.2




    2.19     Holly Wilbur                      6511 Village Road                         Wyco Equities, Inc.                D
                                               Parker, CO 80134                                                             E/F
                                                                                                                            G   2.2




Official Form 206H                                                   Schedule H: Your Codebtors                                       Page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         Timeshare Termination Team, LLC

 United States Bankruptcy Court for the:            DISTRICT OF COLORADO

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $2,244,779.22
       From 1/01/2021 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                               $586,143.06
       From 1/01/2020 to 12/31/2020
                                                                                                   Other


       For year before that:                                                                       Operating a business                               $462,869.15
       From 1/01/2019 to 12/31/2019
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
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 Debtor       Timeshare Termination Team, LLC                                                             Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
    may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                             Dates                 Total amount of value        Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken
       Chase Bank                                                ACH Charge Back                                               July 30, 2021                  $184.00
                                                                 Last 4 digits of account number:


 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address
       7.1.    Diamond Resorts U.S.                              Diamond Resorts            Middle District of Florida                   Pending
               Collection Development, LLC                                                                                               On appeal
               et al v. Timeshare
                                                                                                                                         Concluded
               Termination, LLC et al
               6:20-CV-1668-PGB-LRH

       7.2.    Bluegreen Vacations                               Buegreen Resort            Southern District of Florida                 Pending
               Unlimited, Inc. v. Timeshare                                                                                              On appeal
               Termination Team, LLC
                                                                                                                                         Concluded
               1:20-CV-25318-BLOOM

       7.3.    Wyco Equities, Inc. v.                            Civil Suit                 Arapahoe County District                     Pending
               Timeshare Termination Team,                                                  Court                                        On appeal
               LLC, et al                                                                   7325 S Potomac St #100
                                                                                                                                         Concluded
               21CV31299                                                                    Aurora, CO 80012

       7.4.    Libertas Funding LLC v.                           Civil                      New York County Court                        Pending
               Timeshare Termination Team,                                                                                               On appeal
               LLC
                                                                                                                                         Concluded
               Unknown




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 Debtor       Timeshare Termination Team, LLC                                                               Case number (if known)



               Case title                                        Nature of case               Court or agency's name and             Status of case
               Case number                                                                    address
       7.5.    Valencia v. Timeshare                             Probable Cause               Colorado Department of                      Pending
               Termination Team, LLC                             Determination -              Regulatory Agenci                           On appeal
               Charge No. E2100010205                            DORA
                                                                                                                                          Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                            Value

       9.1.    Alternatives Pregnancy                            Recurring gifts
               Center
               23 Inverness Way East
               Suite 101
               Englewood, CO 80211                                                                                          Each Month                     $90,456.36

               Recipients relationship to debtor



       9.2.    Church of the Front Range                         Charitable donation of certain used
               11798 Oswego Street                               furniture
               Englewood, CO 80112                                                                                          August 2021                      Unknown

               Recipients relationship to debtor




 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).
       Michelle Valencia brought an                                                                                                                                $0.00
       employment claim with DORA.
       Timeshare Termination has an
       insurance policy with CNA which
       might cover a portion of the loss


 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy



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 Debtor        Timeshare Termination Team, LLC                                                           Case number (if known)



    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received                         If not money, describe any property transferred           Dates        Total amount or
                the transfer?                                                                                                                        value
                Address
       11.1.                                                                                                                   August 2,
                Kutner Brinen Dickey Riley,                                                                                    2021:
                P.C.                                                                                                           $10,000
                1660 Lincoln Street                                                                                            August 20,
                Suite 1720                                                                                                     2021:
                Denver, CO 80264                                                                                               $10,000           $20,000.00

                Email or website address


                Who made the payment, if not debtor?
                Brian and Holly Wilbur



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

       Name of trust or device                                       Describe any property transferred                Dates transfers       Total amount or
                                                                                                                      were made                      value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.

               Who received transfer?                            Description of property transferred or                  Date transfer      Total amount or
               Address                                           payments received or debts paid in exchange             was made                    value
       13.1 Domingo Soto Lopez
       .    c/o Joseph Dovino                                    Funds refunded to former client of
               5241 Brisata Circle Suite E                       Timeshare Termination pursuant to                       August 27,
               Boynton Beach, FL 33437                           Agreement                                               2021                    $30,000.00

               Relationship to debtor
               Former Client


       13.2 E Maplewood Denver LLC
       .    c/o Harbor Associates
               200 Pine Avenue, Suite 502                        Certain desks and furniture abandoned to
               Long Beach, CA 90802                              landlord                                                July 31, 2021            Unknown

               Relationship to debtor
               Former Landlord


 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


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 Debtor        Timeshare Termination Team, LLC                                                          Case number (if known)




           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     3190 South Vaughn Way                                                                                     February 2017 to February 2019
                 Suite 550
                 Aurora, CO 80014

       14.2.     12835 East Arapahoe Road                                                                                  March 2019 to August 2019
                 Tower 2, Suite 200
                 Centennial, CO 80112

       14.3.     12835 East Arapahoe Road                                                                                  August 2019-December 2020
                 Tower 1, Suite 500
                 Centennial, CO 80112

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services          If debtor provides meals
                                                                 the debtor provides                                                   and housing, number of
                                                                                                                                       patients in debtor’s care

 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                  Name, Address, Timeshare Ownership Information
                  Does the debtor have a privacy policy about that information?
                    No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    Principal Financial Group                                                                  EIN:

                    Has the plan been terminated?
                      No
                       Yes


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units



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 Debtor        Timeshare Termination Team, LLC                                                          Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                     Last 4 digits of         Type of account or          Date account was           Last balance
              Address                                            account number           instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred
       18.1.    Canvas Credit Union                              XXXX-1830                   Checking                 1/21/21                              $5.93
                P.O. Box 5238                                                                Savings
                Englewood, CO 80155-5238
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other

       18.2.    Canvas Credit Union                              XXXX-                       Checking                 1/21/21                              $5.00
                P.O. Box 5238                                                                Savings
                Englewood, CO 80155-5238
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
       Wilbur Home                                                   Brian and Holly Wilbur               Desks                                   No
       6511 Village Road                                                                                  Computers                               Yes
       Parker, CO 80134                                                                                   Screens



 Part 11:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:      Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

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 Debtor      Timeshare Termination Team, LLC                                                            Case number (if known)




      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Brian Rathburn                                                                                                             May 2021 to June
                                                                                                                                               2021

       26a.2.       Andrew Nelson                                                                                                              January 2021 to May
                                                                                                                                               2021

       26a.3.       Brittany S. Lanphier, CPA                                                                                                  All relevant times
                    2000 S. Colorado Blvd., Tower 1
                    Suite 10800
                    Denver, CO 80222




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 Debtor      Timeshare Termination Team, LLC                                                            Case number (if known)



       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26a.4.       Elizabeth Caveny                                                                                                    September
                    14583 Haley Ave                                                                                                     2019-December
                    Parker, CO 80134                                                                                                    2020
       26a.5.       April Perez                                                                                                         December
                    864 Diamond Rim Dr                                                                                                  2020-January 2021
                    Colorado Springs, CO 80921
       26a.6.       Holly Wilbur                                                                                                        June 2021-present
                    6511 Village Road
                    Parker, CO 80134

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.1.       Brittany S. Lanphier, CPA                                                                                           2019 to 2021
                    621 17th Street
                    Unit 2400
                    Denver, CO 80202
       Name and address                                                                                                                 Date of service
                                                                                                                                        From-To
       26b.2.       Muggs Consulting                                                                                                    July 2021 to August
                    Peter Muggli                                                                                                        2021
                    3911 24th Avenue
                    Evans, CO 80620

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       Muggs Consulting, LLC
                    Peter Muggli
                    3911 24th Avenuue
                    Evans, CO 80620
       26c.2.       Brittany S. Lanphier, CPA
                    621 - 17th Street
                    Unit 2400
                    Denver, CO 80202

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       East Maplewood Denver, LLC
                    8300 East Maplewood Avenue
                    Greenwood Village, CO 80111

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?




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 Debtor      Timeshare Termination Team, LLC                                                            Case number (if known)




            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Brian Wilbur                                   6511 Village Road                                   Co Founder                            95%
                                                      Parker, CO 80134

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Holly Wilbur                                   6511 Village Road                                   Co Founder                            5%
                                                      Parker, CO 80134



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any        Period during which
                                                                                                          interest                          position or interest
                                                                                                                                            was held
       Joanna Brown                                   909 Bannock Street, #1201                           CEO                               Terminated June
                                                      Denver, CO 80204                                                                      28, 2021


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates              Reason for
                                                                 property                                                                   providing the value
       30.1 Brian and Holly Wilbur                                                                                       Owner Draws
       .    6511 Village Road                                                                                            every two
               Parker, CO 80134                                  413,610.69                                              weeks              Salary/Draw

               Relationship to debtor
               Owners


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation




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 Debtor      Timeshare Termination Team, LLC                                                            Case number (if known)



32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         September 30, 2021

 /s/ Holly Wilbur                                                       Holly Wilbur
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Co-owner

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                               United States Bankruptcy Court
                                                                      District of Colorado
 In re      Timeshare Termination Team, LLC                                                        Case No.
                                                                                Debtor(s)          Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the Co-owner of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct

to the best of my knowledge.




 Date:       September 30, 2021                                      /s/ Holly Wilbur
                                                                     Holly Wilbur/Co-owner
                                                                     Signer/Title




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